                              No. 23-3772


  In the United States Court of Appeals
          for the Eighth Circuit
                    3M COMPANY & SUBSIDIARIES,

                                                      Appellant,
                                    v.

                COMMISSIONER OF INTERNAL REVENUE,

                                                       Appellee.


           On Appeal From The United States Tax Court
                  No. 5816-13 – 160 T.C. No. 3


                  APPELLANT 3M COMPANY’S
                    SEPARATE ADDENDUM


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                              160 T.C. No. 3

                  3M COMPANY AND SUBSIDIARIES,
                           Petitioner
                               v.

              COMMISSIONER OF INTERNAL REVENUE,
                          Respondent

                                —————

   Docket No. 5816-13.                            Filed February 9, 2023.

                                —————

                P is the common parent company of the P
         consolidated group. As among the members of the P
         consolidated group (and among P’s foreign affiliates),
         ownership of trademarks had been centralized in P. Other
         intellectual property, including patents and nonpatented
         technology, was owned by S, a second-tier wholly owned
         U.S. subsidiary of P. S is a member of the P consolidated
         group.

                B is a wholly owned Brazilian subsidiary of S.
         During 2006, B used in its business operations the
         trademarks owned by P. B’s use of these trademarks was
         governed by three trademark licenses that P and B had
         executed in 1998. Each license concerned a separate set of
         trademarks. In accordance with the licenses, B paid a
         royalty to P equal to 1% of its sales of the trademarked
         products. Some products sold by B were subject to
         trademarks covered by more than one of the three
         trademark licenses. For such products, B and P calculated
         the trademark royalties using a stacking principle under
         which, for example, if a particular product used
         trademarks covered by all three trademark licenses, the
         royalties were 3% of the sales of the product. Computing
         the royalties using this stacking principle, B paid P
         trademark royalties in 2006.


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                B also used in its business operations patents and
         nonpatented technology owned by S. B paid no patent
         royalties and made no technology-transfer payments to S.
         No patent license and no technology-transfer agreement
         was in effect between S and B.

                On its 2006 consolidated federal income-tax return,
         the P consolidated group reported as income the trademark
         royalties that B paid to P in 2006.

                In the notice of deficiency, R determined that the
         income of the P consolidated group should be increased
         under I.R.C. sec. 482 to account for B’s use of the
         intellectual property of P and S. The increase in income
         determined in the notice of deficiency represents an arm’s-
         length rate of compensation for the intellectual property
         used by B.

               P’s position is that the I.R.C. sec. 482 allocation
         should correspond to the maximum amount that B could
         have paid for the intellectual property in question under
         the laws of Brazil, less related expenses.

                R’s I.R.C. sec. 482 adjustment does not take into
         account the effect of the Brazilian legal restrictions. A
         1994 regulation, 26 C.F.R. sec. 1.482-1(h)(2) (2006), sets
         forth the requirements that must be met before R “will take
         into account the effect of a foreign legal restriction” under
         I.R.C. sec. 482. T.D. 8552, 59 Fed. Reg. 34971 (July 8,
         1994). The Brazilian legal restrictions do not meet the
         requirements.

                P contends that some of the requirements are
         invalid because they fail either the Chevron step 2 test or
         the part of the State Farm test that requires the agency to
         adequately respond to comments. See Chevron, U.S.A.,
         Inc. v. Nat. Res. Def. Council, Inc., 467 U.S. 837, 844
         (1984); Motor Vehicle Mfrs. Ass’n of the U.S., Inc. v. State
         Farm Mut. Auto. Ins. Co., 463 U.S. 29 (1983); Altera Corp.
         & Subs. v. Commissioner, 145 T.C. 91, 120, 130 (2015),
         rev’d, 926 F.3d 1061 (9th 2019). P also contends that the
         entire regulation addressing foreign legal restrictions, 26
         C.F.R. sec. 1.482-1(h)(2) (2006), is invalid under the part of




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         the State Farm test that requires the agency to give a
         satisfactory explanation for the regulation and the part of
         the State Farm test that requires the agency to respond to
         comments. Furthermore, P contends that the entire
         regulation is invalid under Chevron step 1 because
         Commissioner v. First Security Bank of Utah, N.A., 405
         U.S. 394 (1972), and its progenitor and progeny held that
         under predecessors to I.R.C. sec. 482 R cannot make an
         allocation of income to a taxpayer who did not receive
         income and could not legally receive the income.

                Held: The requirement of 26 C.F.R. sec. 1.482-
         1(h)(2)(i) (2006) that “a foreign legal restriction will be
         taken into account only to the extent that it is shown that
         the restriction affected an uncontrolled taxpayer under
         comparable circumstances” is not invalid under Chevron
         step 2.

                Held, further, the requirement that foreign legal
         restrictions be taken into account under I.R.C. sec. 482 only
         if they are publicly promulgated, 26 C.F.R. sec. 1.482-
         1(h)(2)(ii)(A) (2006), means that the foreign legal
         restrictions must be in writing.

                Held, further, the Brazilian legal restrictions at
         issue do not meet the requirement in 26 C.F.R. sec. 1.482-
         1(h)(2)(ii)(A) (2006) that foreign legal restrictions be taken
         into account under I.R.C. sec. 482 only if they are publicly
         promulgated.

                Held, further, the requirement that foreign legal
         restrictions be taken into account under I.R.C. sec. 482 only
         if they are publicly promulgated, 26 C.F.R. sec. 1.482-
         1(h)(2)(ii)(A) (2006), is not invalid under Chevron step 2.

                Held, further, the requirement that foreign legal
         restrictions be taken into account under I.R.C. sec. 482 only
         if they are “generally applicable to all similarly situated
         persons (both controlled and uncontrolled)”, 26 C.F.R. sec.
         1.482-1(h)(2)(ii)(A) (2006), is not invalid under Chevron
         step 2.

               Held, further, the 1994 regulation, 26 C.F.R. sec.
         1.482-1(h)(2) (2006), is valid under Chevron step 1.




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                 Held, further, the 1994 regulation, 26 C.F.R. sec.
           1.482-1(h)(2) (2006), is not invalid under P’s State Farm
           theory.

                                                —————

   Walter A. Pickhardt and Michael J. Kaupa, for petitioner.

   Justin L. Campolieta and William R. Peck, for respondent.


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         MORRISON, Judge: 3M Company is the common parent
   company of an affiliated group of corporations that filed a consolidated
   federal income tax return for the tax year ending December 31, 2006. 1
   This affiliated group is referred to here as the 3M consolidated group.
   When we discuss 3M Company in its role as the representative of the
   members of the 3M consolidated group, we refer to 3M Company as

          1 The return was filed on Form 1120, U.S. Corporation Income Tax Return.




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   “petitioner”. See infra part I (discussing 3M Company’s status as
   representative of the group).

          Respondent mailed a notice of the deficiency on December 12,
   2012, determining the 3M consolidated group had an income tax
   deficiency of $4,847,004 for 2006. A timely petition for redetermination
   of the deficiency was filed. We have jurisdiction to redetermine the
   deficiency under section 6214(a). 2

          Only one income adjustment in the notice of deficiency remains
   at issue. Specifically, the notice of deficiency determined that the
   income of the 3M consolidated group should be increased by $23,651,332
   to reflect the arm’s-length compensation that 3M Brazil should have
   paid for intellectual property under section 482. Petitioner contends
   that the section 482 adjustment is improper to the extent that payments
   were barred by Brazilian law and that therefore the proper section 482
   adjustment is only $165,783. All other adjustments in the notice of
   deficiency have been resolved by agreement of petitioner and
   respondent.

         We hold that under 26 C.F.R. sec. 1.482-1(h)(2) (2006), which
   governs the effect of foreign legal restrictions on section 482
   adjustments, the Brazilian restrictions on payments by 3M Brazil are
   disregarded.    We reject petitioner’s various arguments that the
   regulation is invalid.

                                FINDINGS OF FACT

          Petitioner and respondent executed a stipulation of facts, which
   they later replaced with an amended stipulation of facts. The amended
   stipulation of facts is referred to here simply as the “stipulation”. The
   Court adopts the statements in the stipulation as findings of fact. The
   documents attached to the stipulation, Exhibits 1-J through 46-J, are
   admitted as evidence.

        At all relevant times, including when it filed the petition, 3M
   Company was a U.S. corporation with its principal place of business in



          2 Unless otherwise indicated, all references to sections are to the Internal

   Revenue Code of 1986 as amended and in effect at all relevant times. All references to
   Rules are to the Tax Court Rules of Practice & Procedure.




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   Minnesota. 3 When we use the term “3M Company”, we refer to this
   specific legal entity.

          At all relevant times, including during the 2006 tax year, 3M
   Company and its U.S. and foreign subsidiaries engaged in
   manufacturing, research, development, marketing, and sales of
   products in the U.S. and throughout the world. We refer to 3M Company
   and its U.S. and foreign subsidiaries as “3M Global”.

   1.     3M do Brasil Ltda. (or 3M Brazil); its 1952 agreement with 3M
          Company

         In 1946 Durex, Lixas e Fitas Adesivas Ltda. was established in
   Campinas, Brazil. The corporation was organized as a sociedade
   limitada under the laws of Brazil. The corporation was later operated
   under the name Minnesota Manufactureira e Mercantil, Ltda. The
   corporation was later renamed 3M do Brasil Ltda., which is the name it
   used during the 2006 tax year. 4 We refer to the corporation as “3M
   Brazil”. 3M Brazil has always been a subsidiary of 3M Company. 5

         In 1952, 3M Brazil agreed with 3M Company to pay royalties for
   the use of 3M Company’s intellectual property and for support services.
   The agreement provided that 3M Brazil would pay a royalty equal to
   10% of the gross selling price of products sold by 3M Brazil. The
   agreement may not have included any license of trademarks.

          In 1966, 3M Brazil’s payment obligation under the 1952
   agreement was reduced to cover only a fee for technical assistance
   services, which was equal to 5% of the gross selling price of 3M Brazil’s
   products.


          3   3M Company was originally named the Minnesota Mining and
   Manufacturing Company. It is occasionally described or referred to by that name in
   the record.
           4 The corporation is occasionally referred to by its previous names in documents

   in the record.
          5 For the period before 1999, the record suggests that 3M Brazil was wholly

   owned by 3M Company through direct or indirect ownership. However, the exact
   ownership structure of 3M Brazil before 1999 is not clear.
           In 1999, there was a corporate restructuring under which 3M Brazil becamea
   wholly owned second-tier subsidiary of 3M Company. This 1999 restructuring and the
   resulting ownership structure of 3M Brazil is described in detail infra part7.




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         In 1969, 3M Company and 3M Brazil agreed to temporarily
   suspend all percentage-based payments under the 1952 agreement to
   accommodate the then financial position of 3M Brazil. The percentage-
   based payment schedule under the 1952 agreement was permanently
   replaced with a $1,000 per month fee effective July 1, 1969.

   2.    The 1982 trademark licensing agreement

          In March 1982, 3M Company and 3M Brazil entered into a
   trademark licensing agreement. Under its terms 3M Company granted
   3M Brazil a nonexclusive license to use in Brazil certain trademarks
   identified in the agreement. Article V, entitled “COMPENSATION”,
   provided that 3M Company waived any right to receive royalties “for as
   long as subsidiaries are prevented from paying royalties to parent
   companies in accordance with legislation presently in force in * * *
   Brazil.” 3M Company and 3M Brazil entered into amendments of the
   1982 trademark licensing agreement dated February 9, 1983, June 21,
   1983, October 2, 1984, July 16, 1985, May 16, 1990, and December 30,
   1994. None of the amendments affected Article V of the 1982 trademark
   licensing agreement.

   3.    The 1983 licensing agreement

          In April 1983, 3M Company and 3M Brazil entered into a
   licensing agreement that replaced the 1952 licensing agreement. Under
   the terms of the 1983 licensing agreement, 3M Company granted 3M
   Brazil a nonexclusive and nonassignable license to commercially exploit
   certain patents identified in the agreement. The 1983 licensing
   agreement also granted 3M Brazil a right to receive technical know-how
   and technical assistance from 3M Company in connection with 3M
   Brazil’s exploitation of the licensed patents. The 1983 licensing
   agreement contained a provision, entitled “COMPENSATION”, which
   stated that 3M Company “hereby waives any right to compensation for
   the patent license and other licenses and rights granted herein, and
   grants same free of charge to * * * [3M Brazil] for as long as subsidiaries
   are prevented from paying compensation to parent companies for
   industrial property in accordance with legislation currently in force in
   Brazil.” The 1983 licensing agreement had no other provision regarding
   payments by 3M Brazil.




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   4.    The 1997 proposed licensing agreement

           During 1997, 3M Company considered the possibility of entering
   into a royalty-bearing licensing agreement with 3M Brazil to replace the
   1983 licensing agreement, which did not provide for royalties. 3M
   Company drafted and signed a licensing agreement that was similar to
   licensing agreements that it had entered into with other foreign
   affiliates.   The 1997 proposed licensing agreement was never
   countersigned by 3M Brazil and never went into effect.

         In Article II of the 1997 proposed licensing agreement, 3M
   Company granted to 3M Brazil the following rights: (1) an exclusive and
   nonassignable license to make, convert, process, and use certain
   products in Brazil and (2) a nonexclusive and nonassignable license to
   market, lease, distribute, and offer for sale the products.

          In Article III of the 1997 proposed licensing agreement, 3M
   Company granted to 3M Brazil an exclusive but nonassignable license
   to use manufacturing know-how to manufacture the products in Brazil.
   3M Company also agreed to make manufacturing data available to 3M
   Brazil. 3M Brazil agreed to reimburse 3M Company for costs specially
   incurred in preparing and furnishing drawings, samples, plans,
   specifications, and other data.

          In Article IV of the 1997 proposed licensing agreement, 3M
   Company agreed to place at the disposal of 3M Brazil, on a nonexclusive
   basis, technical service data in connection with marketing, leasing,
   selling, and servicing of 3M Company products. 3M Company also
   agreed to provide to 3M Brazil technical assistance services, including
   instructing and training a reasonable number of technical and other
   qualified trainer-personnel of 3M Brazil.

          In Article V of the 1997 proposed licensing agreement, 3M
   Company granted to 3M Brazil a nonexclusive and nonassignable
   license to use certain trademarks in Brazil on all licensed products
   converted, processed, or distributed by 3M Brazil. 3M Brazil agreed to
   pay all items of expense as might arise in Brazil in connection with the
   maintenance and upkeep of the trademarks, and to pay all items of
   expense as might arise in Brazil in connection with the enforcement of
   the trademarks.

        In Article VI of the 1997 proposed licensing agreement, 3M
   Company granted to 3M Brazil a nonexclusive license within Brazil to




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   use and to sublicense to the dealers and customers of 3M Brazil works
   and documents covered by certain copyrights in connection with 3M
   Brazil’s sales and marketing activities.

          In Article VIII of the 1997 proposed licensing agreement, 3M
   Brazil agreed, in consideration of and as compensation for the licenses,
   undertakings, and other rights granted pursuant to Articles II, III, IV,
   and VI, to pay 3M Company a royalty of 4% of the net selling price of
   licensed products manufactured in Brazil (excluding sales to 3M
   Company and its affiliates).

          The Brazilian Patent and Trademark Office (BPTO) is an agency
   of the Brazilian government that has regulatory authority over
   industrial property in Brazil, including the recordation of certain
   licensing agreements providing for the transfer of industrial property. 6
   The BPTO exercised this regulatory authority during the 2006 tax year. 7
   As part of the recordation process, the BPTO permits the parties to a
   proposed industrial-property agreement to consult with the BPTO
   before formally submitting an agreement for recordation. The purpose
   of this informal consultation process is for the BPTO to identify issues
   or deficiencies with a proposed agreement that could preclude
   recordation if not appropriately addressed by the parties before formal
   submission.

          In July 1997, 3M Company engaged in the BPTO’s consultation
   process and sought the BPTO’s views on whether the 1997 proposed
   licensing agreement satisfied the legal requirements for recordation. To
   this end, on July 30, 1997, 3M Company transmitted the 1997 proposed
   licensing agreement to the BPTO for review.

          By letter dated October 16, 1997, the BPTO notified 3M Company
   that the 1997 proposed licensing agreement was not in compliance with
   “the legislation and/or rules usually adopted by” the BPTO for
   recordation purposes. The letter identified deficiencies in the agreement
   that required amendment or removal. This is an English translation of
   the body of the letter:


          6 The BPTO is also known as the National Institute of Industrial Property, or

   Instituto Nacional da Propriedade Industrial.
           7 A more detailed discussion of Brazilian intellectual-property law, including

   the relevant BPTO practices and procedures, is found in paragraphs 71 to 91 of the
   stipulation, which are quoted infra part 5.




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         Concerning the request of this company’s letter of July 30,
         1997, we inform that the agreement attached to the above
         process, shows the following aspects which do not agree to
         the legislation and/or rules usually adopted by this
         Institute.

         1--Inclusion of matters which are not provided by art. 211
         of Law

         n˚ 9279/96--Clause VI--LICENSED COPYRIGHTS and
         items 1.12 and 1.13.

         2--Lack of justification for the acquisition of the non
         patented technology, since the agreement refers to the
         license of several patents.

         3--Establishment of a global remuneration for all the
         licenses referred to in the agreement, which creates
         difficulties for analysis, since the agreement includes
         licenses which need not to be recorded at Patent Office
         (copyrights) and licenses for which no remuneration is due
         (use of trademark, according to Law 8383/91, art. 50 and
         Act. n˚ 436/58, item II). We also remind that the payment
         of royalties shall only be considered if derived from issued
         patents.

         4--The term of duration of the agreement has not been
         fixed. We remind that said term, regarding licenses
         concerning industrial property rights, shall not exceed the
         term of validity of the licensed rights and, as for know how
         acquisition, 5 years, according to Law n˚ 8383/91 art. 50
         and Law n˚ 4131/62, art. 12, § 3˚.

         5--Inclusion of clauses which may create difficulties for the
         working of the company, such as:

         a) restriction of the territory for commercialization--item
         2.01

         b) the licensee shall be in charge of taking all steps and
         shall pay all the expenses concerning industrial property
         rights (items 2.04, 5.11 and 7.04)




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         c) Prevision [sic] that all intellectual property rights,
         resulting from patents modification work shall become
         property of the licensor--item 13.06 c (art. 63 of Law n˚
         6279/96).

         Finally, we inform that, according to the provision of art.
         50 of Law 8383/91, no additional payment is allowed for the
         technical assistance since the maximum remuneration
         allowed by Law is already established by the agreement.

           3M Company did not submit the 1997 proposed licensing
   agreement to the BPTO for formal recordation. Had it done so without
   addressing the deficiencies identified in the BPTO’s October 16, 1997
   letter, the BPTO would not have recorded the 1997 proposed licensing
   agreement for the reasons identified in that letter.

          After receiving the October 16, 1997 letter from the BPTO, 3M
   Company considered whether it should attempt to record with the BPTO
   an agreement narrower in scope than the 1997 proposed licensing
   agreement. In particular, 3M Company considered two types of
   agreements: (1) a licensing agreement for its patents and (2) a
   technology-transfer agreement for its unpatented technology (such as
   trade secrets and know-how).

          With respect to patents, 3M Company reviewed the intellectual
   property supporting approximately 40 of the biggest selling products
   manufactured by 3M Brazil. The purpose of the review was to identify
   which products in that group were supported by Brazilian patents. 3M
   Company concluded that only a small number of these products was
   supported by Brazilian patents. On the basis of that review, 3M
   Company decided not to conduct a similar review for products having
   smaller sales. 3M Company was aware that many of the products
   manufactured and sold by 3M Brazil (such as abrasives, adhesives,
   tapes, and scouring products) were mature products and therefore were
   not likely to have any remaining patent protection. It was also aware
   that many of the products manufactured and sold by 3M Brazil were
   subject to the low royalty ceilings imposed under Brazilian law with
   respect to payments between Brazilian companies (such as 3M Brazil)
   and controlling foreign companies (such as 3M Company). 3M Company
   decided not to enter into a patent licensing agreement and instead to
   enter into royalty-bearing trademark licensing agreements.




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          With respect to unpatented technology, 3M Company was advised
   by its Brazilian attorneys that, in order to enter into such an agreement,
   3M Company would be required to disclose certain trade secrets to the
   BPTO. As a result, 3M Company was unwilling to enter into an
   agreement with respect to unpatented technology, for fear that its trade
   secrets might be disclosed by the BPTO to 3M Company’s competitors
   and that disclosure could weaken trade secret legal protections for its
   unpatented technology under the laws of the various countries where
   3M Global does business. The advice that 3M Company received in this
   regard was not entirely accurate because 3M Company was not, in fact,
   required to disclose its trade secrets to the BPTO. Rather, the BPTO
   requires only a general description of the technology being transferred,
   such as the field or industry to which the technology relates.
   Nonetheless, on the basis of the advice it received at the time, 3M
   Company decided not to enter into a technology transfer agreement and
   instead to enter into royalty-bearing trademark licensing agreements.

         After it received the October 16, 1997 letter, 3M Company
   reevaluated its royalty-free arrangement with 3M Brazil regarding
   trademarks. As explained in paragraph 65 of the stipulation (which we
   adopt as findings of fact):

         Following receipt of the October 16, 1997 letter from the
         BPTO, 3M Company determined that it would change the
         licensing of its trademarks to 3M Brazil. 3M Company
         consulted Brazilian intellectual property counsel, who
         advised 3M Company that it would be possible to obtain up
         to a three percent trademark royalty on certain products
         by entering into three separate trademark licenses
         covering different sets of trademarks. Counsel advised 3M
         Company that if a product used multiple trademarks
         covered by three separate agreements, then 3M Brazil
         could pay up to a three percent trademark royalty. That
         advice was not accurate for the reasons discussed below at
         paragraph 94.

   The reference to “paragraph 94” in the above text is a reference to
   paragraph 94 of the stipulation, which is quoted infra part 5.




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   5.      Termination of the 1982 trademark licensing agreement and the
           1983 licensing agreement; execution of the 1998 trademark
           licenses; stipulations related to Brazilian law

          On August 18, 1998, 3M Company and 3M Brazil entered into an
   agreement terminating the 1982 trademark licensing agreement,
   effective January 1, 1998.

         On August 18, 1998, 3M Company and 3M Brazil entered into an
   agreement terminating the 1983 licensing agreement, effective January
   1, 1998.

          Effective January 1, 1998, 3M Company and 3M Brazil entered
   into three separate licensing agreements for the purpose of licensing 3M
   Company’s trademarks to 3M Brazil (collectively, the “1998 trademark
   licenses”). Each of the 1998 trademark licenses related to a separate set
   of trademarks that was identified in the respective license. Under each
   of the 1998 trademark licenses, 3M Company granted 3M Brazil an
   exclusive, nonassignable license to use trademarks in Brazil. Under
   each of the 1998 trademark licenses, 3M Brazil agreed to pay 3M
   Company a royalty of 1% of the net selling price 8 of the products sold
   bearing a trademark identified in the license.

         Effective March 1, 1999, the 1998 trademark licenses were
   amended. This amendment, which we refer to as the 1999 amendment,
   did not affect the particular terms of the 1998 trademark licenses that
   were discussed in the paragraph above.

          In June 1999 the BPTO recorded each of the 1998 trademark
   licenses, as amended by the 1999 amendment.

           The 1998 trademark licenses were in effect during the 2006 tax
   year.

          Petitioner and respondent made the following stipulations
   relating to Brazilian law and its effect on 3M Brazil, which we adopt: 9



           8 The net selling price is defined not to include the price of any product sold by

   3M Brazil to 3M Company or the price of a prepackaged product bought by 3M Brazil
   from 3M Company and resold.
           9 Some errors in punctuation have been corrected.




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                71. The BPTO, which is an agency of the Brazilian
         government, was created by Law No. 5648/1970, dated
         December 11, 1970, to replace the earlier National
         Department of Industrial Property. During 2006, the
         BPTO operated pursuant to the legal authority contained
         in Law No. 9279/1996, dated May 14, 1996 (“the Brazilian
         Industrial Property Law”). Under Law No. 9279/1996, the
         BPTO was vested with regulatory authority over industrial
         property in Brazil. Acting pursuant to Law No. 9279/1996,
         the BPTO exercised regulatory control within Brazil over
         the recordation of agreements providing for the licensing of
         industrial property and the transfer of technology,
         including agreements with foreign counterparties.

                72.   The Ministry of Finance is an executive
         department in charge of economic policy and the treasury
         of the Brazilian federal government. During 2006, the
         Ministry of Finance operated pursuant to the legal
         authority set forth under Law No. 7739/1989, dated March
         16, 1989, and was regulated by Decree 5510, dated August
         12, 2005, the latter being revoked and replaced on October
         31, 2006 by Decree 5949. Under Brazilian law, a Decree is
         a binding rule issued by the executive branch of the
         Brazilian government. The responsibilities of the Ministry
         of Finance include monetary policy, including currency and
         coinage; federal tax policy, including collection and
         enforcement of tax laws; management of federal finances
         and assets, including management of the Brazilian public
         debt; public accounting; oversight and control of cross-
         border trade; and oversight of financial institutions.

                73. During 2006, the Brazilian Central Bank was
         the principal monetary authority in Brazil. Prior to the
         establishment of the Brazilian Central Bank in 1964, the
         monetary authority of Brazil was vested, in part, in the
         Agency for Currency and Credit (“SUMOC”). In 1964, the
         Brazilian Central Bank replaced SUMOC as the principal
         monetary authority in Brazil.

                74. Law No. 4131/1962, dated September 3, 1962
         (also known as the “Foreign Capital Law”), was enacted by
         the Brazilian government for the purpose of regulating
         foreign capital and remittance of funds abroad. Article 9 of




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         Law 4131/1962 provided that before any royalties relating
         to patents or trademarks, payments relating to the transfer
         of technology, or fees for technical assistance services could
         be remitted abroad, evidence of the agreement providing
         for such payments had to be submitted to SUMOC.
         “Technical assistance services” are those provided by
         persons with technical backgrounds, such as engineers,
         chemists and biologists. Such services provide expertise in
         the use of patented or unpatented technology. They are
         distinguished from “consulting services” which are not
         directly related to the use of patented or unpatented
         technology. Consulting services include advice relating to,
         for example, management, finance, law, marketing,
         logistics, and information technology.

                75.

                a. On February 16, 1972, the Inspection and
         Registration of Foreign Capital of the Central Bank
         (“FIRCE”), a regulatory agency under the Brazilian
         Central Bank, issued Comunicado FIRCE No. 19, an
         instruction regarding the application of Article 9 of Law
         No. 4131/1962. That instruction, known as Regulation No.
         19, required that a party seeking to remit payments in
         foreign currency abroad pursuant to an agreement that is
         subject to registration at the Brazilian Central Bank must
         produce evidence establishing that the agreement has been
         recorded by the BPTO.

                b. Regulation No. 19 was later superseded by the
         establishment of an electronic system of registration of
         agreements at the Central Bank, which was implemented
         by Circular No. 2816, dated April 15, 1998, and regulated
         by Circular-Letter No. 2795, dated April 15, 1998. Under
         Brazilian law, Circulars and Circular-Letters are binding
         written orders issued by the Central Bank to government
         employees and regulated entities. Circular-Letter No.
         2795 expressly revoked Regulation No. 19. It required that
         a party seeking to remit payments abroad pursuant to an
         agreement that is subject to registration at the Brazilian
         Central Bank must produce evidence establishing that the
         agreement has been recorded by the BPTO.              This




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         requirement applied to all contracting parties, regardless
         of relation, and remained in effect during 2006.

               c. Before authorizing a remittance of funds abroad,
         the Brazilian Central Bank does not conduct an
         independent review of the terms and conditions of an
         agreement recorded with the BPTO for purposes of
         determining compliance with the applicable laws,
         regulations, and BPTO policies or procedures.

                76. Under Articles 62, 140, and 211 of the Brazilian
         Industrial Property Law (which articles were included in
         Law No. 9279/1996 and became effective on May 15, 1997),
         as well as under Normative Act 135/1997, a binding
         administrative regulation issued by the BPTO in 1997, the
         following agreements are subject to recordation by the
         BPTO:

                a. patent/industrial design license;

                b. trademark license;

                c. technology transfer (relating to unpatented
                technology);

                d. technical assistance services; and

                e. franchise.

                77. Agreements related to consulting services,
         copyright licensing and software licensing are not among
         the agreements specified in Articles 62, 140, and 211 of the
         Brazilian Industrial Property Law as being subject to
         recordation by the BPTO. Consulting services agreements,
         copyright licenses and software licenses are not required
         by law to be recorded at the BPTO. Recordation is not
         required for payments to be made under such agreements,
         including payments by Brazilian subsidiaries to their
         controlling foreign parent companies. This continued to be
         the law during 2006.

               78. Recording an agreement subject to recordation
         by the BPTO is necessary for the following purposes:




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                 a. To permit the remittance to a foreign person of
         (i) royalties for patents or trademarks, (ii) payments for
         technology transfer (relating to unpatented technology), or
         (iii) payments for technical assistance services (according
         to Law No. 4131/1962 and Circular-Letter 2795);

                b. To qualify a licensee for deductions under
         Brazilian tax law (according to Law No. 4131/1962 and
         Law No. 4506/1964, dated November 30, 1964); and

               c. To make the agreement effective against third
         parties (according to Law No. 9279/1996).

         Unless one or more of the foregoing purposes are desired
         by the contracting parties, recordation by the BPTO is not
         required or necessary under Brazilian law.

                 79. It is the BPTO’s internal policy to permit a party
         to a license agreement that is subject to recordation by the
         BPTO to initiate a consultation procedure, prior to
         presenting the agreement for recordation, in order to
         obtain the views of the BPTO regarding whether the
         agreement satisfies the legal, regulatory, and BPTO policy
         requirements for recordation.

                80. Article 14 of Law No. 4131/1962 instituted a
         complete prohibition of the ability of Brazilian subsidiaries
         of foreign companies to remit royalties abroad to their
         controlling parent companies for the use of patents and
         trademarks. Given this prohibition, prior to January 1,
         1992, the BPTO would not record royalty-bearing patent or
         trademark license agreements. Although Article 14 of Law
         No. 4131/1962 expressly imposed a prohibition that applied
         only to royalties for the use of patents and trademarks, the
         BPTO interpreted the prohibition as applicable to fees paid
         for technical assistance services and payments for the
         transfer of unpatented technology between Brazilian
         subsidiaries and controlling foreign companies providing
         for remittances abroad. No similar prohibition applied to
         unrelated companies. At all relevant times, including
         during the 2006 tax year, both 3M Company and 3M IPC




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          were controlling foreign companies with respect to 3M
          Brazil for purposes of applying Brazilian law.[10]

                 81. Article 43 of Law No. 4131/1962 imposed
          supplemental income taxes on dividends paid to foreign
          shareholders prior to 1992 that were in addition to a 25
          percent withholding tax imposed on the foreign recipient.
          Article 43 of Law No. 4131/1962 also imposed a
          supplemental income tax on the foreign recipient of
          dividends whenever the average remittances in a three-
          year period exceeded a specified percentage of the foreign
          shareholder’s equity interest and capital reinvestments in
          the Brazilian company. For average remittances of
          between 12 percent and 15 percent, the supplemental
          income tax rate was 40 percent; for average remittances of
          between 15 percent and 25 percent, the supplemental
          income tax rate was 50 percent; for average remittance in
          excess of 25 percent, the supplemental income tax rate was
          60 percent. In addition, Article 44 of Law No. 4131/1962
          provided that the supplementary income tax on dividends
          would be increased by an additional 20 percent in the case
          of companies with economic activities that were deemed of
          lesser importance to the national economy, as determined
          by regulations.

                  82.

                 a. On December 30, 1991, the Brazilian government
          enacted Law No. 8383/1991, which repealed in its entirety
          the supplemental income tax on dividends under Articles
          43 and 44 of Law No. 4131/1962, and repealed, in part, the
          prohibition on the remittance of royalties between
          Brazilian companies and controlling foreign companies
          contained in Article 14 of Law No. 4131/1962.           In
          particular, Law No. 8383/1991 permitted a Brazilian
          company to remit royalties to its controlling foreign
          company to the extent such payments were made



          10 As described infra part 7, in 1999 3M Company created a second-tier wholly

   owned U.S. subsidiary, 3M Innovative Properties Company (“3M IPC”) and transferred
   much of its intellectual property to 3M IPC. 3M Brazil was a wholly owned subsidiary
   of 3M IPC.




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         deductible for Brazilian tax purposes under Article 50 of
         Law No. 8383/1991.

                b. Accordingly, after December 31, 1991, the BPTO
         began to record royalty-bearing patent and trademark
         license agreements between Brazilian companies and
         controlling foreign companies providing for remittances
         abroad, provided that the amounts payable under such
         agreements did not exceed the tax deductibility limitations
         and provided that the agreements were otherwise in
         compliance with the policies and procedures of the BPTO
         and other applicable laws and regulations governing
         industrial property transactions. The BPTO extended this
         permission to technology transfer agreements and to
         technical assistance services agreements between
         Brazilian companies and controlling foreign companies.

                c. After the enactment of Law No. 8383/1991, if the
         BPTO recorded a royalty-bearing patent or trademark
         license agreement or technology transfer agreement
         between a Brazilian company and a controlling foreign
         company, then the amounts payable under such an
         agreement could be remitted abroad to the foreign
         company, subject to the fixed ceilings discussed in
         paragraphs 89 and 90 of this Stipulation of Facts. In
         addition, the Brazilian company could deduct such
         payments for Brazilian tax purposes in accordance with
         Article 50 of Law No. 8383/1991, subject to the fixed
         ceilings discussed in paragraphs 87 and 88 of this
         Stipulation of Facts. This was the law in 2006.

                83. The Brazilian Central Bank could impose a fine
         on a Brazilian licensee of up to R$250,000 pursuant to
         Article 58 of Law No. 4131/1962 and Provisional Measure
         No. 2224, dated September 4, 2001, if the licensee made an
         unauthorized remittance by either (a) making payments to
         a foreign person (controlling or noncontrolling) without
         prior recordation of an agreement required to be recorded
         at the BPTO, or (b) making payments to a foreign
         controlling entity in amounts exceeding the fixed ceilings
         described in paragraphs 89 and 90 of this Stipulation of
         Facts. The Brazilian Central Bank could also impose a
         monetary penalty, pursuant to Article 23 of Law No.




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           4131/1962, of up to 300 percent of the non-authorized
           remitted amount on the licensee, the bank involved in
           remitting the funds, and any transactional broker. In
           addition, the Brazilian Central Bank could require the
           repayment of any such unauthorized remittance pursuant
           to item 3, Chapter 7 Title 1 of Circulars 3280/2005 and
           3325/2006, issued by the Brazilian Central Bank. This was
           the law in 2006.

                  84. After the enactment of Law No. 8383/1991, the
           BPTO adopted the administrative position that, if a certain
           trademark or patent had been licensed prior to January 1,
           1992, by means of an agreement recorded with the BPTO
           on a royalty-free basis (because of the prohibition
           instituted by Article 14 of Law 4131/1962), the same
           trademark or patent could not be licensed on a royalty-
           bearing basis under a new agreement signed and recorded
           after January 1, 1992. This internal policy of the BPTO,
           which was in effect during 2006, was amended in 2009
           when the BPTO issued a formal opinion explaining that
           royalty payments would be allowed on a prospective basis,
           even if the licensed trademark or patent had been licensed
           free of charge prior to January 1, 1992. Although this was
           the policy of the BPTO during 1998, when the 1998
           Trademark Licenses[11] were recorded, the BPTO through
           an error did not apply this policy to the 1998 Trademark
           Licenses.     The BPTO recorded the 1998 Trademark
           Licenses although some of the covered trademarks had
           been previously covered by the 1982 Trademark Licensing
           Agreement.[12]

                 85. Brazil’s Industrial Property Law (Law No.
           9279/1996) does not treat unpatented technology (such as
           trade secrets and know how) as industrial property. The
           BPTO does not consider unpatented technology to be a
           proprietary right that can be licensed. The BPTO does,
           however, record technology transfer agreements providing

           11 Elsewhere in this Opinion, the 1998 Trademark Licenses are referred to as

   the 1998 trademark licenses (i.e., without capitalization).
           12 Elsewhere in this Opinion, the 1982 Trademark Licensing Agreement is

   referred to as the 1982 trademark licensing agreement (i.e., without capitalization).
   See supra part 4.




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         for the sale of unpatented technology.       This was the
         internal policy of the BPTO in 2006.

                86.

                a.    During the mid-1990’s, Brazil altered the
         legislation related to the corporate income tax.          In
         particular, Law No. 9249/1995, dated December 26, 1995,
         established a worldwide income tax on the net profits of
         corporations domiciled in Brazil. One of the corporate tax
         regimes adopted in Brazil is a combination of (i) the so-
         called “real profit” regime, which adopts accounting records
         of revenues and expenses, adjusted by additions and
         exclusions determined by law, and (ii) a social contribution
         payment based upon net profits. Taxable profits, if any,
         are then taxed at a combined tax rate up to 34 percent.

                b. Roughly a year after the enactment of Law No.
         9249/1995, the Brazilian government enacted Law No.
         9430/1996, dated December 27, 1996, which established a
         system of transfer pricing rules in Brazil to address, among
         other things, pricing and taxation of cross-border
         transactions between related corporations. Although the
         transfer pricing methodologies under the Brazilian tax
         system are, in some respects, similar to the methodologies
         set forth in the guidelines published by the international
         Organization for Economic Cooperation and Development
         (“OECD”), Brazil’s transfer pricing regime also deviates in
         some respects from the OECD transfer pricing guidelines.
         For example, instead of applying the general “arm’s length
         principle” embodied in the OECD guidelines as the guiding
         principle for pricing of intercompany transactions, a
         number of Brazilian transfer pricing rules provide for
         statutory-based tests, such as fixed profits margins,
         maximum ceilings for deductibility of expenses on imports,
         minimum gross income floors for exports, and limitations
         on the deductibility of interest expenses based upon fixed
         rates and ranges.

                c. Under paragraph 9 of Article 18 of Law No.
         9430/1996, transactions involving patent or trademark
         royalties, technology transfer payments, or payments for
         technical assistance services in connection with the




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          transfer of intangibles are exempt from the transfer pricing
          regime. Deductibility of these amounts is governed by the
          fixed ceilings discussed in paragraph 87 of this Stipulation
          of Facts.

                 87. Brazilian tax law imposes fixed ceilings on the
          deductibility of royalties for trademarks and patents and
          for remuneration paid for technology transfer and
          technical assistance services. The ceilings were initially
          established by Article 74 of Law No. 3470/1958, dated
          November 28, 1958, which introduced a cap on the amount
          deductible as royalties for the license of trademarks and
          patents, and also on the amount deductible for
          remuneration paid for technology transfer and technical
          assistance services. Law No. 3470/1958 established a
          maximum deductibility limit of five percent of the gross
          sales price of products manufactured and sold under
          license, technology transfer, or technical assistance
          services agreements. Law No. 3470/1958 also provided
          that the maximum deductibility limit of five percent would
          be reviewed periodically by the Brazilian Ministry of
          Finance and adjusted according to the degree of
          essentiality of the industries or activities involved, so that
          it could be less than five percent.

                  88.

                 a. Acting pursuant to Law No. 3470/1958, the
          Brazilian Ministry of Finance in 1958 promulgated
          Portaria No. 436/58, which established decreasing
          maximum deductibility ceilings, ranging from five percent
          to one percent of gross sales, in connection with (i) royalties
          paid for the license of patents; (ii) technology transfer
          payments for unpatented technology (see paragraph 90 of
          this Stipulation of Facts); and (iii) amounts paid for
          technical assistance services.[13] Under Brazilian law, a



           13 Petitioner and respondent have stipulated the English translation of the text

   of Portaria No. 436/58. See paragraph 88c of the stipulation; Exhibit 28-J. We gather
   from the English translation that Portaria No. 436/58 additionally established a
   maximum deductibility ceiling of 1% for royalties for the use of trademarks. This may
   be the same as the 1% cap that is referred to in paragraph 88.e of the stipulation.




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         Portaria is a binding        rule   promulgated    by   an
         administrative agency.

                 b. By Article 6 of Decree-Law No. 1730/1979, dated
         December 17, 1979, the percentage limitation on
         deductions, which initially applied to gross sales of
         products covered by licensed technology, was amended so
         as to apply to net sales of such products. Under Decree-
         Law No. 1598/1977, dated December 26, 1977, and
         confirmed by Rule-Making Instruction No. 51, dated
         November 3, 1978, net sales are calculated by reducing the
         following amounts from gross sales: (1) products returned
         and canceled sales; (2) discounts granted on an
         unconditional basis; and (3) taxes levied thereon. This was
         the law in 2006. In addition, it was the BPTO’s unwritten
         policy in 2006 to require, for purposes of computing net
         sales for patent royalties and technology transfer
         agreements, that gross sales be reduced by the amounts set
         forth in Decree-Law No. 1598/1977, as well as by the cost
         of all inputs or components imported from the supplier of
         technology or from parties related to the supplier,
         regardless of whether such inputs or components were
         manufactured by the supplier or third parties. A Decree-
         Law is a binding law that was issued by the executive
         branch during the military dictatorship that ruled Brazil
         between 1964 and 1985.

                c. The percentages under Portaria 436/58 were
         applied to a comprehensive list of industries and products
         identified in the Portaria. In 1959, 1970 and 1994, the
         Ministry of Finance promulgated Portaria Nos. 113/59,
         314/70 and 60/94, setting maximum deductibility ceilings
         for the cement, glass and informatics industries,
         respectively. Copies of these Portarias (in the original
         Portuguese version followed by an English translation) are
         attached as Exhibits 28-J, 29-J, 30-J and 31-J. These
         Portarias were in effect during 2006. They apply to the
         deductibility of any (i) royalty payments made for the
         license of patents, (ii) technology transfer payments for
         unpatented technology (see paragraph 90 of this
         Stipulation of Facts), and (iii) amounts paid for technical
         assistance services, regardless of whether such royalties
         were paid in a related or unrelated party transaction.




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         Royalties paid that exceed the deductible amount, to the
         extent such payments are otherwise permitted, are not
         deductible for Brazilian tax purposes. This was the law in
         2006.

                d. To the extent that the contracting parties are not
         able to determine to which product category a particular
         product belongs, the parties may apply for an
         administrative consultation, in which the Ministry of
         Finance may indicate the appropriate rate ceiling for the
         tax deduction under the Portarias. This practice was in
         place during 2006.

                e. The deduction permitted for the payment of
         royalties for the license of trademarks is capped at one
         percent of net sales, regardless of the type of industry or
         product involved. This restriction was in effect during 2006
         and applies to the deductibility of any royalty payments
         made for the license of trademarks, regardless of whether
         such royalties were paid in a related or unrelated party
         transaction.    Royalties paid pursuant to trademark
         licenses that exceed the deductible amount, to the extent
         such payments are otherwise permitted, are not deductible
         for Brazilian tax purposes. This was the law in 2006.

                f. The Federal Revenue Service, which is a division
         of the Ministry of Finance, interpreted Portaria 436/58 in
         Decision No. 283 (November 30, 2000), a copy of which (in
         the original Portuguese version followed by an English
         transaction) is attached as Exhibit 32-J. According to
         Decision No. 283, the deduction for royalties under a
         license of trademarks is capped at one percent of net sales
         for each product, even if more than one trademark is used
         on the product. In addition, the Decision further provides
         that no deduction for trademark royalties is allowable
         when the use of the trademark derives from the use of a
         patent, manufacturing process, or formula. As a result, the
         Ministry of Finance will not permit a taxpayer to deduct
         trademark royalties if a deduction was already claimed on
         the same product for the license of patents, or for the use
         of manufacturing processes or formulas. Under Brazilian
         law, a Decision is a ruling by an administrative agency
         made in the context of a particular case or consultation.




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         Although a Decision does not have any binding effect
         beyond the parties to the case, a Decision functions as a
         precedent to be followed by the administrative agency in
         future cases involving similar facts.

                89. Since January 1, 1992, and the enactment of
         Law No. 8383/1991, the BPTO has imposed fixed ceilings
         on amounts payable by a Brazilian company to a
         controlling foreign company under a patent or trademark
         license agreement. See paragraph 82 of this Stipulation of
         Facts. The ceilings, which were in place during 2006,
         correspond to the ceilings for tax deductibility set forth in
         Portaria 436/58, as amended. See paragraph 88 of this
         Stipulation of Facts. The BPTO will not record an
         agreement between a Brazilian company and a controlling
         foreign company that does not comply with these ceilings.
         These ceilings do not apply to agreements and payments
         between unrelated companies.

                90. Under its interpretation of Law Nos. 4131/1962
         and 8383/1991, the BPTO also applies the same fixed
         ceilings that apply to royalties under a patent or trademark
         license agreement to payments under an agreement
         between a Brazilian company and a controlling foreign
         company providing for the transfer of unpatented
         technology (“technology transfer payments”) and also to
         payments for technical assistance services.             This
         interpretation is not published. The BPTO applied this
         interpretation during 2006.

                91. The base against which royalties are calculated
         under licensing agreements recorded at the BPTO
         generally differs between payments for trademark
         royalties and payments for patent royalties or transfers of
         unpatented technology.         With respect to trademark
         royalties, it is the general practice for licensing agreements
         to calculate the one percent royalty based upon the net
         sales of all trademarked merchandise sold by the licensee
         (whether or not manufactured by the licensee), using the
         definition of net sales under [Decree-]Law No. 1598/1977.
         Conversely, it is the general practice to calculate patent
         royalties and technology transfer payments (which, as
         described above, range from one percent of net sales to five




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         percent of net sales) based upon the net sales of products
         manufactured and sold by the licensee that incorporate
         patented or unpatented technology. These are general
         practices that are not required by Brazilian law or BPTO
         policy.

                92. It is the BPTO’s policy to limit the duration of a
         technology transfer agreement to a maximum of five years.
         As an exception to the general rule, if the parties can
         objectively demonstrate to the BPTO the need to continue
         the technology transfer, the BPTO may allow duration of a
         technology transfer agreement to be renewed for one
         additional five-year term. At the end of the five or ten-year
         period, the BPTO requires that the transferee be entitled
         to use the unpatented technology without further payment.
         This maximum term for a technology transfer agreement
         is not established in the Industrial Property Law (Law No.
         9279/1996) or in any other law or regulation, but results
         from the application, by analogy, of Law No. 4131/1962,
         which provides that technical assistance services fees paid
         under technology transfer agreements may be deducted
         during only the first five years of the agreement, renewable
         for one additional five year term. Limiting the duration of
         technology transfer agreements as described above was the
         policy of the BPTO in 2006. This policy was not published.

                93. The BPTO will not record one or more licensing
         agreements between a Brazilian company and a controlling
         foreign company providing for a license of patents or
         trademarks or providing for the transfer of unpatented
         technology if such agreement or agreements relate to the
         same product and call for royalties or payments that,
         combined, exceed the deductibility limits under Brazilian
         tax law. In such a case, the deductibility limitation
         represents the maximum allowable payment, even if more
         than one category of royalty or payment is involved. The
         BPTO normally requests that the parties precisely indicate
         which category of royalty is being paid. This was the policy
         of the BPTO in 2006. This policy was not published.




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                94.

                a. If a product is covered by a patent license or by a
         technology transfer agreement between a Brazilian
         company and a controlling foreign company, then the
         BPTO by unwritten policy requires that any trademark
         license between the same Brazilian company and the same
         controlling foreign company for that same product be
         granted royalty-free. If a trademark royalty may be paid
         under that policy, the BPTO by unwritten policy requires
         that the royalties for the license of trademarks payable by
         a Brazilian company to a controlling foreign company must
         be capped at one percent of net sales for each product, even
         if more than one trademark is used on the product. These
         unwritten policies of the BPTO were in effect at the time
         that the 1998 Trademark Licenses were recorded and
         during 2006, and they remain in effect. These unwritten
         policies of the BPTO correspond to the administrative
         ruling set forth in Decision No. 283 (Exhibit 32-J),
         described in paragraph 88.f, above.

               b. As described above at paragraphs 65-68, 3M
         Company and 3M Brazil entered into three licensing
         agreements, the 1998 Trademark Licenses, covering three
         separate sets of trademarks. The BPTO recorded them in
         June 1999. 3M Company had received erroneous legal
         advice that if a product used multiple trademarks covered
         by three separate agreements, then 3M Brazil could pay a
         royalty of up to three percent of net sales (one percent for
         each trademark covered by a separate agreement, as
         described in paragraph 65 above). That legal advice was
         contrary to the BPTO’s unwritten policy that the maximum
         trademark royalty for a product is one percent of net sales,
         regardless of how many licensed trademarks are identified
         on the product.

                c. The three 1998 Trademark Licenses (Exhibits 20-
         J, 21-J and 22-J) described the trademarks but did not
         describe the products on which the trademarks would be
         used. The parties have not been able to determine whether
         3M Brazil submitted additional information to the BPTO
         indicating that 3M Brazil would use trademarks covered
         by different licensing agreements on a single product and




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         pay more than a one percent royalty. However, 3M Brazil
         did pay 3M Company trademark royalties of up to three
         percent on products bearing trademarks covered by more
         than one licensing agreement based on the erroneous legal
         advice that it received.

                95. Article 63 of the Brazilian Industrial Property
         Law (Law No. 9279/1996) provides that any improvement
         introduced in a licensed patent belongs to the party that
         made the improvement. The other party is entitled to a
         right of first refusal to obtain a license of the improvement.
         Although the law refers to patents (and not to unpatented
         technology), the BPTO applies this rule to unpatented
         technology by analogy. If an agreement contains a
         provision contrary to this rule and does not require the
         licensor to make additional payment for the improvements
         or reciprocate in some equivalent fashion, the BPTO may
         record the agreement but with a notation that such
         provision is not enforceable. This was the policy of the
         BPTO in 2006. This policy was not published.

                96. If a license agreement contains one or more
         provisions that the BPTO considers to be burdensome to a
         licensee’s rights, the BPTO will generally notify the parties
         that the BPTO considers such provisions to be burdensome,
         but the inclusion of such provisions will not interfere with
         the BPTO’s recordation of the agreement. This was the
         policy of the BPTO in 2006. The policy was not published.

                97. Based upon its interpretation of the Industrial
         Property Law (Law No. 9279/1996), the BPTO does not
         permit the payment of royalties for patent and trademark
         applications. However, in the case of patent applications,
         royalties can be charged and credited in a licensee’s
         financial statements, but payment can be made only after
         the grant of the patent. This was the policy of the BPTO in
         2006. This policy was not published.

                98. Brazilian law allows 3M Brazil, as a sociedade
         limitada, to make two kinds of distributions out of its
         profits to its shareholders in respect of its shares: dividends
         and interest on net equity.




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                99. Dividends can be paid by a Brazilian sociedade
         limitada to the extent of its current and retained earnings,
         as determined using Brazilian generally accepted
         accounting principles.       Apart from this limitation,
         Brazilian law imposes no restriction on the ability of a
         sociedade limitada to pay dividends abroad to its
         shareholders, including to a controlling foreign company,
         and authorization from the Central Bank of Brazil is not
         required. Dividends of a sociedade limitada must be
         declared by the shareholders. Dividends are not deductible
         by the company paying the dividend under Brazilian tax
         law. Dividends are not taxable income to the recipient
         under Brazilian tax law. Brazil does not impose a
         withholding tax on dividends paid by a Brazilian company
         to a foreign shareholder. This was the law in 2006.

                100. As a sociedade limitada, 3M Brazil is allowed
         under Brazilian law to pay interest on net equity. Interest
         on net equity must be declared by the shareholders of a
         sociedade limitada. Interest on net equity is calculated by
         applying a long term interest rate set by the Brazilian
         government (the “Taxa de Juros de Longo Prazo”), to the
         company’s equity (i.e., net assets). The amount that can be
         paid as interest on net equity is limited to greater of: (i) 50
         percent of the entity’s profits of the current year; or (ii) 50
         percent of the entity’s accumulated profits (not including
         profits of the current year). Apart from this limitation,
         Brazilian law imposes no restriction on the ability of a
         sociedade limitada to remit interest on net equity abroad
         to its shareholders, including to a controlling foreign
         company, and authorization from the Central Bank of
         Brazil is not required. Under Brazilian tax law, interest
         on net equity is (subject to the previous limitations)
         deductible by the company paying the interest on net
         equity, and is taxable income to the recipient. Brazil
         imposes a withholding tax on interest on net equity paid to
         foreign recipients. The withholding tax rate applicable to
         payments to United States shareholders is 15 percent. The
         Brazilian entity that makes the payment is required to
         withhold the withholding tax, and the tax is not a credit
         against any other tax imposed under Brazilian law. This
         was the law in 2006.




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                101. Under Brazilian income tax law, withholding
         is generally required on cross-border payments made by a
         Brazilian company to a foreign company in the following
         amounts: 25% with respect to payments for services; 15%
         with respect to royalty payments for patents and
         trademarks; 15% with respect to payments under
         technology transfer agreements (i.e., unpatented
         technology); and 15% with respect to payments for
         technical assistance services. These are the withholding
         rates applicable where the recipient of a payment is
         resident in the United States because there is no tax treaty
         between Brazil and the United States and the United
         States is not considered a tax haven. The withholding
         rates may differ where the recipient is a resident of a
         country having a tax treaty with Brazil or of a country that
         is considered a tax haven. The Brazilian entity that makes
         the payment is required to withhold the withholding tax,
         and the tax is a not credit against any other tax imposed
         under Brazilian law. This was the law in 2006.

                102. Brazil imposes a CIDE (Contribuição sobre
         Intervenção no Domínio Econômico) tax. The CIDE tax is
         imposed at the rate of ten percent on payments of royalties,
         technical assistance services, copyrights, and other
         compensation derived from contractual obligations
         involving the transfer of technology, made by a Brazilian
         company to a foreign company. The CIDE tax is not a
         withholding tax. It is imposed on the Brazilian paying
         company. This was the law in 2006.

               103.    The BPTO’s authority does not include
         supervision over the payment of dividends or interest on
         net equity.

   6.    Texts of certain Brazilian legal documents referred to in the
         stipulations related to Brazilian law

          Certain Brazilian legal documents were referred to in the
   stipulations that we quoted supra part 5:




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     Exhibit number of legal      Stipulation paragraph     Title of legal document
           document                 that refers to legal
                                        document
              28-J                         88.c            Portaria No. 436/58
              29-J                         88.c            Portaria No. 113/59
              30-J                         88.c            Portaria No. 314/70
              31-J                         88.c            Portaria No. 60/94
              32-J                         88.f            Decision No. 293 (Nov. 30,
                                                           2000)

   The original documents are in Portuguese. Petitioner and respondent
   have stipulated the English translations of the documents, which we
   reproduce below.

          The English translation of Exhibit 28-J (Portaria 436/58) is:

                               MINISTRY OF FINANCE

                          OFFICE OF THE MINISTER

                 DIRECTIVE 436 of December 30, 1958

                 The Minister of Finance, exerting the authority
          conferred upon him and in view of the provisions referred
          to in Article 74, paragraphs 1 and 2 of Law 3470, of
          November 28, 1958, pertaining to the deduction of royalties
          for the use of trademarks and patents, expenses for
          technical, scientific, administrative and similar assistance,
          as well as amortization quotas for patents, in ascertaining
          the real profits of legal entities, decides:

                 a) to establish the following maximum percentual
                    coefficients for the above mentioned deductions,
                    taking into consideration the types of production
                    or activity, according to their degree of
                    essentiality:

                         I--royalties for the use of invention patents,
                         manufacturing processes and formulas,
                         expenses       for    technical,     scientific,
                         administrative and similar assistance:




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         FIRST GROUP--BASIC INDUSTRIES

         Type of production                                                   Percentage

         1. Electric Power
            01--Production and distribution . . . . . . . . . . . . . . . . . 5%
         2. Fuel
            02--Petroleum and by-products . . . . . . . . . . . . . . . . . . 5%
         3. Transportation
            03--Street-car transportation . . . . . . . . . . . . . . . . . . . 5%
         4. Communications . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 5%
         5. Transportation materials
            01--Automobiles, trucks and similar vehicles . . . . . . 5%
            02--Parts thereof . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 5%
            03--Tires and tubes . . . . . . . . . . . . . . . . . . . . . . . . . . . 5%
         6. Fertilizers . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 5%
         7. Basic Chemicals . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 5%
         8. Heavy Metallurgy
            01--Iron and Steel . . . . . . . . . . . . . . . . . . . . . . . . . . . . 5%
            02--Aluminum . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 5%
         9. Electrical Material
            01--Transformers, Dynamos and Generators . . . . . . . 5%
            02--Electric motors for industrial use . . . . . . . . . . . . 5%
            03--Telephonic, telegraphic and signalling
                equipment . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 5%
         10. Miscellaneous
             01--Tractors and Combines for agriculture . . . . . . . . 5%
             02--Equipment for Road Construction, and parts
                  thereof . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 5%
             03--Equipment for the extractive and transformation
                 industries, and parts thereof . . . . . . . . . . . . . . . . 5%
         11. Shipbuilding
             01--Ships . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 5%
             02--Equipment for ships . . . . . . . . . . . . . . . . . . . . . . . 5%




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         SECOND     GROUP—PROCESSING                                      INDUSTRY—
         ESSENTIALS

         Type of Production                                                   Percentage
         1. Packaging Equipment . . . . . . . . . . . . . . . . . . . . . . . . . 4%
         2. Foodstuffs . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 4%
         3. Chemicals . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 4%
         4. Pharmaceuticals . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 4%
         5. Textile materials, yarn and thread . . . . . . . . . . . . . . . 4%
         6. Footwear and similar goods . . . . . . . . . . . . . . . . . . . . 3.5%
         7. Manufactured metal goods . . . . . . . . . . . . . . . . . . . . 3.5%
         8. Manufactured cement and asbestos goods . . . . . . . . 3.5%
         9. Electric material . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 3%
         10. Machinery and appliances
             01--Household appliances, not classified as
                 sumptuary . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 3%
             02--Office machinery and appliances . . . . . . . . . . . . 3%
             03--Appliances for scientific use . . . . . . . . . . . . . . . . 3%
         11. Rubber and plastic manufactured goods . . . . . . . . . . 2%
         12. Sanitary and toilet goods
             01--Shaving articles . . . . . . . . . . . . . . . . . . . . . . . . . . 2%
             02--Toothpaste . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 2%
             03--Regular bathing soap . . . . . . . . . . . . . . . . . . . . . 2%
         13. Other processing industries . . . . . . . . . . . . . . . . . . . . 1%

                            II--royalties for the use of industrial and
                            commercial trademarks or trade name, in any
                            type of production or activity, when the use of
                            the trademark or name does not derive from
                            the utilization of the patent; manufacturing
                            process, or formula: 1%

                  b) The maximum percentages established will incur
                     on the gross operating income, in the case of
                     public service concessionaries, or on the gross
                     receipt value of products referred to in the license
                     or assistance services contracts;

                  c) in cases of payment based on goods produced
                     each year, the coefficients established as a limit
                     for the deductions referred to in numbers I and II
                     of (a) will be applied on the sales value of the
                     goods;




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                d) should the situation in (c) occur, the gross receipt
                   shall be readjusted, including the corresponding
                   value of goods produced and not sold, on the basis
                   of the last invoiced price and excluding the
                   amounts that may have been added in the same
                   way to the gross receipt of the previous year;

                e) for tax purposes, as of 1959, to each fiscal year
                there shall be an addition of the following
                differences:

                      I--between the amounts of royalties and other
                      expenses referred to in article 74 of the
                      mentioned Law, credited or paid during the
                      base-year, and the minimum percentages
                      established for the respective deduction,
                      according to (b) and (d);

                      II--between the quotas for the purpose of
                      forming depreciation reserves for industrial
                      patents evaluated in accordance with article
                      68 of the same Law, and the maximum limit
                      of the deduction allowed, with respect to the
                      gross receipt value of the goods sold, referring
                      to the patent incorporated in the assets of the
                      company;

                f) the legal entities whose types of production are
                not included in the aforementioned groups may have
                them included by applying to the Director of the
                Income Tax Division; until such application is made,
                the minimum percentage allowed shall be applied to
                such types of production.

                               LUCAS LOPES

                (Official Gazette, December 30, 1958)


         The English translation of Exhibit 29-J (Portaria 113/59) is:




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                            MINISTRY OF FINANCE

                          OFFICE OF THE MINISTER

                DIRECTIVE 113 of May 25, 1959

                      The Minister of Finance decides:

               To include in Directive 436, of December 30, 1958,
         number I -- First Group -- Basic Industry, the cement
         industry, with a percentage of 5%, in view of its degree of
         essentiality and in accordance with reports from the
         Income Tax Division and the General Management of the
         National Treasury.

                                LUCAS LOPES

         File n˚ 9413-59.

         (Official Gazette, May 29, 1959).

         The English translation of Exhibit 30-J (Portaria 314/70) is:

         Ordinance/MF n˚ 314/70. Includes the 2nd Group--
         processing industry

         Eng. MF 314/70--Port.--Ordinance FINANCE MINISTER
         OF--MF n˚ 314 of 25.11.1970

         D.O.U.: 12/01/1970

         (Includes the 2nd Group--Manufacturing Industry--
         Essential--of the table Ordinance No. 436, of December 30,
         1958, with the percentage of 4%, glass and glass artifacts,
         for the purposes referred to in the Article 12 of Law No.
         4131 of 3 September 1962.)

         The Minister of Finance, in exercise of the powers
         conferred on it by Article 12, § 1 of Law No. 4,131, of
         September 1962, and Considering the need to improve the
         national glass industry by importing the latest technical
         achievements in the sector; considering the wide range of
         applications of the products of that industry.




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         RESOLVES:

         Include in the 2nd Group -- Manufacturing Industry --
         Essential -- of the table Ordinance No. 436, of December
         30, 1958, with the percentage of 4%, glass and glass
         artifacts, for the purposes referred to in Article 12 of Law
         No. 4,131, of September 3, 1962.

         ANTONIO DELFIM NETTO

         The English portion of Exhibit 31-J (Portaria 60/94) is:

         MF Ordinance No. 60
         D.O.U.: 2/01/1994

         The MINISTER OF FINANCE, in exercise of its statutory
         duties, taking into view the provisions of art. 50 of Law No.
         8,383, of December 30, 1991 and Ordinance No. 303, of
         November 25, 1959, decides:

         Article 1. Include in the 2nd Group--Processing Industries-
         -Essential, Ordinance No. MF 436, of December 30, 1958,
         the following item:

         Types of Production Percentage 14--INDUSTRIAL
         COMPUTER          SYSTEMS,         AUTOMATION            AND
         INSTRUMENTATION              01--Machinery,       equipment,
         apparatus, instruments and devices based on digital or
         analog technique with technical functions of collection,
         treatment, structuring, storage, switching, retrieval and
         presentation of information, its respective electronic inputs
         and opto-electronics, parts, pieces and physical support for
         the operation, as well as technological update sets and
         performance optimization (. . .) 5% [ellipses are in the
         original]

         Art. 2. This Ordinance shall enter into force on the date of
         its publication.

         Fernando Henrique Cardoso

         The English portion of Exhibit 32-J (Decision No. 283) is:
                        MINISTRY OF FINANCE




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                      FEDERAL REVENUE SERVICE

                  DECISION N˚ 283 of November 30, 2000

         SUBJECT: Corporate Income Tax

         SYLLABOUS: ROYALTIES. The percentages established
         over gross revenue to limit the deductibility of the amounts
         due in connection with royalties, must be applied to each
         product, and not to each trademark used on a same
         product. In case of royalties for the use of industrial and
         commercial trademarks or trade name, in any type of
         production or activity, when the use of the trademark or
         name does not derive from the utilization of the patent,
         manufacturing process or formula, the maximum limit is
         of 1% (one per cent).

   7.    1999 assignment agreement; corporate restructuring

         In 1999, 3M Global had sales in more than 180 countries.

           In 1999, 3M Company decided that much of its intellectual
   property should be held and managed by a newly formed U.S.
   subsidiary, 3M Innovative Properties Company (“3M IPC”). 3M
   Company also added to its corporate structure another newly formed
   U.S. corporation, 3M Financial Management Company (“3M Financial
   Management”). The purpose of 3M Financial Management was to
   facilitate currency management and intercorporate lending between 3M
   Company and its affiliates. The ownership structure of the four
   corporations was as follows: (1) 3M Company owned 3M Financial
   Management, (2) 3M Financial Management owned 3M IPC, (3) 3M IPC
   owned 3M Brazil.

           In 1999, 3M Company executed an assignment agreement to
   transfer certain intellectual property to 3M IPC to facilitate, through
   standardization and centralization, the licensing, management,
   enforcement, and control of 3M Company’s intellectual property. The
   assignment agreement was effective April 1, 1999.           Under the
   agreement, 3M Company assigned to 3M IPC all U.S. patents owned,
   licensed to, or possessed by 3M Company; all copyrights owned, licensed
   to, or possessed by 3M Company; all proprietary information (defined as
   business, technical and other information of any kind, including both
   confidential and nonconfidential information) owned, licensed to, or




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   possessed by 3M Company; and all other intellectual property (except
   trademarks) owned, licensed to, or possessed by 3M Company.

          As part of the assignment agreement, 3M Company also granted
   an exclusive license to 3M IPC, including the right to sublicense, all
   foreign patents controlled by 3M Company and to use any foreign
   trademarks controlled by 3M Company. 3M Company retained
   ownership of the trademarks.

         As part of the assignment agreement, 3M Company also assigned
   to 3M IPC its ownership interest in most licenses of intellectual property
   from 3M Company to its affiliates or third parties.

   8.    Business operations during the 2006 tax year

         a.     3M Global

         As of the 2006 tax year, 3M Global was one of the largest
   technology-and- manufacturing enterprises in the world, reporting in its
   annual report that it had over $23 billion in worldwide gross sales and
   over $21 billion in worldwide assets. At the close of the 2006 tax year,
   3M Global employed 75,333 people worldwide, with 34,553 employed in
   the United States and 40,780 employed in foreign countries. 3M Global
   derived roughly 60% of its annual revenues in the 2006 tax year from
   sources outside the United States.

          3M Global’s business operations are organized, managed, and
   internally grouped into segments based on differences in products,
   technologies, and services. During the 2006 tax year, 3M Global’s
   business consisted of six primary segments: Industrial and
   Transportation; Health Care; Display and Graphics; Consumer and
   Office; Safety, Security and Protection Services; and Electro and
   Communications. 3M Global sold more than 50,000 different products.

          During the 2006 tax year, research and product development
   constituted an important part of 3M Global’s business activities.
   Research, development, and related expenses for 3M Global totaled
   $1.522 billion in 2006, up from $1.274 billion in 2004 and $1.246 billion
   in 2005.




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          b.      3M Brazil

          During the 2006 tax year, neither 3M Company nor 3M IPC
   owned any plant, property, or equipment in Brazil. During the 2006 tax
   year, 3M Brazil reported for U.S. income-tax purposes approximately
   $563 million in sales and employed approximately 3,120 people at its
   corporate headquarters and its three manufacturing sites throughout
   Brazil, including a research and development facility at one of the
   manufacturing sites.

            At all relevant times, including during the 2006 tax year, 3M
   Brazil’s primary business operations included the manufacturing and
   distribution of 3M Global’s products. The products that 3M Brazil
   manufactured, marketed, or sold during the 2006 tax year included
   abrasives, adhesives and adhesive tapes, automotive products, office
   and consumer products, medical-and-dental-care products, graphic-
   communication products, electrical products, telecommunication
   products, tapes (including masking tapes, packaging tapes, and diaper
   tapes), labels, respirators, and hearing-protection products.

          3M Brazil also engaged in research-and-development activities,
   which led to the creation of intellectual property. During the 2006 tax
   year, 3M IPC had 167 patent applications pending in Brazil. During
   that year, Brazil granted 32 patents to 3M IPC. Two of those were
   developed by 3M Brazil personnel, and four were developed in Brazil by
   unrelated persons and were acquired by 3M Brazil from those persons. 14

          A Form 5471 pertaining to 3M Brazil was attached to the
   consolidated federal income tax return filed by the 3M consolidated
   group for the 2006 tax year. The Form 5471 is titled “Information
   Return of U.S. Persons with Respect to Certain Foreign Corporations”.
   The consolidated federal income tax return was made on Form 1120.
   The average exchange rate for converting U.S. dollars ($) to Brazilian
   reais (R$) for the 2006 taxable year, as reported by the 3M consolidated
   group on its Form 5471 for 3M Brazil, was 2.1705157. That exchange
   rate is used in this Opinion unless otherwise indicated.




          14 We describe infra part 14 paragraph 128 of the stipulation, which relates to

   research-and-development expenses incurred by 3M Brazil.




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         c.     Intellectual property; services

         3M IPC owns substantially all of the intellectual property used or
   developed by 3M Global, with the exception of trademarks, which are
   owned by 3M Company. During the 2006 tax year, 3M IPC owned, or
   held licenses to use, a wide variety of U.S. and foreign patents in
   connection with 3M Global’s products. 15

         During the 2006 tax year, 3M Global’s products were sold under
   various trademarks owned by 3M Company.

          The intellectual property of 3M Company and 3M IPC is
   collectively referred to as the 3M Intellectual Property.

           Including during the 2006 tax year, 3M Company and 3M IPC
   had jointly licensed the 3M Intellectual Property (1) to most of the
   affiliates of 3M Global (but not to 3M Brazil) and (2) to third parties.

           During the 2006 tax year, 3M Company and 3M IPC jointly
   licensed the 3M Intellectual Property to most affiliates of 3M Global
   using a standard licensing agreement. 3M Brazil was not among those
   affiliates. The standard licensing agreement recites that “[i]nstead of
   negotiating separate agreements for different technologies, products,
   services and intellectual property rights, the Parties wish to negotiate a
   single agreement that will grant a license to Affiliate under the entire
   portfolio of 3M IPC’s intellectual property rights, and will transfer
   intellectual property rights developed or obtained by Affiliate to 3M
   IPC.” The word “Affiliate” refers to a foreign affiliate. “Parties” refers
   to the Affiliate, 3M Company, and 3M IPC. Under the standard
   licensing agreement, the licensors (3M Company and 3M IPC,
   individually and collectively) grant to the licensee (a foreign affiliate) a
   license to manufacture goods using the licensor’s intellectual property
   and to exercise all rights that are protected by or arise under the
   licensor’s intellectual property. A licensee under the standard licensing
   agreement agrees to pay a royalty to 3M IPC equal to 6% of the net price
   charged by the licensee for products manufactured using the licensor’s




          15 As explained before, the 1999 assignment agreement transferred U.S.

   patents from 3M Company to 3M IPC. The record does not appear to show when or
   how the foreign patents were transferred from 3M Company to 3M IPC.




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   intellectual property. 16 Trademarks are not used in the manufacture of
   products, and therefore the royalty payment does not cover the use of
   trademarks. The licensee also agrees to pay to 3M IPC 6% of the net
   price charged by the licensee to any buyer other than a 3M Global
   company for services provided by the licensee under the licensor’s
   intellectual property. The licensee also agrees to pay to 3M IPC 1% of
   the net price charged by the licensee for products sold, licensed, leased,
   or otherwise disposed of by the licensee (using the licensor’s intellectual
   property) to any buyer other than a 3M Global company. Under the
   standard licensing agreement, 3M Company agrees to reimburse the
   licensee its actual costs incurred for laboratory work undertaken by the
   licensee or performed by an entity other than the licensor for the licensee
   at the licensee’s request, and related to product development or
   modification, or research, including basic and applied research. 3M
   Company also agrees to pay a markup of 10% (or other agreed markup).
   All types of intellectual property developed by the licensee through this
   arrangement would become the property of 3M IPC, except for the
   trademarks, which would become the property of 3M Company. The
   types of intellectual property include (1) patents, trademarks, domain
   names, copyrights, proprietary information, and (2) all intellectual
   rights of any kind other than patents, trademarks, domain names,
   copyrights and proprietary information.          The standard licensing
   agreement does not relate to technical and support services, which are
   the subject of a separate agreement, as described in the next paragraph.
   With only a few exceptions, all of the foreign affiliates in 3M Global
   operated under a version of the standard licensing agreement during the
   2006 tax year. 3M Brazil was one such exception.

           The standard services agreement is a reciprocal agreement under
   which 3M Company and 3M IPC, on the one hand, and the foreign
   affiliate, on the other, agree to provide technical and support services to
   each other as may be agreed from time to time. The services include
   technical assistance services and selling, marketing, and general and
   administrative services. Under the standard services agreement, the
   foreign affiliate agrees to compensate 3M Company and 3M IPC at cost,
   and 3M Company and 3M IPC agree to compensate the foreign affiliate
   at cost plus a 10% markup. Most of the foreign affiliates in 3M Global
   operated under a version of the standard services agreement during the
   2006 tax year. 3M Brazil was one exception. 3M Company and 3M

           16 The calculation of the net price includes a reduction for the cost of

   semifinished goods incorporated into the manufactured products that were purchased
   from a 3M Global company.




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   Brazil entered into a version of the standard services agreement
   effective January 1, 2009.

          At all relevant times, including the 2006 tax year, 3M Brazil had
   access to, and used in its business operations, the 3M Intellectual
   Property, including patents, trademarks, trade names, name
   recognition, copyrights, software, and nonpatented technology (such as
   technical know-how and trade secrets). 3M Brazil’s right to 3M
   Intellectual Property throughout the years was sometimes governed by
   one or more licensing agreements. The only such arrangements in effect
   during the 2006 tax year were the 1998 trademark licensing
   agreements. At all relevant times, including during the 2006 tax year,
   3M Company provided services to 3M Brazil. During the 2006 tax year,
   those services consisted of consulting services and technical assistance
   services. During 2006, 3M Company provided significantly more
   consulting services and technical assistance services. The terms
   “consulting services” and “technical assistance services” are defined in
   paragraph 74 of the stipulation, which is quoted infra part 9.

          d.      Payments by 3M Brazil

          The 1998 trademark licenses required 3M Brazil to pay 3M
   Company 1% of its net sales. Brazil required that the maximum royalty
   for a product be 1% of net sales, regardless of how many licensed
   trademarks were used on the product. During 2006, 3M Brazil paid
   $5,104,756 in royalties to 3M Company under the 1998 trademark
   licenses. This $5,104,756 royalty payment, though calculated at 1% of
   net sales, was calculated using a stacking principle under which if a
   product used multiple trademarks covered by three separate
   agreements, then the licensee (3M Brazil) should pay up to a 3%
   trademark royalty. We make no finding as to what the royalty payment
   would have been if computed without the stacking principle. 17




           17 Petitioner contends that 3M Brazil’s net sales were $466,618,701 and that

   therefore had 3M Brazil calculated the trademark royalties at 1% of sales without
   stacking, 3M Brazil would have paid $4,666,187 in royalties. We do not find as fact
   that 3M Brazil’s net sales were $466,618,701. First, petitioner failed to state this
   contention in its proposed findings of fact, as it was required to do by Rule 151(e)(3).
   Second, the only evidence supporting the contention is information in the tax return of
   the 3M consolidated group. A tax return is a weak source of information in a deficiency
   case such as this one. See Wilkinson v. Commissioner, 71 T.C. 633, 639 (1979).




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         During 2006, 3M Brazil paid $52,522,080 in dividends and
   $11,978,720 in interest on net equity to 3M IPC. The total of these
   payments is $64,500,800.

         In 2006, 3M Brazil made no payments to 3M Company for
   consulting services or technical assistance services. Nor did 3M Brazil
   pay 3M IPC for the use of patents, trade names, name recognition,
   copyrights, software, or unpatented technology.

   9.      Tax reporting

         The 3M consolidated group reported on its consolidated federal
   income tax return for 2006 that it had taxable income of $4,466,124,618
   and a tax liability of $1,049,490,347.

          The members of the 3M consolidated group included 3M Company
   (the common parent of the group) and 3M IPC.

          On its consolidated federal income tax return, the 3M
   consolidated group reported as income the $5,104,756 in trademark
   royalties paid by 3M Brazil to 3M Company.

          The total of dividends and interest on net equity paid by 3M
   Brazil in 2006 ($64,500,800) was reported by the 3M consolidated group
   as dividends paid on Schedule M of the 3M Brazil Form 5471 for 2006.

   10.     The notice of deficiency

          In the notice of deficiency, respondent made 47 adjustments to
   the income of the 3M consolidated group. 18

          One adjustment in the notice of deficiency, labeled “Brazil
   Royalties”, was a net $23,651,332 increase in the income of the 3M
   consolidated group. Petitioner and respondent have stipulated, in
   paragraph 120 of the stipulation, that this adjustment was calculated
   by “[a]pplying the royalty rates under the Standard Licensing
   Agreement to the intercompany licensing transactions between 3M
   Company, 3M IPC, and 3M Brazil at issue in this case.” The phrase

           18 Respondent mailed the notice of deficiency to 3M Company because 3M

   Company was the common parent company of the 3M consolidated group. See 26
   C.F.R. sec. 1.1502-77B(a)(2)(viii) (2018) (providing that notices of deficiency are mailed
   to the common parent of a consolidated group and that mailing to the common parent
   is considered a mailing to each member of the consolidated group).




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   “intercompany licensing transactions between 3M Company, 3M IPC,
   and 3M Brazil at issue in this case” refers to the following: (1) the use
   by 3M Brazil of trademarks owned by 3M Company, (2) the use by 3M
   Brazil of patents owned by 3M IPC, and (3) the transfer of technology
   from 3M IPC to 3M Brazil. 19

          The royalty rate used by the notice of deficiency was 6% of net
   sales. The notice of deficiency calculated that the royalty at the 6% rate
   was $27,768,702 and that this amount should be reduced by $4,117,370
   for 3M Brazil’s unreimbursed expenditures on research and
   development.     Thus, the adjustment to the income of the 3M
   consolidated group was $23,651,332, equal to $27,768,702 minus
   $4,117,370. The notice of deficiency explained the $23,651,332 increase
   as follows:


          19 As the parties have stipulated, the adjustment in the notice of deficiency was

   based on the terms of the standard licensing agreement. The standard licensing
   agreement contained two major provisions: one was the license of intellectual property
   at a 1% royalty; the other was the license of intellectual property other than
   trademarks at a 6% royalty. The notice of deficiency applied a 6% royalty, rather than
   a 1% royalty. This suggests that the notice of deficiency did not make an adjustment
   for trademark royalties and that the adjustment in the notice of deficiency related to
   intellectual property other than trademarks. The notice of deficiency did not expressly
   say which types of nontrademark intellectual property bore the 6% imputed royalty.
   On brief, respondent contends that the 6% imputed royalty is compensation for the use
   of patents owned by 3M IPC and for technology transferred by 3M IPC. See infra part
   17 (third paragraph). So far the adjustment in the notice of deficiency, as defended by
   respondent in litigation, may not seem to be related to the use of trademarks.
           However, further analysis shows that the use of trademarks is relevant to the
   appropriate section 482 adjustment in this case, as we explain below. Petitioner
   opposes the 6% royalty adjustment in the notice of deficiency on the ground that 3M
   Brazil was prevented by Brazilian law from paying patent royalties and making
   technology-transfer payments to 3M IPC in excess of ceilings of between 1% and 5%.
   3M Brazil was also barred by Circular-Letter 2795 from paying any patent royalties
   and technology-transfer payments to 3M IPC because 3M Brazil had failed to record
   with the BPTO a licensing agreement with respect to such royalties and payments.
   Petitioner recognizes, however, that 3M Brazil could have recorded such a licensing
   agreement and that, had it done so, it could have paid patent royalties and technology-
   transfer payments to 3M IPC up to the 1%-5% ceilings. However, had 3M Brazil
   recorded such a licensing agreement, it would have been prohibited from paying
   trademark royalties to 3M Company. Thus, petitioner contends that the section 482
   adjustment should be limited to the maximum amount 3M Brazil could have paid 3M
   IPC under the 1%-5% ceilings for patent royalties and technology-transfer payments
   minus the trademark royalty payments it actually made. In summary, the section 482
   adjustment urged by petitioner partly implicates the use of 3M Company’s trademarks
   by 3M Brazil and the Brazilian restrictions on the payment of trademark royalties.




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           It is determined that in order to clearly reflect the income
           of the entities, in accordance with section 482 of the
           Internal Revenue Code, we have allocated royalty income
           to you from 3M do Brasil Limitada (“3M Brazil”) in
           connection with 3M Brazil’s use of intellectual property.
           We have determined that Brazilian legal restrictions are
           not taken into account for purposes of computing the arm’s
           length amount of royalty income from 3M Brazil because it
           has not been established that the Brazilian legal
           restrictions affected an uncontrolled taxpayer under
           comparable circumstances for a comparable period of time,
           and because it has not been established that the
           restrictions satisfied the conditions pursuant to Treasury
           Regulations sections 1.482-1(h)(2)(i) and (ii). In addition,
           we have determined that you are ineligible to elect the
           deferred income method of accounting pursuant to
           Treasury      Regulations      section     1.482-1(h)(2)(iii).
           Accordingly, your taxable income for the tax year ended
           December 31, 2006 is increased by $23,651,332, as shown
           in the computation below:

    a. Total cost of goods sold of products
        manufactured by 3M Brazil (from Form 5471,
        Sch. C, line 2)                                            $332,547,422

     Cost of goods sold (other than raw materials)
       purchased from:

            b. U.S. affiliates (from Form 5471, Sch. M,
                Line 10(b)+(c))                                    (42,966,307)

            c. Foreign affiliates (from Form 5471, Sch. M,
                Line 10(d))                                        (16,537,910)

    d. Net cost of goods sold for manufactured products            $273,043,205
    e. Gross sales from Form 5471 (Sch. C, line 1a)                $563,672,096
    f. Times: Ratio of net to total cost of goods sold
        (d divided by a)                                           0.821065469
    g. Net sales of manufactured products                          $462,811,694
    h. Times: Manufacturing royalty rate                                     6%
    i. Proposed manufacturing royalty                               $27,768,702
    j. Setoff for unreimbursed R & D expenses                        (4,117,370)
    k. Proposed net adjustment                                      $23,651,332




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         Another adjustment in the notice of deficiency was a $4,751,136
   increase in income of the 3M consolidated group for “Support Service
   Fee--3M do Brasil LTDA”. The notice of deficiency explained this
   “Support Service Fee” adjustment as follows:

         It is determined that an adjustment is required under
         section 482 of the Internal Revenue Code to reallocate
         $4,751,136 of income to you from 3M do Brasil LTDA [i.e.,
         3M Brazil] relating to support services which were never
         charged. Accordingly, your taxable income for the tax year
         ended December 31, 2006 is increased by $4,751,136.

   To calculate the adjustment, the notice of deficiency applied the rate of
   compensation provided under the standard services agreement (which
   was cost, if services were provided by 3M Company or 3M IPC; or cost
   plus 10%, if services were provided by a licensee of intellectual property
   owned by 3M Company or 3M IPC) to the intercompany services
   transactions during 2006 between 3M Company and 3M Brazil.

   11.   Closing agreement

          After the notice of deficiency was issued, but before the petition
   was filed, petitioner and respondent entered into a partial closing
   agreement under section 7121. One of the terms of the closing
   agreement was that petitioner agreed to the “Support Services Fee”
   adjustment of $4,751,136. At that time, petitioner understood that
   Brazilian law imposed no limits on what 3M Brazil could pay to 3M
   Company for the services it provided (which consisted of consulting
   services and technical assistance services). Petitioner subsequently
   learned that its understanding was partially incorrect because, as
   explained in paragraphs 74, 76, and 77 of the stipulation, Brazilian law
   distinguishes between remuneration for technical assistance services (to
   which the fixed ceilings described in paragraph 90 of the stipulation
   apply) and remuneration for consulting services (to which such fixed
   ceilings do not apply). As explained supra part 5, 3M Company provided
   significantly more consulting services to 3M Brazil than technical
   assistance services.

   12.   The petition

         On March 6, 2013, the petition was filed. It challenged only one
   adjustment in the notice of deficiency, the $23,651,332 adjustment for




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   “Brazil Royalties”. The petition explained the basis for the challenge as
   follows:

         5.a.18. 3M Brazil’s Legal Inability to Pay Royalties.
         Brazilian law precluded 3M Brazil from paying any
         royalties to the Petitioner[20] other than one-percent
         royalties on the licensed Trademarks, which were paid and
         which Petitioner included in its income. In addition, under
         no circumstances could the royalties payable by 3M Brazil
         have been at a rate of six percent of net sales under
         Brazilian law in addition to the one-percent royalty
         payable on Trademarks.

         5.a.19. The Allocation Was Erroneous. The Commissioner
         has no authority under I.R.C. § 482 to allocate income to a
         taxpayer from a related party where the related party is
         legally prohibited from paying the income to the taxpayer,
         and where the taxpayer did not in fact receive the income
         from the related party. Because 3M Brazil could not legally
         pay the imputed royalty income to Petitioner, and because
         Petitioner did not receive the royalties, the Commissioner’s
         allocation was erroneous.

         5.a.20. The Commissioner’s Reliance on Treas. Reg.
         § 1.482-1(h)(2). In the Notice, the Commissioner stated
         that restrictions on the payment of royalties under
         Brazilian law would not be “taken into account for purposes
         of computing the arm’s length amount of royalty income”
         because the conditions under Treas. Reg. § 1.482-1(h)(2)(i)
         and (ii) had not been satisfied.

         5.a.21. Invalidity of Treas. Reg. § 1.482-1(h)(2)(i) and (ii).
         Treasury exceeded its legal authority when, in Treasury
         Decision 8552 (59 Fed. Reg. 34971-01, 1994-2 C.B. 93 (July
         8, 1994)), it adopted Treas. Reg. § 1.482-1(h)(2)(i) and (ii).
         That regulation is invalid.

          In recognition of the binding effect of the closing agreement, the
   petition did not dispute the “Support Services Fee” adjustment of
   $4,751,136 in the notice of deficiency.



         20 “Petitioner” meant the 3M consolidated group.




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   13.    The stipulation that the rate of compensation under the standard
          licensing agreement is an appropriate arm’s-length rate under
          section 482

          As we previously observed, paragraph 120 of the stipulation
   includes a stipulation that the $23,651,332 increase to the income of the
   3M consolidated group in the notice of deficiency was calculated by
   applying the royalty rates in the standard licensing agreement. See
   supra part 10. In the same paragraph of the stipulation, petitioner and
   respondent also agreed that the rate of compensation provided under
   the standard licensing agreement is “an appropriate arm’s length rate
   under section 482 for the intercompany licensing transactions between
   3M Company, 3M IPC, and 3M Brazil at issue in this case”. The
   combined effect of these two stipulations is that petitioner and
   respondent agree that the $23,651,332 adjustment in the notice of
   deficiency reflects an appropriate arm’s-length rate of compensation
   under section 482. 21

   14.    The stipulation that the section 482 adjustment must be reduced
          by $4,117,370 in unreimbursed research-and-development
          expenses incurred by 3M Brazil

          In paragraph 128 of the stipulation, petitioner and respondent
   agreed that, as determined in the notice of deficiency, the 3M
   consolidated group is entitled to a “setoff against any section 482
   adjustment for royalties from 3M Brazil” in an amount equal to
   $4,117,370 for research-and-development expenses incurred by 3M
   Brazil that 3M Company did not reimburse but would have reimbursed
   had the standard agreement been in effect.

   15.    The stipulation that, under Brazilian law, the maximum amount
          that 3M Brazil could have paid to 3M IPC as patent royalties or
          technology-transfer payments in 2006 was $4,283,153 after
          reduction for the $5,104,756 in trademark royalties paid by 3M
          Brazil to 3M Company in 2006

         Petitioner and respondent have stipulated that under Brazilian
   law the maximum amount that 3M Brazil could have paid to 3M IPC as
   patent royalties or technology-transfer payments in 2006 was

           21 Because the adjustment in the notice of deficiency reflects the royalty rate

   in the standard licensing agreement, and because the royalty rate in the standard
   licensing agreement is an arm’s-length rate of compensation, it follows that the
   adjustment in the notice of deficiency reflects arm’s-length compensation.




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   $4,283,153. This amount equals $9,387,909, which is the maximum
   amount of such payments calculated before application of the Brazilian
   prohibition on a Brazilian company paying trademark royalties to its
   controlling foreign company for a product covered by a patent license or
   a technology-transfer agreement, reduced by the $5,104,756 of
   trademark royalties as required by the prohibition.

          Petitioner and respondent performed an analysis of 3M Brazil’s
   net sales made during 2006 by commodity code 22 for the purpose of
   computing the maximum amount of “additional royalties or technology
   transfer payments” that 3M Brazil would have been permitted to deduct
   under Brazilian tax law and to pay to 3M Company and 3M IPC. 23 We
   refer to this analysis as the “maximum-deductibility analysis”. The
   maximum-deductibility analysis assumed that all the products sold by
   3M Brazil were manufactured by 3M Brazil and were covered by either
   (1) a currently valid patent, (2) unpatented technology that was in use
   for not more than five years, (3) or both. The maximum-deductibility
   analysis was performed in 3M Brazil’s functional currency, Brazilian
   reais.

          The maximum-deductibility analysis was jointly conducted by
   two Brazilian attorneys (one for petitioner and one for respondent) who
   practice Brazilian intellectual-property law and who are knowledgeable
   concerning the limitations on the deductibility under Brazilian tax law
   of trademark and patent royalties and technology-transfer payments.
   These Brazilian attorneys consulted with 3M Brazil to determine the
   maximum deductions under Brazilian tax law for “patent royalties or
   technology transfer payments” 24 with respect to the products sold by 3M
   Brazil according to commodity code. The highest rates were then
   applied to the net sales of products for each commodity code, not
   including intercompany sales (because intercompany sales are not
   subject to the payment of royalties under the standard licensing
   agreement), to determine the maximum amount that 3M Brazil could
   have deducted if it had paid 3M IPC for the “use [of] its patents or for
   the transfer of its unpatented technology.” 25 Given that 3M Company
   and 3M IPC, at all relevant times, were controlling foreign companies of

          22 3M Brazil sold products having more than 100 product codes in 2006.   Those
   products were subdivided, within each product code, by commodity codes.
          23 The quoted text is from the stipulation.

          24 The quoted text is from the stipulation.

          25 The quoted text is from the stipulation.




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   3M Brazil, the maximum-deductibility analysis also determined the
   maximum amount that the BPTO would have permitted 3M IPC and
   3M Brazil to include as payable to 3M IPC in any recorded agreement
   providing for the “use of patents or the transfer of unpatented
   technology”. 26 See paragraphs 89 and 90 of the stipulation.
   Consequently, the maximum-deductibility analysis also determined the
   maximum amount that the Brazilian Central Bank would have
   permitted 3M Brazil to remit to 3M IPC as “royalties or as technology
   transfer payments”, 27 given that Circular-Letter No. 2795 requires such
   payments to be made pursuant to a written agreement recorded by the
   BPTO. See paragraph 75.b of the stipulation.

          The maximum-deductibility analysis showed that the maximum
   amount that 3M Brazil could have deducted as “patent royalties or
   technology transfer payments” 28 in 2006 was $9,387,909 subject to the
   following. To arrive at the maximum amount of “additional royalties or
   technology transfer payments” 29 that 3M Brazil could have deducted in
   2006, the above amount must be reduced by the royalties that 3M Brazil
   paid and deducted under the 1998 trademark licenses during 2006,
   because, if a product is covered by a patent license or by a technology-
   transfer agreement between a Brazilian company and controlling
   foreign companies, then any trademark license between the same
   Brazilian company and the same controlling foreign companies for that
   same product must be granted royalty free. Therefore, because 3M
   Brazil deducted 30 and paid trademark royalties in connection with
   certain of the same products during 2006, the maximum amount that
   could have been paid as “patent royalties or as technology transfer
   payments” 31 must be reduced by the amount of trademark royalties paid
   and deducted by 3M Brazil. Petitioner and respondent have stipulated,
   in paragraph 126 of the stipulation, that, on the basis of the maximum-
   deductibility analysis, the “maximum amount of additional patent
   royalties and technology-transfer payments for 2006, after reduction for
   the trademark royalties actually paid by 3M” was $4,283,153.



         26 The quoted text is from the stipulation.

         27 The quoted text is from the stipulation.

         28 The quoted text is from the stipulation.

         29 The quoted text is from the stipulation.

         30 Deducted for Brazilian tax purposes.

         31 The quoted text is from the stipulation.




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          Petitioner and respondent have stipulated, in paragraph 127 of
   the stipulation, that the “maximum additional amount” that 3M Brazil
   could have deducted 32 and paid in 2006 to 3M IPC as “patent royalties
   or as technology transfer payments”, in “excess of the trademark
   royalties actually paid to 3M Company”, and using the assumptions
   underlying the maximum-deductibility analysis, was $4,283,153, and
   that the Brazilian Central Bank would have permitted 3M Brazil to
   make such a payment had the BPTO recorded an agreement among 3M
   Company, 3M IPC, and 3M Brazil providing for the payment of such
   amounts.

   16.   The stipulation that if the Court holds that the section 482
         adjustment must take into account the Brazilian legal
         restrictions, then the minimum section 482 adjustment should be
         $165,783

         Petitioner and respondent have stipulated, in paragraph 129 of
   the stipulation, that the “minimum section 482 adjustment” with
   respect to the intercompany licensing transactions among 3M Brazil,
   3M Company, and 3M IPC for the 2006 year is $165,783 (equal to
   $4,283,153 minus an offset of $4,117,370 for unreimbursed research-
   and-development expenses (R & D offset)). We interpret the term
   “minimum section 482 adjustment” to be the minimum section 482
   adjustment that would be made if petitioner were to prevail in its
   argument that the Brazilian legal restrictions should be taken into
   account. We refer to the $4,117,370 offset for unreimbursed research-
   and-development expenses as the $4,117,370 R & D offset.

   17.   Respondent’s position

          Respondent’s position is that the relevant adjustment in the
   notice of deficiency is correct. The notice of deficiency adjusted the
   income of the 3M consolidated group by $23,651,332, equal to
   $27,768,702 minus $4,117,370. The latter two amounts have the
   following significance:

         ●      The $27,768,702 amount corresponds to the 6% royalty
                rate set forth in the standard licensing agreement for
                intellectual property other than trademarks. 33


         32 Deducted for Brazilian tax purposes.

         33 This point was discussed supra part 10 note 18.




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          ●      The $4,117,370 amount is the research-and-development
                 expenses incurred by 3M Brazil for which it was not
                 reimbursed. The standard licensing agreement requires
                 the licensor to reimburse the licensee for certain research.

          Respondent’s position can be illustrated as follows:


           Respondent’s position regarding appropriate sec. 482 adjustment for
                     3M Brazil’s use of 3M Company’s trademarks,
                        3M Brazil’s use of 3M IPC’s patents, and
                    technology transfers from 3M IPC to 3M Brazil

                          Explanation                                 Amount

    6% royalty provided by standard licensing agreement for              $27,768,702
    intellectual property other than trademarks
    R&D offset, as provided by standard licensing agreement               –4,117,370
    Equals the section 482 adjustment urged by respondent                 23,651,332

          As we have explained before, because the adjustment in the notice
   of deficiency reflects the compensation in the standard licensing
   agreement and because the standard licensing agreement reflects arm’s-
   length compensation, it follows that the adjustment in the notice of
   deficiency reflects arm’s-length compensation. See supra part 13. What
   is disputed is whether arm’s-length compensation can serve as the basis
   for the section 482 adjustment. Respondent contends that the arm’s-
   length compensation results in the appropriate section 482 adjustment
   because, respondent contends, the Brazilian legal restrictions should be
   disregarded. By contrast, petitioner contends that the appropriate
   section 482 adjustment is constrained by the amounts payable under
   Brazilian law.

          It bears emphasis that respondent contends that the 6% royalty
   component of the section 482 adjustment is justified only by (1) 3M
   Brazil’s use of 3M Company’s patents and (2) the transfer of technology
   from 3M IPC to 3M Brazil. See supra part 10 note 18. Respondent’s
   section 482 adjustment makes no adjustment directly concerning
   compensation for 3M Brazil’s use of 3M Company’s trademarks. Recall
   that 3M Company, which owned all of the trademarks of 3M Global,
   allowed 3M Brazil to use its trademarks during the 2006 tax year.
   Pursuant to the 1998 trademark licenses, 3M Brazil paid 3M Company
   $5,104,756 of trademark royalties. This payment was reported as




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   income by the 3M consolidated group on its 2006 tax return. Respondent
   does not argue that this reporting should be adjusted under section 482
   for 3M Brazil’s use of 3M Company’s trademarks.

          Although respondent’s main position is that the Brazilian legal
   restrictions should not be taken into account in making the section 482
   adjustment, respondent has an alternative position should petitioner
   prevail in its argument that the Brazilian legal restrictions be taken into
   account. As previously explained, paragraph 129 of the stipulation
   means that respondent agrees that if petitioner prevails in its argument
   that the Brazilian legal restrictions should be taken into account, the
   minimum section 482 adjustment should be $165,783. See supra part
   16. Although paragraph 129 says the minimum section 482 adjustment
   was $165,783, and therefore does not technically limit respondent’s
   claiming that the section 482 adjustment should be more than $165,783,
   respondent’s briefs do not argue that the section 482 adjustment should
   be more than $165,783 in the event that petitioner prevails in its
   argument that the section 482 adjustment must take into account the
   Brazilian legal restrictions. Thus, we consider respondent’s position to
   be that the section 482 adjustment should be $165,783 in the event that
   petitioner prevails in its argument that the section 482 adjustment must
   take into account the Brazilian legal restrictions.

   18.     Petitioner’s position

          Petitioner concedes that the $23,651,332 allocation determined
   by respondent reflects an arm’s-length compensation for the use of the
   intellectual property. 34   However, it disputes respondent’s legal
   authority to make an allocation under section 482 because 3M Brazil
   was prevented under Brazilian law from paying more than $165,783 in
   compensation. This $165,785 amount is equal to (1) $4,283,153 minus
   (2) the R&D offset of $4,117,370. Petitioner contends that the
   appropriate transfer-pricing adjustment is $165,785. We pause here to
   explain petitioner’s computation of this adjustment more completely.



           34 This concession is the result of paragraph 120 of the stipulation, which stated

   two things: (1) respondent’s $23,651,332 sec. 482 adjustment was determined from the
   royalty rates under the standard licensing agreement, and (2) the rate of compensation
   under the standard licensing agreement is an arm’s-length rate for the transactions at
   issue. Combining these two statements means that respondent’s $23,651,332 sec. 482
   adjustment reflects an arm’s-length rate for the transactions at issue. See supra part
   14.




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          The $4,283,153 amount is the maximum of patent-royalty
   payments and technology-transfer payments 3M Brazil could make to
   3M Company assuming it had recorded with the BPTO a licensing
   agreement regarding such payments. Computation of the $4,283,153
   amount starts with $9,387,909, an amount that does not account for the
   Brazilian restriction that, if a product is covered by a patent license or
   by a technology-transfer agreement between a Brazilian company and
   its controlling foreign company, any trademark license between the
   same companies for that same product must be granted royalty free. To
   account for the restriction, the $9,387,909 amount would be reduced by
   the $5,104,756 of trademark royalties to arrive at $4,283,153.

          Finally, paragraph 128 of the stipulation requires that the section
   482 adjustment be reduced by the $4,117,370 R&D offset. When
   $4,283,153 is reduced by $4,117,370, the result is $165,783. This is the
   correct section 482 adjustment in petitioner’s view. The adjustment
   supposes that the Brazilian legal restrictions are taken into account.

          Petitioner’s calculations of the adjustment can also be illustrated
   in the table below:

            Petitioner’s position regarding appropriate sec. 482 adjustment for
                       3M Brazil’s use of 3M Company’s trademarks,
                          3M Brazil’s use of 3M IPC’s patents, and
                      technology transfers from 3M IPC to 3M Brazil
                            Explanation                                  Amount
    Maximum amount that 3M Brazil could pay 3M IPC as                       $9,387,909
    royalties or as technology-transfer payments, before
    application of the Brazilian restriction that, if a product is
    covered by a patent license or by a technology-transfer
    agreement between a Brazilian company and controlling
    foreign companies, any trademark license for that same
    product must be granted royalty free. (This maximum
    amount implicitly assumes that 3M Brazil records an
    agreement with 3M IPC regarding the use of 3M IPC’s patents
    and the transfer of 3M IPC’s technology.)
    Reduction in trademark royalties paid, as required by the               –5,104,756
    Brazilian restriction referred to above
    Equals the sec. 482 adjustment urged by petitioner before
                                                                             4,283,153
    R&D offset
    R&D offset, as required by paragraph 128 of the stipulation             –4,117,370
    Equals final sec. 482 adjustment urged by petitioner                          165,783




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          We now discuss petitioner’s position in the event it loses its
   argument that the section 482 adjustment must take into account the
   Brazilian legal restrictions. In its opening brief, petitioner takes the
   position that if the Court agrees with respondent that the Brazilian legal
   restrictions should be disregarded, then the proper section 482
   adjustment is $23,651,332. This position is consistent with petitioner’s
   concession, described supra part 14, that the $23,651,332 reflects arm’s-
   length compensation for the use of the intellectual property.

           Paragraph 128 of the stipulation states that the section 482
   adjustment should be reduced by the $4,117,370 R&D offset. Taken
   literally, paragraph 128 could be construed to mean that if the Court
   sustains respondent’s position that the correct section 482 adjustment
   is $23,651,332, then the $23,651,332 adjustment should be reduced by
   the $4,117,370 R&D offset. But the $23,651,332 calculation already
   incorporates the R&D offset. So a further reduction would not make
   sense. Perhaps recognizing this, petitioner declines to argue that
   paragraph 128 of the stipulation requires that the $23,651,332 should
   be further reduced by the $4,117,370 R&D offset. In the event the
   Brazilian legal restrictions are not taken into account, petitioner accepts
   that the section 482 adjustment should be $23,651,332.

          The $23,651,332 adjustment made by the notice of deficiency did
   not include any adjustment related to the $5,104,756 of trademark
   royalties paid by 3M Brazil to 3M Company and reported as income by
   the 3M consolidated group (of which 3M Company was a member). The
   $5,104,756 trademark royalty payment was equal to 1% of sales,
   calculated using a stacking principle when multiple trademarks were
   used on the same product. The use of the stacking principle to calculate
   the 1% trademark royalty was improper under Brazilian law. Petitioner
   asserts that if the 1% trademark royalty had been calculated without
   using the stacking principle, the royalty would have been $4,666,187. If
   true, this means that 3M Brazil overpaid the trademark royalty to 3M
   Company by $438,569, which is the difference between $5,104,756 and
   $4,666,187. But petitioner does not assert that the income of the 3M
   consolidated group should be reduced by $438,569 to adjust for any such
   overpayment. Thus, we need not consider whether such a reduction
   would be warranted.

         Thus far, we have described separately the calculations of
   respondent’s and petitioner’s litigating positions. It is worth pointing
   out that both positions incorporate an R&D offset of $4,117,373.
   Additionally, petitioner’s position expressly accounts for, and




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   respondent’s position implicitly accounts for, the $5,104,756 of
   trademark royalties paid by 3M Brazil to 3M Company and reported as
   income by the 3M consolidated group. Petitioner’s position includes a
   reduction for the trademark royalties paid of $5,104,756 to account for
   the Brazilian restriction that, if a product is covered by a patent license
   or by a technology-transfer agreement between a Brazilian company and
   a controlling foreign company, a trademark license between the same
   companies for that same product must be granted royalty free. 3M
   Company reported the $5,104,756 trademark royalty it received from
   3M Brazil as income; but under petitioner’s position the $5,104,756
   should not have been reported as income by 3M Company because 3M
   Brazil could not have paid the amount had it entered into a patent
   license or technology-transfer agreement.           Respondent’s position
   implicitly accounts for the $5,104,756 in that respondent did not make
   an adjustment to 3M Company’s reporting of the amount in income.
   Thus, respondent’s position on the tax treatment of the $5,104,756
   trademark royalty payment can be viewed as a $0 adjustment because
   respondent agrees with the tax reporting of this amount by the 3M
   consolidated group. Equivalently, one can think of respondent’s position
   on the tax treatment of the $5,104,756 trademark royalty payment as
   comprising two separate steps: (1) a determination that $5,104,756
   should be included in 3M Company’s income and (2) a $5,104,756 offset
   to reflect that the reported income of the 3M consolidated group included
   the $5,104,756 amount. The advantage of the two-step approach is that
   it makes it easier to compare respondent’s position to petitioner’s
   position. Such a comparison is made in the table below:




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      Petitioner’s and respondent’s computations of appropriate sec. 482 adjustment:
                                  side-by-side comparison
                                                      Respondent          Petitioner

    Compensation for use of patents and for            $27,768,702            $9,387,909
    transfer of technology 35

    Compensation for use of trademarks 36                 5,104,756                    –0–

    Reduction for trademark royalty reported by         –5,104,756            –5,104,756
    3M Company 37

    R&D offset                                          –4,117,370            –4,117,370

    Sec. 482 adjustment                                 23,651,332               165,783


        The positions of petitioner and respondent can also be usefully
   compared in the following diagram of the relevant transactions and
   payments:




           35 Respondent: adjustment justified by arm’s-length compensation.


           Petitioner: adjustment should not exceed maximum payment under Brazilian
   law.
           36 Respondent: implicitly agrees that a 1% trademark royalty should be
   included in the income of 3M Company.
           Petitioner: 1% trademark royalty should not be included in the income of 3M
   Company because Brazil requires that, if a product is covered by a patent license or by
   a technology-transfer agreement between a Brazilian company and a controlling
   foreign company, any trademark license between the same companies for that same
   product must be granted royalty free.
           37 Respondent: this adjustment accounts for the fact that 3M Company already

   reported the 1% trademark royalty in its income.
          Petitioner: this adjustment is necessary because the 1% trademark royalty
   should not be included in the income of 3M Company and because 3M Company
   reported the royalty as income.




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           1Although the sec. 482 adjustments favored by petitioner and respondent are

   shown as running to 3M IPC, in actuality the adjustments are to the income of the 3M
   consolidated group, which includes both 3M Company and 3M IPC.
           2Explanation of respondent’s position:


          (1) Respondent’s adjustment is stipulated to be equal to payments that would
   have been required of 3M Brazil if it had executed the standard licensing agreement.
          (2) The rate of compensation under the standard licensing agreement is the
   appropriate arm’s-length rate under sec. 482.
          (3) Thus, respondent’s adjustment (the 6% royalty and the R&D setoff) is based
   on arm’s-length compensation. It does not account for Brazilian legal restrictions.
            (4) Respondent’s adjustment reflects no adjustment for trademark royalties,
   implying a judgment that no adjustment should be made to the $5,104,756 trademark
   royalty.
           3Explanation of petitioner’s position:


          (1) 3M Brazil did not record any licensing agreements regarding patents and
   technology transfers and was therefore barred from making payments for use of
   patents and for technology transfers under Circular-Letter 2795.
           (2) However, had 3M Brazil recorded licensing agreements regarding patents
   and technology transfers, then (A) it would have been able to pay 3M IPC royalties of
   up to 1% to 5%, resulting in total payments for use of patents and for technology
   transfers of $9,387,909 (B) but 3M Brazil would have not been permitted to pay
   trademark royalties.
           (3) Petitioner and respondent have stipulated that $4,117,370 should be a
   setoff against the sec. 482 adjustment.
           (4) Petitioner does not argue that an adjustment should be made because 3M
   Brazil overpaid its trademark royalty payment by calculating the payment using
   stacking.
          Brazilian legal restrictions referred to in explanation 2(A) of petitioner’s sec.
   482 adjustment:
           (1) Law No. 8383/1991, partly repealing Article 14 of Law No. 4131/1962,
   permits a Brazilian company to pay patent and trademark royalties to its controlling
   parent company to the extent such payments are deductible.
           (2) Law No. 3470/1958 and Portaria No. 436/58 (as amended by Portaria Nos.
   113/59, 314/70, and 60/94) sets maximum deductibility ceilings of 1% to 5% for patent
   royalties and technology-transfer payments and 1% for trademark royalties.
           (3) BPTO imposes fixed ceilings on royalties payable by a Brazilian company
   to a controlling parent corporation under a patent or trademark license agreement that
   are equal to the maximum deductibility ceilings on patent or trademark royalties.
          (4) BPTO, by unpublished interpretation of Law Nos. 4131/1962 and
   8383/1991, applies the same fixed ceilings that apply to royalties under a patent or
   trademark license agreement to payments under an agreement between a Brazilian
   company and a controlling foreign company providing for technology transfer.
           4Licensors are 3M Company and 3M Brazil.




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         5100% owned by 3M IPC.




   19.   Other stipulations

          In addition to the stipulations discussed so far, petitioner and
   respondent have stipulated that the rate of compensation provided
   under the standard services agreement (which was cost, if services were
   provided by 3M Company or 3M IPC; or cost plus 10%, if services were
   provided by a licensee of intellectual property owned by 3M Company or
   3M IPC) is an appropriate arm’s-length rate under section 482 for the
   provision of services by 3M Company to 3M Brazil during the 2006 tax
   year in this case. As explained before, the notice of deficiency calculated
   the transfer-pricing adjustment for services performed for 3M Brazil
   based on the rate of compensation provided under the standard services
   agreement and petitioner does not challenge this adjustment. See supra
   parts 10 & 11.

         The parties have also stipulated that the operations of 3M Brazil
   were “owned or controlled” by 3M Company and 3M IPC within the
   meaning of section 482 during the 2006 tax year.

          Some other stipulations are relevant to 26 C.F.R. sec. 1.482-
   1(h)(2) (2006), a portion of the 1994 final regulations. These stipulations
   are discussed infra part II.OO.

                                   OPINION

   I.    Procedural matters

          Petitioner and respondent submitted this case without trial under
   Rule 122. The record in this case consists of the stipulation and the
   documents attached to the stipulation. Our findings of fact are based on
   the stipulation and the documents attached to the stipulation.

         As a general rule, the petitioner in a Tax Court case has the
   burden of proving that the determinations in the notice of deficiency are
   incorrect. Rule 142(a)(1); Welch v. Helvering, 290 U.S. 111, 115 (1933).
   The identity of the petitioner in this case requires some explanation.

         An affiliated group is a group of corporations that are connected
   through stock ownership with a common parent corporation. Sec.
   1504(a)(1). An affiliated group does not include foreign corporations.
   Sec. 1504(a)(1), (b)(3). An affiliated group of corporations may file a




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   consolidated return with respect to income tax. Sec. 1501. An affiliated
   group that has filed a consolidated return for a year is referred to as a
   consolidated group.      26 C.F.R. sec. 1.1502-1(h), (a) (2019).        A
   consolidated group has only one income tax liability for the year. Sec.
   1503(a); 26 C.F.R. sec. 1.1502-2(a) (2019).        Each member of a
   consolidated group is severally liable for the income tax. Sec. 1503(a);
   26 C.F.R. sec. 1.1502-6(a) (2019). The income tax of a consolidated group
   is generally equal to the tax imposed by section 11 on consolidated
   taxable income. 26 C.F.R. sec. 1.1502-2(a) (2019). Consolidated taxable
   income is determined by taking into account (1) the separate taxable
   income of each member of the consolidated group and (2) certain items
   of income and deduction that are determined on a consolidated basis. 26
   C.F.R. sec. 1.1502-11(a) (2019). Each member’s separate taxable income
   is calculated as if the member were a separate corporation, with certain
   modifications. 26 C.F.R. sec. 1.1502-12 (2019); Norwest Corp. & Subs.
   v. Commissioner, 111 T.C. 105, 165 (1998).

          As a general rule, the common parent corporation of a
   consolidated group is the representative of all members of the
   consolidated group with respect to the group’s tax liability. 26 C.F.R.
   sec. 1.1502-77B(a)(1)(i) (2019). The notice of deficiency is mailed to the
   common parent corporation of a consolidated group, and that mailing is
   considered a mailing to each member of the consolidated group. 26
   C.F.R. sec. 1.1502-77B(a)(2)(viii) (2019).        The common parent
   corporation files petitions in the Tax Court; any such petition is
   considered to have been filed by each member of the consolidated group.
   26 C.F.R. sec. 1.1502-77B(a)(2)(x) (2019).         The common parent
   corporation conducts proceedings before the Tax Court on behalf of the
   members of the consolidated group. Id.

          The common parent corporation of the 3M consolidated group is
   3M Company. 3M Company was the company to which respondent
   mailed the notice of deficiency. 3M Company filed the petition on behalf
   of the members of the 3M consolidated group. See id. As stated at the
   beginning of this Opinion, we use “petitioner” to refer to 3M Company
   in discussing 3M Company in its role as the representative of the 3M
   consolidated group.

          In a Tax Court case, it is the petitioner that bears the burden of
   proof unless an exception applies. Rule 142(a)(1). Petitioner in this case
   does not contend that any exception applies. Nor does the record
   indicate that any exception applies. Therefore petitioner has the burden




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   of proof. This conclusion is not altered by the case’s having been
   submitted under Rule 122. See Rule 122(b).

           In the case of a corporation seeking redetermination of a tax
   liability, the venue for appeal is generally the U.S. Court of Appeals for
   the circuit in which is located the corporation’s principal place of
   business or principal office or agency. Sec. 7482(b)(1)(B). However, the
   parties to the appeal may stipulate that venue is another circuit. Sec.
   7482(a), (b)(2). This case involves a corporation (3M Company) seeking
   a redetermination of tax liability (the tax liability of the 3M consolidated
   group). See 26 C.F.R. sec. 1.1502-77B(a)(1)(i), (2)(x) (2019). It is
   stipulated that 3M Company’s principal place of business was in
   Minnesota when the petition was filed. Therefore the venue for appeal
   in this case will be the U.S. Court of Appeals for the Eighth Circuit
   unless the parties stipulate another circuit. See sec. 7482(a), (b)(1)(B),
   (2); 28 U.S.C. sec. 41 (2018).

          Rule 146 provides, in part: “The Court, in determining foreign
   law, may consider any relevant material or source, including testimony,
   whether or not submitted by a party or otherwise admissible. The
   Court’s determination shall be treated as a ruling on a question of law.”
   Our determinations regarding Brazilian law are based on the
   stipulation.

   II.   Review of the authorities under U.S. law relevant to the
         arguments by the parties

          In support of its argument that respondent’s section 482
   allocation is improper because it ascribes income to 3M Company and
   3M IPC that could not be paid to these companies by 3M Brazil under
   Brazilian law, petitioner relies on various authorities. These authorities
   include (1) the text of section 482; (2) the legislative history of section
   482; and (3) four cases, that, interpreting prior versions of section 482
   and the regulations thereunder, held that respondent did not have
   authority to allocate income to a taxpayer that the taxpayer did not
   receive and could not legally receive. These are the four cases:

         ●      L.E. Shunk Latex Prods., Inc. v. Commissioner, 18 T.C. 940
                (1952)

         ●      Commissioner v. First Sec. Bank of Utah, N.A, 405 U.S.
                394 (1972)




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           ●       Procter & Gamble Co. v. Commissioner, 95 T.C. 323 (1990),
                   aff’d, 961 F.2d 1255 (6th Cir. 1992).

           ●       Exxon Corp. & Affiliated Cos. v. Commissioner, T.C. Memo.
                   1993-616, 66 T.C.M. (CCH) 1707 (1993), aff’d sub nom.
                   Texaco, Inc., & Subs. v. Commissioner, 98 F.3d 825 (5th
                   Cir. 1996).

   In petitioner’s view, “these precedents control the outcome here.”
   Respondent disagrees with this. He contends that the judicial opinions
   did not determine the statutory text to be clear, that the reasoning of
   the opinions was influenced by regulatory text that was not applicable
   for tax years beginning after April 21, 1993, and that the operative
   statutory text was changed in 1986. 38


           38 The regulations related to sec. 482 contained two sentences, which, before

   they were eliminated as to tax years beginning after Apr. 21, 1993, were as follows:
           The interests controlling a group of controlled taxpayers are assumed
           to have complete power to cause each controlled taxpayer so to conduct
           its affairs that its transactions and accounting records truly reflect the
           net income from the property and business of each of the controlled
           taxpayers. If, however, this has not been done, and the taxable
           incomes are thereby understated, the district director shall intervene,
           and, by making such distributions, apportionments, or allocations as
           he may deem necessary of gross income, deductions, credits, or
           allowances, or of any item or element affecting taxable income,
           between or among the controlled taxpayers constituting the group,
           shall determine the true taxable income of each controlled taxpayer.
           ***
   26 C.F.R. sec. 1.482-1A(b)(1) (2019) (applicable for tax years beginning on or before
   Apr. 21, 1993).
           The two sentences had appeared in 1962 regulations related to sec. 482 of the
   Internal Revenue Code of 1954. T.D. 6595, 27 Fed. Reg. 3595, 3598 (Apr. 14, 1962); 26
   C.F.R. sec. 1.482-1(b)(1) (1968). In 1968, when the regulations were substantially
   revised, these two sentences were unaffected. T.D. 6952, 33 Fed. Reg. 5848-5857 (Apr.
   16, 1968); 26 C.F.R. sec. 1.482-1(b)(1) (1969). In 1993, the regulations containing the
   two sentences were redesignated and limited to tax years beginning on or before Apr.
   21, 1993. T.D. 8470, 58 Fed. Reg. 5271 (Jan. 21, 1993). As redesignated and limited,
   the two sentences continue to appear in the annual codifications of federal regulations.
   26 C.F.R. sec. 1.482-1A(b)(1) (2019) (applicable for tax years beginning on or before
   Apr. 21, 1993).
           The two sentences also had a place in the regulations before 1962. Versions of
   the two sentences appeared in the comprehensive income tax regulations promulgated
   by the Treasury Department in 1934, 1936, 1939, 1940, 1943, and 1953:




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         Respondent argues that the legal principles that govern this
   dispute are found in the 1994 regulation that is applicable for the 2006
   tax year at issue in this case. T.D. 8552, 59 Fed. Reg. 34971 (July 8,
   1994); 26 C.F.R. sec. 1.482-1(h)(2) (2019) (setting forth rules regarding
   the effect of foreign legal restrictions). The 1994 regulation was
   published on July 8, 1994. T.D. 8552, 59 Fed. Reg. 35000-35001 (July 8,
   1994). It is generally effective for tax years beginning after October 6,
   1994. 26 C.F.R. sec. 1.482-1(j)(1) (2019). Petitioner contends that the
   1994 regulation is invalid under various administrative-law principles
   and therefore does not control the outcome of this case.

         The paragraph above is merely an overview of petitioner’s and
   respondent’s major arguments. A detailed discussion of their arguments
   takes place later in parts III, IV, and V of this Opinion. The parties’
   arguments implicate a century’s worth of legal materials, such as

         •      The relevant portion of the 1934 regulations is art. 45-1(b), Regulations
                86, Regulations 86 Relating to the Income Tax Under the Revenue Act
                of 1934, at 123 (Gov’t Prtg. Off. 1935).
         •      The relevant portion of the 1936 regulations is art. 45-1(b), Regulations
                94, Regulations 94 Relating to the Income Tax Under the Revenue Act
                of 1936, at 157 (Gov’t Prtg. Off. 1936), 1 Fed. Reg. 1856 (Nov. 14, 1936);
                26 C.F.R. sec. 3.45-1(b) (1939).
         •      The relevant portion of the 1939 regulations is art. 45-1(b), Regulations
                101, Regulations 101 Relating to the Income Tax Under the Revenue
                Act of 1938, at 189-190 (Gov’t Prtg. Off. 1939), 4 Fed. Reg. 680 (Feb.
                10, 1939); 26 C.F.R. sec. 9.45-1 (1939 Supp.).
         •      The relevant portion of the 1940 regulations is sec. 19.45-1(b),
                Regulations 103, Regulations 103 Relating to the Income Tax Under
                the Internal Revenue Code 204 (Gov’t Prtg. Off. 1940), 5 Fed. Reg.
                417 (Feb. 1, 1940); 26 C.F.R. sec. 19.45-1 (1940 Supp.).
         •      The relevant portion of the 1943 regulations is sec. 29.45-1(b),
                Regulations 111, Regulations 111 Relating to the Income Tax Under
                the Internal Revenue Code 276 (Gov’t Prtg. Off. 1943); sec. 9.45-1,
                Regulations 111, 8 Fed. Reg. 14968 (Nov. 3, 1943); 26 C.F.R. sec. 29.45-
                1(b) (Cum. Supp. 1944). There was a minor amendment to this portion
                of the 1943 regulations in 1944. T.D. 5426, 10 Fed. Reg. 23, 24 (Jan. 2,
                1945); 26 C.F.R. sec. 29.45-1, at 1905 (1944 Supp.); 26 C.F.R. sec. 29.45-
                1 (1949).
         •      The relevant portion of the 1953 regulations was sec. 39.45-1(b)(1),
                Regulations 118, Income Tax Regulations 118, Internal Revenue Code
                Part 39 of Title 26, Code of Federal Regulations 5886 (Gov’t Prtg. Off.
                1953), 18 Fed. Reg. 5886 (Sept. 26, 1953); 26 C.F.R. sec. 39.45-1(b)(1)
                (1953).
         The history of the two sentences is discussed more extensively infra part II.




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   statutes, amendments to statutes, legislative history, regulations,
   public comments on regulations, preambles to regulations, and caselaw.
   In this part II, we discuss these materials chronologically. Using
   chronological order helps place the legal materials in their proper
   context.

         A.      The Revenue Act of 1921

          The central statutory provision involved in this case is section 482
   of the Internal Revenue Code of 1986, as amended. As in effect for the
   tax year at issue, 2006, section 482 of the Internal Revenue Code of 1986
   contains only these two sentences:

                 In any case of two or more organizations, trades, or
         businesses (whether or not incorporated, whether or not
         organized in the United States, and whether or not
         affiliated) owned or controlled directly or indirectly by the
         same interests, the Secretary may distribute, apportion, or
         allocate gross income, deductions, credits, or allowances
         between or among such organizations, trades, or
         businesses, if he determines that such distribution,
         apportionment, or allocation is necessary in order to
         prevent evasion of taxes or clearly to reflect the income of
         any of such organizations, trades, or businesses. In the
         case of any transfer (or license) of intangible property
         (within the meaning of section 936(h)(3)(B)[39]), the income
         with respect to such transfer or license shall be




         39 Sec. 936(h)(3)(B) provided:


         The term “intangible property” means any--
         (i) patent, invention, formula, process, design, pattern, or know-how;
         (ii) copyright, literary, musical, or artistic composition;
         (iii) trademark, trade name, or brand name;
         (iv) franchise, license, or contract;
         (v) method, program, system, procedure, campaign, survey, study,
             forecast, estimate, customer list, or technical data; or
         (vi) any similar item,
         which has substantial value independent of the services of any
         individual.




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          commensurate with the income attributable to the
          intangible.

          The first sentence quoted above had its statutory origins in
   section 240(d) of the Revenue Act of 1921, ch. 136, 42 Stat. at 260. 40 See
   G.D. Searle & Co. v. Commissioner, 88 T.C. 252, 356 (1987); Reuven S.
   Avi-Yonah, “The Rise and Fall of Arm’s Length: A Study in the Evolution
   of U.S. International Taxation”, 15 Va. Tax Rev. 89, 95 (1995). Under
   section 240(d) of the Revenue Act of 1921, respondent had the power to
   consolidate the accounts of affiliated corporations and other related
   trades or businesses. Subsection (d) provided:

          [I]n any case of two or more related trades or businesses
          (whether unincorporated or incorporated and whether
          organized in the United States or not) owned or controlled
          directly or indirectly by the same interests, the
          Commissioner [of Internal Revenue] may consolidate the
          accounts of such related trades and businesses, in any
          proper case, for the purpose of making an accurate
          distribution or apportionment of gains, profits, income,
          deductions, or capital between or among such related
          trades or businesses.

   Section 240(d) of the Revenue Act of 1921 was one of the Act’s
   consolidated-return provisions, all of which were in section 240 of the
   Act. The Senate Finance Committee explained section 240(d) of the
   Revenue Act of 1921 as follows:

          A new subdivision is added to this section giving the
          Commissioner power to consolidate the accounts of related
          trades or businesses owned or controlled by the same
          interests, for the purpose only of making a correct
          distribution of gains, profits, income, deductions, or capital,
          among the related trades or businesses. This is necessary
          to prevent the arbitrary shifting of profits among related
          businesses * * *



           40 Revenue acts such as the Revenue Act of 1921 have been explained as

   follows: “There was no Internal Revenue Code before 1939. Instead each Congress
   reenacted revenue laws with whatever amendments were necessary.” Gail Levin
   Richmond & Kevin M. Yamamoto, Federal Tax Research: Guide to Materials and
   Techniques 54 (10th ed. 2018).




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   S. Rept. No. 67-275, at 20 (1921), 1939-1 C.B. (Part 2) 181, 195.
   Petitioner cites this committee report in support of its arguments. See
   infra part IV (discussing the significance of the committee report).

         B.     The Revenue Act of 1924

          After the Revenue Act of 1921, the next revenue act was the
   Revenue Act of 1924, ch. 234, 43 Stat. 253. Section 240(d) of the Revenue
   Act of 1924, 43 Stat. at 288, was similar to section 240(d) of the Revenue
   Act of 1921; but whereas section 240(d) of the Revenue Act of 1921 had
   allowed only respondent to consolidate accounts, section 240(d) of the
   Revenue Act of 1924 allowed either respondent or the taxpayer to
   consolidate accounts. It provided:

         In any case of two or more related trades or businesses
         (whether unincorporated or incorporated and whether
         organized in the United States or not) owned or controlled
         directly or indirectly by the same interests, the
         Commissioner may and at the request of the taxpayer
         shall, if necessary in order to make an accurate distribution
         or apportionment of gains, profits, income, deductions, or
         capital between or among such related trades or
         businesses, consolidate the accounts of such related trades
         or businesses.

   Section 240(d) of the Revenue Act of 1924 was part of the consolidated-
   return provisions of the Act. These provisions were in section 240 of the
   Act.

         C.     The Revenue Act of 1926

          The next revenue act was the Revenue Act of 1926, ch. 27, 44 Stat.
   9. Section 240(f) of the Revenue Act of 1926, 44 Stat. at 46, was the
   same as section 240(d) of the Revenue Act of 1924. See G.D. Searle &
   Co. v. Commissioner, 88 T.C. at 356. Section 240(f) of the Revenue Act
   of 1926 was part of the consolidated-return provisions of the Act. These
   provisions were in section 240 of the Act, 44 Stat. at 46. Section 240(a)
   of the Revenue Act of 1926, 44 Stat. at 46, permitted affiliated
   corporations to file consolidated returns.




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           D.      The Revenue Act of 1928

          The next revenue act was the Revenue Act of 1928, ch. 852, 45
   Stat. 791. The text of section 240(f) of the Revenue Act of 1926, with
   significant alterations, was placed into section 45 of the Revenue Act of
   1928, 45 Stat. at 806. The other consolidated-return provisions of the
   Revenue Act of 1926 were placed into sections 141 and 142 of the
   Revenue Act of 1928, 54 Stat. at 831-832. See G.D. Searle & Co. v.
   Commissioner, 88 T.C. at 356. 41 Section 45 of the Revenue Act of 1928
   provided:

           41 The complicated history of the Revenue Act of 1928 led some to think that it

   did not reenact the other consolidated-return provisions of the Revenue Act of 1926.
   For example, the U.S. Court of Appeals for the Third Circuit stated: “The Revenue Act
   of 1928 entirely eliminated the right of affiliated corporations to file consolidated
   returns and the provisions of Section 240 of the 1926 Act accordingly do not appear in
   the 1928 Act.” Nat’l Sec. Corp. v. Commissioner, 137 F.2d 600, 602 (3d Cir. 1943), aff’g
   46 B.T.A. 562 (1942). And the U.S. Court of Appeals for the Second Circuit stated:
   “The Revenue Act of 1928 eliminated the right of affiliated corporations to file
   consolidated returns”. B. Forman Co. v. Commissioner, 453 F.2d 1144, 1150 (2d Cir.
   1972), aff’g in part, rev’g in part 54 T.C. 912 (1970). These statements are incorrect.
   The history of the Revenue Act of 1928 began with a bill that was introduced in the
   House and then referred to the House Ways & Means Committee. H.R. 1, 70th Cong.
   (Dec. 6, 1927) (the bill introduced in the House and referred to the Ways & Means
   Committee). This bill was passed by the House, and an identical bill was then
   introduced in the Senate. H.R. 1, 70th Cong. (Dec. 17, 1927) (the identical bill that
   was introduced in the Senate). The House bill (and the identical bill introduced in the
   Senate) eliminated the consolidated-return provisions, except for the text of sec. 240(f)
   of the Revenue Act of 1926, which would have been reenacted had the bill been enacted
   as written. H.R. 1, 70th Cong., secs. 45, 141, 142 (Dec. 6, 1927) (the bill introduced in
   the House and referred to the Ways & Means Committee); H.R. 1, 70th Cong., secs. 45,
   141, 142 (Dec. 17, 1927) (the identical bill that was introduced in the Senate); see
   Jasper L. Cummings, Jr., “Consolidating Foreign Affiliates”, 11 Fla. Tax Rev. 143, 188
   (2011) (“[T]he House bill for the 1928 Revenue Act proposed to eliminate consolidated
   returns”.).     Committee reports observed that the House bill eliminated the
   consolidated-return provisions except for the text of section 240(f) of the Revenue Act
   of 1926. H.R. Rept. No. 70-2, at 20 (Dec. 7, 1927), 1939-1 C.B. (Part 2) 384, 397 (“The
   consolidated return is abolished in the bill for the taxable year 1929 and following
   taxable years, and thereafter affiliated corporations are required to file separate
   returns.”); S. Rept. No. 70-960, at 29 (May 1, 1928), 1939-1 C.B. (Part 2) 409, 429 (“The
   House bill abolished the right to file consolidated returns for years after 1928.”); H.R.
   Conf. Rept. No. 70-1882, at 16 (May 25, 1928), 1939-1 C.B. (Part 2) 444, 448 (“The
   House bill made no provision for the filing by affiliated corporations of a consolidated
   return after the taxable year 1928.”). However, the Senate approved an amendment
   that preserved the consolidated-return provisions. See H.R. Conf. Rept. No. 70-1882,
   at 16 (May 25, 1928), 1939-1 C.B. (Part 2) 444, 448 (“The Senate amendment permits
   the filing of a consolidated return by an affiliated group * * *.”); Cummings, supra, 188
   (“The Senate rejected the elimination of consolidated returns”.). It was this Senate




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                 In any case of two or more trades or businesses
          (whether or not incorporated, whether or not organized in
          the United States, and whether or not affiliated) owned or
          controlled directly or indirectly by the same interests, the
          Commissioner is authorized to distribute, apportion, or
          allocate gross income or deductions between or among such
          trades or businesses, if he determines that such
          distribution, apportionment, or allocation is necessary in
          order to prevent evasion of taxes or clearly to reflect the
          income of any of such trades or businesses.

   There were two differences between section 45 of the Revenue Act of
   1928 and section 240(f) of the Revenue Act of 1926. First, a taxpayer
   did not have the power to invoke section 45 of the Revenue Act of 1928.
   See G.D. Searle & Co. v. Commissioner, 88 T.C. at 356. Only respondent
   could invoke the provision. Second, respondent did not have the express
   authority to “consolidate” accounts under section 45 of the Revenue Act
   of 1928. Instead, that provision gave respondent the power to distribute,
   apportion, and allocate gross income or deductions.

          The House Ways & Means Committee in its report explained that
   the purpose of section 45 of the Revenue Act of 1928 was to allow
   respondent “in the case of two or more trades or businesses owned or
   controlled by the same interests” to make allocations “in order to prevent
   evasion (by the shifting of profits, the making of fictitious sales, and
   other methods frequently adopted for the purpose of ‘milking’), and in
   order clearly to reflect their true tax liability.” H.R. Rept. No. 70-2, at
   16-17 (1927), 1939-1 C.B. (Part 2) 384, 395. The Senate Finance
   Committee made a similar statement in its own report leading up to
   section 45 of the Revenue Act of 1928. S. Rept. No. 70-960, at 24 (1928),
   1939-1 C.B. (Part 2) 409, 426. Petitioner cites the reports of both
   committees. See infra part IV.

          E.      The Revenue Act of 1932

         The Revenue Act of 1932, ch. 209, 47 Stat. 169, was the next
   revenue act after the Revenue Act of 1928. Section 45 of the Revenue
   Act of 1932 was the same as section 45 of the Revenue Act of 1928.
   Revenue Act of 1932, sec. 45, 47 Stat. at 186.


   amendment that made it into the Revenue Act of 1928 and became the law. Revenue
   Act of 1928, secs. 141 and 142, 54 Stat. at 831-832. Thus, the Revenue Act of 1928 did
   not eliminate the right of affiliated corporations to file consolidated returns.




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          F.      The Revenue Act of 1934

          The Revenue Act of 1934, ch. 277, 48 Stat. 680, was the next
   revenue act after the Revenue Act of 1932. Section 45 of the Revenue
   Act of 1934 was the same as section 45 of the Revenue Act of 1932, except
   that the words “trades or businesses” in the 1932 act were replaced with
   “organizations, trades, or businesses” in the 1934 act. Revenue Act of
   1934, sec. 45, 48 Stat. at 695. Below is the text of section 45 of the
   Revenue Act of 1934:

                  In any case of two or more organizations, trades, or
          businesses (whether or not incorporated, whether or not
          organized in the United States, and whether or not
          affiliated) owned or controlled directly or indirectly by the
          same interests, the Commissioner is authorized to
          distribute, apportion, or allocate gross income or
          deductions between or among such organizations, trades,
          or businesses, if he determines that such distribution,
          apportionment, or allocation is necessary in order to
          prevent evasion of taxes or clearly to reflect the income of
          any such organizations, trades, or businesses.[42]

          G.      Regulations 86

         In 1934, the Treasury Department promulgated art. 45-1,
   Regulations 86, which related to section 45 of the Revenue Act of 1934.
   Regulations 86 Relating to the Income Tax Under the Revenue Act of
   1934, at 122-124 (Gov’t Prtg. Off. 1935). 43 Reproduced below is art. 45-
   1, Regulations 86 (emphasis added):

           42 The income-tax provisions of the Revenue Act of 1934, including section 45

   of that Act, were applicable for tax years beginning on or after Jan. 1, 1934. Revenue
   Act of 1934, sec. 1, 48 Stat. at 683.
          43 In the days before the Federal Register and the Code of Federal Regulations,

   the Treasury Department published its regulations in consecutively numbered
   pamphlets. Henry Campbell Black, A Treatise on the Law of Income Taxation Under
   Federal and State Laws sec. 71 (2d ed. 1915) (available at heinonline.org); Richmond
   & Yamamoto, supra, 148. One of these numbered pamphlets was Regulations 86
   Relating to the Income Tax Under the Revenue Act of 1934. This publication bears a
   publication date of 1935. The last sentence of the regulations reads: “In pursuance of
   the Act the foregoing regulations are hereby prescribed.” Underneath that sentence is
   the name and title of the Commissioner of Internal Revenue. Underneath this are the
   words “Approved February 11, 1935” and the name and title of the Secretary of the
   Treasury. Although the year of publication (1935) and the date “Approved” (Feb. 11,




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                 Art. 45-1. Determination of the taxable net income
          of a controlled taxpayer.--

                  (a) Definitions.--When used in this article--

                          (1) The term “organization” includes any
                  organization of any kind, whether it be a sole
                  proprietorship, a partnership, a trust, an estate, or
                  a corporation (as each is defined or understood in the
                  Act or these regulations), irrespective of the place
                  where organized, where operated, or where its trade
                  or business is conducted, and regardless of whether
                  domestic or foreign, whether exempt, whether
                  affiliated, or whether a party to a consolidated
                  return.

                         (2) The terms “trade” or “business” include
                  any trade or business activity of any kind, regardless
                  of whether or where organized, whether owned
                  individually or otherwise, and regardless of the
                  place where carried on.

                          (3) The term “controlled” includes any kind of
                  control, direct or indirect, whether legally
                  enforceable, and however exercisable or exercised.
                  It is the reality of the control which is decisive, not
                  its form nor the mode of its exercise. A presumption
                  of control arises if income or deductions have been
                  arbitrarily shifted.

                        (4) The term “controlled taxpayer” means any
                  one of two or more organizations, trades, or
                  businesses owned or controlled directly or indirectly
                  by the same interests.




   1935) would seem to indicate that Regulations 86 was promulgated in 1935, there is
   authority it was promulgated in 1934. Commissioner v. First Sec. Bank of Utah, N.A,
   405 U.S. 394, 400 n.10 (1972) (“[The] regulations * * * were issued in 1934.”); R.C.
   Reynolds, Inc. v. Commissioner, 44 B.T.A. 356, 364 (1941) (“Respondent’s Regulations
   86 were approved on September 6, 1934.”); Thomas E. Jenks, “Treasury Regulations
   Under Section 482”, 23 Tax Lawyer 279, 279 (1970) (“The * * * regulations were issued
   in 1934”.).




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                     (5) “Group” or “group of controlled taxpayers”
                means the organizations, trades, or businesses
                owned or controlled by the same interests.

                       (6) The term “true net income” means, in the
                case of a controlled taxpayer, the net income (or, as
                the case may be, any item or element affecting net
                income) which would have resulted to the controlled
                taxpayer, had it in the conduct of its affairs (or, as
                the case may be, in the particular contract,
                transaction, arrangement, or other act) dealt with
                the other member or members of the group at arm’s
                length. It does not mean the income, the deduction,
                or the item or element of either, resulting to the
                controlled taxpayer by reason of the particular
                contract, transaction, or arrangement, the
                controlled taxpayer, or the interests controlling it,
                choose to make (even though such contract,
                transaction, or arrangement be legally binding upon
                the parties thereto).

                (b) Scope and purpose.--The purpose of section 45 is
         to place a controlled taxpayer on a tax parity with an
         uncontrolled taxpayer, by determining, according to the
         standard of an uncontrolled taxpayer, the true net income
         from the property and business of a controlled taxpayer.
         The interests controlling a group of controlled taxpayers
         are assumed to have complete power to cause each
         controlled taxpayer so to conduct its affairs that its
         transactions and accounting records truly reflect the net
         income from the property and business of each of the
         controlled taxpayers. If, however, this has not been done,
         and the taxable net incomes are thereby understated, the
         statute contemplates that the Commissioner shall
         intervene, and, by making such distributions,
         apportionments, or allocations as he may deem necessary
         of gross income or deductions, or of any item or element
         affecting net income, between or among the controlled
         taxpayers constituting the group, shall determine the true
         net income of each controlled taxpayer. The standard to be
         applied in every case is that of an uncontrolled taxpayer
         dealing at arm’s length with another uncontrolled
         taxpayer.




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                 Section 45 and this article apply to the case of any
          controlled taxpayer, whether such taxpayer makes a
          separate or a consolidated return. If a controlled taxpayer
          makes a separate return, the determination is of its true
          separate net income. If a controlled taxpayer is a party to
          a consolidated return, the true consolidated net income of
          the affiliated group and the true separate net income of the
          controlled taxpayer are determined consistently with the
          principles of a consolidated return.

                 Section 45 grants no right to a controlled taxpayer
          to apply its provisions at will, nor does it grant any right to
          compel the Commissioner to apply such provisions. It is
          not intended (except in the case of the computation of
          consolidated net income under a consolidated return) to
          effect in any case such a distribution, apportionment or
          allocation of gross income, deductions, or any item of
          either, as would produce a result equivalent to a
          computation of consolidated net income under section
          141.[44]

                  (c)    Application.--Transactions    between     one
          controlled taxpayer and another will be subjected to special
          scrutiny to ascertain whether the common control is being
          used to reduce, avoid, or escape taxes. In determining the
          true net income of a controlled taxpayer, the Commissioner
          is not restricted to the case of improper accounting, to the
          case of a fraudulent, colorable or sham transaction, or to
          the case of a device designed to reduce or avoid tax by
          shifting or distorting income or deductions. The authority
          to determine true net income extends to any case in which
          either by inadvertence or design the taxable net income, in
          whole or in part, of a controlled taxpayer, is other than it
          would have been had the taxpayer in the conduct of his
          affairs been an uncontrolled taxpayer dealing at arm’s
          length with another uncontrolled taxpayer.

   Regulations 86 Relating to the Income Tax Under the Revenue Act of
   1934, at 122-124 (Gov’t Prtg. Off. 1935). We have added emphasis to the
   sentence that contains the phrase “complete power”. Petitioner argues

            44 Section 141 of the Revenue Act of 1934, 48 Stat. at 720-722, related to the

   filing of a consolidated return by an affiliated group of corporations.




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   that this crucial sentence was not in the version of the regulation that
   was in effect for the tax years at issue in L.E. Shunk Latex Products,
   Inc. v. Commissioner, 18 T.C. at 955, i.e., calendar years 1942, 1943, and
   1945. Petitioner argues that therefore the decision in L.E. Shunk Latex
   did not depend on the sentence. 45 Because of petitioner’s argument, our
   review of legal authorities will include the various versions in the
   regulations that contain this sentence. The sentence containing the
   phrase “complete power” is related to the sentence that follows it. Thus,
   we will include this sentence too in our review of legal authorities.

          H.     The Federal Register Act and the publication of the first
                 issue of the Federal Register

           In 1935 Congress enacted the Federal Register Act, ch. 417, 49
   Stat. 500 (1935). Section 5 of the Federal Register Act, 49 Stat. at 501, 46
   defined four classes of documents that had to be published in the Federal
   Register: (1) “all Presidential proclamations and Executive orders,
   except such as have no general applicability and legal effect or are
   effective only against Federal agencies or persons in their capacity as
   officers, agents, or employees thereof”; (2) “such documents or classes of
   documents as the President shall determine from time to time have
   general applicability and legal effect”; (3) “such documents or classes of
   documents as may be required so to be published by Act of the
   Congress”; and (4) “such other documents or classes of documents as
   may be authorized to be published pursuant hereto by regulations
   prescribed hereunder with the approval of the President”. For these
   purposes, a “document” was defined as “any Presidential proclamation
   or Executive order and any order, regulation, rule, certificate, code of
   fair competition, license, notice, or similar instrument issued,
   prescribed, or promulgated by a Federal agency”. Federal Register Act
   sec. 4, 49 Stat. at 501. 47

         The Federal Register Act imposed a series of requirements that
   had to be followed regarding any document in the four classes of
   documents. Section 2 of the Federal Register Act, 49 Stat. at 500, 48
   provided that each document had to be filed with the Federal Register

          45 The portion of petitioner’s brief containing this argument is excerpted infra

   part IV.
          46 Codified as amended at 44 U.S.C. sec. 1505(a) and (b) (2012).

          47 Codified as amended at 44 U.S.C. sec. 1501 (2012).

          48 Codified as amended at 44 U.S.C. sec. 1503 (Supp. IV 2017).




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   Division by the relevant agency; 49 that after filing, a copy of each
   document had to be made immediately available for public inspection at
   the Federal Register Division; and that once filed with the Federal
   Register Division each document had to be immediately transmitted by
   the Federal Register Division to the Government Printing Office.
   Section 3 of the Federal Register Act, 49 Stat. at 500-501, 50 required
   that when the Government Printing Office received each document, it
   was to print it “forthwith” in the Federal Register.

          Section 7 of the Federal Register Act, 49 Stat. at 502, 51 set forth
   the legal consequences of satisfying the requirements of the Federal
   Register Act, including the filing requirement (in section 2 of the Act),
   the public-inspection requirement (also in section 2 of the Act), and the
   publication requirement (in section 3 of the Act). First, section 7 of the
   Federal Register Act provided that a document in the first, second, and
   third classes of documents is not valid against someone without actual
   knowledge of the document until the agency files the document with the
   Federal Register Division and a copy of the document is made available
   for public inspection. 52 Second, section 7 of the Federal Register Act
   provided that the filing of a document with the Federal Register Division

           49 The Division of the Federal Register was not referred to by name in the

   Federal Register Act, which referred only to a “division established * * * in the National
   Archives Establishment”. Federal Register Act sec. 1, 49 Stat. at 500. A 1936 law
   referred to the Division of the Federal Register by its exact name. Act of Feb. 11, 1936,
   ch. 49, 49 Stat. at 1110. In 1968, the Division of the Federal Register was renamed
   the Office of the Federal Register. Act of Oct. 22, 1968, Pub. L. No. 90-620, sec. 1502,
   82 Stat. at 1273-1274 (1968) (enacting 44 U.S.C. sec. 1502 (1982)). The National
   Archives Establishment was created in 1934. Act of June 19, 1934, ch. 668, secs. 2-3,
   48 Stat. at 1122 (codified as amended at 44 U.S.C. secs. 300(a), 300(c) (1946)). In 1949,
   it became part of the General Services Administration and was renamed the National
   Archives and Records Service. Federal Property and Administrative Services Act of
   1949, ch. 288, sec. 104(a), 63 Stat. at 381 (codified as amended at 44 U.S.C. sec. 391(a)
   (1964)); Fed. Reg. Div. et al., United States Government Organization Manual 1950-
   51, at 355-356. In 1984, the National Archives and Record Service was transferred to
   the National Archives and Records Administration, which was established as an
   independent agency in the executive branch. National Archives and Records
   Administration Act of 1984, Pub. L. No. 98-497, sec. 101, 98 Stat. at 2280 (codified as
   amended at 44 U.S.C. sec. 2102 (2018)); National Archives and Records Administration
   Act of 1984, sec. 103(a), 98 Stat. at 2283.
           50 Codified as amended at 44 U.S.C. sec. 1504 (Supp. IV 2017).

           51 Codified as amended at 44 U.S.C. sec. 1507 (2012).

           52 This provision has been described as “requiring filing as a condition

   precedent to validity”. James H. Ronald, “Publication of Federal Administrative
   Legislation”, 7 Geo. Wash. L. Rev. 52, 75 (1938).




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   is generally “sufficient” to give notice of its contents to any person
   subject to it or affected by it. Third, section 7 of the Federal Register
   Act provided that the publication in the Federal Register of a document
   creates the following rebuttable presumptions: (1) the document was
   duly issued, prescribed, or promulgated; (2) the document was filed with
   the Federal Register Division and was made available for public
   inspection; (3) the copy of the document contained in the Federal
   Register is the true copy of the document; and (4) all the other
   requirements of the Federal Register Act have been complied with.

          Section 10 of the Federal Register Act, 49 Stat. at 503, 53 contained
   provisions regarding the effective dates for the requirements of the
   Federal Register Act discussed so far, including a provision that
   section 2 of the Federal Register Act (which contained the filing
   requirement, the public-inspection requirement, and the transmission-
   for-publication requirement) was effective 60 days after the approval of
   the Act, and including a provision that publication of the Federal
   Register would begin three days after approval of the Act. Section 10 of
   the Federal Register Act stated in full:

           The provisions of section 2 shall become effective sixty days
           after the date of approval of this Act[54] and the publication
           of the Federal Register shall begin within three business
           days thereafter: Provided, That the appropriations
           involved have been increased as required by section 9 of
           this Act.    The limitations upon the effectiveness of
           documents required, under section 5(a),[55] to be published
           in the Federal Register shall not be operative as to any
           document issued, prescribed, or promulgated prior to the
           date when such document is first required by this or


           53 Codified with changes at 44 U.S.C. sec. 310 (1940).

           54 By “the date of approval of this Act”, the Federal Register Act referred to the

   date the President had signed the Act. See U.S. Const. art. I, sec. 7, cl. 2 (“Every Bill
   which shall have passed the House of Representatives and the Senate, shall, before it
   become a Law, be presented to the President of the United States; If he approve he
   shall sign it”.); see also Edwards v. United States, 286 U.S. 482, 492-494 (1932)
   (equating the approval of an act with the President’s signature in holding that a bill
   became a law upon its approval by the President, regardless of Congress’s
   adjournment).
           55 The reference to documents required under sec. 5(a) to be published in the

   Federal Register was to the first, second, and third classes of documents that we
   discussed earlier.




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          subsequent Act of the Congress or by Executive order to be
          published in the Federal Register.

   The Federal Register Act was “[a]pproved” on July 26, 1935. 49 Stat. at
   503. Thus, under section 10 of the Federal Register Act, section 2 was
   to become effective on September 24, 1935, and the publication of the
   Federal Register was to begin September 27, 1935. Actual publication
   was delayed, however, because of the lack of appropriated money.
   James H. Ronald, “Publication of Federal Administrative Legislation”,
   7 Geo. Wash. L. Rev. 52, 75 (1938).

           The Federal Register Act also required each agency to make a
   compilation of “all documents which have been issued or promulgated
   prior to the date documents are required or authorized by this Act to be
   published in the Federal Register [September 24, 1935] and which are
   still in force and effect and relied upon by the agency as authority for, or
   invoked or used by it in the discharge of, any of its functions or
   activities.” Federal Register Act sec. 11, 49 Stat. at 503. 56 The deadline
   for the agencies to compile the documents was January 26, 1936. Id.
   The compilation was required to be published, but no specific deadline
   was set for publication. Id. Because of legislative developments
   described later, no compilation was made or published. Bernard
   Kennedy, “The Code of Federal Regulations and the United States
   Statutes at Large”, 44 Law Libr. J. 1, 1 (1951).

          On February 11, 1936, Congress enacted a law that appropriated
   money “[f]or the printing and distribution of the Federal Register”. Act
   of Feb. 11, 1936, ch. 49, 49 Stat. at 1110 (codified as amended at 44
   U.S.C. sec. 309 (1940)). The law provided that “the provisions of section
   2 of the Federal Register Act shall become effective thirty days after said
   appropriations become available and the publication of the Federal
   Register shall begin within two business days thereafter.” Id.

         On March 14, 1936, the first issue of the Federal Register was
   published. 1 Fed. Reg. 1; see Ronald, supra, at 69.




           56 This provision has been described as requiring “a compilation of all

   documents issued before the start of publication of the Federal Register and which
   were still in force and effect.” Ronald, supra, at 78.




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           I.      The Revenue Act of 1936

          The Revenue Act of 1936, ch. 690, 49 Stat. 1648, was the next
   revenue act after the Revenue Act of 1934. Section 45 of the Revenue
   Act of 1936 incorporated the text of section 45 of the Revenue Act of 1934
   without change. Revenue Act of 1936, ch. 690, sec. 45, 49 Stat. at 1667-
   1668. 57

           J.      Regulations 94

          In late 1936, the Treasury Department promulgated art. 45-1,
   Regulations 94, Regulations 94 Relating to the Income Tax Under the
   Revenue Act of 1936, at 156-158 (Gov’t Prtg. Off. 1936), which related to
   section 45 of the Revenue Act of 1936. 58 Article 45-1, Regulations 94,
   was identical to its 1934 predecessor, art. 45-1, Regulations 86.
   Regulations 94 was filed on November 13, 1936. 1 Fed. Reg. 1863.
   Article 45-1, Regulations 94, was published verbatim in the Federal
   Register--meaning that the text published in the Federal Register was
   identical to the text published in the pamphlet Regulations 94 Relating
   to the Income Tax Under the Revenue Act of 1936. Compare id. with
   1 Fed. Reg. 1855-1856 (Nov. 14, 1936).

           K.      The 1937 amendment to the Federal Register Act

          In 1937, Congress amended the provisions of the Federal Register
   Act that required the compilation of pre-September 24, 1935 documents.
   Act of June 19, 1937, ch. 369, 50 Stat. 304. The reason for the
   amendment was the realization that “mere compilations of documents
   were almost unusable because of their bulk and lack of uniformity.”
   Titles 1-6 C.F.R. v (1939). The 1937 amendment replaced the
   requirement that the pre-September 24, 1935 documents be compiled.
   Act of June 19, 1937, 50 Stat. 304; Title 1-6 C.F.R. v (1939). Instead, the
   1937 amendment required each agency to prepare a complete
   codification of documents that were in effect on June 1, 1938:

           On July 1, 1938, and on the same date of every fifth year
           thereafter, each agency of the Government shall have
           prepared and shall file with the Administrative Committee
           a complete codification of all documents which, in the

           57 The income-tax provisions of the Revenue Act of 1936 were applicable for tax

   years beginning on or after Jan. 1, 1936. Revenue Act of 1936, sec. 1, 49 Stat. at 1652.
           58 Regulations 94 did not have a provision regarding its effective date.




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           opinion of the agency, have general applicability and legal
           effect and which have been issued or promulgated by such
           agency and are in force and effect and relied upon by the
           agency as authority for, or invoked or used by it in the
           discharge of, any of its functions or activities on June 1,
           1938. * * *

   Federal Register Act sec. 11(a), as amended by Act of June 19, 1937, 50
   Stat. at 304-305, 44 U.S.C. sec. 311(a) (1940). The 1937 amendment
   authorized the President to direct the publication of the codification. 59
   No deadline was set for publishing the codification, but the deadline for
   making the codification was July 1, 1938. Id. The codification of
   documents was to be done again every five years after July 1, 1938. Id.
   Under the literal text of the 1937 amendment (which is quoted above),
   the subsequent codifications to be made every five years after July 1,
   1938, were to be of the same documents required to be codified by July
   1, 1938. Id. Thus, the 1937 amendment required that essentially the
   same documents be codified and republished every five years until the
   end of time. This was a drafting error. See Ronald, supra, at 79 n.110
   (“The drafters forgot the five-year clause in setting the date of
   determining general applicability and legal effect.”).

          On November 10, 1937, the President authorized the publication
   of the codification of documents pursuant to the Federal Register Act as
   amended in 1937. Titles 1-6 C.F.R. vi (1939).

           L.      The first edition of the Code of Federal Regulations

         In 1939, the first edition of the Code of Federal Regulations was
   published, which contained documents in force on June 1, 1938. Titles
   1-6 C.F.R. iii (1939). 60 Regulations 94 was apparently assumed to be in

           59 The 1937 amendment provided: “[T]he President * * * may authorize and

   direct the publication of such codification in special or supplemental editions of the
   Federal Register.” Federal Register Act sec. 11(a), as amended by Act of June 19, 1937,
   50 Stat. at 304-305, 44 U.S.C. sec. 311(a) (1940).
           60  As explained in the preface to the first edition of the Code of Federal
   Regulations, the Code of Federal Regulations was “divided into 50 titles analogous to
   the titles of the United States Code.” Titles 1-6 C.F.R. iii (1939). Title 26 of the Code
   of Federal Regulations was “Internal Revenue”. Titles 1-6 C.F.R. iii (1939). Title 26 of
   the Code of Federal Regulations was analogous to title 26 of the United States Code,
   which was the codified version of the various revenue acts. See titles 1-6 C.F.R. iii
   (1939) (stating that titles of the C.F.R. are analogous to titles of the U.S.C.); 26 U.S.C.
   sec. 10 note (1940) (History of the Internal Revenue Code) (“In June 1926 Congress




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   force on June 1, 1938, 61 for it was published in the first edition of the
   Code of Federal Regulations (1939). As printed in that publication,
   article 45-1 of Regulations 94 was renamed “section 3.45-1”. 26 C.F.R.
   sec. 3.45-1 (1939). 62 The renaming required nonsubstantive changes to
   be made to the text of article 45-1 when it was published in the first
   edition of the Code of Federal Regulations as section 3.45-1.

          The preface to the first edition of the Code of Federal Regulations
   observed that the edition included only documents in force on June 1,
   1938. Titles 1-6 C.F.R. ix (1939). The preface stated that regulations
   that related to later periods would be covered by periodic supplements
   to the Code of Federal Regulations and that the first such supplement
   would be a 1938 Supplement that would cover the last half of 1938. 63




   passed the ‘Code of the Laws of the United States’ which was the first general
   codification of Federal statutes since the Revised Statutes. It was revised in 1934 and
   again in 1940. The compilers of the United States Code acting under the supervision
   of the Revision of Laws Committee of the House of Representatives, incorporated all
   internal revenue laws of a general and permanent nature in Title 26, Internal
   Revenue.”).
           61 This seems to be a valid assumption.   Although Regulations 94 did not have
   an effective-date provision, it was published in the Federal Register in 1936 and it was
   related to the income-tax provisions of the Revenue Act of 1936. 1 Fed. Reg. 1802 (Nov.
   14, 1936). These provisions were applicable for tax years beginning on or after Jan. 1,
   1936. Revenue Act of 1936, sec. 1, 49 Stat. at 1652.
           62 Other articles in Regulations 94 were similarly renamed.   See 26 C.F.R. sec.
   3.1-1 (1939).
           63According to the preface to the first edition of the Code of Federal
   Regulations:
                                        Supplements
                    The 1938 Supplement to the Code covers the period beginning
           June 2 and ending December 31, 1938. Each succeeding supplement
           will cover the period of one calendar year. Since the rules and
           regulations contained in the Code of Federal Regulations were codified
           as of June 1, 1938, it follows that this edition should be used in
           conjunction with the annual supplements, and in conjunction with the
           daily issues of the FEDERAL REGISTER.
   Titles 1-6 C.F.R. ix (1939); see also infra next note (discussing the publication of the
   1938 and 1939 Supplements to the first edition of the Code of Federal Regulations).




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           M.      The Revenue Act of 1938

          Section 45 of the Revenue Act of 1938 incorporated the text of
   section 45 of the Revenue Act of 1936 without change. Revenue Act of
   1938, ch. 289, sec. 45, 52 Stat. at 474.

           N.      Regulations 101

           In 1939, the Treasury Department promulgated art. 45-1,
   Regulations 101, Regulations 101 Relating to the Income Tax Under the
   Revenue Act of 1938, at 188-190 (Gov’t Prtg. Off. 1939), which related to
   section 45 of the Revenue Act of 1938. Article 45-1, Regulations 101,
   was identical to art. 45-1, Regulations 94. Regulations 101 was filed on
   February 7, 1939. 4 Fed. Reg. 687 (Feb. 10, 1939). Article 45-1,
   Regulations 101, was published verbatim in the Federal Register, 4 Fed.
   Reg. 616, 680, meaning that the text of article 45-1 published in the
   Federal Register was identical to the text of article 45-1 published in the
   pamphlet Regulations 101 Relating to the Income Tax Under the
   Revenue Act of 1938. Compare id. with 4 Fed. Reg. 616, 680. In addition
   to being published in the Federal Register, Regulations 101 was
   published in the 1939 Supplement to the Code of Federal Regulations. 64
   As printed in that supplement, art. 45-1, Regulations 101 was
   redesignated “§ 9.45-1.” 26 C.F.R. sec. 9.45-1 (1939 Supp.). As printed
   in the supplement, each “article” of Regulations 101 was redesignated a
   “section”, and the number of each section was given the prefix “9.” See
   26 C.F.R. sec. 9.1-1 (1939 Supp.). As a consequence of the redesignation
   of art. 45-1, Regulations 101, nonsubstantive changes had to be made to
   its text when it was published in the 1939 Supplement to the Code of
   Federal Regulations as 26 C.F.R. sec. 9.45-1 (1939 Supp.).

           O.      Internal Revenue Code of 1939

          In 1939, Congress codified the tax laws as the Internal Revenue
   Code of 1939. Section 45 of the Internal Revenue Code of 1939 was
   identical to section 45 of the Revenue Act of 1938. Internal Revenue
   Code of 1939, ch. 2, sec. 45, 53 Stat. at 25. Section 45 was among the
   provisions of the Internal Revenue Code of 1939 that applied for tax
   years beginning on or after January 1, 1939. Id. sec. 1, 53 Stat. at 4.

           64 The first edition of the Code of Federal Regulations contained regulations in

   force on June 1, 1938. Titles 1-6 C.F.R. iii (1939). A 1938 Supplement contained
   regulations filed from June 2 to Dec. 31, 1938, except for regulations having effective
   dates before June 2, 1938. C.F.R. iii (1938 Supp.). The 1939 Supplement contained
   regulations filed during calendar year 1939. Titles 1-25 C.F.R. iii (1939 Supp.).




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   Thus, for calendar-year taxpayers, the first year for which section 45 of
   the Internal Revenue Code of 1939 applied was the 1939 tax year.

          Provisions of the Internal Revenue Code of 1939 authorized the
   Treasury Department to prescribe regulations. 65 One such provision,
   section 62, provided: “The Commissioner, with the approval of the
   Secretary, shall prescribe and publish all needful rules and regulations
   for the enforcement of this chapter [sections 1 to 373, the income-tax
   provisions of the Internal Revenue Code of 1939].”

          The Internal Revenue Code of 1939 also contained provisions
   relating to the effective dates of regulations. 66 One such provision was
   section 3791(b). It provided: “The Secretary, or the Commissioner with
   the approval of the Secretary, may prescribe the extent, if any, to which
   any ruling, regulation, or Treasury Decision, relating to the internal
   revenue laws, shall be applied without retroactive effect.”

           P.      Regulations 103

           In 1940, the Treasury Department promulgated sec. 19.45-1,
   Regulations 103, Regulations 103 Relating to the Income Tax under the
   Internal Revenue Code 203-205 (Gov’t Prtg. Off. 1940), 26 C.F.R. sec.
   19.45-1 (1940 Supp.), 5 Fed. Reg. 417 (Feb. 1, 1940), which related to
   section 45 of the Internal Revenue Code of 1939. Section 19.45-1,
   Regulations 103, was substantively identical to art. 45-1, Regulations
   101. 67 Regulations 103 did not have an express effective-date provision.
   Regulations 103 was filed on January 30, 1940. 5 Fed. Reg. 424.
   Regulations 103 was published in the Federal Register and in the 1940
   Supplement to the Code of Federal Regulations. 5 Fed. Reg. 348; 26
   C.F.R. secs. 19.1-1 to 19.3801(e)-1 (1940 Supp.). 68


           65 These types of authorizations had been in the tax statutes before the Internal

   Revenue Code of 1939. See, e.g., Revenue Act of 1934, sec. 62.
           66 These types of provisions had been extant in pre-1939 tax statutes. See, e.g.,

   Revenue Act of 1934, sec. 506, 48 Stat. at 757, amending Revenue Act of 1926, sec.
   1108(a).
           67 The only differences were in each provision’s internal self-references.
   Section 19.45-1, Regulations 103 referred to itself as a “section” (because it was a
   section) and article 45-1, Regulations 101, referred to itself as an “article” (because it
   was an article).
           68 The 1940 Supplement to the Code of Federal Regulations contained

   regulations filed during 1940. Titles 1-20 C.F.R. iii (1940 Supp.).




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          Q.      The 1942 amendment to the Federal Register Act

         In 1942, the Federal Register Act was amended again. Act of Dec.
   10, 1942, ch. 717, 56 Stat. 1045. The 1942 amendment consisted of three
   changes, which we describe below.

          First, the 1942 amendment to the Federal Register Act changed
   the requirement that each codification to be made every five years
   should correspond to documents effective as of June 1, 1938. See
   Federal Register Act sec. 11(a), as amended by Act of June 19, 1937, 50
   Stat. at 304-305, 44 U.S.C. sec. 311(a) (1940) (before 1942
   amendment). 69 The first codification had already been published as the
   first edition of the Code of Federal Regulations (1939). See titles 1-6
   C.F.R. iii (1939). The next codification would have been required to be
   made on or before July 1, 1943. Federal Register Act sec. 11(a), as
   amended by Act of June 19, 1937, 50 Stat. at 304-305, 44 U.S.C. sec.
   311(a) (1940) (before 1942 amendment). The 1942 amendment provided
   that, instead of documents effective June 1, 1938, the next codifications
   were to be of documents effective as of June 1 of the respective year in
   which the codification was made. Act of Dec. 10, 1942, sec. 2, 56 Stat. at
   1045. Thus, under the 1942 amendment, the codification of documents
   to made be on or before July 1, 1938, and to also be made on or before
   the same date every five years thereafter, would consist of “all
   documents which, in the opinion of the agency, have general
   applicability and legal effect and which have been issued or promulgated
   by such agency and are in force and effect and relied upon by the agency
   as authority for, or invoked or used by it in the discharge of, any of its
   functions or activities on June 1, 1938, or on the same date of every fifth
   year thereafter.” Act of Dec. 10, 1942, sec. 2, 44 U.S.C. sec. 311 (Supp.
   V 1946). This meant that the codification due July 1, 1943, would
   consist of documents effective on June 1, 1943.

          The second change made by the 1942 amendment to the Federal
   Register Act was to temporarily suspend the requirement that
   documents be codified every five years. The reason for this suspension
   related to the American participation in World War II, which had
   resulted in a “notable increase in Federal administrative documents”
   and “the preoccupation of all agencies with the war effort”. Titles 1-3
   C.F.R. xvii (1949). These factors made it impractical to meet the July 1,
   1943 deadline for the next codification. Id. The suspension of the

          69 As explained before, this requirement was the result of a drafting error in

   the 1937 amendment to the Federal Register Act.




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   requirement that documents be codified every five years was only
   temporary. Act of Dec. 10, 1942, sec. 1, 56 Stat. at 1045. The suspension
   was to last until “such time after the termination of the present war as
   the Administrative Committee of the Federal Register shall determine.”
   Id.

          The third change made by the 1942 amendment to the Federal
   Register Act was to require that there be published, instead of a “new
   codification”, a “cumulative supplement” to the Code of Federal
   Regulations. Id. The 1942 amendment did not set a specific deadline
   for publishing the cumulative supplement. As discussed below, the
   cumulative supplement to the Code of Federal Regulations was
   published in 1944.

          R.      Regulations 111

          In 1943, the Treasury Department promulgated Regulations 111.
   Regulations 111 Relating to the Income Tax Under the Internal Revenue
   Code (Gov’t Prtg. Off. 1943). Like Regulations 103, Regulations 111
   interpreted the provisions of the Internal Revenue Code of 1939. Sec.
   29.1-1, Regulations 111, Regulations 111 Relating to the Income Tax
   Under the Internal Revenue Code 1; sec. 19.1-1, Regulations 103,
   Regulations 103 Relating to the Income Tax Under the Internal Revenue
   Code 1. Regulations 111 was applicable “only with respect to taxable
   years beginning after December 31, 1941.” Sec. 29.1-1, Regulations 111.
   Thus, 1942 was the first tax year governed by Regulations 111 for
   calendar-year taxpayers. Regulations 111 was filed on October 28, 1943.
   8 Fed. Reg. 14379. 70

         Section 29.45-1 of Regulations 111, which related to section 45 of
   the Internal Revenue Code of 1939, was identical to section 19.45-1 of
   Regulations 103 except for a difference in prefixes. In Regulations 111
   the section had the prefix “29.” instead of the prefix “19”. Regulations
   111 Relating to the Income Tax Under the Internal Revenue Code 275-
   277; Regulations 103 Relating to the Income Tax Under the Internal
   Revenue Code 203-205. The sentence containing the term “complete


           70 The filing date of a regulation has been explained as follows: “Because they

   are not statutes, regulations are not enacted. Instead they are issued or promulgated
   by being filed with the Federal Register. The filing date generally precedes the
   publication date by a day or two.” Richmond & Yamamoto, supra at 126. Respondent
   considers a Treasury regulation to be promulgated when the regulation is filed with
   the Federal Register Division. Rev. Rul. 56-517, 1956-2 C.B. 966.




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   power”, and the sentence that followed, remained the same in section
   29.45-1 of Regulations 111:

         The interests controlling a group of controlled taxpayers
         are assumed to have complete power to cause each
         controlled taxpayer so to conduct its affairs that its
         transactions and accounting records truly reflect the net
         income from the property and business of each of the
         controlled taxpayers. If, however, this has not been done,
         and the taxable net incomes are thereby understated, the
         statute contemplates that the Commissioner shall
         intervene, and, by making such distributions,
         apportionments, or allocations as he may deem necessary
         of gross income or deductions, or of any item or element
         affecting net income, between or among the controlled
         taxpayers constituting the group, shall determine the true
         net income of each controlled taxpayer. * * *

          Regulations 111 was published in three different ways. First, it
   was published in pamphlet form. Regulations 111 Relating to the
   Income Tax Under the Internal Revenue Code. Second, it was published
   in the Federal Register. 8 Fed. Reg. 14882 (Nov. 3, 1943). Third, it was
   published in the Cumulative Supplement to the Code of Federal
   Regulations. It was not published, as we explain later, in the 1943
   Supplement to the Code of Federal Regulations. 26 C.F.R. secs. 29.1-1
   to 29.3801(e)-1 (Cum. Supp. 1944).

         We discuss in greater detail below each of these publications.

         Regulations 111 in pamphlet form. In the pamphlet form, the
   number of each particular section of Regulations 111 was preceded by
   the prefix “29.” Secs. 29.9-1 to 29.3801(e)-1, Regulations 111 Relating
   to the Income Tax Under the Internal Revenue Code. Thus, the
   introduction in the pamphlet observed that the number of each section
   of Regulations 111 is “preceded by the number 29 and a decimal point.”
   Regulations 111 Relating to the Income Tax Under the Internal Revenue
   Code II.

         Section 29.3-1 of Regulations 111, as published in pamphlet form,
   stated that Regulations 111 “constitute Part 29 of Title 26 of the 1943
   Supplement to the Code of Federal Regulations”.            Sec. 29.3-1,
   Regulations 111 Relating to the Income Tax Under the Internal Revenue
   Code 1. This statement that Regulations 111 would be published in the




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   1943 Supplement to the Code of Federal Regulations was incorrect.
   Regulations 111 was actually published in the Cumulative Supplement
   to the Code of Federal Regulations, not the 1943 Supplement to the Code
   of Federal Regulations. 26 C.F.R. secs. 29.1-1 to 29.3801(e)-1 (Cum.
   Supp. 1944).

          Regulations 111 in the Federal Register. On November 3, 1943,
   Regulations 111 was published in the Federal Register. 8 Fed. Reg.
   14882 (Nov. 3, 1943). The text of section 29.45-1 of Regulations 111 that
   was published in the Federal Register was the same text that was in the
   pamphlet Regulations 111 Relating to the Income Tax Under the
   Internal Revenue Code 275-277, except that for some reason the prefix
   “9.” was used in the Federal Register rather than the prefix “29.” for that
   particular section of Regulations 111. 8 Fed. Reg. 14968). All other
   sections of Regulations 111 published in the Federal Register had the
   prefix “29.” The Federal Register contained a table of contents for
   Regulations 111. 8 Fed. Reg. 14882-14888. For each section of
   Regulations 111, including section 9.45-1, the table of contents used the
   prefix “29.” Id. This suggests that the use of the prefix “9.” in the
   numbering of section 9.45-1 of Regulations 111 was inadvertent. The
   Federal Register contained the following introduction to Regulations
   111 that stated that each section of Regulations 111 had the prefix “29.”:
   “Inasmuch as the regulations constitute Part 29 of Title 26 of the Code
   of Federal Regulations, each key number is preceded by the number 29
   and a decimal point.” 8 Fed. Reg. 14882. This statement suggests that
   the use of the prefix “9.” in the numbering of section 9.45-1 of
   Regulations 111 was inadvertent. Finally Regulations 111 was printed
   in the Federal Register with the following heading: “Part 29--Income
   Tax; Taxable Years Beginning After December 31, 1941”. 8 Fed. Reg.
   14882. The wording of this heading suggests that the use of the prefix
   “9.” in the numbering of section 9.45-1 of Regulations 111 was
   inadvertent.

         Section 29.3-1 of Regulations 111, as published in the Federal
   Register, stated that Regulations 111 “constitute Part 29 of Title 26 of
   the 1943 Supplement to the Code of Federal Regulations”. 8 Fed. Reg.
   14889. The same statement had been made in the pamphlet version of
   Regulations 111. Sec. 29.3-1, Regulations 111 Relating to the Income
   Tax Under the Internal Revenue Code 1. As we observed in discussing
   the pamphlet version of Regulations 111, the statement was incorrect
   because Regulations 111 was actually published in the Cumulative
   Supplement to the Code of Federal Regulations rather than the 1943




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   Supplement to the Code of Federal Regulations. 26 C.F.R. secs. 29.1-1
   to 29.3801(e)-1 (Cum. Supp. 1944).

         Regulations 111 in the Cumulative Supplement to the Code of
   Federal Regulations. Regulations 111 was published in the Cumulative
   Supplement to the Code of Federal Regulations. The Cumulative
   Supplement to the Code of Federal Regulations, which was published in
   1944, was the publication required by the 1942 amendment to the
   Federal Register Act. Act of Dec. 10, 1942. 71 The Cumulative
   Supplement to the Code of Federal Regulations contained two sets of
   documents:

          ●       The first set of documents was “a codification of documents
                  filed with the Division of the Federal Register during the
                  period from June 2, 1938, to June 1, 1943, inclusive, which
                  supplement the first edition of the Code of Federal
                  Regulations and which were still in force and effect on June
                  1, 1943.” Titles 26-27 C.F.R. iii (Cum. Supp. 1944).
                  Regulations 111 did not fall into the first set of documents
                  because it was filed on October 28, 1943. 8 Fed. Reg. 14979.

          ●       The second set of documents was described in the following
                  sentence in the Cumulative Supplement: “In order to
                  complete the presentation of the regulations of the Bureau
                  of Internal Revenue as of June 1, 1943, this codification
                  contains documents filed with the Division subsequent to
                  June 1, which were effective on that date.” Titles 26-27
                  C.F.R. iii (Cum. Supp. 1944). 72 Regulations 111 apparently

          71 Titles 1-3 C.F.R. xvii (1949) explained:


          Section 11 of the act [the Federal Register Act], as amended, was
          consequently further amended by the Act of December 10, 1942 (56
          Stat. 1045; 44 U.S.C. 311a). This amendment provided that, instead
          of a new codification, there should be published a cumulative
          supplement prepared under the supervision of the Division of the
          Federal Register.
                 The Cumulative Supplement to the Code of Federal
          Regulations was compiled as of June 1, 1943. * * *
           72 Between the publication of the 1940 Supplement to the Code of Federal

   Regulations and the publication of the Cumulative Supplement to the Code of Federal
   Regulations, there had been published a 1941 Supplement to the Code of Federal
   Regulations. This annual supplement contained regulations filed during 1941. See
   Titles 1-7 C.F.R. iii (1941 Supp.). It did not include Regulations 111, which was not
   filed until the second half of 1943.




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                was thought to fall into the second set of documents.
                Regulations 111 was filed “subsequent to” June 1, 1943--
                because it was filed on October 28, 1943. And Regulations
                111 was seemingly “effective on” the “date” June 1, 1943,
                in that Regulations 111 was effective with respect to tax
                years beginning after December 31, 1941, and therefore
                was effective for any tax year that included June 1, 1943.

          Section 29.3-1 of Regulations 111, as published in the Cumulative
   Supplement to the Code of Federal Regulations, referred to Regulations
   111 in the following way: “These regulations [i.e., Regulations 111],
   which constitute Part 29 of Title 26 of the 1943 Supplement to the Code
   of Federal Regulations, are divided into six subparts.” 26 C.F.R. sec.
   29.3-1 (Cum. Supp. 1944). Thus the Cumulative Supplement to the
   Code of Federal Regulations, a publication in which Regulations 111 was
   actually printed, suggested that Regulations 111 was printed in the
   1943 Supplement to the Code of Federal Regulations, a publication in
   which Regulations 111 was not printed. The same error had been made
   in the pamphlet form of Regulations 111 (sec. 29.3-1, Regulations 111
   Relating to the Income Tax Under the Internal Revenue Code 1) and in
   the text of Regulations 111 that was published in the Federal Register
   (sec. 29.3-1 of Regulations 111, 8 Fed. Reg. 14889). This error would
   eventually be corrected through an amendment to Regulations 111
   published in the Federal Register. Specifically, Treasury Decision 5391,
   9 Fed. Reg. 8009 (July 18, 1944), amended section 29.3-1 of Regulations
   111 to say: “These regulations [i.e., Regulations 111], which constitute
   Part 29 of Title 26 of the Cumulative Supplement to the Code of Federal
   Regulations, are divided into eight subparts.”

         In the Cumulative Supplement to the Code of Federal
   Regulations, the section of Regulations 111 relating to section 45 of the
   Internal Revenue Code of 1939 was numbered “§ 29.45-1”. 26 C.F.R. sec.
   29.45-1 (Cum. Supp. 1944). This prefix “29.” was used for all sections of
   Regulations 111 in the Cumulative Supplement to the Code of Federal
   Regulations. Finally Regulations 111 as printed in the Cumulative
   Supplement to the Code of Federal Regulations had the following
   heading: “PART 29--INCOME TAX; TAXABLE YEARS BEGINNING
   AFTER DECEMBER 31, 1941”. Title 26 (ch. I, parts 2-178) C.F.R. 5973
   (Cum. Supp. 1944). This was the same heading used for Regulations
   111 in the Federal Register.

         Regulations 111 was not published in the 1943 Supplement to the
   Code of Federal Regulations. Besides the Cumulative Supplement to




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   the Code of Federal Regulations, the Government Printing Office also
   published a 1943 Supplement to the Code of Federal Regulations. The
   1943 Supplement contained “a codification of regulations filed by
   Federal agencies and published in the Federal Register during the
   period from June 2, 1943 through December 31, 1943.” Titles 1-31
   C.F.R. iii (1943 Supp.). Because Regulations 111 was filed on
   October 28, 1943, 8 Fed. Reg. 14979, and was published in the Federal
   Register on November 3, 1943, 8 Fed. Reg. 14882, Regulations 111
   seemingly should have been published in the 1943 Supplement to the
   Code of Federal Regulations. Yet it was not. In any event, Regulations
   111 had already been published in the Cumulative Supplement to the
   Code of Federal Regulations.

          S.      The Revenue Act of 1943 and the Treasury Decision 5426
                  amendments to Regulations 111

          Effective for tax years beginning after December 31, 1943, the
   Revenue Act of 1943 amended section 45 of the Internal Revenue Code
   of 1939 by replacing the phrase “gross income or deductions” with “gross
   income, deductions, credits, or allowances.” Revenue Act of 1943, ch. 63,
   secs. 101, 128(b) and (c), 58 Stat. at 26, 48. Thus, for calendar-year
   taxpayers, the first year for which the 1943 amendment applied was
   1944. Prior calendar years (i.e., 1939-43) were governed by section 45 of
   the Internal Revenue Code of 1939 before the 1943 amendment. See
   Internal Revenue Code of 1939 sec. 1.

          To reflect the amendment of section 45 of the Internal Revenue
   Code of 1939 by the Revenue Act of 1943, section 29.45-1 of Regulations
   111 73 was amended by Treasury Decision 5426, 10 Fed. Reg. 23-24 (filed
   Dec. 30, 1944; published in the Federal Register Jan. 2, 1945).
   Specifically, Treasury Decision 5426 made the following amendments to
   sec. 29.45-1, Regulations 111:

          ●       “the income, the deduction, or the item or element of either”
                  in sec. 29.45-1(a)(6) was replaced with “the income, the

           73 Treasury Decision 5426, 10 Fed. Reg. 24 (published Jan. 2, 1945), referred

   to the section it amended as “section 29.45-1”, not “section 9.45-1”. The use of the
   prefix “29.” in the number of this section was consistent with the pamphlet form of
   Regulations 111 and with the copy of Regulations 111 that was published in the
   Cumulative Supplement to the Code of Federal Regulations, but not with the copy of
   Regulations 111 published in the Federal Register, which used the prefix “9.”
   Regulations 111 Relating to the Income Tax Under the Internal Revenue Code 275-
   277; 8 Fed. Reg. 14968 (Nov. 3, 1943); 26 C.F.R. sec. 29.45-1 (Cum. Supp. 1944).




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                 deductions, the credits, the allowances, or the item or
                 element of income, deductions, credits, or allowances”;

          ●      “gross income or deductions” in the first paragraph of
                 section 29.45-1(b) was replaced with “gross income,
                 deductions, credits, or allowances”;

          ●      “gross income, deductions, or any item of either” in the
                 third paragraph of section 29.45-1(b) was replaced with
                 “gross income, deductions, credits, or allowances, or any
                 item of gross income, deductions, credits, or allowances”;

          ●      “income or deductions” in the first paragraph of section
                 29.45-1(c) was replaced with “income, deductions, credits,
                 or allowances”.

   T.D. 5426, 10 Fed. Reg. 24.

          The particular sentences of section 29.45-1 of Regulations 111
   that were amended by Treasury Decision 5426 were printed in their
   amended form in the 1944 Supplement to the Code of Federal
   Regulations. 26 C.F.R. sec. 29.45-1, at 1905 (1944 Supp.). 74 The
   complete text of section 29.45-1 of Regulations 111, including the
   portions of the text amended by Treasury Decision 5426 and the portions
   of the text not amended by Treasury Decision 5426, were printed in the
   1949 edition of the Code of Federal Regulations. 26 C.F.R. sec. 29.45-1,
   at 315-316 (1949). Thus, the 1949 edition of the Code of Federal
   Regulations contained the text of section 29.45-1 of Regulations 111
   after it was amended by Treasury Decision 5426. However, the 1949
   edition of the Code of Federal Regulations omitted a comma between
   “gross income” and “deductions” in the following sentence:

          If, however, this has not been done, and the taxable net
          incomes are thereby understated, the statute contemplates
          that the Commissioner shall intervene, and, by making
          such distributions, apportionments, or allocations as he
          may deem necessary of gross income deductions, credits, or
          allowances or of any item or element affecting net income,

           74 The 1944 Supplement to the Code of Federal Regulations “contains a

   codification of regulations promulgated by Federal agencies and published in the
   Federal Register which were filed during the period from January 1, 1944 through
   December 31, 1944.” Titles 11-32 C.F.R. iii (1944 Supp.).




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           between or among the controlled taxpayers constituting
           the group, shall determine the true net income of each
           controlled taxpayer. * * *

   26 C.F.R. sec. 29.45-1, at 316 (1949). The 1949 edition of the Code of
   Federal Regulations was the second edition of the Code of Federal
   Regulations. 26 (parts 1-79) C.F.R. v (1949). 75 The first edition was the
   1939 edition. 26 C.F.R. v (1949).

          The amendments to sec. 29.45-1, Regulation 111, made by
   Treasury Decision 5426 had no effective-date provisions. These
   regulatory amendments mirrored the statutory amendments by the
   Revenue Act of 1943, which were effective starting with the 1944 tax
   year for calendar-year taxpayers. 76 We assume that Treasury Decision

           75 The 1949 edition of the Code of Federal Regulations contained documents

   promulgated on or before Dec. 31, 1948, and effective as to facts or circumstances
   arising on or after January 1, 1949. See Titles 1-3 C.F.R. xv (1949). Between the
   printing of the 1944 Supplement to the Code of Federal Regulations and the printing
   of the 1949 edition of the Code of Federal Regulations, the following three annual
   supplements to the Code of Federal Regulations were published:
     Supp. to the    Filing dates or publication dates of documents printed in the Supp.
       C.F.R.                                    to the C.F.R.
   1945 Supp.       Filed during 1945. See Titles 1-9 C.F.R. iii (1945 Supp.).

   1946 Supp.       Filed with Division of Federal Register and published in Federal
                    Register during 1946. See Titles 1-8 C.F.R. iii (1946 Supp.).

   1947 Supp.       Filed with Division of Federal Register and published in Federal
                    Register during 1947. See Titles 1-7 C.F.R. iii (1947 Supp.).

          Sec. 29.45-1, Regulations 111, was not printed in any of these three
   supplements.
           76 We explain in this note the merits of this assumption in the context of this

   case.
           Sec. 3791(b) of the Internal Revenue Code of 1939, 53 Stat. at 467, authorized
   the Treasury Department to “prescribe the extent, if any, to which any ruling,
   regulation, or Treasury Decision, relating to the internal revenue laws, shall be applied
   without retroactive effect.” A similar provision of the Internal Revenue Code of 1954
   (sec. 7805(b)) has been interpreted to mean that a tax regulation that does not have an
   express effective date should be considered to have an effective date that is the same
   as the effective date (or at least the date of enactment) of the statute to which the
   regulation relates. See, e.g., Pollack v. Commissioner, 47 T.C. 92, 110-111 (1966)
   (holding, under sec. 7805(a) and (b) of the Internal Revenue Code of 1954, “that unless
   the Commissioner otherwise specifies, regulations are retroactive to the date on which




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   5426, like the corresponding portions of the Revenue Act of 1943, was
   effective starting with the 1944 tax year for calendar-year taxpayers.
   For the three tax years involved in L.E. Shunk Latex, this assumption
   means that Treasury Decision 5426 was not effective for the 1942 and
   1943 years, but was effective for the 1945 year. Under the assumption
   that the Treasury Decision 5426 regulatory amendments applied for the
   1945 tax year, the relevant provisions of the Internal Revenue Code and
   regulations applicable for the 1942, 1943, and 1945 years (for calendar-
   year taxpayers) are:




   the statute was enacted”) (citations omitted)), aff’d, 392 F.2d 409 (5th Cir. 1968). It
   would be consistent with this interpretation to assume that the amendments to sec.
   29.45-1, Regulation 111 made by Treasury Decision 5426 had the same effective date
   as the statutory amendment made by the Revenue Act of 1943: that is, for the Treasury
   Decision 5426 regulatory amendments to apply for tax years beginning after December
   31, 1943. This would include the 1945 tax year at issue in L.E. Shunk Latex.
            In theory there might be an argument against Treasury Decision 5426 being
   effective for the 1945 tax year. There is caselaw holding that the Treasury Department
   cannot give a regulation retroactive effect if to do so would be an abuse of its discretion.
   See Anderson, Clayton & Co. v. United States, 562 F.2d 972, 980-981 (5th Cir. 1977)
   (“[A] list of some of the considerations that are relevant to a court in reviewing the
   Secretary’s exercise of his discretionary power to adopt retroactive regulations * * *
   includes: (1) whether or to what extent the taxpayer justifiably relied on settled prior
   law or policy and whether or to what extent the putatively retroactive regulation alters
   that law; (2) the extent, if any, to which the prior law or policy has been implicitly
   approved by Congress, as by legislative reenactment of the pertinent Code provisions;
   (3) whether retroactivity would advance or frustrate the interest in equality of
   treatment among similarly situated taxpayers; and (4) whether according retroactive
   effect would produce an inordinately harsh result.”). To make Treasury Decision 5426
   effective for the 1945 tax year might arguably be seen as giving Treasury Decision
   5426 retroactive effect. This is so because, although Treasury Decision 5426 was filed
   on Dec. 30, 1944, which was before the beginning of the 1945 tax year, it was not
   published until Jan. 2, 1945, which is two days into the 1945 tax year. It appears
   unnecessary to delve further into the question of whether it would be impermissible to
   give Treasury Decision 5426 effect for the 1945 tax year. This is so because the subject
   matter of Treasury Decision 5426 does not appear to be relevant to the dispute in L.E.
   Shunk Latex. Indeed, because the regulatory amendments of Treasury Decision 5426
   merely mirrored changes made to the relevant statute, it would appear that even a
   dispute implicating the text of the regulatory amendments of Treasury Decision 5426
   would be resolved by recourse to the statutory amendment, not to the regulatory
   amendments found in Treasury Decision 5426.




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      Year                       Statute                                  Regulation
     1942        Internal Revenue Code of 1939, ch.      Sec. 29.45-1, Regulations 111, 26
                 2, sec. 45, 53 Stat. at 25.             C.F.R. sec. 29.45-1, at 6141-6142
                                                         (Cum Supp. 1944).

     1943        Internal Revenue Code of 1939, ch.      Sec. 29.45-1, Regulations 111, 26
                 2, sec. 45, 53 Stat. at 25.             C.F.R. sec. 29.45-1, at 6141-6142
                                                         (Cum Supp. 1944).

     1945        Internal Revenue Code of 1939, ch.      Sec. 29.45-1, Regulations 111, as
                 2, sec. 45, 53 Stat. at 25, as          amended by T.D. 5426, 10 Fed.
                 amended by the Revenue Act of           Reg. 24 (Jan. 2, 1945), complete
                 1943, ch. 63, sec. 128(b) and (c), 58   text as amended in 26 C.F.R. sec.
                 Stat. at 48.                            29.45-1, at 315-316 (1949),
                                                         amended sentences only in 26
                                                         C.F.R. sec. 29.45-1, at 1905 (1944
                                                         Supp.).



    The significance of tax years 1942, 1943, and 1945, is that these were
    the tax years at issue in L.E. Shunk Latex Products, Inc. v.
    Commissioner, 18 T.C. at 955.

          As indicated in the table above, tax years 1942 and 1943 (for
    calendar-year taxpayers) were governed by section 29.45-1 of
    Regulations 111, before its amendment by Treasury Decision 5426. 77 As
    indicated in the table above, tax year 1945 (for calendar-year taxpayers)
    was governed by section 29.45-1 of Regulations 111 after the
    amendment by Treasury Decision 5426. 78


             77 We have not reprinted in this Opinion the pre-Treasury Decision 5426 text

    of sec. 29.45-1 of Regulations 111. This pre-Treasury Decision 5426 text can be found
    in the following source: 26 C.F.R. sec. 29.45-1, at 6141-6142 (Cum. Supp. 1944). Also,
    this text is the same as the text of art. 45-1 of Regulation 86, which is printed supra
    Opinion pt. II.G, with the following substitutions:
             •   “Art. 45-1” was replaced with “Sec. 29.45-1”,
             •   “article” was replaced with “section”, and
             •   “this article” was replaced with “this section”.
             78 The text of the section as amended is not reprinted in this Opinion. However,

    it can be found in the following source: 26 C.F.R. sec. 29.45-1, at 315-316 (1949). Also,
    this text is the same as art. 45-1 of Regulation 86, which is printed supra Opinion pt.
    II.G, with the following substitutions:

             • “Art. 45-1” was replaced with “Sec. 29.45-1”,




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           T.      L.E. Shunk Latex v. Commissioner, 18 T.C. 940 (1952) (a
                   case involving tax years 1942, 1943, and 1945)

           In L.E. Shunk Latex Products, Inc. v. Commissioner, 18 T.C. at
    954-957 (1952), two manufacturers of condoms sold their products to a
    then-unrelated wholesaler during the period from July 1937 to July
    1939. 79 Because the two manufacturers were not related to the
    wholesaler, id. at 957, the prices charged by the manufacturers to the
    wholesaler during this period were arm’s-length prices, see id. at 955,
    957. The wholesaler sold the products to its customers, who were not
    related to either the manufacturers or the wholesaler. See id. at 948,
    955.

          In July 1939, the two manufacturers and the wholesaler were
    brought under common control. Id. at 954-957. The prices charged by
    the manufacturers to the wholesaler did not change. Id. at 957. These
    (now-intercompany) prices were arm’s-length prices because they had
    been the prices during the period from July 1937 to July 1939 when the
    two manufacturers and the wholesaler were not commonly controlled.
    Id. The prices charged by the wholesaler to its customers also stayed
    the same. Id.

           In January 1942, the wholesaler raised its prices to its customers
    in accordance with an increase in the market price of the products. Id.
    The intercompany prices of the products sold by the two manufacturers
    to the wholesaler remained unchanged. Id. at 958. Had the two
    manufacturers been unrelated to the wholesaler, they would have
    increased the prices they charged to the wholesaler. Id. Therefore the
    unchanged intercompany prices charged by the two manufacturers to
    the wholesaler were below arm’s-length prices. Id.

           Effective May 1942, the federal government imposed a wartime
    price-control regulation that made it illegal for the two manufacturers
    to raise their prices above the prices charged in March 1942. Id. at 959.

           • “article” was replaced with “section”,
           • “this article” was replaced with “this section”, and
           • the phrase “gross income and deductions”, in each instance, was replaced
                with “gross income, deductions, credits, or allowances”.
            79 The two manufacturers were L.E. Shunk Latex Products, Inc., and the

    Killian Manufacturing Co. L.E. Shunk Latex Prods., Inc. v. Commissioner, 18 T.C.
    940, 941 (1952). The wholesaler was Killashun Sales Division. Id. at 945.




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    Because the prices the two manufacturers charged in March 1942 were
    the same as the prices charged since July 1939, the price-control
    regulation effectively froze in place the July 1939 prices. 80 These prices
    were below arm’s-length prices and had been since January 1942. Id. at
    958. Each sale of products at these below-arm’s-length-prices to the
    wholesaler resulted in shifting income from the two manufacturers to
    the wholesaler. Id. In order to correct for the income distortion resulting
    from the below-arm’s-length intercompany prices, respondent in L.E.
    Shunk Latex determined an allocation under section 45 of the Internal
    Revenue Code of 1939 to increase the income of the two manufacturers
    for taxable years 1942, 1943, and 1945. Id. at 952-955.

           The opinion in L.E. Shunk Latex, can be divided into several
    parts. In the first part, the Court rejected an argument by the two
    manufacturers that they and the wholesaler were not commonly
    controlled. Id. at 956. The Court reasoned that (1) ownership of these
    businesses was largely in the hands of three persons, and (2) these three
    persons also controlled the operations of the businesses through their
    management positions. Id. The Court relied on and quoted the
    definition of the term “controlled” from sec. 29.45-1(a)(3) of Regulations
    111. L.E. Shunk Latex Prods., Inc. v. Commissioner, 18 T.C. at 956.
    Thus, the following statement appears in the L.E. Shunk Latex opinion:

           “The term ‘controlled’ includes any kind of control, direct
           or indirect, whether legally enforceable, and however
           exercisable or exercised. It is the reality of the control
           which is decisive, not its form or the mode of its exercise.”
           Treasury Regulations 111, sec. 29.45-1(a)(3). Cf. Granada
           Industries, Inc., 17 T.C. 231, 254. * * *

    Id.

           In the second part of the opinion, the L.E. Shunk Latex Court
    rejected respondent’s argument that the wholesaler was merely acting
    as an agent for the two manufacturers. Id. at 956-957. The Court held

            80 Effective February 1943, the federal government replaced the May 1942

    price- control regulation. L.E. Shunk Latex Prods., Inc. v. Commissioner, 18 T.C. at
    959. The new February 1943 price-control regulation required prices charged by the
    manufacturers not to exceed the price charged on Dec. 1, 1941. Id. The new price-
    control regulation had the same effect on the two manufacturers as the May 1942 price-
    control regulation because the prices the two manufacturers charged on Dec. 1, 1941,
    were the same as the prices they charged in May 1942. Id. The price-control
    regulations did not affect the prices charged by the wholesaler. Id.




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    that to consider the wholesaler an agent of the two manufacturers would
    be inconsistent with the purpose of section 45 of the Internal Revenue
    Code of 1939, a purpose that the Court described in the following
    passage:

                 Allocation between controlled businesses of “gross
          income, deductions, credits or allowances” is permitted
          under section 45 of the Code where “necessary in order to
          prevent evasion of taxes, or clearly to reflect the income of
          any of such organizations, trades, or businesses.” Section
          45 empowers the Commissioner to act to rectify
          abnormalities and distortions in income which come about
          through the common control to which separate taxpaying
          entities may be subject. “The purpose of section 45 is to
          place a controlled taxpayer on a tax parity with an
          uncontrolled taxpayer, by determining, according to the
          standard of an uncontrolled taxpayer, the true net income
          from the property and business of a controlled taxpayer.”
          Treasury Regulations 111, sec. 29.45-1(b).

                   Using this standard, we think respondent erred
          * * *.

    Id. at 956. The Court reasoned that the two manufacturers and the
    wholesaler dealt with each other during the years at issue in that case
    under a contract, negotiated before they were commonly controlled,
    under which the wholesaler was not an agent of the two manufacturers.
    Id.

          In the third part of the opinion, the L.E. Shunk Latex Court
    explained that after the wholesaler raised its prices to its customers in
    January 1942, the prices charged by the two manufacturers to the
    wholesaler were not arm’s-length prices because had the two
    manufacturers not been related to the wholesaler they would have
    charged higher prices. Id. at 957-958. We quote below the third part of
    the opinion:

                 However, in 1942 that common control was
          exercised in such manner as to shift income from
          petitioners [the two manufacturers] to Killashun [the
          wholesaler], and, but for certain wartime price regulations
          on which petitioners rely, we would be constrained to
          regard action under section 45 as warranted. With the




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          coming of the war, and the consequent critical shortage of
          rubber, there appeared to be a likelihood that petitioners’
          products could be sold at a substantial increase in prices.
          In these circumstances, Killashun halted all sales in
          December 1941. It resumed sales in January 1942, and at
          the same time imposed a one-dollar per gross across-the-
          board increase on all products sold by it. There was no
          change in the items sold, or in the services or functions
          performed by Killashun; conditions simply made it possible
          to get a higher price from the trade for the same products.
          In the case of unpackaged goods, the increase was
          considerably in excess of one hundred per cent. However,
          although Killashun raised the price to its customers,
          Shunk and Killian [the two manufacturers] kept their
          prices to Killashun completely unchanged. On the very
          products on which Killashun was realizing increased
          income of one dollar per gross, Shunk and Killian
          deliberately refrained from increasing their own profits at
          all through an increase in the prices charged to Killashun.

                 We cannot believe that business organizations free
          of control by common interests would have acted in this
          way. If there had been no ties of common control or
          ownership between petitioners and Killashun, it would
          have been reasonable to expect petitioners to take
          advantage of market conditions and to raise their prices as
          was done by Killashun. Their failure to do so can be viewed
          only as a consequence of the common ownership and
          control which dominated all three entities, and plainly
          shifted income of petitioners to Killashun. This sort of
          distortion in income, springing from arrangement or
          manipulation made possible by common control or
          ownership, was exactly the kind of vice at which section 45
          was aimed. Cf. Treasury Regulations 111, sec. 29.45-1;
          Advance Machinery Exchange, Inc., 196 F.2d 1006 (C.A.2,
          1952); Asiatic Petroleum Co. v. Commissioner, 79 F.2d 234
          (C.A.2, 1935), certiorari denied 296 U.S. 645; National
          Securities Corporation v. Commissioner, 137 F. 2d 600
          (C.A. 3, 1943), certiorari denied 320 U.S. 794.

    Id.




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           In the fourth part of the opinion, the L.E. Shunk Latex Court
    considered and rejected the argument by the two manufacturers that
    they had a nontax reason for declining to raise the price they charged
    the wholesaler in January 1942. Id. at 958. The two manufacturers
    claimed that increasing their prices to the wholesaler would have
    created an incentive to competitors to enter the market. Id. The Court
    rejected this explanation, id. at 958-959, and stated that competitors
    would not know, or care about, the price charged by the two
    manufacturers to the related wholesaler, id. The competitors would
    have cared only about the price charged by the wholesaler to its
    customers because that price would affect the price the competitors
    could charge their customers. Id.

           In the fifth part of the opinion the L.E. Shunk Latex Court
    considered whether the two manufacturers could have legally raised
    their prices during the years at issue. Id. at 959-960. The Court
    analyzed the provisions of the price-control regulation and concluded
    that the regulation prohibited an increase in the prices charged by the
    two manufacturers to the wholesaler. Id. 81

           In the sixth part of the opinion the L.E. Shunk Latex Court
    considered the significance of the fact that the two manufacturers
    voluntarily decided not to raise their prices to the wholesaler in January
    1942. Id. at 960. The Court explained that what mattered was that this
    price later became a legal maximum:

                  We recognize that the price structure of petitioners
           [the two manufacturers] and Killashun [the wholesaler]
           from December 1941 through March 1942 was not shaped
           in reliance on the price regulations which followed. The
           regulations, so far as those prices of petitioners and
           Killashun were concerned, were purely a subsequent
           fortuitous development. The regulations merely froze a
           condition theretofore deliberately created without
           reference to them by the interests in control of the three
           entities. There is no basis in the record for believing that
           petitioners would have raised their prices to Killashun in
           the absence of these regulations, and we can only infer that
           the respective prices of the controlled entities, in relation

            81 However, it seems that from January 1942 to May 1942 the prices charged

    by the two manufacturers to the wholesaler were not subject to the price-control
    regulation. L.E. Shunk Latex Prods., Inc. v. Commissioner, 18 T.C. at 950, 957-959.




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          to each other, would not have been any different even if the
          price regulations had never come into being. To say,
          therefore, that because of the price regulations an improper
          shift of income is to be insulated from the corrective
          provisions of the statute, is to permit petitioners to enjoy
          an unexpected piece of good fortune in reduction of their
          taxes. But we can see no logical basis on which petitioners
          can be denied this windfall, in view of the uncontroverted
          effect of those regulations in prohibiting petitioners from
          receiving the very income sought to be attributed to them.
          We think that the Commissioner had no authority to
          attribute to petitioners income which they could not have
          received. We therefore conclude that, in allocating
          Killashun’s income to petitioners, respondent acted in
          excess of his power.

    Id. at 960-961. The quotation above articulates the Court’s main holding
    in the case: The predecessor of section 482 cannot be used to allocate
    income to a taxpayer that the taxpayer is barred by law from receiving.
    Id. at 961. This holding is also reflected in the Court’s description of the
    main argument made by the two manufacturers, an argument with
    which the Court agreed. Here is the Court’s description of the two
    manufacturers’ argument:

          Petitioners argue that it is improper, under section 45, to
          allocate income to them based on prices higher than they
          were permitted to charge under the price regulations,
          which they assert to be their pre-1942 prices, and that
          section 45 does not authorize an allocation of income to
          them which under other laws they were prohibited from
          earning.

    Id. at 959.

          For purposes of our case, there are additional questions to
    consider about the holding in L.E. Shunk Latex. For example, was the
    holding compelled by the unambiguous text of the statute? And what
    role did Regulations 111 play in the Opinion? We set aside these
    questions for now and take them up infra Opinion part IV.

           The last observation we make about L.E. Shunk Latex relates to
    the statute quoted in the Opinion. The Opinion quotes section 45 of the
    Internal Revenue Code of 1939, as that section was amended by section




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    128(b) and (c) of the Revenue Act of 1943. L.E. Shunk Latex Prods., Inc.
    v. Commissioner, 18 T.C. at 955 n.4. By way of background, recall that
    the case involved three tax years: 1942, 1943, and 1945. Tax years 1942
    and 1943 were governed by section 45 of the Internal Revenue Code of
    1939 before its amendment by section 128(b) and (c) of the Revenue Act
    of 1943. Tax year 1945 was governed by section 45 of the Internal
    Revenue Code of 1939 as amended by section 128(a) and (b) of the
    Revenue Act of 1943. It was this later provision that was printed in a
    footnote in L.E. Shunk Latex Prods., Inc. v. Commissioner, 18 T.C. at
    955 n.4, as follows:

                   In any case of two or more organizations, trades, or
           businesses (whether or not incorporated, whether or not
           organized in the United States, and whether or not
           affiliated) owned or controlled directly or indirectly by the
           same interests, the Commissioner is authorized to
           distribute, apportion, or allocate gross income, deductions,
           credits, or allowances between or among such
           organizations, trades, or businesses, if he determines that
           such distribution, apportionment, or allocation is
           necessary in order to prevent evasion of taxes or clearly to
           reflect the income of any of such organizations, trades or
           businesses.

           U.      The Administrative Procedure Act

           In 1946, Congress enacted the Administrative Procedure Act, or
    APA. 82 Ch. 324, 60 Stat. 237 (codified as amended at 5 U.S.C. secs. 551-
    559, 701-705 (2018)). The APA generally took effect on September 11,
    1946. APA sec. 12, 60 Stat. at 244 (general effective date is three months
    after approval of APA); 60 Stat. at 244 (APA approved June 11, 1946).
    Section 12 of the APA, 60 Stat. at 244, 83 provided that no subsequent
    legislation would supersede the APA unless it did so expressly. Section
    3(a) of the APA 84 required each federal agency to “separately state and
    currently publish in the Federal Register * * * (3) substantive rules
    adopted as authorized by law and statements of general policy or

             82 When we quote the provisions of the APA, we quote the provisions as they

    were originally worded in 1946. The provisions of the APA that we quote are still in
    effect, although sometimes the wording has changed from the original 1946 text. For
    the current text of the provisions, the United States Code can be consulted.
           83 Codified as amended at 5 U.S.C. sec. 559 (2018).

           84 Codified as amended at 5 U.S.C. sec. 552(a)(1) (2018).




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    interpretations formulated and adopted by the agency for the guidance
    of the public * * *”. A “rule” was defined for purposes of the APA to
    include an “agency statement of general or particular applicability and
    future effect designed to implement, interpret, or prescribe law or
    policy”. Section 2(c) of the APA (codified as amended at 5 U.S.C. sec.
    551(4) (2018)).

           Section 4 of the APA 85 dealt with “rule making” by agencies.
    “Rule making” was defined as “agency process for the formulation,
    amendment, or repeal of a rule”. Section 2(c) of the APA (codified as
    amended at 5 U.S.C. sec. 551(5) (2018)). Section 4(a) of the APA 86
    required that “[g]eneral notice of proposed rule making” be published in
    the Federal Register. There was an exception to the notice-of-proposed-
    rulemaking requirement for “interpretive rules”, for “general
    statements of policy”, or “in any situation in which the agency for good
    cause finds (and incorporates the finding and a brief statement of the
    reasons therefor in the rules issued) that notice and public procedure
    thereon are impracticable”. Id. This exception did not apply when notice
    or hearing was required by statute. Id. Section 4(a) of the APA 87
    required the notice of proposed rulemaking to include: “(1) a statement
    of the time, place, and nature of public rule making proceedings;
    (2) reference to the authority under which the rule is proposed; and
    (3) either the terms or substance of the proposed rule or a description of
    the subjects and issues involved.” Section 4(b) of the APA 88 provided:

          After notice required by this section, the agency shall
          afford interested persons an opportunity to participate in
          the rule making through submission of written data, views,
          or arguments with or without opportunity to present the
          same orally in any manner; and, after consideration of all
          relevant matter presented, the agency shall incorporate in
          any rules adopted a concise general statement of their
          basis and purpose. * * *

           Section 4(c) of the APA 89 provided: “The required publication
    * * * of any substantive rule (other than one granting or recognizing

          85 Codified as amended at 5 U.S.C. sec. 553 (2018).

          86 Codified as amended at 5 U.S.C. sec. 553(b).

          87 Codified as amended at 5 U.S.C. sec. 553(b).

          88 Codified as amended at 5 U.S.C. sec. 553(c).

          89 Codified as amended at 5 U.S.C. sec. 553(d).




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    exemption or relieving restriction or interpretive rules and statements
    of policy) shall be made not less than thirty days prior to the effective
    date thereof except as otherwise provided by the agency upon good cause
    found and published with the rule.” According to the legislative history
    of the APA, the term “required publication” in section 4(c) of the APA 90
    referred back to the requirement in section 3(a) of the APA91 that a rule
    must be published in the Federal Register, and did not refer to the
    requirement in section 4(a) of the APA 92 that a notice of proposed
    rulemaking be published in the Federal Register. 93 Consistent with the
    legislative history, Rowell v. Andrus, 631 F.2d 699, 702-704 (10th Cir.
    1980), held that an agency violated section 4(c) of the APA by publishing
    a final rule in the Federal Register less than 30 days before its effective
    date, and rejected the agency’s argument that section 4(c) of the APA
    “only requires that a proposed rule be published no less than 30 days
    before its effective date”.

           Section 4(c) of the APA 94 potentially conflicted with section
    3791(b) of the Internal Revenue Code of 1939 (and with analogous
    provisions in the Internal Revenue Codes of 1954 and 1986). 95 Section

           90 Codified as amended at 5 U.S.C. sec. 553(d).

           91 Codified as amended at 5 U.S.C. sec. 552(a)(1).

           92 Codified as amended at 5 U.S.C. sec. 553(b).

           93 The Attorney General’s Manual      on the Administrative Procedure Act 36
    (1947) stated:
                    The discussion on section 4(c) in the report of both the Senate
           and House Committees on the Judiciary makes clear that the phrase
           “The required publication or service of any substantive rule” does not
           relate back or refer to the publication of “general notice of proposed
           rule making” required by section 4(a); rather it is a requirement that
           substantive rules which must be published in the Federal Register (see
           section 3(a)(3)) shall be so published at least thirty days prior to their
           effective date. * * * The purpose of the time lag required by section
           4(c) is to “afford persons affected a reasonable time to prepare for the
           effective date of a rule or rules or to take any other action which the
           issuances of rules may prompt”. Sen. Rep. p. 15; H.R. Rep. 25 (Sen.
           Doc. pp. 201, 259).
            The Senate and House reports referred to in the quotation above were S. Rept.
    No. 79-752 (1945) and H.R. Rept. 79-1980 (1946).
           94 Codified as amended at 5 U.S.C. sec. 553(d).

           95 The analogous provisions are sec. 7805(b) of the Internal Revenue Code of

    1954 and sec. 7805(b) of the Internal Revenue Code of 1986. Sec. 7805(b) of the
    Internal Revenue Code of 1954 was substantively the same as sec. 3791(b) of the




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    4(c) of the APA 96 required that a rule generally have an effective date
    30 days or more after the publication of the rule in the Federal Register.
    APA section 4(c) 97 seemingly meant that a rule may not generally have
    retroactive effect. See Georgetown Univ. Hosp. v. Bowen, 821 F.2d 750,
    757 n.11 (D.C. Cir. 1987) (“The fact that the APA requires legislative
    rules to be given only ‘future effect’ is underscored by 5 U.S.C. § 553(d)
    (1982), which requires that such rules be published not less than 30 days
    before their effective date, except ‘as otherwise provided by the agency
    for good cause found and published with the rule.’”), aff’d on other
    grounds, 488 U.S. 204 (1988). However, for tax regulations, section
    3791(b) of the Internal Revenue Code of 1939 authorized the Treasury
    Department to determine the extent to which a regulation shall be
    applied without retroactive effect. Section 3791(b) of the Internal
    Revenue Code of 1939 can be interpreted to mean that the Treasury
    Department could give retroactive effect to a regulation. 98 The
    relationship between section 4(c) of the APA and section 3791(b) of the
    Internal Revenue Code of 1939 was not definitively resolved. 99

    Internal Revenue Code of 1939. Sec. 7805(b) of the Internal Revenue Code of 1986 was
    substantially the same as sec. 7805(b) of the Internal Revenue Code of 1954 until it
    was amended in 1996. With the 1996 amendment, a Treasury regulation can be made
    retroactive only if it was filed or issued within 18 months of the enactment of the
    statute to which it relates. Sec. 7805(b), as amended by the Taxpayer Bill of Rights 2,
    Pub. L. No. 104-168, sec. 1101(a), 110 Stat. at 1468 (1996). This rule has exceptions.
    The 1996 amendment, and its effective date, are discussed infra part II.PP.
           96 Codified as amended at 5 U.S.C. sec. 553(d).

           97 Codified as amended at 5 U.S.C. sec. 553(d).

            98 A similar provision of the Internal Revenue Code of 1954 (sec. 7805(b)) was

    interpreted to mean that the Treasury Department can give retroactive effect to a tax
    regulation. See Excel Corp. v. United States, 451 F.2d 80, 84-85 (8th Cir. 1971); Butka
    v. Commissioner, 91 T.C. 110, 128 (1988), aff’d without published opinion, 886 F.2d
    442 (D.C. Cir. 1989).
           99 Wendland v. Commissioner, 79 T.C. 355, 379-382 (1982), aff’d per curiam,

    739 F.2d 580 (11th Cir. 1984), and aff’d sub nom. Redhouse v. Commissioner, 728 F.2d
    1249 (9th Cir. 1984), considered a taxpayer’s challenge to a Treasury regulation under
    the Administrative Procedure Act (APA), ch. 324, sec. 4(c), 60 Stat. at 239. On
    November 2, 1976, the proposed regulation was published in the Federal Register.
    Wendland v. Commissioner, 79 T.C. at 379. Taxpayers were informed that Treasury
    intended to make the regulation retroactive to October 29, 1976. Id. at 382. On
    December 19, 1977, the final version of the regulation was published in the Federal
    Register and was to be applied retroactively to October 29, 1976. Id. at 379. The
    taxpayer in Wendland argued that the regulation violated sec. 4(c) of the APA because
    the regulation was not published at least 30 days before its effective date. Id. at 379-
    380. Wendland recognized a “seeming conflict” between (1) the requirement of 30 days’
    notice in sec. 4(c) of the APA and (2) the authority of the Treasury Department to




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           Section 10(a) of the APA 100 provided that except as statutes
    preclude judicial review (or except as agency action is by law committed
    to agency discretion) any person suffering legal wrong because of any
    agency action, or adversely affected or aggrieved by agency action within
    the meaning of a relevant statute, is entitled to judicial review thereof.
    The rules regarding the scope of judicial review were set forth in section
    10(e) of the APA. 101 Section 10(e) of the APA generally required a
    reviewing court to decide questions of law, interpret constitutional and
    statutory provisions, and determine the meaning or applicability of the
    terms of an agency action. Section 10(e)(B) of the APA 102 required a
    reviewing court to hold unlawful and set aside agency action that is
    arbitrary, capricious, an abuse of discretion, or otherwise not in
    accordance with law (section 10(e)(B)(1) of the APA 103); or excessive of
    statutory authority (section 10(e)(B)(3) of the APA 104).




    promulgate retroactive regulations granted by the successor to sec. 3791(b) of the
    Internal Revenue Code of 1939 (i.e., sec. 7805(b) of the Internal Revenue Code of 1954).
    Id. at 380. However, Wendland held that the conflict was “more apparent than real”
    in the context of the facts of that case. Id. at 382. Wendland observed that the parties
    affected by the regulation knew that the Treasury Department intended to make the
    regulation retroactive and could prepare for the final publication of the rule. Wendland
    therefore held that the purpose of sec. 4(c) of the APA, which was to “afford affected
    persons a reasonable time to prepare for final effectiveness of a rule or to take any
    action which the issuance of the rule may require”, was “fulfilled.” Id. at 381-382.
    Wendland explained that “[m]ere technical violation of the APA will not be considered
    cause to invalidate a regulation.” Id. at 38 n.14. The relationship between these
    statutory provisions also came up in Wing v. Commissioner, 81 T.C. 17, 29-30 (1983),
    a case involving a challenge to the same regulation that had been challenged in
    Wendland. The Tax Court in Wing v. Commissioner, 81 T.C. at 29-30, applied the
    holding in Wendland, but additionally suggested that if there were a conflict between
    the successor to sec. 3791(b) of the Internal Revenue Code of 1939 (i.e., sec. 7805(b) of
    the Internal Revenue Code of 1954) and sec. 4(c) of the APA, the former provision would
    prevail because it was the more specific provision. Wing v. Commissioner, 81 T.C. at
    30 n.17; see also Redhouse v. Commissioner, 728 F.2d at 1253.
            100 Codified as amended at 5 U.S.C. sec. 702 (2018).

            101 Codified as amended at 5 U.S.C. sec. 706 (2018).

            102 Codified as amended at 5 U.S.C. sec. 706(2).

            103 Codified as amended at 5 U.S.C. sec. 706(2)(A).

            104 Codified as amended at 5 U.S.C. sec. 706(2)(C).




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           V.      The lifting of the wartime suspension of the Federal
                   Register Act requirement that regulations be codified every
                   five years

           On November 12, 1947, the Administrative Committee of the
    Federal Register terminated the 1942 suspension of the requirement
    that each agency codify certain documents every five years. See Exec.
    Order No. 9,930, 13 Fed. Reg. 519 (Feb. 5, 1948), reprinted in 44 U.S.C.
    sec. 311 note (Supp. II 1949); Act of Dec. 10, 1942, secs. 1, 2 (amending
    Act of June 19, 1937 (amending Federal Register Act of 1935, sec. 11)).
    The termination of the suspension was effective December 31, 1948. See
    Exec. Order No. 9,930, 13 Fed. Reg. 519 (Feb. 5, 1948), reprinted in 44
    U.S.C. sec. 311 note (Supp. II 1949).

           W.      The second edition of the Code of Federal Regulations

            On February 4, 1948, the President signed Executive Order No.
    9,930 stating that “the required codification of documents in force and
    effect on December 31, 1948, will, under present procedures, be on file
    with the Administrative Committee of the Federal Register on that
    date”; and that “the publication of the said codification as it is in force
    and effect on December 31, 1948, is hereby authorized and directed to
    be made”. Thus, the 1948 executive order was the President’s directive
    to publish the second edition of the Code of Federal Regulations. This
    edition, published in 1949, contained documents promulgated on or
    before December 31, 1948, and effective for facts and circumstances
    arising on or after January 1, 1949. See titles 1-3 C.F.R. xv (1949)
    (describing scope of documents contained in the second edition of the
    C.F.R.). It contained the complete text of section 29.45-1 of Regulations
    111, as amended to reflect the change to section 45 of the Internal
    Revenue Code of 1939 made by the Revenue Act of 1943, sec. 128(b) and
    (c), 58 Stat. at 48. 105




            105 A 1952 pocket part, which supplemented the volume of the second edition

    Code of Federal Regulations relating to parts 1 to 79 of title 26 of the Code of Federal
    Regulations, contained changes and additions to parts 1 to 79 of title 26 of the Code of
    Federal Regulations that had been published in the Federal Register during 1949-53
    and which were in force and effect on December 31, 1952. See 26 (parts 1-79) C.F.R.
    (1949 ed. 1952 Supp.) ii. No amendments had been made to sec. 29.45-1 of Regulations
    111 (26 C.F.R. sec. 29.45-1 (1949)) during 1949-53, so the pocket part did not contain
    any text relating to sec. 29.45-1 of Regulations 111.




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           X.      The 1953 amendment to the Federal Register Act

           In 1953, Congress replaced the requirement in the Federal
    Register Act that a new codification of regulations be made every five
    years. Act of Aug. 5, 1953, ch. 333, 67 Stat. 388. Under the 1953
    amendment, the Executive was authorized to require the codification
    and publication of regulations “from time to time as it may deem
    necessary”. Federal Register Act sec. 11(a), as amended by Act of Aug.
    5, 1953. The 1953 amendment expressly provided that its provisions
    “shall apply to the Code of Federal Regulations, 1949 Edition”. Federal
    Register Act sec. 11(g), as amended by Act of Aug. 5, 1953, 67 Stat. at
    389. As a result of the 1953 amendment, the Executive was free to
    publish new volumes of the Code of Federal Regulations when it saw fit.
    See Cervase v. Office Fed. Reg., 580 F.2d 1166, 1169 (3d Cir. 1978).

           The publication of the Code of Federal Regulations up to this
    point can be summarized as follows:

                              The Code of Federal Regulations
                   from the 1935 enactment of the Federal Register Act
                                 until its 1953 amendment
            Publication requirements                   Resulting Publications
     Federal Register Act (1935) required, by
     1/26/1936, the compilation of documents
     issued or promulgated before 9/24/1935.      None.
     Publication of the compilation was
     required, but there was no deadline.
                                                  1st edition of C.F.R. was published,
     1937 amendment replaced the above
                                                  containing documents in force on
     requirement with the requirement that,
                                                  6/1/1938. Supplements to 1st edition
     on or before 7/1/1938, documents in
                                                  were also published: 1938 Supp.
     force and effect on 6/1/1938 be codified.
                                                  (documents filed 6/2/1938 to
     The President was authorized to have
                                                  12/31/1938); 1939 Supp. (documents
     the codification published.
                                                  filed during 1939); and 1940 Supp.
                                                  (documents filed during 1940).
     1937 amendment also required
     subsequent codifications every five
     years of the same documents. For
                                                  No publications met this requirement
     example, it required a codification, on or
                                                  before it was modified and suspended in
     before 7/1/1943, of documents in force
                                                  1942.
     and effect on 6/1/1938. The President
     was authorized to have the subsequent
     codifications published.




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            Publication requirements                     Resulting Publications

     1942 amendment (first change) modified
     the temporal scope of the documents to
     be codified every five years. For
     example, the codification to be made on
     or before 7/1/1943 was to be of
     documents in force and effect on
     6/1/1943.                                  No codification was published until
                                                1949 due to suspension noted in the left
     1942 amendment (second change)             column.
     suspended the requirement that there
     be subsequent codifications every five
     years.

     1942 amendment (third change)              A Cumulative Supplement was
     required the publication of a cumulative   published containing documents
     supplement during the suspension of        (1) filed from 6/2/1938 to 6/1/1943 that
     the requirement of subsequent              were in force and effect on 6/1/1943, and
     codifications every five years.            (2) filed after 6/1/1943 that were
                                                effective on 6/1/1943.

                                                Annual supplements were published:
                                                1943 Supp. (documents filed and
                                                published in Federal Register from 6/2
                                                to 12/31/1943); 1944 Supp. (documents
                                                filed during 1944); 1945 Supp.
                                                (documents filed during 1945); 1946
                                                Supp. (documents filed during 1946);
                                                1947 Supp. (documents filed during
                                                1947).

     1953 amendment to Federal Register
     Act eliminated requirement of
     subsequent codifications every five
     years; the timing of codifications was
     now up to the Executive.


           The publication of the Code of Federal Regulations after the 1953
    amendment to the Federal Register Act (an amendment that was
    effective starting with the 1949 edition of the Code of Federal
    Regulations) has been summarized as follows:

                  In 1949, the second edition of the Code of Federal
           Regulations was finally published. It included all the
           regulations still in effect as of January 1, 1949, and was
           largely taken from the 1938 edition, the supplements, and
           the regulations issued in the Federal Register in 1948.




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          However, there were some additional regulations added
          that were not published in the Federal Register. These
          were generally either rules of procedure or rules received
          by the Division of the Federal Register and considered as
          officially promulgated and applicable to the general public
          or a class of the public and effective on or after January 1,
          1949. Each book of the 1949 CFR, containing one or more
          titles, also had a subject index and a place at the back to fit
          a cumulative pocket supplement. Cumulative pocket
          supplements were issued annually for each book until it
          was deemed appropriate that a new edition of a particular
          book should be published with space in the back for
          subsequent pocket supplements. Each supplement also
          contained various finding aids, including a “Codification
          Guide” or “List of Sections Affected” as it was later called.

                 After considerable discussion on the best way to
          proceed, beginning in 1963 for some titles and for all titles
          in 1967, the Office of the Federal Register (OFR) began
          publishing yearly revisions to the titles of the CFR,
          effective on January 1 of each year. The new books were
          bound in soft covered, dark blue paper stock, but beginning
          in 1970 each annual edition of the CFR has a different color
          on its outside binding. If there are no changes to
          regulations in certain books then a colored paper stock is
          issued so it can be used to cover the older edition. Although
          ponderous in size, an annual republication of the CFR in
          softbound books, instead of cumulative supplements or
          loose-leafs, allows the researcher to determine how a
          regulation read on any given date.

                 Soon, however, it became apparent to the OFR that
          revising the entire Code of Federal Regulations, at the
          same time, was administratively unmanageable.               So
          beginning on October 1, 1972, the OFR has divided the
          titles of the CFR into four groups with each group being
          revised in staggered quarters of the year. Titles 1-16 are
          revised effectively on January 1 of each year. Titles 17-27
          are revised effectively on April 1 of each year. Titles 28-41
          are revised effectively on July 1 of each year, and titles 42-
          50 are revised effectively on October 1 of each year.




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    Rick McKinney, “A Research Guide to the Federal Register and the Code
    of Federal Regulations,” 46 L. Libr. Lights 10, 11 (2002) (footnotes
    omitted).

           Y.      Regulations 118

           In 1953, the Treasury Department promulgated section 39.45-1
    of Regulations 118 to replace section 29.45-1 of Regulations 111.
    Regulations 118 was a comprehensive set of income-tax regulations that
    was promulgated, and published in the Federal Register, in 1953. 18
    Fed. Reg. 5771 (Sept. 26, 1953); see sec. 39.1-1(a) of Regulations 118, 18
    Fed. Reg. 5782. Regulations 118 was also printed as a pamphlet by the
    Government Printing Office. Income Tax Regulations, 118 Internal
    Revenue Code; Part 39 of Title 26, Code of Federal Regulations (Gov’t
    Prtg. Off. 1953). The pamphlet version of Regulations 118 was for the
    most part a photocopy of the version of Regulations 118 that was
    published in the Federal Register. 18 Fed. Reg. 5771. The pamphlet
    had the page numbers that were used in the Federal Register.
    Regulations 118 was also published in the Code of Federal Regulations.
    26 C.F.R. pt. 39 (1953). In 1953, a two-volume revision to the Code of
    Federal Regulations was published, containing those tax regulations
    that were (1) published in the Federal Register on or before December
    31, 1953, and (2) effective on or after January 1, 1954. 26 (parts 1-79)
    C.F.R. v (1953). 106 These two volumes replaced title 26 of the 1949
    edition of the Code of Federal Regulations. 26 (parts 1-79) C.F.R. v
    (1953). Like Regulations 111, Regulations 118 generally interpreted the
    provisions of the Internal Revenue Code of 1939. 26 C.F.R. sec. 39.1-
    1(a) (1953). Regulations 118 was “applicable only with respect to taxable
    years beginning after December 31, 1951.” Id. para. (b). Section 39.45-
    1, Regulations 118, related particularly to section 45 of the Internal
    Revenue Code of 1939. See Income Tax Regulations 118, Internal
    Revenue Code; Part 39 of Title 26, Code of Federal Regulations III
    (“Each section of the regulations is preceded by the section, subsection,
    or paragraph of the Internal Revenue Code which it interprets.”). The
    regulatory provision was virtually identical to its predecessor, section
    29.45-1, Regulations 111. 26 C.F.R. sec. 29.45-1 (1949). The only
    difference was in form. In Regulations 111, paragraph (b) of section
    29.45-1 had consisted of three unnumbered subparagraphs. 26 C.F.R.
    sec. 29.45-1(b) (1949). In Regulations 118, the three subparagraphs of


            106 The two volumes were: 26 (parts 1-79) C.F.R. (1953) and 26 (parts 183-299)

    C.F.R. (1953).




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    paragraph (b) of section 39.45-1 were separately numbered. 26 C.F.R.
    sec. 39.45-1(b)(1)-(3) (1953).

           Z.      The Internal Revenue Code of 1954

           In 1954, Congress recodified the federal tax laws as the Internal
    Revenue Code of 1954, ch. 736, 68A Stat. 3. Section 45 of the Internal
    Revenue Code of 1939, as amended by section 128(b) and (c) of the
    Revenue Act of 1943, was recodified as section 482 of the Internal
    Revenue Code of 1954, 68A Stat. at 162. The only difference between
    the two provisions was nonsubstantive: Congress replaced the words
    “the Commissioner is authorized to” with the words “the Secretary or
    his delegate may”. Thus, section 482 of the Internal Revenue Code of
    1954, provided:

                   In any case of two or more organizations, trades, or
           businesses (whether or not incorporated, whether or not
           organized in the United States, and whether or not
           affiliated) owned or controlled directly or indirectly by the
           same interests, the Secretary or his delegate may
           distribute, apportion, or allocate gross income, deductions,
           credits, or allowances between or among such
           organizations, trades, or businesses, if he determines that
           such distribution, apportionment, or allocation is
           necessary in order to prevent evasion of taxes or clearly to
           reflect the income of any of such organizations, trades, or
           businesses.

           Section 482 of the Internal Revenue Code of 1954 applied only to
    tax years that began after December 31, 1953, and ended after August
    16, 1954. Internal Revenue Code of 1954, sec. 7851(a)(1)(A), 68A Stat.
    at 919, 929. 107 Thus for calendar-year taxpayers, 1954 was the first year
    for which section 482 of the Internal Revenue Code of 1954 was effective.
    This is relevant to Commissioner v. First Sec. Bank, 405 U.S. at 399-
    400, which involved the tax years 1955-59 of a calendar-year taxpayer.
    These years were governed by section 482 of the Internal Revenue Code
    of 1954.




            107 With respect to these same tax years, sec. 45 of the Internal Revenue Code

    of 1939 was repealed. Internal Revenue Code of 1954, sec. 7851(a)(1)(A), 68A Stat. at
    919.




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           Section 7805(a) of the Internal Revenue Code of 1954, 68A Stat.
    at 917, was the provision in the Internal Revenue Code of 1954 that was
    analogous to section 62 of the Internal Revenue Code of 1939. Section
    7805(a) of the Internal Revenue Code of 1954 provided: “[T]he Secretary
    or his delegate shall prescribe all needful rules and regulations for the
    enforcement of this title, including all rules and regulations as may be
    necessary by reason of any alteration of law in relation to internal
    revenue.” 108

          Section 7805(b) of the Internal Revenue Code of 1954, 68A Stat.
    at 917, was the provision in the Internal Revenue Code of 1954 that was
    analogous to section 3791(b) of the Internal Revenue Code of 1939.
    Section 7805(b) of the Internal Revenue Code of 1954 provided: “The
    Secretary or his delegate may prescribe the extent, if any, to which any
    ruling or regulation, relating to the internal revenue laws, shall be
    applied without retroactive effect.” 109

           Section 7807(a) of the Internal Revenue Code of 1954, 68A Stat.
    at 917, in conjunction with Treasury Decision 6091, 19 Fed. Reg. 5167
    (Aug. 17, 1954), addressed the applicability of regulations promulgated
    under the Internal Revenue Code of 1939. Those regulations continued
    to be effective with respect to the Internal Revenue Code of 1954 until
    they were superseded. Interstate Drop Forge Co. v. Commissioner, 326
    F.2d 743, 745 (7th Cir. 1964), aff’g T.C. Memo. 1963-149. 110 Thus section

            108 “[T]his title” referred to the Internal Revenue Code of 1954.   Id. (a)(1), 68A
    Stat. at 3.
            109 In 1976, Congress made a nonsubstantive change to sec. 7805(a) and (b) of

    the Internal Revenue Code of 1954, substituting “Secretary” for “Secretary or his
    delegate” in both provisions. Tax Reform Act of 1976, Pub. L. No. 94-455, sec.
    1906(b)(13)(A), 90 Stat. at 1834.
            110   Sec. 7807(a) of the Internal Revenue Code of 1954, 68A Stat. at 917,
    provided:
            Until regulations are promulgated under any provision of this title
            which depends for its application on the promulgation of regulations
            (or which is to be applied in such manner as may be prescribed by
            regulations) all instructions, rules or regulations which are in effect
            immediately prior to the enactment of this title shall, to the extent such
            instructions, rules, or regulations could be prescribed as regulations
            under authority of such provision, be applied as if promulgated as
            regulations under such provision.
           Treasury Decision 6091, 19 Fed. Reg. 5167 (Aug. 17, 1954), provided in
    relevant part:




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    39.45-1 of Regulations 118 (26 C.F.R. sec. 39.45-1 (1953)), which related
    to section 45 of the Internal Revenue Code of 1939, continued to be
    effective as to section 482 of the Internal Revenue Code of 1954 until
    section 39.45-1 of Regulations 118 was superseded by new
    regulations. 111

          It took time for the Treasury Department to promulgate
    regulations relating to the provisions of the Internal Revenue Code of
    1954. See 26 C.F.R. v (1954). When these regulations were eventually
    promulgated, they were published in the Federal Register. A new title
    of the Code of Federal Regulations was created, named “Title 26--
    Internal Revenue, 1954”, for the purpose of covering these regulations.
    See 26 C.F.R. v (1954). 112 Because the new title continued in use until



            All regulations (including all Treasury decisions) prescribed by, or
            under authority duly delegated by, the Secretary of the Treasury, or
            jointly by the Secretary and the Commissioner of Internal Revenue, or
            by the Commissioner of Internal Revenue with the approval of the
            Secretary of the Treasury, * * * applicable under any provision of law
            in effect on the date of enactment of the Code, to the extent such
            provision of law is repealed by the Code, are hereby prescribed under
            and made applicable to the provisions of the Code corresponding to the
            provision of law so repealed insofar as any such regulation is not
            inconsistent with the Code. Such regulations shall become effective as
            regulations under the various provisions of the Code as of the dates the
            corresponding provisions of law are repealed by the Code, until
            superseded by regulations issued under the Code.
            111 As explained later, regulations related to sec. 482 of the Internal Revenue

    Code of 1954 were promulgated in 1962. Regulation sec. 1.482-1, T.D. 6595, 27 Fed.
    Reg. 3597-3598 (Apr. 14, 1962), 1962-1 C.B. 43, 49-51, reprinted in 26 C.F.R. sec. 1.482-
    1 (1961 ed. 1965 Cum. Supp.).
            112 The temporal scope of “Title 26--Internal Revenue, 1954” of the Code of

    Federal Regulations and its revisions is set forth in the table below:
      Title or revision                                 Scope

    Title 26--Internal    Regulations promulgated during 1954, and effective as to facts
    Revenue, 1954         arising on and after Jan. 1, 1955. 26 C.F.R. v (1954).
    1955 revision         Regulations promulgated during 1954-55, and effective as to
                          facts arising on and after Jan. 1, 1956. 26 (pts. 1-220) C.F.R. v
                          (1955).
    1956 revision         Regulations promulgated during 1954-56, and effective as to
                          facts arising on and after Jan. 1, 1957. 26 (pts. 1-169) C.F.R. v
                          (1956).




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    1961 (with revisions), the new title (and its revisions) ended up
    containing all of the 1954 Code regulations promulgated in the 1950s.
    However, no regulations related to section 482 of the Internal Revenue
    Code of 1954 were published in the 1950s. So “Title 26--Internal
    Revenue, 1954” and its revisions did not contain any regulations related
    to section 482 of the Internal Revenue Code of 1954.

           The preface to the new title “Title 26--Internal Revenue, 1954”
    gave the following explanation of the reasons for the creation of the new
    title:

                   The enactment of the Internal Revenue Code of
            1954, August 16, 1954, gave rise to a unique problem in the
            codification of the rules and regulations of the Internal
            Revenue Service. To accommodate rules and regulations
            implementing the new Internal Revenue Code, a new title
            was established in the Code of Federal Regulations entitled
            “Internal Revenue, 1954”, designed to replace “Title 26--
            Internal Revenue” contained in the 1949 Edition.
            However, since many of the regulations implementing the
            Internal Revenue Code of 1954 had not been issued by the
            end of 1954, it was decided to publish both titles as of
            January 1, 1955.

                  This book, therefore, contains all of the rules and
            regulations constituting Title 26--Internal Revenue, 1954,
            including temporary rules relating to income tax and
            administrative matters, issued pursuant to the Internal



    revised as of Jan. 1, Regulations promulgated during 1954-57, and effective as to
    1958                  facts arising on and after Jan. 1, 1958. 26 (pts. 1-19) C.F.R. v
                          (1958).
    revised as of Jan. 1., Regulations promulgated during 1954-58, and effective as to
    1959                   facts arising on and after Jan. 1, 1959. 26 (pts. 1-19) C.F.R. v
                           (1959).
    revised as of Jan. 1, Regulations promulgated during 1954-59, and effective as to
    1960                  facts arising on and after Jan. 1, 1960. 26 (pt. 1 (secs. 1.01-
                          1.499)) v (1960).

    The revision dates in the left-hand column reflect the revision dates set forth on the
    title pages of the volumes.




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           Revenue Code of 1954, fully promulgated during 1954, and
           effective as to facts arising on and after January 1, 1955.

                  In addition to this book, pocket supplements have
           been published for the existing volumes of Title 26--
           Internal Revenue, containing changes and additions to the
           regulations issued pursuant to the Internal Revenue Code
           of 1939 which were in force and effect on December 31,
           1954. Eventually, Title 26--Internal Revenue, 1954 will be
           published in permanent form, replacing the five volumes of
           Title 26--Internal Revenue containing regulations issued
           pursuant to the Internal Revenue Code of 1939.

    26 C.F.R. v (1954). The preface quoted above explains that the title of
    the Code of Federal Regulations related to the Internal Revenue Code of
    1939 named “Title 26--Internal Revenue” would be published “as of
    January 1, 1955” and that pocket supplements for that title had already
    been published for changes and additions “which were in force and effect
    on December 31, 1954.” “Title 26--Internal Revenue” of the Code of
    Federal Regulations was published in 1954 and included regulations
    that (1) were published in the Federal Register on or before December
    31, 1953, and (2) were effective as to facts arising on or after January 1,
    1954. 26 C.F.R. v (1954). Pocket supplements to “Title 26--Internal
    Revenue” of the Code of Federal Regulations were published in 1955,
    1956, and 1957. 26 C.F.R. (Supp. 1955); 26 C.F.R. (Supp. 1956); 26
    C.F.R. (Supp. 1957). Added pocket parts to be used in conjunction with
    the 1957 pocket supplement were published in 1958, 1959, and 1960. 26
    C.F.R. (Supp. 1957 & added pocket part 1958); 26 C.F.R. (Supp. 1957 &
    added pocket part 1959); 26 C.F.R. (Supp. 1957 & added pocket part
    1960).

           AA.     The 1960 notice of proposed rulemaking

          On December 10, 1960, a notice of proposed rulemaking was
    published in the Federal Register. 25 Fed. Reg. 12703. It proposed
    regulation section 1.482-1, which, according to the notice was
    “prescribed under” section 482 of the Internal Revenue Code of 1954. 25
    Fed. Reg. at 12704. 113


            113 The 1960 proposed regulations are identical to final regulations

    promulgated in 1962. T.D. 6595, 27 Fed. Reg. 3597-3598 (Apr. 14, 1962), 1962-1 C.B.
    43, 49-51, reprinted in 26 C.F.R. sec. 1.482-1(b) (1961 ed. 1965 Cum. Supp.). We will
    discuss the substance of the 1962 regulations shortly.




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          BB.    The creation of a new title of the Code of Federal
                 Regulations

            In 1961 the Government Printing Office issued a new title in the
    Code of Federal Regulations, “Title 26--Internal Revenue, Revised as of
    January 1, 1961”, which replaced “Title 26--Internal Revenue, 1954”.
    See 26 (part 1 (secs. 1.401 to 1.860)) C.F.R. v (1961). The new title
    contained all regulations related to the Internal Revenue Code of 1954
    that had been promulgated on or before December 31, 1960, and
    effective as to facts arising on or after January 1, 1961. Id. No final
    regulations related to section 482 of the Internal Revenue Code of 1954
    were promulgated on or before December 31, 1960. Therefore, the new
    title did not contain any regulations related to section 482 of the Internal
    Revenue Code of 1954. The new title contained the following heading to
    act as a placemarker for future regulations under section 482 of the
    Internal Revenue Code of 1954: “§1[.]482 [Reserved]”. 26 C.F.R. 140
    (1961).

          CC.    The 1962 final regulations

          On April 14, 1962, a final version of regulation section 1.482-1,
    which was identical to the 1960 proposed version, was published in the
    Federal Register. T.D. 6595, 27 Fed. Reg. 3597-3598 (published Apr. 14,
    1962; filed Apr. 13, 1962), 1962-1 C.B. 43, 49-51. As with the 1960
    proposed regulations, the Treasury Department said that the final 1962
    regulations were “prescribed under” section 482 of the Internal Revenue
    Code of 1954. T.D. 6565, 27 Fed. Reg. 3595. Three years after the final
    1962 regulations were published in the Federal Register, they were
    published in the Code of Federal Regulations. 26 C.F.R. sec. 1.482-1
    (1961 ed. 1965 Cum. Supp.).

           The final 1962 regulations under section 482 of the Internal
    Revenue Code of 1954 contained only one section, section 1.482-1, which
    was divided into three paragraphs: (a), (b), and (c). The entire section is
    set forth below:

          Sec. 1.482-1 Determination of the taxable income of a
          controlled taxpayer.

                 (a) Definitions. When used in this section--

                (1) The term “organization” includes                any
          organization of any kind, whether it be a                 sole




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          proprietorship, a partnership, a trust, an estate, an
          association, or a corporation (as each is defined or
          understood in the Internal Revenue Code or the
          regulations thereunder), irrespective of the place where
          organized, where operated, or where its trade or business
          is conducted, and regardless of whether domestic or
          foreign, whether exempt, whether affiliated, or whether a
          party to a consolidated return.

                (2) The term “trade” or “business” includes any trade
          or business activity of any kind, regardless of whether or
          where organized, whether owned individually or otherwise,
          and regardless of the place where carried on.

                 (3) The term “controlled” includes any kind of
          control, direct or indirect, whether legally enforceable, and
          however exercisable or exercised. It is the reality of the
          control which is decisive, not its form or the mode of its
          exercise. A presumption of control arises if income or
          deductions have been arbitrarily shifted.

                (4) The term “controlled taxpayer” means any one of
          two or more organizations, trades, or businesses owned or
          controlled directly or indirectly by the same interests.

                (5) The terms “group” and “group of controlled
          taxpayers” mean the organizations, trades, or businesses
          owned or controlled by the same interests.

                  (6) The term “true taxable income” means, in the
          case of a controlled taxpayer, the taxable income (or, as the
          case may be, any item or element affecting taxable income)
          which would have resulted to the controlled taxpayer, had
          it in the conduct of its affairs (or, as the case may be, in the
          particular contract, transaction, arrangement, or other act)
          dealt with the other member or members of the group at
          arm’s length. It does not mean the income, the deductions,
          the credits, the allowances, or the item or element of
          income, deductions, credits, or allowances, resulting to the
          controlled taxpayer by reason of the particular contract,
          transaction, or arrangement, the controlled taxpayer, or
          the interests controlling it, chose to make (even though




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          such contract, transaction, or arrangement be legally
          binding upon the parties thereto).

                 (b) Scope and purpose. (1) The purpose of section
          482 is to place a controlled taxpayer on a tax parity with
          an uncontrolled taxpayer, by determining, according to the
          standard of an uncontrolled taxpayer, the true taxable
          income from the property and business of a controlled
          taxpayer. The interests controlling a group of controlled
          taxpayers are assumed to have complete power to cause
          each controlled taxpayer so to conduct its affairs that its
          transactions and accounting records truly reflect the
          taxable income from the property and business of each of
          the controlled taxpayers. If, however, this has not been
          done, and the taxable incomes are thereby understated, the
          district director shall intervene, and, by making such
          distributions, apportionments, or allocations as he may
          deem necessary of gross income, deductions, credits, or
          allowances, or of any item or element affecting taxable
          income, between or among the controlled taxpayers
          constituting the group, shall determine the true taxable
          income of each controlled taxpayer. The standard to be
          applied in every case is that of an uncontrolled taxpayer
          dealing at arm’s length with another uncontrolled
          taxpayer.

                 (2) Section 482 and this section apply to the case of
          any controlled taxpayer, whether such taxpayer makes a
          separate or a consolidated return. If a controlled taxpayer
          makes a separate return, the determination is of its true
          separate taxable income. If a controlled taxpayer is a party
          to a consolidated return, the true consolidated taxable
          income of the affiliated group and the true separate taxable
          income of the controlled taxpayer are determined
          consistently with the principles of a consolidated return.

                 (3) Section 482 grants no right to a controlled
          taxpayer to apply its provisions at will, nor does it grant
          any right to compel the district director to apply such
          provisions. It is not intended (except in the case of the
          computation of consolidated taxable income under a
          consolidated return) to effect in any case such a
          distribution, apportionment, or allocation of gross income,




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          deductions, credits, or allowances, or any item of gross
          income, deductions, credits, or allowances, as would
          produce a result equivalent to a computation of
          consolidated taxable income under subchapter A, chapter
          6 of the Code.

                 (c) Application. Transactions between one controlled
          taxpayer and another will be subjected to special scrutiny
          to ascertain whether the common control is being used to
          reduce, avoid, or escape taxes. In determining the true
          taxable income of a controlled taxpayer, the district
          director is not restricted to the case of improper accounting,
          to the case of a fraudulent, colorable, or sham transaction,
          or to the case of a device designed to reduce or avoid tax by
          shifting or distorting income, deductions, credits, or
          allowances. The authority to determine true taxable
          income extends to any case in which either by inadvertence
          or design the taxable income, in whole or in part, of a
          controlled taxpayer, is other than it would have been had
          the taxpayer in the conduct of his affairs been an
          uncontrolled taxpayer dealing at arm’s length with another
          uncontrolled taxpayer.

    26 C.F.R. sec. 1.482-1 (1961 ed. 1965 Cum. Supp.). We refer to 26 C.F.R.
    sec. 1.482-1 (1961 ed. 1965 Cum. Supp.) as the 1962 regulations.

           There were differences between section 1.482-1 of the 1962
    regulations and section 39.45-1 of Regulations 118 (26 C.F.R. sec. 39.45-
    1(b)(1) (1953)). One difference was that in the third sentence of section
    1.482-1(b)(1) of the 1962 regulations, the phrase “the district director
    shall intervene” replaced the phrase “the statute contemplates that the
    Commissioner shall intervene” in Regulation 118. Another difference
    was that the term “true net income”, which was used in several places
    in section 39.45-1 of Regulations 118 (1953), was changed to “true
    taxable income” each time it was used in the 1962 regulations. Neither
    of these differences, nor any other difference between the 1962
    regulations and Regulation 118 (1953), appears relevant to the effect of
    legal restrictions on allocations of income under section 482 of the
    Internal Revenue Code of 1954. The portion of the 1962 regulations
    most relevant to such legal restrictions was the “complete power”
    passage found in the second and third sentences of 26 C.F.R. sec. 1.482-
    1(b)(1) (1961 ed. 1965 Cum. Supp.). These sentences in the 1962
    regulations (which are quoted in the excerpt above) were not




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    substantively different from these sentences in the 1953 regulations. In
    the 1953 regulations, these two sentences had been written as follows:

          The interests controlling a group of controlled taxpayers
          are assumed to have complete power to cause each
          controlled taxpayer so to conduct its affairs that its
          transactions and accounting records truly reflect the net
          income from the property and business of each of the
          controlled taxpayers. If, however, this has not been done,
          and the taxable net incomes are thereby understated, the
          statute contemplates that the Commissioner shall
          intervene, and, by making such distributions,
          apportionments, or allocations as he may deem necessary
          of gross income, deductions, credits, or allowances, or of
          any item or element affecting net income, between or
          among the controlled taxpayers constituting the group,
          shall determine the true net income of each controlled
          taxpayer. * * *

    26 C.F.R. sec. 39.45-1(b)(1) (1953).

           The 1962 regulations (i.e., the 1962 version of regulation section
    1.482-1) had no effective-date provision. This raises the question of
    whether the 1962 regulations were applicable retroactively for the same
    tax years for which section 482 of the Internal Revenue Code of 1954
    applied, i.e., to tax year 1954 and later years for calendar-year
    taxpayers. If they did apply retroactively, that would mean the 1962
    version of regulation section 1.482-1 superseded section 39.45-1 of
    Regulations 118 (1953) for tax year 1954 and later years. The
    proposition that the 1962 regulatory provisions applied retroactively for
    the same years for which section 482 of the Internal Revenue Code of
    1954 applied finds support in Pollack v. Commissioner, 47 T.C 92, 110
    (1966), aff’d, 392 F.2d 409 (5th Cir. 1968), which held that “unless the
    Commissioner otherwise specifies, regulations are retroactive to the
    date on which the statute was enacted”. (Citations omitted.) However,
    Pollack alone might not resolve the question of whether the 1962
    regulatory provisions applied retroactively for the same years for which
    section 482 of the Internal Revenue Code of 1954 applied. Two other
    principles potentially bear on this question. First, the Treasury
    Department cannot give a regulation retroactive effect if to do so would
    be an abuse of discretion. See Anderson, Clayton & Co. v. United States,
    562 F.2d 972, 980-981 (5th Cir. 1977). Thus, if the 1962 regulatory
    provisions were otherwise construed as having retroactive effect, there




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    might be an additional step of determining whether it would be an abuse
    of discretion for the Treasury Department to attempt to give the 1962
    regulations retroactive effect. Second, section 4(c) of the APA 114
    provided that substantive rules must generally be published not less
    than 30 days before their effective date. Section 4(c) of the APA 115 has
    been interpreted as prohibiting retroactive regulations. See Georgetown
    Univ. Hosp., 821 F.2d at 757 n.11. However, some caselaw suggests that
    section 4(c) of the APA 116 does not bar retroactive tax regulations, under
    the theory that such regulations are permitted by section 7805(b) of the
    Internal Revenue Code of 1954. See Redhouse v. Commissioner, 728
    F.2d 1249, 1253 (9th Cir. 1984), aff’g Wendland v. Commissioner, 79
    T.C. 355 (1982); Wing v. Commissioner, 81 T.C. 17, 29 n.16 (1983). We
    will discuss in greater detail the question of retroactivity when we
    discuss First Security Bank, which made repeated references to 26
    C.F.R. sec. 1.482-1 (1971). See infra part II.FF. The short answer is
    that it does not matter whether the 1962 regulations were applicable for
    the same tax years for which section 482 of the Internal Revenue Code
    of 1954 applied, including the 1955-59 tax years at issue in First
    Security Bank, because there is no relevant difference between the 1962
    regulations and the 1953 regulations as to the portions of the regulatory
    text cited and quoted by Commissioner v. First Sec. Bank, 405 U.S. at
    400 & nn.8 & 10, 404 & n.18, 407 & n.25.

          DD.      The 1965 and 1966 notices of proposed rulemaking

           On April 1, 1965, a notice of proposed rulemaking, which proposed
    regulations related to section 482 of the Internal Revenue Code of 1954,
    was published in the Federal Register. 30 Fed. Reg. 4256 (filed Mar. 31,
    1965). Under the proposal a new paragraph (d) would be added to
    section 1.482-1 of the 1962 regulations, which had only three
    paragraphs: (a), (b), and (c). The proposed paragraph (d) would be
    entitled “Method of allocation”. The 1965 proposal would also add new
    regulation section 1.482-2, entitled “Determination of taxable income in
    specific situations”. The proposal would leave unchanged the text of
    section 1.482-1(a), (b), and (c), except that it would make a technical
    change to section 1.482-1(a) by making the definitions in paragraph (a)
    applicable to proposed regulation section 1.482-2. No changes in the
    regulations were proposed in the 1965 notice of proposed rulemaking

          114 Codified as amended at 5 U.S.C. sec. 553(d).

          115 Codified as amended at 5 U.S.C. sec. 553(d).

          116 Codified as amended at 5 U.S.C. sec. 553(d).




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    other than those we have discussed here, i.e., the addition of section
    1.482-1(d), the addition of section 1.482-2, and the technical change.

           Of the provisions in the 1965 proposed regulations, it is important
    to discuss here only section 1.482-1(d)(5), which addressed the use of a
    deferred-income method of accounting for payments that would be
    barred by foreign legal restrictions. Section 1.482-1(d)(5) provided:

                 (5) If payment or reimbursement for the sale,
          exchange, or use of property, the rendition of services, or
          the advance of other consideration among members of a
          group of controlled entities was prevented, or would have
          been prevented, at the time of the transaction because of
          currency or other restrictions imposed under the laws of
          any foreign country, any distributions, apportionments, or
          allocations which may be made under section 482 with
          respect to such transactions may be treated as deferable
          income or deductions, providing the taxpayer has, for the
          year to which the distributions, apportionments, or
          allocations relate, requested and received permission to
          use a method of accounting in which the reporting of
          deferable income is deferred until the income ceases to be
          deferable income. Such method of accounting is referred to
          in this section as the deferred income method of
          accounting. If such method has been approved, any
          payments or reimbursements which were prevented or
          would have been prevented, and any deductions
          attributable to such payments or reimbursements, shall be
          deferred until they cease to be deferable under such
          method of accounting. The principles of this subparagraph
          may be illustrated by the following example in which it is
          assumed that D, a domestic corporation, and F, a foreign
          corporation, are members of the same group of controlled
          entities:

                 Example: D, which, is in the business of rendering
          services to unrelated parties, renders services for the
          benefit of F in 1965, which cost $60,000 and have a fair
          value of $100,000. Assume that the district director
          proposes to increase D’s income by $100,000, but that the
          country in which F is located would have blocked payment
          in 1965 for such services. If D has received permission with
          respect to its 1965 return to use the deferred income




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          method of accounting, the $100,000 allocation and the
          $60,000 costs are deferable until such amounts cease to be
          deferable under D’s method of accounting.

    30 Fed. Reg. 4257.

           On August 2, 1966, the Treasury Department withdrew the 1965
    proposed regulations under section 482 of the Internal Revenue Code of
    1954. 31 Fed. Reg. 10394 (filed Aug. 1, 1966). In their place, the
    Treasury Department issued new proposed regulations, which were
    published in a new notice of proposed rulemaking. 31 Fed. Reg. 10394
    (Aug. 2, 1966). The basic features of the 1966 proposed regulations were
    the same as the 1965 proposed regulations: there was to be added new
    regulation section 1.482-1(d), entitled “Method of allocation”; there was
    to be added new regulation section 1.482-2, entitled “Determination of
    taxable income in specific situations”; and the text of section 1.482-1(a),
    (b), and (c), was to be unchanged except for the same technical change
    to section 1.482-1(a) that had been proposed in 1965 (i.e., making the
    definitions in paragraph (a) applicable to proposed regulation section
    1.482-2).

           Section 1.482-1(d)(6) of the 1966 proposed regulations, 31 Fed.
    Reg. 10395, addressed the use of a deferred-income method of
    accounting for payments that would be barred by foreign legal
    restrictions. These provisions of the 1966 proposed regulations were
    similar to section 1.482-1(d)(5) of the 1965 proposed regulations, except
    that the 1966 proposed regulations placed a time limit on the taxpayer’s
    ability to elect the method of accounting. Section 1.482-1(d)(6) of the
    1966 proposed regulations provided:

                 (6) If payment or reimbursement for the sale,
          exchange, or use of property, the rendition of services, or
          the advance of other consideration among members of a
          group of controlled entities was prevented, or would have
          been prevented, at the time of the transaction because of
          currency or other restrictions imposed under the laws of
          any foreign country, any distributions, apportionments, or
          allocations which may be made under section 482 with
          respect to such transactions may be treated as deferrable
          income or deductions, providing the taxpayer has, for the
          year to which the distributions, apportionments, or
          allocations relate, elected to use a method of accounting in
          which the reporting of deferrable income is deferred until




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          the income ceases to be deferrable income. Under such
          method of accounting, referred to in this section as the
          deferred income method of accounting, any payments or
          reimbursements which were prevented or would have been
          prevented, and any deductions attributable directly or
          indirectly to such payments or reimbursements, shall be
          deferred until they cease to be deferrable under such
          method of accounting. If such method of accounting has
          not been elected with respect to the taxable year to which
          the allocations under section 482 relate, the taxpayer may
          elect such method with respect to such allocations (but not
          with respect to other deferrable income) at any time before
          the first occurring of the following events with respect to
          the allocations:

                (i) Execution of Form 870 (Waiver of Restrictions on
          Assessment and Collection of Deficiency in Tax and
          Acceptance of Overassessment);

                 (ii) Expiration of the period ending 30 days after the
          date of a letter by which the district director transmits an
          examination report notifying the taxpayer of proposed
          adjustments reflecting such allocations; or

               (iii) Execution of a closing agreement or offer-in-
          compromise.

          The principles of this subparagraph may be illustrated by
          the following example in which it is assumed that D, a
          domestic corporation, and F, a foreign corporation, are
          members of the same group of controlled entities:

                   Example. D, which is in the business of rendering a
          certain type of service to unrelated parties, renders such
          services for the benefit of F in 1965. The direct and indirect
          costs allocable to such services are $60,000, and an arm’s
          length charge for such services is $100,000. Assume that
          the district director proposes to increase D’s income by
          $100,000, but that the country in which F is located would
          have blocked payment in 1965 for such services. If, prior
          to the first occurring of the events described in subdivisions
          (i), (ii), or (iii) of this subparagraph, D elects to use the
          deferred income method of accounting with respect to such




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           allocation, the $100,000 allocation and the $60,000 of costs
           are deferrable until such amounts cease to be deferrable
           under D’s method of accounting.

    31 Fed. Reg. 10395.

           While the 1966 proposed regulations were in proposed form, the
    1962 regulation remained in effect. 26 C.F.R. sec. 1.482-1 (1961 ed. 1965
    Cum. Supp.). Meanwhile, two successive new editions of the Code of
    Federal Regulations were published in 1967 and 1968. Each reprinted
    the 1962 regulations. 26 C.F.R. sec. 1.482-1 (1967); 26 C.F.R. sec. 1.482-
    1 (1968). The 1967 revision to the Code of Federal Regulations
    contained regulations promulgated on or before December 31, 1966. 26
    (part 1 (secs. 1.401-1.500)) C.F.R. v (1967). The 1968 revision to the
    Code of Federal Regulations contained regulations promulgated on or
    before December 31, 1967. 26 C.F.R. (part 1 (secs. 1.401-1.500)) v (1968).

           EE.     The 1968 final regulations

           On April 16, 1968, Treasury Decision 6952, which contained final
    amendments to the 1962 regulations was published. 33 Fed. Reg. 5848
    (published Apr. 16, 1968; filed Apr. 15, 1968). Treasury Decision 6952
    stated that the amendments were adopted “under” section 482 of the
    Internal Revenue Code of 1954. 33 Fed. Reg. 5848. Tracking the 1966
    proposed regulations, the amendments that were made by Treasury
    Decision 6952 did the following: they added section 1.482-1(d), entitled
    “Method of allocation”; they added section 1.482-2, entitled
    “Determination of taxable income in specific situations”; and they left
    unchanged the existing text of section 1.482-1(a), (b), and (c) except for
    a technical change to section 1.482-1(a) (which made the definitions in
    paragraph (a) applicable to new regulation section 1.482-2). The 1968
    regulatory amendments left in place the provisions containing the
    “complete power” passage. See 26 C.F.R. sec. 1.482-1(b)(1) (1969) (part
    of section 1.482-1, after its 1968 amendment by T.D. 6952). 117


            117 The “complete power” passage was in the 1962 regulations. 26 C.F.R. sec.

    1.482-1(b)(1) (1968) (1962 regulations). The “complete power” passage appeared in the
    1934 regulations and then appeared in the 1936, 1939, 1940, 1943, and 1953
    regulations. For citations of the regulations in which the “complete power” passage
    appeared, see the bullet points supra note 38. Neither the 1965 proposed regulations
    nor the 1966 proposed regulations would have changed the “complete power” passage
    in the 1962 regulations. 30 Fed. Reg. 4256 (Apr. 1, 1965); 31 Fed. Reg. 10394 (Aug. 2,
    1966).




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           We use the phrase “the 1968 regulations” to refer to the
    regulations related to section 482 of the Internal Revenue Code of 1954,
    as the regulations were amended in 1968, even including the portions of
    the 1962 regulations related to section 482 of the Internal Revenue Code
    of 1954 that were not affected by the 1968 amendments. This
    convention has been used elsewhere. See, e.g., T.D. 8552, 59 Fed. Reg.
    34972 (July 8, 1994) (preamble to 1994 final regulations); Thomas E.
    Jenks, “Section 482 and the Non-Recognition Provisions: The Transfer
    of Intangible Assets”, 32 Tax Law. 775, 783 (1979); Edward Albert
    Purnell, “The Net Present Value Approach to Intangible Transfer
    Pricing Under Section 482: An Economic Model Takes the BALRM
    Floor”, 45 Tax Law. 647, 650 n.13 (1992). Note that when we refer to
    the 1968 regulations, we will not cite the 1968 edition of the Code of
    Federal Regulations. This edition included only regulations that were
    promulgated on or before December 31, 1967. 26 (part 1 (secs. 1.401-
    1.500)) v (1968). 118 The 1968 amendments were filed on, and therefore
    were promulgated on, April 15, 1968. 33 Fed. Reg. 5857 (Apr. 16, 1968).
    Therefore the 1968 edition of the Code of Federal Regulations does not
    reflect the 1968 amendments.

           One of the provisions of the 1968 regulations that was not in the
    1962 regulations was section 1.482-1(d)(6). Section 1.482-1(d)(6) of the
    1968 regulations was almost identical to section 1.482-1(d)(6) of the 1966
    proposed regulations. 31 Fed. Reg. 10395 (Aug. 2, 1966). The provision
    allowed the use of a deferred-income method of accounting for payments
    that would be barred by foreign legal restrictions. Subparagraph (6) of
    section 1.482-1(d) of the 1968 regulations provided:

                   (6) If payment or reimbursement for the sale,
            exchange, or use of property, the rendition of services, or
            the advance of other consideration among members of a
            group of controlled entities was prevented, or would have
            been prevented, at the time of the transaction because of
            currency or other restrictions imposed under the laws of
            any foreign country, any distributions, apportionments, or
            allocations which may be made under section 482 with
            respect to such transactions may be treated as deferrable
            income or deductions, providing the taxpayer has, for the

            118 When referring to the 1968 regulations, we will refer variously to the 1969,

    1971, or 1992 editions of the Code of Federal Regulations. Although the 1992 edition
    reflects some post-1968 amendments to the regulations, see 26 C.F.R. sec. 1.482-2
    (1992) (historical notes), these amendments are not relevant.




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          year to which the distributions, apportionments, or
          allocations relate, elected to use a method of accounting in
          which the reporting of deferrable income is deferred until
          the income ceases to be deferrable income. Under such
          method of accounting, referred to in this section as the
          deferred income method of accounting, any payments or
          reimbursements which were prevented or would have been
          prevented, and any deductions attributable directly or
          indirectly to such payments or reimbursements, shall be
          deferred until they cease to be deferrable under such
          method of accounting. If such method of accounting has
          not been elected with respect to the taxable year to which
          the allocations under section 482 relate, the taxpayer may
          elect such method with respect to such allocations (but not
          with respect to other deferrable income) at any time before
          the first occurring of the following events with respect to
          the allocations:

                (i) Execution by the taxpayer of Form 870 (Waiver of
          Restrictions on Assessment and Collection of Deficiency in
          Tax and Acceptance of Overassessment);

          (ii) Expiration of the period ending 30 days after the date
          of a letter by which the district director transmits an
          examination report notifying the taxpayer of the proposed
          adjustments reflecting such allocations or before July 16,
          1968, whichever is later; or

               (iii) Execution of a closing agreement or offer-in-
          compromise.

          The principles of this subparagraph may be illustrated by
          the following example in which it is assumed that X, a
          domestic corporation, and Y, a foreign corporation, are
          members of the same group of controlled entities:

                 Example. X, which is in the business of rendering a
          certain type of service to unrelated parties, renders such
          services for the benefit of Y in 1965. The direct and indirect
          costs allocable to such services are $60,000, and an arm’s
          length charge for such services is $100,000. Assume that
          the district director proposes to increase X’s income by
          $100,000, but that the country in which Y is located would




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          have blocked payment in 1965 for such services. If, prior
          to the first occurring of the events described in subdivisions
          (i), (ii), or (iii) of this subparagraph, X elects to use the
          deferred income method of accounting with respect to such
          allocation, the $100,000 allocation and the $60,000 of costs
          are deferrable until such amounts cease to be deferrable
          under X’s method of accounting.

    33 Fed. Reg. 5849 (Apr. 16, 1968), 26 C.F.R. sec. 1.482-1(d)(6) (1969).

           Section 1.482-2 of the 1968 regulations, 33 Fed. Reg. 5849 (Apr.
    16, 1968), a new provision not found in the 1962 regulations, addressed
    the methods for allocating income in the case of specific types of
    transactions. See also 33 Fed. Reg. 5848, 26 C.F.R. sec. 1.482-1(d)(1)
    (1969). These types of transactions were loans, sec. 1.482-2(a), services,
    id. para. (b), use of tangible property, id. para. (c), transfer or use of
    intangible property, id. para. (d), and sales of tangible property, id.
    para. (e). 33 Fed. Reg. 5849-5857.

           For transfers or use of intangible property, here are the major
    rules in the 1968 regulations: an appropriate allocation may be made to
    reflect an arm’s-length consideration, sec. 1.482-2(d)(1)(i), 33 Fed. Reg.
    5852 (Apr. 16, 1968); the amount of arm’s-length consideration is best
    indicated by comparable transactions, id. subpara. (2)(ii), 33 Fed. Reg.
    5853; and in the absence of comparable transactions, the amount of
    arm’s-length consideration may be arrived at through 12 factors, id.
    subpara. (2)(iii). Section 1.482-2(d)(4) of the 1968 regulations related to
    cost-sharing agreements for the development of intangible property. 33
    Fed. Reg. 5854.

          The preamble to the 1968 amendments to the section 482
    regulations observed that a notice of proposed rulemaking had been
    made in 1965 and that those proposed amendments had been withdrawn
    and replaced with new proposals in 1966. 33 Fed. Reg. 5848. The
    preamble then stated: “After consideration of all such relevant matter
    as was presented by interested persons regarding the rules proposed,
    the amendment under section 482 is hereby adopted to read as set forth
    below.” Id.

           The 1968 regulatory amendments did not have an effective-date
    provision. As with the 1962 regulations, there is a question as to
    whether the 1968 regulations applied retroactively. Caselaw suggests
    that a regulation without an effective-date provision is generally




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    applicable for the same tax years as the statutory provisions to which
    the regulation relates. See Pollack v. Commissioner, 47 T.C. at 110. 119
    The statutory provision to which the 1968 regulatory amendments
    related was section 482 of the Internal Revenue Code of 1954, 33 Fed.
    Reg. 5848, which was effective beginning with tax year 1954 for
    calendar-year taxpayers.        Internal Revenue Code of 1954, sec.
    7851(a)(1)(A), 68A Stat. at 919. Therefore, the caselaw suggests that for
    these taxpayers the 1968 amendment would be effective for tax year
    1954 and subsequent years. However, this does not entirely answer the
    question of whether the 1968 amendments were applicable for the tax
    year 1954 and subsequent years. Two other principles may be relevant.
    First, there is caselaw holding that the Treasury Department cannot
    give a regulation retroactive effect if to do so would be an abuse of
    discretion. See Anderson, Clayton & Co., 562 F.2d at 980-981. Thus,
    even if the 1968 amendments were otherwise construed as having
    retroactive effect, there may be an additional step of determining
    whether it would be an abuse of discretion for the Treasury Department
    to attempt to give the 1968 amendments retroactive effect. Second,
    section 4(c) of the APA 120 provided that substantive rules must generally
    be published not less than 30 days before their effective date. This APA
    antiretroactivity rule might arguably trump section 7805(b) of the
    Internal Revenue Code of 1954. However, some caselaw suggests it does
    not.    See Redhouse v. Commissioner, 728 F.2d 1253; Wing v.
    Commissioner, 81 T.C. at 29 n.16. We consider this retroactivity
    question later when we discuss First Security Bank, which repeatedly
    referred to 26 C.F.R. sec. 1.482-1 (1971). See infra part II.FF. The short
    answer is that it does not matter whether the 1968 regulations have
    retroactive effect as to the 1955-59 tax years at issue in First Security
    Bank because there is no relevant difference between the 1968
    regulations and earlier regulations as to the portion of the regulations
    cited and quoted by First Security Bank.

          On April 16, 1968, the same day that Treasury Decision 6952 was
    published in the Federal Register, a proposed amendment to section
    1.482-2(b)(3) and the proposed addition of section 1.482-2(b)(7) were also
    published. 33 Fed. Reg. 5858. These proposals are not relevant to the


           119 This case interpreted sec. 7805(b) of the Internal Revenue Code of 1954,

    which granted the Treasury Department authority to prescribe the extent, if any, to
    which a tax regulation may be applied without retroactive effect. Sec. 7805(b) of the
    Internal Revenue Code of 1954 governed the 1968 regulatory amendments.
           120 Codified as amended at 5 U.S.C. sec. 553(d).




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    effect of legal restrictions on allocations of income under section 482 of
    the Internal Revenue Code of 1954.

           On April 25, 1968, a correction of an error in section 1.482-
    2(e)(3)(i) of the 1968 regulations was published. 33 Fed. Reg. 6290 (Apr.
    25, 1968). This correction is not relevant to the effect of legal restrictions
    on allocations of income under section 482 of the Internal Revenue Code
    of 1954.

           On July 25, 1968, an amendment to section 1.482-2(d)(4) of the
    1968 regulations was published. 33 Fed. Reg. 10569 (July 25, 1968). 121
    This amendment does not appear relevant to the effect of legal
    restrictions on allocations of income under section 482 of the Internal
    Revenue Code of 1954.

           The 1969 revision to the Code of Federal Regulations contained
    regulations promulgated on or before December 31, 1968. See 26 (part
    1 (secs. 1.401-1.500)) C.F.R. v (1969). Included in the 1969 revision was
    section 1.482-1, which consisted of the following provisions:

           ●      section 1.482-1(a), (b), and (c), with section 1.482-1(a)
                  reflecting the technical change to section 1.482-1(a) made
                  by the Treasury Decision 6952 amendment on April 16,
                  1968; and

           ●      section 1.482-1(d), which had been added by the Treasury
                  Decision 6952 amendment on April 16, 1968.

    26 C.F.R. sec. 1.482-1 (1969). Also included in the 1969 revision was
    section 1.482-2, which was the Treasury Decision 6952 text promulgated
    on April 16, 1968, 33 Fed. Reg. 5849, as amended on April 25, 1968, 33
    Fed. Reg. 6290, and on July 25, 1968, 33 Fed. Reg. 10569. 26 C.F.R.
    sec. 1.482-2 (1969).

          On January 22, 1969, an amendment to section 1.482-2(b)(3) and
    the addition of section 1.482-2(b)(7) were published. These changes
    were the final version of the changes proposed on April 16, 1968. 34 Fed.
    Reg. 933 (Jan. 22, 1969). These changes are not relevant to the effect of


            121 The preamble stated that the notice-and-comment procedure was not

    followed because the amendment “liberalized” the regulations. 33 Fed. Reg. 10569
    (July 25, 1968).




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    legal restrictions on allocations of income under section 482 of the
    Internal Revenue Code of 1954.

           On January 29, 1969, a minor correction to section 1.482-2(b)(3)
    was published. 34 Fed. Reg. 1380 (Jan. 29, 1969). This correction is not
    relevant to the effect of legal restrictions on allocations of income under
    section 482 of the Internal Revenue Code of 1954.

           The 1970 revision of the Code of Federal Regulations contained
    regulations promulgated on or before December 31, 1969. See 26 (part
    1 (secs. 1.401-1.500)) C.F.R. v (1970). The 1970 revision contained the
    same text of section 1.482-1 that had been printed in the 1969 revision.
    26 C.F.R. sec. 1.482-1 (1970). Section 1.482-2 in the 1970 revision was
    identical to the version of section 1.482-2 published in the 1969 revision,
    except that it included the amendments made on January 22 and 29,
    1969. 26 C.F.R. sec. 1.482-2 (1970).

           The 1971 revision of the Code of Federal Regulations codified
    regulations as of January 1, 1971, including amendments published
    during 1970. See 26 (part 1 (secs. 1.401-1.500)) C.F.R. i, v (1971). This
    1971 revision contained the same text of sections 1.482-1 and -2 that
    appeared in the 1970 revision. 26 C.F.R. secs. 1.482-1, -2 (1971). The
    text of section 1.482-1 appears at 288-292 of the relevant volume of the
    1971 revision to the Code of Federal Regulations. 26 C.F.R. sec. 1.482-
    1 (1971).

           FF.     Commissioner v. First Security Bank, 405 U.S. 394 (1972)
                   (a case involving tax years 1955 to 1959)

          In Commissioner v. First Sec. Bank, 405 U.S. at 396, a holding
    company 122 owned two banks 123 and an insurance company. 124
    Customers of the two banks sometimes wanted to buy credit-life
    insurance; the banks would refer these customers to an unrelated
    insurance company that had agreed to reinsure the referred business

            122 The holding company was First Security Corp., which the Supreme Court

    referred to as “Holding Company”. Commissioner v. First Sec. Bank, 405 U.S. at 396.
           123 The two banks were First Security Bank of Utah, N.A., and First Security

    Bank of Idaho, N.A., which the Supreme Court referred to collectively as “the Banks”.
    Commissioner v. First Sec. Bank, 405 U.S. at 396.
           124 The insurance company was First Security Life Insurance Company of

    Texas, which the Supreme Court referred to as “Security Life”. Commissioner v. First
    Sec. Bank, 405 U.S. at 396.




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    with the insurance company that was owned by holding company. Id.
    at 398. 125 The unrelated insurance company wrote the policies and bore
    the insurance risks. Id. 126 The two banks did not receive any
    commissions. Id. Pursuant to section 482 of the Internal Revenue Code
    of 1954, 127 respondent allocated insurance commission income to the two
    banks for tax years 1955, 1956, 1957, 1958, and 1959. Id. at 399-400.
    These tax years were based on calendar years. First Sec. Bank of Utah,
    N.A. v. Commissioner, T.C. Memo. 1967-256, 26 T.C.M. (CCH) 1320,
    1321 (1967), rev’d and remanded, 436 F.2d 1192 (10th Cir. 1971), aff’d,
    405 U.S. 394 (1972). The amount respondent sought to allocate to the
    two banks was 40% of the premiums that had been received by the
    reinsurer from the unrelated insurance company. Commissioner v.
    First Sec. Bank, 405 U.S. at 400. The allocation was improper, the Court
    held, because the two banks were prohibited from receiving insurance
    commission income by section 92 of the National Bank Act. Id. at 402.
    This is a provision of the federal banking laws that authorizes national
    banks to act as insurance agents in places with a population of 5,000 or
    fewer. The provision has been interpreted by the courts to implicitly
    prohibit national banks from acting as insurance agents in places with
    a population of more than 5,000. Id. at 401 n.13 (citing Saxon v. Ga.
    Ass’n of Indep. Ins. Agents, Inc., 399 F.2d 1010 (5th Cir. 1968), and
    Commissioner v. Morris Tr., 367 F.2d 794, 795 (4th Cir. 1966), aff’g 42
    T.C. 779 (1964)). The two banks were national banks. Id. at 396. Thus
    they were implicitly prohibited by section 92 of the National Bank Act
    from acting as insurance agents in places with a population of more than
    5,000. The Court assumed that because the two banks could not act as
    insurance agents, they could not legally receive insurance commission
    income. Id. at 402. The Court also assumed that because the two banks
    received no compensation for referring their customers to the unrelated
    insurance company they did not violate section 92 of the National Bank
    Act. Id. n.16. 128 The upshot of these assumptions was that the two
    banks were in compliance with the law but would have been in violation
    of the law had they received insurance commissions.

           125 The unrelated insurance company was American National Insurance
    Company of Galveston, Texas, which the Supreme Court referred to as “American
    National”. Commissioner v. First Sec. Bank, 405 U.S. at 398.
            126 Although the unrelated insurance company bore the risks, it hedged this

    risk through the reinsurance arrangement.
           127 Recall that this provision can be found at 68A Stat. at 162.

           128 First Security Bank held that it could make these assumptions because the

    government had failed to contest their validity. Commissioner v. First Sec. Bank of
    Utah, 405 U.S. at 402 & n.16.




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          The opinion first gave a one-sentence introduction to the case, id.
    at 394 & n.1 and then described the relevant facts, id. at 396-399. The
    opinion then described respondent’s position as follows:

           Pursuant to his § 482 power to allocate gross income among
           controlled corporations in order to reflect the actual
           incomes of the companies, the Commissioner determined
           that 40% of Security Life’s premium income [Security Life
           was the unrelated insurance company] was allocable to the
           Banks as compensation for originating and processing the
           credit life insurance. * * * It is the Commissioner’s view
           that the 40% of the premium income so allocated is the
           equivalent of commissions that the Banks earned and must
           be included in their “true taxable income.”8
                   8 See 26 CFR § 1.482-1(a)(6) (1971).



    Id. at 399-400 & n.8. The opinion in First Security Bank then explained
    the purpose of section 482 of the Internal Revenue Code of 1954:

                   The parties agree that § 482 is designed to prevent
           “artificial shifting, milking, or distorting of the true net
           incomes of commonly controlled enterprises.”9 Treasury
           Regulations provide:

           “The purpose of section 482 is to place a controlled taxpayer
           on a tax parity with an uncontrolled taxpayer, by
           determining[129] according to the standard of an
           uncontrolled taxpayer, the true taxable income from the
           property and business of a controlled taxpayer. * * * The
           standard to be applied in every case is that of an
           uncontrolled taxpayer dealing at arm’s length with another
           uncontrolled taxpayer.”10

                  The question we must answer is whether there was
           a shifting or distorting of the Banks’ true net income
           resulting from the receipt and retention by Security Life
           [the unrelated insurance company] of the premiums above
           described. [Footnote omitted.]



           129 The First Security Bank opinion failed to include the comma after the word

    “determining” in 26 C.F.R. sec. 1.482-1(b)(1) (1971).




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                 9 B. Bittker & J. Eustice, Federal Income Taxation of
          Corporations and Shareholders p. 15-21 (3d ed. 1971).

                  10 26 CFR § 1.482-1(b)(1) (1971).         The first regulations
          interpreting this section of the statute were issued in 1934. They have
          remained virtually unchanged. Jenks, Treasury Regulations Under
          Section 482, 23 Tax Lawyer 279 (1970).

    Commissioner v. First Sec. Bank, 405 U.S. at 400 & nn.9 &10, 401.

           The next relevant portion of the First Security Bank opinion
    contains the reasoning for the Supreme Court’s holding that respondent
    cannot allocate income to a taxpayer who did not receive the income and
    could not legally receive the income. Id. at 394-407. Petitioner and
    respondent have competing interpretations of the Supreme Court’s
    reasoning. Petitioner contends that “First Security Bank found section
    482 [of the Internal Revenue Code of 1954] to be clear in light of the
    longstanding and consistent interpretation of the concept of income”.
    Respondent argues that First Security Bank did not determine that the
    text of section 482 of the Internal Revenue Code of 1954 was clear. In
    respondent’s view, First Security Bank relied on the text of a regulation,
    26 C.F.R. sec. 1.482-1 (1971). Because of this dispute regarding the
    reasoning of First Security Bank, we quote the Supreme Court’s
    reasoning in full below:

                 We know of no decision of this Court wherein a
          person has been found to have taxable income that he did
          not receive and that he was prohibited from receiving. In
          cases dealing with the concept of income, it has been
          assumed that the person to whom the income was
          attributed could have received it.         The underlying
          assumption always has been that in order to be taxed for
          income, a taxpayer must have complete dominion over it.
          “The income that is subject to a man’s unfettered command
          and that he is free to enjoy at his own option may be taxed
          to him as his income, whether he sees fit to enjoy it or not.”
          Corliss v. Bowers, 281 U.S. 376, 378 (1930).

                 It is, of course, well established that income assigned
          before it is received is nonetheless taxable to the assignor.
          But the assignment-of-income doctrine assumes that the
          income would have been received by the taxpayer had he
          not arranged for it to be paid to another. In Harrison v.
          Schaffner, 312 U.S. 579, 582 (1941), we said:




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             “[O]ne vested with the right to receive income [does]
             not escape the tax by any kind of anticipatory
             arrangement, however skillfully devised, by which
             he procures payment of it to another, since, by the
             exercise of his power to command the income, he
             enjoys the benefit of the income on which the tax is
             laid.”17

                 One of the Commissioner’s regulations for the
          implementation of § 482 expressly recognizes the concept
          that income implies dominion or control of the taxpayer. It
          provides as follows:

             “The interests controlling a group of controlled
             taxpayers are assumed to have complete power to
             cause each controlled taxpayer so to conduct its
             affairs that its transactions and accounting records
             truly reflect the taxable income from the property
             and business of each of the controlled taxpayers.”18

          This regulation is consistent with the control concept
          heretofore approved by this Court, although in a different
          context. The regulation, as applied to the facts in this case,
          contemplates that Holding Company--the controlling
          interest--must have “complete power” to shift income
          among its subsidiaries. It is only where this power exists,
          and has been exercised in such a way that the “true taxable
          income” of a subsidiary has been understated, that the
          Commissioner is authorized to reallocate under § 482. But
          Holding Company had no such power unless it acted in
          violation of federal banking laws. The “complete power”
          referred to in the regulations hardly includes the power to
          force a subsidiary to violate the law.

                 Apart from the inequity of attributing to the Banks
          taxable income that they have not received and may not
          lawfully receive, neither the statute nor our prior decisions
          require such a result. We are not faced with a situation
          such as existed in those cases, urged by the Commissioner,
          in which we held the proceeds of criminal activities to be
          taxable.19 Those cases concerned situations in which the
          taxpayer had actually received funds. Moreover, the
          illegality involved was the act that gave rise to the income.




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          Here the originating and referring of the insurance, a
          practice widely followed, is acknowledged to be legal. Only
          the receipt of insurance commissions or premiums thereon
          by national banks is not. Had the Banks ignored the
          banking laws, thereby risking the loss of their charters and
          subjecting their officers to personal liability,20 the illegal-
          income cases would be relevant. But the Banks from the
          inception of their use of credit life insurance in 1948 were
          careful never to place themselves in that position. We
          think that fairness requires the tax to fall on the party that
          actually receives the premiums rather than on the party
          that cannot.21

                 In L.E. Shunk Latex Products, Inc. v. Commissioner,
          18 T.C. 940 (1952), the Tax Court considered a closely
          analogous situation. The same interest controlled a
          manufacturer and a distributor of rubber prophylactics.
          The OPA Price Regulations of World War II became
          effective on December 1, 1941. Prior thereto the distributor
          had raised its prices to retailers, but the manufacturer had
          not increased the prices charged to its affiliated distributor.
          The Commissioner, acting under § 482, attempted to
          allocate some of the distributor’s income to the
          manufacturer on the ground that a portion of the
          distributor’s profits was in fact earned by the
          manufacturer, even though the manufacturer was
          prohibited by the OPA regulations from increasing its
          prices. In holding that the Commissioner had acted
          improperly, the Tax Court said that he had “no authority
          to attribute to petitioners income which they could not
          have received.” 18 T.C., at 961.22

                 It is argued, finally, that the “services” rendered by
          the Banks in making credit insurance available to
          customers “would have been compensated had the
          corporations been dealing with each other at arm’s
          length.”23 The short answer is that the proscription
          against acting as insurance agent and receiving
          compensation therefor applies to all national banks located
          in places with population in excess of 5,000 inhabitants. It
          applies equally to such banks whether or not they are
          controlled by a holding company. If these Banks had been
          independent of any such control--as most banks are--no




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          commissions or premiums could have been received
          lawfully and there would have been no taxable income.24
          As stated in the Treasury Regulations, the “purpose of
          section 482 is to place a controlled taxpayer on a tax parity
          with an uncontrolled taxpayer . . . .”25 We think our holding
          comports with such parity treatment.

                We conclude that the premium income received by
          Security Life could not be attributable to the Banks.
          Holding Company did not utilize its control over the Banks
          and Security Life to distort their true net incomes. The
          Commissioner’s exercise of his § 482 authority was
          therefore unwarranted in this case. * * *
                  17 See Helvering v. Horst, 311 U.S. 112 (1940) (assignment of

          interest coupons attached to bonds owned by taxpayer); Lucas v. Earl,
          281 U.S. 111 (1930) (taxpayer assigned to wife one-half interest in his
          earnings). See generally Commissioner v. Sunnen, 333 U.S. 591
          (1948), and cases discussed therein at 604-610.
                  18 26 CFR § 1.482-1(b)(1) (1971).


                  19 James v. United States, 366 U.S. 213 (1961); Rutkin v.
          United States, 343 U.S. 130 (1952).
                  20 12 U.S.C. § 93.


                  21 Thus, in Commissioner v. Lester, 366 U.S. 299 (1961), in
          determining that a taxpayer should not be taxed on alimony payments
          to his divorced wife, the Court determined that it was more consistent
          with the basic precepts of income tax law that the wife, who received
          and had power to spend the payments, should be taxed rather than the
          husband who actually earned the money.
                  22 As noted at the outset of this opinion, certiorari was granted

          to resolve the conflict between the decision below and that in Local
          Finance Corp. v. Commissioner, 407 F.2d 629 (CA7 1969). The Tax
          Court in this case felt bound to follow Local Finance Corp., which was
          decided subsequently to L.E. Shunk Latex Products, Inc. v.
          Commissioner, 18 T.C. 940 (1952). For the reasons stated in the
          opinion above, we think Local Finance Corp. was erroneously decided
          and that the earlier views of the Tax Court were correct.

                  See Teschner v. Commissioner, 38 T.C. 1003, 1009 (1962):

                  “In the case before us, the taxpayer, while he had no power to
          dispose of income, had a power to appoint or designate its recipient.
          Does the existence or exercise of such a power alone give rise to taxable
          income in his hands? We think clearly not. In Nicholas A. Stavroudis,
          27 T.C. 583, 590 (1956), we found it to be settled doctrine that a power




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           to direct the distribution of trust income to others is not alone sufficient
           to justify the taxation of that income to the possessor of such a power.
                     23 See dissenting opinion of MR. JUSTICE BLACKMUN, post,

           at 422.
                     24 If an unaffiliated bank were able to provide the insurance at

           a cheaper rate because no commissions were paid, this would benefit
           the customers but would result in no taxable income.
                     25 26 CFR § 1.482-1(b)(1) (1971).



    Commissioner v. First Sec. Bank, 405 U.S. at 403-407.

           The statutory provision referred to in First Security Bank was
    section 482 of the Internal Revenue Code of 1954. The regulation
    referred to in First Security Bank was 26 C.F.R. sec. 1.482-1 (1971).

           When citing and quoting the regulations related to section 482 of
    the Internal Revenue Code of 1954, First Security Bank referred to the
    1971 edition of the Code of Federal Regulations. Commissioner v. First
    Sec. Bank of Utah, 405 U.S. at 400 & nn.8&10, 404 & n.18, 407 & n.25.
    The text of the regulations related to section 482 of the Internal Revenue
    Code of 1954 that were printed in the 1971 edition of the Code of Federal
    Regulations had appeared in various forms in the 1953, 1962, and 1968
    regulations. 26 C.F.R. sec. 39.45-1 (1953) (1953 regulations); 26 C.F.R.
    sec. 1.482-1 (1961 ed. 1965 Cum. Supp.) (1962 regulations); 26 C.F.R.
    secs. 1.482-1 and -2 (1969) (1968 regulations). First Security Bank did
    not expressly say which of these sets of regulations governed the tax
    years at issue in that case (1955-59). 130 Looking at the text of First
    Security Bank, and comparing the text of the various regulations, we
    make the following conclusions:

           ●         Of the regulatory provisions quoted and cited in First
                     Security Bank, each provision appears in both the 1962 and
                     1968 regulations.


            130 Commissioner v. First Sec. Bank, 405 U.S. at 400 & nn.8&10, 404 & n.18,

    407 & n.25, referred to the 1971 edition of the Code of Federal Regulations, an edition
    that contained the 1968 regulations. One might infer from this that the Supreme
    Court thought that the 1968 regulations governed the case. On the other hand
    Commissioner v. First Sec. Bank, 405 U.S. at 400 n.10, also stated that the regulations
    related to sec. 482 of the Internal Revenue Code of 1954 had been virtually unchanged
    since 1934. Because these regulations were changed significantly in 1968, T.D. 6952,
    33 Fed. Reg. 5848-5857 (Apr. 16, 1968), this might be taken to suggest that the
    Supreme Court thought the 1968 regulations did not govern the case.




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          ●     Of the regulatory provisions quoted and cited in First
                Security Bank, the provisions do not appear in the 1953
                regulations in the form quoted or cited by the opinion with
                one exception.

    We now explain these conclusions. We first repeat the following
    relevant regulatory history regarding the 1953, 1962, and 1968
    regulations:

          ●     In 1953, the Treasury Department issued a comprehensive
                set of income-tax regulations related to the Internal
                Revenue Code of 1939. 26 C.F.R. secs. 39-1 to 39.6000-1
                (1953).    These regulations were Regulations 118.
                Regulations 118 included section 39.45-1, which related to
                section 45 of the Internal Revenue Code of 1939. Section
                39.45-1 of Regulations 118 included the “complete power”
                passage. 26 C.F.R. sec. 39.45-1(b)(1) (1953).

          ●     In 1954, Congress replaced the Internal Revenue Code of
                1939 with the Internal Revenue Code of 1954. The
                regulations that were related to the Internal Revenue Code
                of 1939 were applied to the relevant provisions of the
                Internal Revenue Code of 1954 until they were superseded
                by new regulations. Internal Revenue Code of 1954, sec.
                7807(a); T.D. 6091, 19 Fed. Reg. 5167 (Aug. 17. 1954).

          ●     In 1962 the Treasury Department promulgated
                comprehensive regulations related to section 482 of the
                Internal Revenue Code of 1954. Title 26 C.F.R. sec. 1.482-
                1 (1961 ed. 1965 Cum. Supp.) (the 1962 regulations)
                replaced section 39.45-1 of Regulations 118 (26 C.F.R. sec.
                39.45-1 (1953)) (the 1953 regulations). There were some
                differences between the 1962 regulations and the parallel
                provisions in the 1953 regulations, but none of the
                differences matter in relation to allocations of income the
                payment of which is barred by legal restrictions.

          ●     In 1968, the Treasury Department made amendments to
                the 1962 regulations. T.D. 6952, 33 Fed. Reg. 5848 (Apr.
                16, 1968). These amendments included a new regulation
                section 1.482-2, which related to particular types of
                transactions. 26 C.F.R. sec. 1.482-2 (1969). The 1968
                amendment also included a provision allowing the




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                   deferred-income method of accounting for income the
                   payment of which is barred by foreign legal restrictions. 26
                   C.F.R. sec. 1.482-1(d)(6) (1969). The 1968 amendment
                   retained the “complete power” passage which had appeared
                   in the 1953 and the 1962 regulations. 26 C.F.R. sec. 1.482-
                   1(b)(1) (1969).

           With this regulatory history in mind, we can explain our
    conclusions that each regulatory provision, as quoted and cited in First
    Security Bank, appears in both the 1962 and 1968 regulations but not
    (with one exception) the 1953 regulations. We discuss below each of the
    four instances in which First Security Bank referred to regulations
    related to section 482 of the Internal Revenue Code of 1954.

           The first regulatory reference in Commissioner v. First Security
    Bank of Utah, 405 U.S. at 400 & n.8, is the citation of 26 C.F.R. sec.
    1.482-1(a)(6) (1971) after the following sentence: “It is the
    Commissioner’s view that the 40% of the premium income so allocated
    is the equivalent of commissions that the Banks earned and must be
    included in their ‘true taxable income.’” The term “true taxable income”
    was defined by 26 C.F.R. sec. 1.482-1(a)(6) (1971). This term was first
    defined in the 1962 regulations, 26 C.F.R. sec. 1.482-1(a)(6) (1961 ed.
    1965 Supp.), and appeared again unchanged in the 1968 regulations, 26
    C.F.R. sec. 1.482-1(a)(6) (1969). 131 The definition of “true taxable
    income” was not in the 1953 regulations, which used and defined a
    different term--“true net income”. 26 C.F.R. sec. 39.45-1(a)(6) (1953).

          The second regulatory reference in Commissioner v. First
    Security Bank of Utah, 405 U.S. at 400 & n.10, is the quotation of the
    portion of 26 C.F.R. sec. 1.482-1(b)(1) (1971) that stated:

           The purpose of section 482 is to place a controlled taxpayer
           on a tax parity with an uncontrolled taxpayer, by
           determining, according to the standard of an uncontrolled
           taxpayer, the true taxable income from the property and
           business of a controlled taxpayer . . . . The standard to be
           applied in every case is that of an uncontrolled taxpayer
           dealing at arm’s length with another uncontrolled
           taxpayer.


            131 In other words, the 1962 definition of “true taxable income” was unchanged

    by the 1968 regulatory amendments.




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    (Ellipsis in original opinion.) 132 This same text quoted in First Security
    Bank is found in the 1962 regulations, 26 C.F.R. sec. 1.482-1(b)(1) (1961
    ed. 1965 Cum. Supp.), and in the 1968 regulations, 26 C.F.R. sec. 1.482-
    1(b)(1) (1969), but is slightly different from the 1953 regulations, 26
    C.F.R. sec. 39.45-1(b)(1) (1953), which refer to “true net income” instead
    of “true taxable income”.

           The third regulatory reference in Commissioner v. First Security
    Bank of Utah, 405 U.S. at 404 & n.18, is the quotation of the portion of
    26 C.F.R. sec. 1.482-1(b)(1) (1971) that stated: “The interests controlling
    a group of controlled taxpayers are assumed to have complete power to
    cause each controlled taxpayer so to conduct its affairs that its
    transactions and accounting records truly reflect the taxable income
    from the property and business of each of the controlled taxpayers.” This
    text is found in the 1962 regulations, 26 C.F.R. sec. 1.482-1(b)(1) (1961
    ed. 1965 Supp.), and in the 1968 regulations, 26 C.F.R. sec. 1.482-1(b)(1)
    (1969), but is slightly different from the 1953 regulations, 26 C.F.R. sec.
    39.45-1(b)(1) (1953), which refer to “net income” instead of “taxable
    income”.

           The fourth regulatory reference in Commissioner v. First Security
    Bank of Utah, 405 U.S. at 407 & n.25, is the citation of 26 C.F.R. sec.
    1.482-1(b)(1) (1971) for this proposition: “As stated in the Treasury
    Regulations, the ‘purpose of section 482 is to place a controlled taxpayer
    on a tax parity with an uncontrolled taxpayer . . . .” (Ellipsis in original
    opinion.) The text quoted in the Supreme Court opinion appears in the
    1962 regulations and the 1968 regulations. 26 C.F.R. sec. 1.482-1(b)(1)
    (1961 ed. 1965 Supp.) (1962 regulations); 26 C.F.R. sec. 1.482-1(b)(1)
    (1969) (1968 regulations). It also appears in the 1953 regulations. 26
    C.F.R. sec. 39.45-1(b)(1) (1953).

           We will now discuss the significance of which version of the
    regulations was relied on by First Security Bank. Recall that the
    regulatory provisions cited and quoted by First Security Bank contain
    textual differences from the 1953 regulations. Therefore a plausible
    case can be made that the First Security Bank opinion indicated that
    the 1953 regulation was not the version it relied on. Whether this is
    correct (i.e., whether First Security Bank relied on the 1953 version) is
    not significant. This is because there is no relevant difference between
    the 1953 regulations, on the one hand, and the 1962 and 1968

          132 When the Supreme Court quoted the text, the Supreme Court omitted the

    comma after the word “determining”.




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    regulations, on the other, as to those portions of the regulations cited
    and quoted by First Security Bank.

           First Security Bank did not cite or quote 26 C.F.R. sec. 1.482-
    1(d)(6) (1969). 133 This provision, which appeared in the 1968 regulations
    but not the 1953 regulations or the 1962 regulations, allowed taxpayers
    to elect the deferred-income method of accounting regarding income the
    payment of which would be barred by foreign legal restrictions. In First
    Security Bank, respondent did not argue that the availability of the
    deferred-income method of accounting in the regulations meant that the
    regulations did not prohibit respondent from allocating income under
    section 482 of the Internal Revenue Code of 1954 that could not be paid
    to the taxpayer because of legal restrictions. 134           Indeed, the
    government’s briefs in First Security Bank did not make any reference
    to 26 C.F.R. sec. 1.482-1(d)(6) (1969). Therefore there is no need for us
    to determine whether 26 C.F.R. sec. 1.482-1(d)(6) (1969) applied for the
    1955-59 taxable years at issue in First Security Bank. Such a
    determination would not inform our understanding of the holding or
    reasoning of First Security Bank.

           GG.     The Tax Reform Act of 1976

           In 1976, Congress amended section 482 of the Internal Revenue
    Code of 1954 to replace “the Secretary or his delegate” with “the
    Secretary”. 26 U.S.C. sec. 482 (1976), as amended by the Tax Reform
    Act of 1976, Pub. L. No. 94-455, sec. 1906(b)(13)(A), 90 Stat. at 1834.
    The change was effective for tax years beginning after December 31,
    1976. Tax Reform Act of 1976 sec. 1906(d)(2), 90 Stat. at 1835. Neither
    petitioner nor respondent contends that this change is significant.




           133 This provision was the same in the 1969 edition of the Code of Federal

    Regulations and the 1971 edition of the Code of Federal Regulations.
          134 The government made such an argument in Procter & Gamble Co. v.

    Commissioner, 95 T.C. 324, 341 (1990), aff’d, 961 F.2d 1255, 1259-1260 (6th Cir. 1992).




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          HH.    Procter & Gamble Co. v. Commissioner, 95 T.C. 323 (1990)
                 (a case involving tax years ending June 30, 1978, and June
                 30, 1979), aff’d, 961 F.2d 1255 (6th Cir. 1992); and Exxon
                 Corp. v. Commissioner, T.C. Memo. 1993-616, 66 T.C.M.
                 (CCH) 1707 (a case involving tax years 1979, 1980, and
                 1981), aff’d sub nom. Texaco, Inc. v. Commissioner, 98 F.3d
                 825 (5th Cir. 1996)

           In Procter & Gamble Co. v. Commissioner, 95 T.C. 323, 324, 326
    (1990), aff’d, 961 F.2d 1255 (6th Cir. 1992), a U.S. company owned a
    Swiss company, which in turn owned a Spanish company. The Swiss
    company paid royalties to the U.S. company for the right of the Swiss
    company and the Spanish company to use the U.S. company’s
    intellectual property. Id. at 324, 330. Pursuant to this arrangement,
    the Spanish company used the U.S. company’s intellectual property. Id.
    at 330. The Spanish company paid no compensation to the Swiss
    company even though the Swiss company had paid the U.S. company for
    the Spanish company’s right to use the U.S. company’s intellectual
    property. Id. Respondent made an allocation of royalty income under
    section 482 of the Internal Revenue Code of 1954 (26 U.S.C. sec. 482
    (1982)) from the Spanish company to the Swiss company for the Spanish
    company’s use of intellectual property. Procter & Gamble Co. v.
    Commissioner, 95 T.C. at 330-331. To include this royalty income in the
    income of the Swiss company would increase the subpart F income of
    the Swiss company, which in turn would trigger an inclusion in the gross
    income of the U.S. company under section 951(a)(1)(A) of the Internal
    Revenue Code of 1954 (26 U.S.C. sec. 951(a)(1)(A)). Procter & Gamble
    Co. v. Commissioner, 95 T.C. at 331. The tax years to which these
    allocations related were the U.S. company’s tax years ending June 30,
    1978 and 1979. Id. at 323, 330-331.

           The Spanish government had issued a series of letters over 10
    years stating that the Spanish company was prohibited from paying
    royalties to the Swiss company. Id. at 326-327. The existence of such a
    prohibition also found support in an order of the Spanish Ministry of
    Industry and in Spanish Decree 3099/1976. Id. at 328-329. The Tax
    Court concluded that Spanish law prohibited the payment of royalties
    by the Spanish company to its Swiss parent. Id. at 336-337. The Court
    held that because the prohibition was applied consistently “there is no
    need to identify a specific constitutional or statutory provision codifying
    the prohibition in order to treat the prohibition as law.” Id. at 337 (citing
    U.S. Padding Corp. v. Commissioner, 88 T.C. 177, 187-188 (1987), aff’d,
    865 F.2d 750 (6th Cir. 1989)).




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          The Tax Court in Procter & Gamble Co. v. Commissioner, 95 T.C.
    at 335-336, then held that the allocation under section 482 of the
    Internal Revenue Code of 1954 was not permissible:

                 We find First Security Bank and Salyersville
          National Bank [613 F.2d 650, 655-656 (6th Cir. 1980), a
          case applying First Security Bank] compelling with respect
          to the issue before the Court. As we understand these
          cases, section 482 simply does not apply where restrictions
          imposed by law, and not the actions of the controlling
          interest, serve to distort income among the controlled
          group. * * *

    Thus, the Tax Court’s holding in Procter & Gamble rested on First
    Security Bank. In the following passage, the Tax Court recognized that
    the reasoning of First Security Bank relied on the idea that the
    “complete power” to shift include “hardly includes the power to force a
    subsidiary to violate the law”:

                 In concluding that the Commissioner’s allocation
          was unwarranted, the Supreme Court emphasized that
          there was no shifting or distorting of income because the
          banks simply could not receive insurance premium income.
          The Court stated that section 1.482-1(b)(1), Income Tax
          Regs., as applied to the facts--

             contemplates that [First Security Corp.]--the
             controlling interest--must have “complete power” to
             shift income among its subsidiaries. It is only where
             this power exists, and has been exercised in such a
             way that the “true taxable income” of a subsidiary
             has been understated, that the Commissioner is
             authorized to reallocate under sec. 482. But [First
             Security Corp.] had no such power unless it acted in
             violation of federal banking laws. The “complete
             power” referred to in the regulations hardly includes
             the power to force a subsidiary to violate the law.
             [Commissioner v. First Security Bank of Utah, 405
             U.S. at 404-405.]

    Procter & Gamble Co. v. Commissioner, 95 T.C. at 334-335 (alteration
    in original) (footnote omitted) (quoting Commissioner v. First Sec. Bank,
    405 U.S. at 404-405).




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           The Tax Court in Procter & Gamble Co. v. Commissioner, 95 T.C.
    at 339, rejected respondent’s argument that First Security Bank was
    distinguishable because it involved a domestic legal restriction, not a
    foreign legal restriction. The Tax Court explained that First Security
    Bank held that no section 482 allocation is appropriate where “the
    controlling interest has not utilized its power to shift income” and thus
    the First Security Bank holding did not hinge on whether the legal
    restriction was foreign or domestic.         Procter & Gamble Co. v.
    Commissioner, 95 T.C. at 339.

          The Tax Court also rejected respondent’s argument that a
    prohibition on making payments is distinguishable from a prohibition
    on receiving payments. Id. The Spanish company in Procter & Gamble
    was prohibited from making payments. Id. at 326. The two national
    banks in First Security Bank were prohibited from receiving payments.
    See Procter & Gamble Co. v. Commissioner, 95 T.C. at 339. The Tax
    Court held that the distinction between a prohibition on making
    payments and a prohibition on receiving payments is a “distinction
    without a difference”. Id. It reasoned that if the Spanish company was
    prohibited from making payments to the Swiss company, the Swiss
    company was prohibited from receiving them. Id.

          The Tax Court’s Procter & Gamble opinion rejected respondent’s
    argument that the Spanish prohibition on payment of royalties was
    merely an administrative decision that the Spanish company could have
    appealed. Id. at 333, 337. The Tax Court reasoned that the Spanish
    subsidiary had informally communicated with the Spanish government
    and had concluded that an appeal would be unsuccessful and
    detrimental to the company’s relationship with the government. Id. at
    337.

           Additionally, the Tax Court’s Procter & Gamble opinion
    considered whether it was significant that the Spanish prohibition on
    royalty payments affected only royalty payments to a commonly owned
    company. Id. at 339-340. It held that First Security Bank had
    established the general principle that a section 482 allocation cannot be
    made unless “control was utilized to shift income”. Procter & Gamble
    Co. v. Commissioner, 95 T.C. at 339-340. The Tax Court held that the
    U.S. company did not use its control to shift income from the Spanish
    company to the Swiss company and that therefore no section 482
    allocation was proper. Id. at 340.




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            Finally, the Tax Court in Procter & Gamble Co. v. Commissioner,
    95 T.C. at 340-341, addressed the significance of section 1.482-1(d)(6),
    which was added in 1968. 33 Fed. Reg. 5849, 26 C.F.R. sec. 1.482-1(d)(6)
    (1969). The regulation provided that if intercompany payments were
    restricted by foreign law, the taxpayer could elect to defer the
    corresponding income that would otherwise be allocated to the taxpayer
    under section 482 of the Internal Revenue Code of 1954 until the
    restriction was lifted. Id. The Tax Court held that because section 482
    of the Internal Revenue Code of 1954 does not apply, the regulations
    under section 482 of the Internal Revenue Code of 1954 do not apply.
    Procter & Gamble Co. v. Commissioner, 95 T.C. at 340-341. Excerpted
    in full below is the Tax Court’s discussion of 26 C.F.R. sec. 1.482-1(d)(6)
    (1969):

                  Finally, respondent suggests that if section 482 does
          not apply under the circumstances presented, the Court
          has effectively rendered section 1.482-1(d)(6), Income Tax
          Regs., meaningless. Respondent references Rev. Rul. 74-
          245, 1974-1 C.B. 124, which provides that section 1.482-
          1(d)(6), Income Tax Regs., will be liberally administered to
          allow a taxpayer relief from a section 482 allocation, by
          permitting deferral of the allocated income, where the
          payments allocated could not be effected under foreign law.
          Respondent emphasizes that the regulation contemplates
          that if the taxpayer elects to defer the allocated income, the
          taxpayer must likewise defer expenses relating to that
          income so as to ultimately match income and expense. In
          this case, petitioner did not elect to proceed under the
          regulation and claims that the regulation does not apply in
          the face of a Spanish law prohibiting payment of specific
          income.

                 By virtue of our holding that section 482 does not
          apply, the regulations underlying section 482 likewise do
          not apply. We note that section 1.482-1(d)(6), Income Tax
          Regs., was prescribed by Treasury Decision 6952 on April
          15, 1968, prior to the First Security Bank decision. See
          1968-1 C.B. 218. Thus, no consideration was given to the
          effect of First Security Bank on the scope of the regulation.
          Notwithstanding the foregoing, our ruling does not render
          section 1.482-1(d)(6), Income Tax Regs., meaningless.
          Rather, we only limit the application of the regulation
          within the narrow confines of the facts presented in this




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           case. Specifically, section 482 does not apply where the
           taxpayer’s legitimate business purposes subject it to legal
           restraints effectively blocking receipt of income. We do not
           have before us, and therefore do not address, whether a
           section 482 allocation may be appropriate where legitimate
           business purposes are lacking.

    Procter & Gamble Co. v. Commissioner, 95 T.C. at 340-341 (footnote
    omitted).

           In the excerpt above, Procter & Gamble Co. v. Commissioner, 95
    T.C. at 340-341, referred to “section 1.482-1(d)(6), Income Tax Regs.”
    This provision of the regulations, which allows the deferred-income
    method of accounting, was not promulgated until the 1968 regulatory
    amendments. 33 Fed. Reg. 5849 (Apr. 16, 1968); 26 C.F.R. sec. 1.482-
    1(d)(6) (1969) (1968 regulations). Although the 1968 amendments had
    no effective date, see T.D. 6952, 33 Fed. Reg. 5848, they related to
    section 482 of the Internal Revenue Code of 1954, which was effective
    for tax years that began after December 31, 1953, and ended after
    August 16, 1954. Internal Revenue Code of 1954, sec. 7851(a)(1)(A), 68A
    Stat. at 919, 929. Thus, the 1968 regulations were effective for the tax
    years at issue in Procter & Gamble Co. v. Commissioner, 95 T.C. at 323,
    which were the tax years ending June 30, 1978 and 1979. 135

           The U.S. Court of Appeals for the Sixth Circuit affirmed the Tax
    Court’s decision in Procter & Gamble Co. v. Commissioner, 961 F.2d
    1255 (6th Cir. 1992). The Sixth Circuit’s primary holding was that First
    Security Bank controlled Procter & Gamble even though the restriction
    in First Security Bank was a domestic law and the restriction in Procter
    & Gamble was a foreign law. Procter & Gamble Co. v. Commissioner,
    961 F.2d at 1258-1259. The Sixth Circuit reasoned that the U.S.
    company in Procter & Gamble did not have the “complete power” (within
    the meaning of regulation section 1.482-1(b)(1)) to shift income from the
    Swiss company to the Spanish company because Spanish law prohibited
    the Spanish company to make payments to the Swiss company. Id.

            135 Pollack v. Commissioner, 47 T.C. at 110, held that “unless the

    Commissioner otherwise specifies, regulations are retroactive to the date on which the
    statute was enacted.” Although to apply the 1968 regulations retroactively might have
    been challenged as an abuse of discretion, see Anderson, Clayton & Co., 562 F.2d at
    980-981, or as an arguable violation of the Administrative Procedure Act’s
    antiretroactivity provision, 5 U.S.C. sec. 553(d) (codifying sec. 4(c) of the APA, as
    amended), the 1968 regulations were not retroactive as applied to the tax years at issue
    in Procter & Gamble, which were after 1968.




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    Excerpted below is the Sixth Circuit’s main holding and the reasons
    given for it:

          The purpose of section 482 is “to place a controlled taxpayer
          on a tax parity with an uncontrolled taxpayer.” Treas. Reg.
          § 1.482-1(b)(1).

                 It is P&G’s [the U.S. company’s] position that section
          482 requires that any distortion of income of a controlled
          party result from the existence and exercise of control.
          P&G argues that where governing law, and not the
          controlling party or interests, causes a distortion of income,
          section 482 is unavailable to allocate income. P&G argues
          that the regulations promulgated under section 482 and
          the Supreme Court’s decision in Commissioner v. First
          Security Bank, 405 U.S. 394, 92 S. Ct. 1085, 31 L. Ed. 2d
          318 (1972), support this position.

                The term “controlled” is defined in Treas. Reg. §
          1.482-1(a)(3) to include:

             any kind of control, direct or indirect. . . . It is the
             reality of the control which is decisive, not its form
             or the mode of its exercise.

          Treas. Reg. § 1.482-1(b)(1) states the level of control that is
          presumed to justify making a section 482 allocation:

             The interests controlling a group of controlled
             taxpayers are assumed to have complete power to
             cause each controlled taxpayer so to conduct its
             affairs that its transactions and accounting records
             truly reflect the taxable income from the property
             and business of each of the controlled taxpayers.

          Further, Treas. Reg. § 1.482-1(c) states:

             Transactions between one controlled taxpayer and
             another will be subjected to special scrutiny to
             ascertain whether the common control is being used
             to reduce, avoid, or escape taxes.




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                 The foregoing regulations recognize that in order for
          the Commissioner to have authority to make a section 482
          allocation, a distortion in a controlled taxpayer’s income
          must be caused by the exercise of such control. In the
          present case there is no evidence that P&G or AG [the
          Swiss company] used its control over España [the Spanish
          company] to manipulate or shift income. Indeed, the Tax
          Court held that the failure of España to make royalty
          payments was a result of the prohibition against royalty
          payments under Spanish law and was not due to the
          exercise of control by P&G. The Spanish prohibition is
          expressly found in the letter approving España’s
          organization and in the letters permitting capital increases
          for España. In addition, Decrees 2343/1973 ad 3099/1976
          made it clear that payments for transfers of technology
          from Spanish entities to controlling foreign entities would
          be restricted.

                  The Supreme Court held in First Security that the
          Commissioner is authorized to allocate income under
          section 482 only where a controlling interest has complete
          power to shift income among its subsidiaries and has
          exercised that power. In First Security, two related banks
          offered credit life insurance to their customers. The banks
          were prohibited by federal law from acting as insurance
          agents and receiving premiums, and they referred
          customers to an unrelated insurance company to purchase
          this insurance. The insurance company retained 15
          percent of the premiums for actuarial and accounting
          services, and transferred 85 percent of the premiums
          through a reinsurance agreement to an insurance company
          affiliated with the banks. The insurance affiliate reported
          the entire amount it received as reinsurance premiums as
          its income. The Commissioner determined that 40 percent
          of the affiliate’s income was allocable to the banks as
          compensation for originating and processing the insurance.
          The Supreme Court set aside the Commissioner’s
          allocation. The Court found that the holding company that
          controlled the banks and the insurance affiliate did not
          have the power to shift income among its subsidiaries
          unless it operated in violation of federal banking law. The
          Court stated that the “complete power” referred to in
          Treas. Reg. § 1.482-1(b)(1) does not include the power to




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          force a subsidiary to violate the law. So here, P&G did not
          have the power to shift income between España and its
          other interests unless it violated Spanish law. The
          payment or non-payment of royalties in no way depended
          on P&G’s control of the various entities. The same result--
          no royalties--would exist in the case of unrelated entities.

                 The Commissioner argues that First Security is not
          controlling in this case because the Supreme Court’s
          analysis is limited to instances in which allocation under
          section 482 is contrary to federal law. We are not
          persuaded. The Supreme Court focused on whether the
          controlling interests utilized their control to distort income.
          We see no reason to alter this analysis because foreign law,
          as opposed to federal law, prevented payment of royalties.
          The purpose of section 482 is to prevent artificial shifting
          of income between related taxpayers. Because Spanish law
          prohibited royalty payments, P&G could not exercise the
          control that section 482 contemplates, and allocation under
          section 482 is inappropriate. That foreign law is involved
          may require a heightened scrutiny to be sure the taxpayer
          is not responsible for the restriction on payment. But that
          is not suggested in the case of the Spanish law here which
          was in effect long before España was created.

    Id.

           In Procter & Gamble Co. v. Commissioner, 961 F.2d at 1259, the
    government also argued before the Sixth Circuit that the Spanish
    company could have paid the Swiss company a dividend, even if it could
    not have paid it a royalty. The Sixth Circuit rejected this argument. Id.
    The Sixth Circuit reasoned that (1) the Spanish company had no
    obligation to arrange its affairs so as to maximize taxes, (2) payment of
    a royalty by the Spanish company to its Swiss parent in the guise of a
    dividend would be an evasion of Spanish law, and (3) the Spanish
    company did not have sufficient earnings from which to pay a dividend.
    Id.

          Finally, the Sixth Circuit in Procter & Gamble held that section
    1.482-1(b)(6) did not apply. Here is the Sixth Circuit’s full reasoning:

                The Commissioner argues that the Tax Court erred
          by refusing to apply Treas. Reg. § 1.482-1(b)(6), the




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          “blocked income” regulation. Treas. Reg. § 1.482-1(b)(6)
          provides in pertinent part:

                 If payment or reimbursement for the sale,
             exchange, or use of property, the rendition of
             services, or the advance of other consideration
             among members of a group of controlled entities was
             prevented, or would have been prevented, at the
             time of the transaction because of currency or other
             restrictions imposed under the laws of any foreign
             country, any distributions, apportionments, or
             allocations which may be made under section 482
             with respect to such transactions may be treated as
             deferrable income.

          This regulation recognizes the problem posed by
          restrictions placed on payments in a foreign currency.
          Income allocated under section 482 may be deferred if
          payments have been blocked by currency or other
          restrictions under the laws of a foreign country. The Tax
          Court determined that because section 482 did not apply to
          the present case, the regulations promulgated under
          section 482 likewise did not apply.

                 The Commissioner argues that this regulation is
          designed to remedy the situation presented in this case.
          We disagree. Treas. Reg. § 1.482-1(b)(6) contemplates the
          situation where a temporary restriction under foreign law
          prevents payments, and defers the allocation of income
          until such time as the payments are no longer restricted.
          This case does not present a situation in which payments
          to P&G were temporarily restricted; rather, Spanish law
          prohibited payment of royalties altogether.            This
          prohibition cannot be viewed as temporary because it was
          ultimately repealed in 1987. At the time in question, there
          was no reason for P&G to believe that the Spanish
          government would lift this ban; therefore, the payments
          that España was prohibited by law from making cannot be
          viewed as temporarily blocked payments.

                The Commissioner also argues that the prohibition
          on royalty payments was temporary and that P&G could
          have deferred royalty payments under this regulation and




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          then at some future time P&G could have liquidated
          España and taken its capital out of Spain.            Upon
          liquidation, the Commissioner argues, the temporary
          prohibition on payment of pesetas would end. We find this
          argument to be meritless because P&G need not organize
          its subsidiaries in such a way as to maximize its tax
          liabilities. There is no question that P&G may legally
          structure its affairs in its own best interest. Salyersville,
          613 F.2d at 653. We agree with the Tax Court that Treas.
          Reg. § 1.482-1(b)(6) does not apply to this case.

    Id. at 1259-1260.

            In Exxon Corp. v. Commissioner, T.C. Memo. 1993-616, 66 T.C.M.
    (CCH) 1707, 1716-1721, 1739-1752, aff’d sub nom. Texaco, Inc. v.
    Commissioner, 98 F.3d 825 (5th Cir. 1996), the Tax Court addressed the
    effect of a restriction imposed by Saudi Arabia whereby companies
    which bought oil from Saudi Arabia at a below-market price could not
    resell the oil at a greater price. A U.S. subsidiary of Texaco (which was
    a type of company referred to as an “offloader”) had purchased oil from
    Saudi Arabia at a below-market price and resold the oil to foreign
    affiliates at the same price. Id. at 1710, 1733, 1752-1760. Respondent
    determined in Exxon that income should be allocated from the foreign
    affiliates to the U.S. subsidiary under section 482 of the Internal
    Revenue Code of 1954 (26 U.S.C. sec. 482) to reflect that the price at
    which the U.S. subsidiary sold the oil to the foreign affiliates was below
    the market price. Id. at 1733. The tax years at issue were the calendar
    years 1979-81. Id. at 1708. Respondent also determined that the
    allocation of income was justified under section 61 of the Internal
    Revenue Code of 1954 and under the principle that income is taxed to
    the taxpayer who earns it. Id. at 1733, 1738.

          The Tax Court in Exxon held that respondent’s allocations in that
    case were improper under First Security Bank and Procter & Gamble.
    Exxon Corp. v. Commissioner, 66 T.C.M (CCH) at 1734-1739. Exxon
    explained that First Security Bank established the principle that section
    482 cannot be used to allocate income to a taxpayer if receipt of the
    income is prohibited by law:

          In Commissioner v. First Security Bank, supra, certain
          affiliated banks referred their customers to an independent
          insurance company for purposes of obtaining credit life
          insurance. Credit life insurance policies were written by




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          the independent insurance company, which then reinsured
          the policies with an affiliate of the banks pursuant to a
          “treaty of reinsurance”.        The independent insurance
          company retained 15 percent of the premiums for providing
          actuarial and accounting services, and the affiliated
          insurance company retained 85 percent of the premiums
          for assuming the risk under the policies. No sales
          commissions or referral fees were paid to the affiliated
          banks.     These banks could not legally receive such
          commissions pursuant to a Federal law which prohibited
          banks from acting as insurance agents in locations with a
          population in excess of 5,000 inhabitants. During the years
          at issue, 85 percent of the premiums paid by the customers
          were reported by the affiliated life insurance company on
          its tax returns. The Commissioner allocated 40 percent of
          the affiliated life insurance company’s net premium income
          to the banks as compensation for originating and
          processing the credit life insurance. The Tax Court upheld
          the Commissioner’s allocation, but the Court of Appeals for
          the Tenth Circuit reversed. The Supreme Court affirmed
          the Court of Appeals on the ground that, since the banks
          could not legally receive the commissions under Federal
          law, the Commissioner could not reallocate them to the
          banks. The Court stated that it had never found a taxpayer
          to have income “that he did not receive and that he was
          prohibited from receiving” and premised this on the
          underlying assumption that, “in order to be taxed for
          income, a taxpayer must have complete dominion over it.”
          Commissioner v. First Security Bank, 405 U.S. at 403. The
          Court further observed that one of the Commissioner’s
          regulations under section 482 also recognized the concept
          that “income implies dominion or control” by providing:

             “The interests controlling a group of controlled
             taxpayers are assumed to have complete power to
             cause each controlled taxpayer so to conduct its
             affairs that its transactions and accounting records
             truly reflect the taxable income from the property
             and business of each of the controlled taxpayers.”

          Id. at 404 (emphasis added) (quoting sec. 1.482-1(b)(1),
          Income Tax Regs.). The Court concluded therefrom that
          the parent holding company




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             must have ‘complete power’ to shift income among
             its subsidiaries. It is only where this power exists,
             and has been exercised in such a way that the ‘true
             taxable income’ of a subsidiary has been
             understated, that the Commissioner is authorized to
             reallocate under § 482. But Holding Company had
             no such power unless it acted in violation of federal
             banking laws. The ‘complete power’ referred to in
             the regulations hardly includes the power to force a
             subsidiary to violate the law.

          Id. at 404-405. Thus, the Supreme Court has indicated
          that, where the receipt of income is prohibited by law, the
          Commissioner is prohibited from allocating such income
          pursuant to section 482.

    Exxon Corp. v. Commissioner, 66 T.C.M. (CCH) at 1735 (footnotes
    omitted). It is important to note that in the excerpt above Exxon
    recognized that First Security Bank relied upon the “complete power”
    regulatory provision.

          Next, Exxon Corp. v. Commissioner, 66 T.C.M (CCH) at 1735-
    1736, observed that in Procter & Gamble the Tax Court “took the
    holding of First Security and applied it in the context of a foreign--as
    opposed to a domestic Federal or State--law.”

           The Tax Court in Exxon next addressed respondent’s reliance on
    section 61 of the Internal Revenue Code of 1954 for his theory that
    income in question should be allocated to Texaco’s U.S. subsidiary.
    Exxon Corp. v. Commissioner, 66 T.C.M. (CCH) at 1738-1739. Under
    the section 61 assignment-of-income doctrine, income is attributable to
    the taxpayer who earned the income even if the earner had agreed to
    assign the income to another taxpayer. Lucas v. Earl, 281 U.S. 111
    (1930), cited in Exxon Corp. v. Commissioner, 66 T.C.M. (CCH) at 1738.
    The Tax Court in Exxon stated that First Security Bank had held that
    the assignment-of-income doctrine does not apply to income that a
    taxpayer is legally prohibited from receiving:

                The Supreme Court also has recognized that a legal
          prohibition against a taxpayer’s receipt of income
          precludes an assignment of such income to the taxpayer by
          the Commissioner. In First Security (a section 482 case),




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            the Court discussed the interplay between section 482 and
            the assignment of income cases as follows:

                    We know of no decision of this Court wherein a
                person has been found to have taxable income that
                he did not receive and that he was prohibited from
                receiving. In cases dealing with the concept of
                income, it has been assumed that the person to
                whom the income was attributed could have received
                it. The underlying assumption always has been that
                in order to be taxed for income, a taxpayer must have
                complete dominion over it.

            Commissioner v. First Security Bank, 405 U.S. 394, 403
            (1972). Thus, according to the above-quoted language, a
            taxpayer who is legally prohibited from receiving income
            and who does not in fact receive such income, cannot be
            said to have “earned” the income under a section 61
            analysis.

    Exxon Corp. v. Commissioner, 66 T.C.M. (CCH) at 1738-1739. Thus,
    Exxon rejected two theories, under sections 482 and 61 of the Internal
    Revenue Code of 1954, respectively, why Texaco’s foreign affiliates
    should be allocated income. 136

          Next the Tax Court in Exxon held that the resale price restriction
    was a valid and binding prohibition because it was authorized by the
    King of Saudi Arabia, it was consistently applied, compliance with it was
    mandatory, and it was in effect during the years at issue. Id. at 1739-
    1752. Next the Tax Court held that Texaco did not ignore or circumvent
    the restriction. Id. at 1752-1760. Finally the Tax Court concluded:
    “Under the rule of Commissioner v. First Security Bank, 405 U.S. 394
    (1972), its assignment of income predecessors, and its progeny, we hold
    that the 1979 restriction precluded a section 61 or section 482

            136 That the two theories are distinct from each other is evidenced by the way

    Exxon summarized its holding near the end of the opinion. In the summary, Exxon
    stated that first, “the offtakers did not ‘earn’ the income occasioned by the low cost of
    the Saudi crude within the meaning of section 61 because they did not receive it and
    were prohibited from receiving it”, and second, they “were deprived of the requisite
    power to control the location of income” and so “respondent’s allocation under section
    482 is not warranted.” Exxon Corp. & Affiliated Cos. v. Commissioner, T.C. Memo.
    1993-616, 66 T.C.M. (CCH) 1707, 1739 (1993), aff’d sub nom. Texaco, Inc. & Subs. v.
    Commissioner, 98 F.3d 825 (5th Cir. 1996).




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    adjustment to the income of petitioners’ offtakers in this case.” Id. at
    1760.

            In Texaco, Inc. v. Commissioner, 98 F.3d 825 (5th Cir. 1996), the
    Fifth Circuit affirmed the decision of the Tax Court in Exxon. The Fifth
    Circuit opinion can be divided into four parts. In the first part it agreed
    with the Tax Court’s conclusion that the resale price restriction had the
    effect of law. Texaco, Inc. v. Commissioner, 98 F.2d at 828. In the second
    part the Fifth Circuit agreed that the Tax Court properly applied First
    Security Bank. The second part of the Fifth Circuit’s opinion is
    excerpted below:

                 We also agree with the Tax Court’s legal conclusion
          that the teaching of Commissioner v. First Security Bank,
          405 U.S. 394, 92 S. Ct. 1085, 31 L. Ed. 2d 318 (1972), bars
          the Commissioner from allocating income to Textrad
          [Texaco’s U.S. subsidiary] on its sales of Saudi crude under
          § 482. Because the sales price of the crude is governed by
          Letter 103/z, Texaco did not have the power to control the
          sales price of the oil.

                   Section 482 of the Internal Revenue Code authorizes
          the Secretary to apportion or allocate income between
          organizations controlled by the same interests “if he
          determines that such distribution, apportionment, or
          allocation is necessary in order to prevent evasion of taxes
          or clearly to reflect the income of any such organizations
          . . . .” 26 U.S.C. § 482 (1994). The relevant IRS regulation
          explains that the purpose of § 482 is “to place a controlled
          taxpayer on a tax parity with an uncontrolled taxpayer”
          and to ensure that controlling entities conduct their
          subsidiaries’ transactions in such a way as to reflect the
          “true taxable income” of each controlled taxpayer. 26
          C.F.R. § 1.482-1A(b)(1) (1996).4 The regulation further
          explains that “[t]he standard to be applied in every case is
          that of an uncontrolled taxpayer dealing at arm’s length
          with another uncontrolled taxpayer.” Id.

                 In First Security, the Court held that § 482 did not
          authorize the Commissioner to allocate income to a party
          prohibited by law from receiving it. 405 U.S. at 404. In
          that case, two related banks offered credit life insurance to
          their customers. Federal law prohibited the banks from




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          acting as insurance agents and receiving premiums or
          commissions on the sale of insurance. The banks referred
          their customers to an unrelated insurance company to
          purchase this insurance. The insurance company retained
          a small percent of the premiums for administrative
          services and transferred the bulk of the premiums through
          a reinsurance agreement to an insurance company
          affiliated with the banks, which reported all of the
          reinsurance premiums it received as income.           The
          Commissioner reallocated 40 percent of the related
          insurance company’s income from these reinsurance
          premiums to the banks as compensation for originating
          and referring the insurance business. Id. at 396-99.

                 The Court concluded that due to the restrictions of
          federal banking law, the holding company that controlled
          the banks and the insurance affiliate did not have the
          power to shift income among its subsidiaries. In so holding,
          the Court emphasized that the Commissioner’s authority
          to allocate income under § 482 presupposes that the
          taxpayer has the power to control its income: “The
          underlying assumption always has been that in order to be
          taxed for income, a taxpayer must have complete dominion
          over it.” Id. at 403. Indeed, as the Court noted, the
          Commissioner’s own regulations for implementing § 482
          contemplate that the controlling interest “must have
          ‘complete power’ to shift income among its subsidiaries.”
          Id. at 404-05, 92 S. Ct. at 1091-92 (quoting 26 C.F.R.
          § 1.482-1(b)(1) (1971)).

                 Moreover, the regulations and First Security make
          clear that this standard is not limited to cases where the
          government contends the taxpayer attempted to evade
          taxes. Rather, the Court explicitly extends its reasoning to
          circumstances where the government contends that the
          organization’s “true taxable income” has not been
          reflected.5 After explaining that the right to control the
          allocation of income is critical, the Court stated: “It is only
          where this power exists, and has been exercised in such a
          way that the ‘true, taxable income’ of a subsidiary has been
          understated, that the Commissioner is authorized to
          reallocate under § 482 . . . . The ‘complete power’ referred
          to in the regulations hardly includes the power to force a




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          subsidiary to violate the law.” Id. (emphasis added).
          Because the holding company in First Security could not
          have allocated the income to the banks unless it acted in
          violation of the law, the Court concluded that the banks’
          true income was not understated and the Commissioner’s
          allocation under § 482 was improper.

                  The Sixth Circuit decision in Procter & Gamble Co.
          v. Commissioner, 961 F.2d 1255 (6th Cir. 1992), also
          supports the Tax Court’s conclusion. In that case, the court
          held that a Spanish law prohibiting a foreign affiliate from
          paying royalties for the use of patents was sufficient to
          preclude the Commissioner from reallocating income to
          account for a reasonable royalty. The court stated that “the
          purpose of § 482 is to prevent artificial shifting of income
          between related taxpayers.” Id. at 1259 (emphasis added).
          Again the deciding issue was one of control: “Because
          Spanish law prohibited royalty payments, [the controlling
          company] could not exercise the control that § 482
          contemplates, and allocation under § 482 is inappropriate.”
          Id. at 1259. See also L.E. Shunk Latex Products, Inc. v.
          Commissioner, 18 T.C. 940, 1952 WL 188 (1952) (holding
          that Commissioner could not allocate additional income to
          condom manufacturer where manufacturer sold condoms
          to its affiliate at price set by Office of Price Administration,
          even though affiliate made substantial profits on the
          transactions).

                 It is precisely this ability to control the flow of its
          income that Texaco lacked. The Tax Court found, and we
          agree, that Letter 103/z had the force and effect of law, that
          Textrad was obligated to comply with its requirements,
          and that it did so comply. Because Textrad lacked the
          power to sell Saudi crude above the OSP, reallocation
          under § 482 is inappropriate.

                 426 C.F.R. § 1.482-1A(b)(1) reads in full:


             The purpose of section 482 is to place a controlled taxpayer on
             a tax parity with an uncontrolled taxpayer, by determining,
             according to the standard of an uncontrolled taxpayer, the true
             taxable income from the property and business of a controlled
             taxpayer. The interests controlling a group of controlled
             taxpayers are assumed to have complete power to cause each




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              controlled taxpayer so to conduct its affairs that its
              transactions and accounting records truly reflect the taxable
              income from the property and business of each of the controlled
              taxpayers. If, however, this has not been done, and the taxable
              incomes are thereby understated, the district director shall
              intervene, and, by making such distributions, apportionments,
              or allocations as he may deem necessary of gross income,
              deductions, credits, or allowances, or of any item or element
              affecting taxable income, between or among the controlled
              taxpayers constituting the group, shall determine the true
              taxable income of each controlled taxpayer. The standard to be
              applied in every case is that of an uncontrolled taxpayer
              dealing at arm’s length with another uncontrolled taxpayer.
                   5We find no indication from the facts and contentions of the

          parties in First Security that the government contended that the banks
          or the holding company sought to evade taxes. Rather, First Security
          explains in general terms the type case § 482 is designed to reach
          without distinguishing between claims of evasion and other claims that
          the true income of the taxpayer has not been reflected: “The question
          we must answer is whether there was a shifting or distorting of the
          [taxpayers] true net income.” Id. at 400-401 (emphasis added); see also
          id. at 407 (concluding that because the holding company “did not utilize
          its control over the [banks and the affiliated insurance company] to
          distort their true net incomes,” the Commissioner could not exercise
          his § 482 authority) (emphasis added). This is consistent with the
          approach and structure of the regulation, which also does not
          distinguish between evasion and other conduct that fails to reflect the
          true taxable income of the taxpayer. See 26 C.F.R. § 1.482-1A(b)(1)
          (1996).

    Texaco, Inc. v. Commissioner, 98 F.3d at 828-830.

          In the third part of its opinion in Texaco, the Fifth Circuit rejected
    the government’s reliance on the assignment-of-income doctrine to
    support its allocation of income:

                The Commissioner tries to justify the allocation by
          analogizing Texaco’s conduct to an “assignment of income”
          and places much reliance on the Supreme Court’s decision
          in United States v. Basye, 410 U.S. 441, 93 S. Ct. 1080, 35
          L. Ed. 2d 412 (1973). However, nothing in Basye is
          contrary to the principles discussed above, and the
          Commissioner’s reliance on this case is misplaced.

                  In Basye, the Court relied on familiar principles
          “that income is taxed to the party who earns it and that
          liability may not be avoided through an anticipatory




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          assignment of that income” to hold that a group of doctors’
          failure to actually receive a portion of their compensation
          that was instead placed in a retirement trust did not
          preclude the Commissioner from allocating that income to
          them. Id. at 457, 93 S. Ct. at 1089. The Court found that
          the sole reason the doctors could not receive the challenged
          portion of their income was because their medical
          partnership had agreed with a health plan foundation to
          service the foundation’s members for free in exchange for
          contributions to a retirement trust. Id. at 449, 93 S. Ct. at
          1085.

                 The Court’s holding in Basye turned on the
          consensual nature of the agreement and is entirely
          consistent with the principles of control expressed in the
          regulations adopted under § 482 and in First Security. As
          the regulations make clear, the goal of inquiring into the
          transactions of controlled taxpayers under § 482 is “to
          ascertain whether the common control is being used to
          reduce, avoid or escape taxes.” 26 C.F.R. § 1.482-1A(c)
          (1996). The Court in Basye agreed with the Commissioner
          that the doctors’ compensation scheme was entirely
          voluntary--that the medical partnership possessed
          common control and used it to reduce, avoid, or escape
          taxes. That the doctors exercised that control prior to their
          actual possession of the income was irrelevant.

                  But where, as here, the taxpayer lacks the power to
          control the allocation of the profits, reallocation under
          § 482 is inappropriate. As stated above, we fully agree with
          the Tax Court that Letter 103/z deprived Textrad of the
          power to sell Saudi crude to its foreign refining affiliates
          for a price that exceeded the OSP. Because Texaco lacked
          the ability to control the allocation of the income in
          question, it follows that it could not have used its control to
          evade taxes or artificially shift its income to its foreign
          affiliates so that its true taxable income was not reflected.

    Id. at 830.

           In the fourth part of its opinion in Texaco, the Fifth Circuit
    rejected the government’s argument that respondent’s proposed
    allocation in that case would be consistent with the goal of tax parity:




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                   Nor would the Commissioner’s proposed allocation
            be consistent with § 482’s goal of achieving tax parity
            between controlled and uncontrolled taxpayers. As the
            First Security Court and the regulations make clear, the
            “‘purpose of § 482 is to place a controlled taxpayer on a tax
            parity with an uncontrolled taxpayer.’” 405 U.S. at 407
            (citing 26 C.F.R. § 1.482-1(b)(1) (1971)). Thus, “[t]he
            standard to be applied in every case is that of an
            uncontrolled taxpayer dealing at arm’s length with another
            uncontrolled taxpayer.” 26 C.F.R. § 1.482-1A(b)(1) (1996).

                    The record evidence fully supports the Tax Court’s
            findings that Textrad sold significant amounts of Saudi
            crude to unrelated customers at the same OSP it sold to its
            affiliates, that the volume of Textrad’s sales of Saudi crude
            to unrelated customers during this period remained
            generally consistent with historic levels, and that any
            changes in Textrad’s sales to its affiliates and its unrelated
            customers during this period had no nexus with the
            restrictions imposed by Letter 103/z. Therefore, the Tax
            Court did not err in concluding that the Commissioner
            failed to demonstrate any disparity between Texaco’s
            treatment of its affiliates and its unrelated customers as a
            result of the Saudi price restrictions. Thus, under the
            regulation’s tax parity standard, the Commissioner’s
            allocation of Texaco’s income under § 482 is improper.

    Id. at 830-831 (alteration in original).

          The Fifth Circuit’s opinion in Texaco, Inc. v. Commissioner, 98
    F.3d at 828 & n.4, 829 n.5, 830, cited 26 C.F.R. sec. 1.482-1A (1996),
    multiple times. This regulation was created in 1993 when Treasury
    Decision 8470, 58 Fed. Reg. 5271 (Jan. 21, 1993), redesignated the 1968
    regulations137 as 26 C.F.R. secs. 1.482-1A and 2A (1994), effective for tax
    years beginning on or before April 21, 1993. 138 The redesignated
    regulations were printed in the 1996 edition of the Code of Federal



            137 The 1968 regulations, including subsequent amendments, were at 26 C.F.R.

    secs. 1.482-1 and -2 (1992).
            138 The 1993 redesignation is described in greater detail infra part II.LL.




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    Regulations. Therefore, when the Fifth Circuit cited 26 C.F.R. sec.
    1.482-1A (1996), it was citing the 1968 regulations.

          II.   The 1986 amendment to section 482

          Recall that section 482 of the Internal Revenue Code of 1954 had
    one sentence:

                  In any case of two or more organizations, trades, or
          businesses (whether or not incorporated, whether or not
          organized in the United States, and whether or not
          affiliated) owned or controlled directly or indirectly by the
          same interests, the Secretary may distribute, apportion, or
          allocate gross income, deductions, credits, or allowances
          between or among such organizations, trades, or
          businesses, if he determines that such distribution,
          apportionment, or allocation is necessary in order to
          prevent evasion of taxes or clearly to reflect the income of
          any of such organizations, trades, or businesses.

    Internal Revenue Code of 1954 sec. 482 (as amended in 1976), 26 U.S.C.
    sec. 482 (1982). The sentence was the same as the text of section 45 of
    the Revenue Act of 1928, 45 Stat. at 806, as that text was altered by
    three subsequent statutory changes: (1) in 1943 “gross income or
    deductions” was replaced with “gross income, deductions, credits, or
    allowances”, (2) in 1954 “the Commissioner is authorized to” was
    replaced with “the Secretary or his delegate may”, and (3) in 1976 “the
    Secretary or his delegate may” was replaced with “the Secretary may”.
    Revenue Act of 1943 sec. 128(b) and (c); Internal Revenue Code of 1954
    sec. 482; Tax Reform Act of 1976 sec. 1906(b)(13)(A). Because these
    statutory changes were relatively insignificant, it has been observed
    that section 482 of the Internal Revenue Code of 1954 was “essentially
    the same” as section 45 of the Revenue Act of 1928. See G.D. Searle &
    Co. v. Commissioner, 88 T.C. at 356 (comparing section 45 of the
    Revenue Act of 1928 to section 482 of the Internal Revenue Code of 1954
    before the 1976 amendment).

          The Tax Reform Act of 1986, Pub. L. No. 99-514, sec. 2(a), 100
    Stat. at 2095, redesignated the Internal Revenue Code of 1954 (as
    amended) as the Internal Revenue Code of 1986. The Tax Reform Act
    of 1986 simultaneously added a second sentence to section 482 of the
    Internal Revenue Code of 1986. This sentence is:




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          In the case of any transfer (or license) of intangible
          property (within the meaning of section 936(h)(3)(B)), the
          income with respect to such transfer or license shall be
          commensurate with the income attributable to the
          intangible.

    Tax Reform Act of 1986, sec. 1231(e)(1), 100 Stat. at 2562-2563. The
    second sentence cross-references section 936(h)(3)(B), which provides
    that the term “intangible property” means any

                (i) patent, invention, formula, process, design,
          pattern, or know-how;

               (ii) copyright,      literary,   musical,   or   artistic
          composition;

                (iii) trademark, trade name, or brand name;

                (iv) franchise, license, or contract;

                 (v) method, program, system, procedure, campaign,
          survey, study, forecast, estimate, customer list, or technical
          data; or

                (vi) any similar item,

          which has substantial value independent of the services of
          any individual.

    The text of section 482 after the 1986 amendment can be found at 26
    U.S.C. sec. 482 (1988). The text of section 482 of the Internal Revenue
    Code of 1954 before the 1986 amendment can be found at 26 U.S.C. sec.
    482 (1982).

           The portion of the Tax Reform Act of 1986 that added the second
    sentence to section 482 was section 1231(e)(1). The effective-date
    provision for section 1231(e) of the Tax Reform Act of 1986 (including
    section 1231(e)(1) is as follows:

          The amendments made by subsection (e) shall apply to
          taxable years beginning after December 31, 1986, but only
          with respect to transfers after November 16, 1985, or
          licenses granted after such date (or before such date with




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           respect to property not in existence or owned by the
           taxpayer on such date).

    Id. sec. 1231(g)(2)(A), 100 Stat. at 2563.

           In 2006, 3M Brazil used patents owned by 3M IPC. 3M Brazil’s
    use of patents was not governed by a license. In 2006, 3M Brazil also
    used nonpatented technology owned by 3M IPC. This use was not
    governed by a license. Neither petitioner nor respondent contends that
    the amendment by the Tax Reform Act of 1986 to section 482 did not
    govern the use of 3M IPC’s patents and nonpatented technology by 3M
    Brazil during the 2006 tax year.

           Respondent contends that the second sentence of section 482
    applies to the intangibles transactions at issue, which are (1) the use by
    3M Brazil of trademarks owned by 3M Company pursuant to the 1998
    trademark licenses, (2) the use by 3M Brazil of patents owned by 3M
    IPC, and (3) the transfer of technology from 3M IPC to 3M Brazil.
    Petitioner does not argue that the effective-date provision makes the
    second sentence of section 482 inapplicable for the case. Rather,
    petitioner argues that neither sentence of section 482 governs the
    intangibles transactions because of the effect of the Brazilian legal
    restrictions. 139

          The House Ways & Means Committee issued a report describing
    the House bill that preceded the Tax Reform Act of 1986. H.R. Rept. No.
    99-426 (1985), 1986-3 C.B. (Vol. 2) 1. The House bill contained the
    sentence in section 482 of the Internal Revenue Code of 1954. H.R. 3838,
    99th Cong., sec. 641(e) (1985). The House bill also contained a new
    sentence similar to the second sentence in section 482 of the Internal
    Revenue Code of 1986. H.R. 3838, 99th Cong., sec. 641(e). However, the
    new sentence in the House bill affected only transfers of intangible
    property by United States persons to a foreign corporation; that is, it
    applied only to outbound transfers. Id. Excerpted below is most of the
    Ways & Means Committee report that related to the provision in the
    House bill:

                                 Reasons for Change


          139 Petitioner argues: “Since the Commissioner has no authority under section

    482 when a legal restriction exists, the arm’s length standard as modified by the
    commensurate with income language does not come into play in such a case.”




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                 There is a strong incentive for taxpayers to transfer
          intangibles to related foreign corporations or possessions
          corporations in a low tax jurisdiction, particularly when
          the intangible has a high value relative to manufacturing
          or assembly costs. Such transfers can result in indefinite
          tax deferral or effective tax exemption on the earnings,
          while retaining the value of the earnings in the related
          group.

                 The committee is concerned that the provisions of
          sections 482, 367(d), and 936 that allocate income to a U.S.
          transferor of intangibles may not be operating to assure
          adequate allocations to the U.S. taxable entity of income
          attributable to intangibles in these situations.

                                  Section 482

                 Many observers have questioned the effectiveness of
          the “arm’s length” approach of the regulations under
          section 482. A recurrent problem is the absence of
          comparable arm’s length transactions between unrelated
          parties, and the inconsistent results of attempting to
          impose an arm’s length concept in the absence of
          comparables.

                 A fundamental problem is the fact that the
          relationship between related parties is different from that
          of unrelated parties.        Observers have noted that
          multinational companies operate as an economic unit, and
          not “as if” they were unrelated to their foreign subsidiaries.
          In addition, a parent corporation that transfers potentially
          valuable property to its subsidiary is not faced with the
          same risks as if it were dealing with an unrelated party.
          Its equity interest assures it of the ability ultimately to
          obtain the benefit of future anticipated or unanticipated
          profits, without regard to the price it sets. The relationship
          similarly would enable the parent to adjust its
          arrangement each year, if it wished to do so, to take
          account of major variations in the revenue produced by a
          transferred item.

                The problems are particularly acute in the case of
          transfers of high-profit potential intangibles. Taxpayers




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           may transfer such intangibles to foreign related
           corporations or to possession corporations at an early
           stage, for a relatively low royalty, and take the position
           that it was not possible at the time of the transfers to
           predict the subsequent success of the product. Even in the
           case of a proven high-profit intangible, taxpayers
           frequently take the position that intercompany royalty
           rates may appropriately be set on the basis of industry
           norms for transfers of much less profitable items.

                  Certain judicial interpretations of section 482
           suggest that pricing arrangements between unrelated
           parties for items of the same apparent general category as
           those involved in the related party transfer may in some
           circumstances be considered a “safe harbor” for related
           party pricing arrangements, even though there are
           significant differences in the volume and risks involved, or
           in other factors. See, e.g., United States Steel Corporation
           v. Commissioner, 617 F.2d 942 (2d Cir. 1980).[140] While
           the committee is concerned that such decisions may unduly
           emphasize the concept of comparables even in situations
           involving highly standardized commodities or services, it
           believes that such an approach is sufficiently troublesome
           where transfers of intangibles are concerned that a
           statutory modification to the intercompany pricing rules
           regarding transfers of intangibles is necessary.

                  In many cases firms that develop high profit-
           potential intangibles tend to retain their rights or transfer
           them to related parties in which they retain an equity
           interest in order to maximize their profits. The transferor
           may well be looking in part to the value of its direct or
           indirect equity interest in the related party transferee as

            140 In United States Steel Corp. v. Commissioner, 617 F.2d 942, 945 (2d Cir.

    1980), rev’g T.C. Memo. 1977-140, a U.S. company (i.e., United States Steel) owned a
    Liberian shipping subsidiary. The Liberian company shipped ore for the U.S. company
    at the same rate that it charged to unrelated parties. Id. The Second Circuit held that
    the rates the Liberian company charged the U.S. company were arm’s-length rates
    because they were the same rates charged to unrelated customers. Id. at 947. The
    government had contended that the unrelated-party transactions were infrequent,
    low-volume transactions that were not comparable to the transactions between the
    Liberian company and the U.S. company. Id. at 948, 949, 951. The Second Circuit
    held that the transactions were “similar enough”. Id. at 947.




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          part of the value to be received for the transfer, rather than
          to “arm’s length” factors. Industry norms for transfers to
          unrelated parties of less profitable intangibles frequently
          are not realistic comparables in these cases.

                 Transfers between related parties do not involve the
          same risks as transfers to unrelated parties. There is thus
          a powerful incentive to establish a relatively low royalty
          without adequate provisions for adjustment as the
          revenues of the intangible vary. There are extreme
          difficulties in determining whether the arm’s length
          transfers between unrelated parties are comparable. The
          committee thus concludes that it is appropriate to require
          that the payment made on a transfer of intangibles to a
          related foreign corporation or possessions corporation be
          commensurate with the income attributable to the
          intangible. The committee believes, therefore, that this is
          the measure that should be used under section 367 and
          section 482 in the case of transfers to a foreign corporation.

                     *     *      *     *     *     *      *

                           Explanation of Provisions

                 The basic requirement of the bill is that payments
          with respect to intangibles that a U.S. person transfers to
          a related foreign corporation or possessions corporation
          must be commensurate with the income attributable to the
          intangible.    This approach applies both to outright
          transfers of the ownership of the intangibles (whether by
          sale, contribution to capital, or otherwise), and to licenses
          or other arrangements for the use of intangibles.

                 In making this change, the committee intends to
          make it clear that industry norms or other unrelated party
          transactions do not provide a safe-harbor minimum
          payment for related party intangibles transfers. Where
          taxpayers transfer intangibles with a high profit potential,
          the compensation for the intangibles should be greater
          than industry averages or norms. In determining whether
          the taxpayer could reasonably expect that projected profits
          would be greater than the industry norm, the committee
          intends that there should be taken into account any




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          established pattern of transferring relatively high profit
          intangibles to Puerto Rico or low tax foreign locations.

                 The committee does not intend, however, that the
          inquiry as to the appropriate compensation for the
          intangible be limited to the question of whether it was
          appropriate considering only the facts in existence at the
          time of the transfer.        The committee intends that
          consideration also be given the actual profit experience
          realized as a consequence of the transfer. Thus, the
          committee intends to require that the payments made for
          the intangible be adjusted over time to reflect changes in
          the income attributable to the intangible. The bill is not
          intended to require annual adjustments when there are
          only minor variations in revenues. However, it will not be
          sufficient to consider only the evidence of value at the time
          of the transfer. Adjustments will be required when there
          are major variations in the annual amounts of revenue
          attributable to the intangible.

    H.R. Rept. No. 99-426, at 423-426, 1986-3 C.B. (Vol. 2) 1, 423-426
    (footnotes omitted). We have added emphasis to the particular portions
    of the report referred to by petitioner.

           The conference committee recommended that Congress add the
    sentence that was eventually added to section 482 by the Tax Reform
    Act of 1986. H.R. Conf. Rept. No. 99-841 (Vol. I), at I-504 (1986). The
    conference committee’s report explained this recommendation as
    follows:

                                     Present Law

                 Transfers to related foreign corporations as licenses
          or sales are subject to an “arm’s-length” price standard.
          Uncertainty exists regarding what transfers are
          appropriate to treat as “arm’s-length” comparables and
          regarding the significance of profitability, including major
          changes in profitability of the intangible after the transfer.

                          *      *   *    *    *   *   *

                                     House Bill




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                 Payments with respect to intangibles transferred to
          a foreign related party must be commensurate with the
          income attributable to the intangible. * * *

                          *      *   *    *    *   *   *

                                 Senate Amendment

                No provision.

                               Conference Agreement

                 The conference agreement follows the House bill.
          The concerns addressed in the House bill originated in
          connection with transfers of intangibles from U.S. parties
          to foreign affiliates, particularly those operating in low-tax
          foreign countries. Consequently, the provisions of the
          House bill only were applied to transfers of intangibles
          from U.S. persons to their foreign affiliates. In view of the
          fact that the objective of these provisions--that the division
          of income between related parties reasonably reflect the
          relative economic activity undertaken by each--applies
          equally to inbound transfers, the conferees concluded that
          it would be appropriate for these principles to apply to
          transfers between related parties generally if income must
          otherwise be taken into account.

                 The conferees do not intend to affect present law
          concepts of what constitutes a single “license”, to the extent
          those concepts are not inconsistent with the purposes of the
          new provision. Thus, for example, in the case of continuous
          transfers of technology under a continuing license
          agreement, the adequacy of the royalty may, in appropriate
          cases, be determined by applying the appropriate
          standards under the conference agreement on an aggregate
          basis with respect to the profitability and other relevant
          features of the transferred intangibles as a whole.

                  Similary [sic], the conferees do not intend to change
          principles that would permit offsets or other adjustments
          to reflect the tax impact of the taxpayer’s transactions as a
          whole.




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                  The conferees are also aware that many important
           and difficult issues under section 482 are left unresolved
           by this legislation.     The conferees believe that a
           comprehensive study of intercompany pricing rules by the
           Internal Revenue Service should be conducted and that
           careful consideration should be given to whether the
           existing regulations could be modified in any respect.

    H.R. Conf. Rept. No. 99-841 (Vol. II), at II-637 to II-638 (1986), 1986-3
    C.B. (Vol. 4) 1, 637-638. We have emphasized the three sentences of the
    conference committee report on which petitioner relies. The first
    sentence was quoted by petitioner. The second sentence was cited by
    petitioner and paraphrased by petitioner. The third sentence was
    indirectly referred to by petitioner through its quotation of a passage of
    the Blue Book that alludes to the third sentence. 141
           In the passage excerpted above, the conference committee report
    acknowledged that “many important and difficult issues under section
    482 are left unresolved by this legislation” and stated that “a
    comprehensive study of intercompany pricing rules by the Internal
    Revenue Service should be conducted” and “careful consideration should
    be given to whether the existing regulations could be modified in any
    respect.” H.R. Conf. Rept. No. 99-841 (Vol. II), at II-638, 1986-3 C.B.
    (Vol. 4), at 638. We discuss the resulting study shortly.


           141 The so-called Blue Book for the Tax Reform Act of 1986 was a postenactment

    description of that law by the staff of the Joint Committee on Taxation. Staff of J.
    Comm. on Taxation, General Explanation of the Tax Reform Act of 1986 (J. Comm.
    Print 1987). Petitioner quotes the following sentence from the Blue Book: “Congress
    believed that a comprehensive study of intercompany pricing rules by the Internal
    Revenue Service should be conducted and that careful consideration should be given
    to whether the existing regulations could be modified in any respect.” Id. at 1017. This
    sentence from the Blue Book is evidently a reference to the third sentence that we have
    emphasized in the excerpt from the conference report.
           While we are on the topic of the Blue Book, we observe that petitioner quotes
    two other sentences from the Blue Book in support of its argument. These are the two
    sentences:
                    Congress intended that consideration also be given to the
            actual profit experience realized as a consequence of the transfer.
            Thus, Congress intended to require that the payments made for the
            intangible be adjusted over time to reflect changes in the income
            attributable to the intangible. * * *
    Id. at 1016. A similar statement is found in the House Ways & Means Committee
    report that we excerpted earlier in this Opinion. H.R. Rept. No. 99-426, at 425-426
    (1985), 1986-3 C.B. (Vol. 2) 1, 425-426.




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           The 1968 regulations--which related to section 482 of the Internal
    Revenue Code of 1954--seemingly carried over to section 482 of the
    Internal Revenue Code of 1986. 142 The first sentence of section 482 of
    the Internal Revenue Code of 1986 was the same as section 482 of the
    Internal Revenue Code of 1954. Thus, it would make sense that the
    1968 regulations would be valid as to section 482 of the Internal
    Revenue Code of 1986, unless such regulations were inconsistent with
    the second sentence of section 482 of the Internal Revenue Code of
    1986. 143 Our (admittedly limited) research does not reveal any
    successful challenge to the validity of the 1968 regulations on grounds
    that they were inconsistent with the second sentence of section 482 of
    the Internal Revenue Code of 1986.

           As the conference committee report suggested, the Treasury
    Department and the IRS conducted a study of intercompany pricing
    rules. This study, which was published as Notice 88-123, 1988-2 C.B.
    458, is also known as the “White Paper”. Altera Corp. & Subs. v.
    Commissioner, 145 T.C. 91, 98 (2015), rev’d, 926 F.3d 1061 (9th Cir.
    2019). The White Paper discussed various transfer-pricing problems
    involving services, tangible property, and intangible property. Notice
    88-123, 1988-2 C.B. at 468. However, it did not discuss the effect of
    foreign legal restrictions on transfer pricing. With respect to intangible
    property, the White Paper observed that under the 1968 regulations
    (1) the best indication of arm’s-length consideration was comparable
    transactions and (2) in the absence of comparable transactions, 12
    factors were to be taken into account in determining arm’s-length
    consideration. Id., 1988-2 C.B. at 460. The White Paper stated that the
    1968 final regulations provided little or no guidance on the relative
    importance of particular factors. Id. The White Paper stated that for a
    transfer price for intangible property to meet the commensurate-with-
    income standard, adjustment must generally be made to the transfer
    price to reflect changes to the income stream, economic activities


            142 As explained in greater detail later, in 1992 the Treasury Department
    issued proposed regulations under sec. 482 of the Internal Revenue Code of 1986. 57
    Fed. Reg. 3571 (Jan. 30, 1992). See infra part II.KK. The notice of proposed
    rulemaking referred to the 1968 regulations, with amendments, as “the existing
    regulations”, 57 Fed. Reg. 3572, thus implying that the 1968 regulations had carried
    over to sec. 482 of the Internal Revenue Code of 1986.
            143 If a statute is amended so as to be inconsistent with a prior regulation, the

    regulation is no longer binding. See Zeta Beta Tau Fraternity, Inc. v. Commissioner,
    87 T.C. 421, 433 (1986).




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    performed, assets employed, and economic costs and risks borne. Id. at
    477. The White Paper also recommended that methods of pricing
    intangible property should include, in the absence of comparable
    transactions, a rate-of-return-on-assets analysis and a profit-split
    analysis. Id. at 485-493. The White Paper discussed the legislative
    history of the commensurate-with-income sentence added to section 482
    in 1986. Id. at 472. In its briefs, petitioner quotes one of the paragraphs
    from the White Paper’s discussion of legislative history of the
    commensurate-with-income sentence. This is the quoted paragraph:

                 The 1986 Act amended section 482 to require that
          payments to a related party with respect to a licensed or
          transferred intangible be “commensurate with the
          income”122 attributable to the intangible. The provision
          applies to both manufacturing and marketing
          intangibles.123 The legislative history clearly indicates
          Congressional concern that the arm’s length standard as
          interpreted in case law has failed to allocate to U.S. related
          parties appropriate amounts of income derived from
          intangibles.124 The amendment is a clarification of prior
          law. Accordingly, it should not be assumed that the Service
          will cease taking positions that it may have taken under
          prior law.
                 122 (e) Treatment of Certain Royalty Payments.--


              (1) In General.--Section 482 (relating to allocation of income
              and deductions among taxpayers) is amended by adding at the
              end thereof the following new sentence: “In the case of any
              transfer (or license) of intangible property (within the meaning
              of section 936(h)(3)(B)), the income with respect to such
              transfer or license shall be commensurate with the income
              attributable to the intangible.”

              (2) Technical Amendment.--Subparagraph (A) of section
              367(d)(2) (relating to transfers of intangibles treated as
              transfer pursuant to sale for contingent payments) is amended
              by adding at the end thereof the following new sentence: “The
              amounts taken into account under clause (ii) shall be
              commensurate with the income attributable to the intangible.”

          Sec. 1231(e)(1), Tax Reform Act of 1986, 100 Stat. 2085 (1986).
                 123 For this purpose, intangibles are broadly defined by

          reference to section 936(h)(3)(B) under which intangible property
          includes any:




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               (i) patent, invention, formula, process, design, pattern, or
               know-how;

               (ii) copyright, literary, musical, or artistic composition;

               (iii) trademark, trade name, or brand name;

               (iv) franchise, license, or contract;

               (v) method, program, system, procedure, campaign, survey,
               study, forecast, estimate, customer list, or technical data; or

               (vi) any similar item,

           which has substantial value independent of the services of any
           individual. See also Treas. Reg. § 1.482-2(d)(3)(ii) and Rev. Rul. 64-56,
           1964-1 C.B. 113, regarding the treatment of know-how as property in
           a section 351 transfer.
                    124 1985 House Rep., supra n.47, at 420-427; 1986 Conf. Rep.,

           supra n.2, at II-637 to II-638. Several commentators have suggested
           that the phrase “commensurate with income” derives from Nestle Co.,
           Inc. v. Comm’r, T.C. Memo. 1963-14, where the Tax Court sanctioned
           a taxpayer’s post-agreement increase in royalties paid by an affiliate
           for a very profitable intangible license. The opinion states that “[s]o
           long as the amount of the royalty paid was commensurate with the
           value of the benefits received and was reasonable, we would not be
           inclined to, nor do we think we would be justified to, conclude that the
           increased royalty was something other than what it purported to be.”
           (Emphasis in White Paper). There is, however, nothing in the
           legislative record to indicate that this is the case or to indicate
           Congressional approval or disapproval of the result in Nestle.

    Notice 88-123, 1988-2 C.B. at 472. 144 The White Paper also stated that
    the “commensurate with income” sentence added to section 482 in 1986
    “requires that changes be made to the transfer payments to reflect
    substantial changes in the income stream attributable to the intangible
    as well as substantial changes in the economic activities performed,
    assets employed, and economic costs and risks borne by related entities.”

           144 There is another portion of the White Paper that discusses the purpose of

    the commensurate-with-income sentence. This portion of the White Paper, which is
    not quoted or cited by petitioner, states:
           Looking at the income related to the intangible and splitting it
           according to relative economic contributions is consistent with what
           unrelated parties do. The general goal of the commensurate with
           income standard is, therefore, to ensure that each party earns the
           income or return from the intangible that an unrelated party would
           earn in an arm’s length transfer of the intangible.
    Notice 88-123, 1988-2 C.B. 458, 472.




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    Id. at 477. The White Paper stated that the 1986 amendment was a
    “Congressional directive to the Service to make adjustments to
    intangible returns that reflect the actual profit experience” and that the
    amendment was in part a legislative rejection of R.T. French Co. v.
    Commissioner, 60 T.C. 836 (1973), a case the White Paper said had
    “endorsed the view that a long-term, fixed rate royalty agreement could
    not be adjusted under section 482 based on subsequent events that were
    not known to the parties at the original contract date.” Notice 88-123,
    1988-2 C.B. at 477. 145

            JJ.      The 1988 amendment to section 7805 regarding temporary
                     regulations

            In 1988, Congress added section 7805(e), which provided:

            SEC. 7805(e). Temporary Regulations.--

                        (1) Issuance.--Any temporary regulation
                  issued by the Secretary shall also be issued as a
                  proposed regulation.

                         (2)   3-year     duration.--Any    temporary
                  regulation shall expire within 3 years after the date
                  of issuance of such regulation.

    Sec. 7805(e), as amended by the Technical and Miscellaneous Revenue
    Act of 1988 (TAMRA), Pub. L. No. 100-647, sec. 6232(a), 102 Stat. at
    3734. The 1988 amendment applied to “any regulation issued after”
    November 20, 1988. TAMRA sec. 6232(b), 102 Stat. at 3735.

            KK.      The 1992 notice of proposed rulemaking

           On January 30, 1992 the Federal Register published a notice of
    proposed rulemaking that proposed income tax regulations related to
    intercompany transfer pricing under section 482 of the Internal
    Revenue Code of 1986. 57 Fed. Reg. 3571 (Jan. 30, 1992).

           The 1992 notice of proposed rulemaking discussed the legislative
    history of the commensurate-with-income sentence that had been added
    to section 482 by the Tax Reform Act of 1986. 57 Fed. Reg. 3571.

            145 For a discussion of R.T. French Co. v. Commissioner, 60 T.C. 836 (1973), see

    Reuven S. Avi-Yonah, “The Rise and Fall of Arm’s Length: A Study in the Evolution of
    U.S. International Taxation”, 15 Va. Tax Rev. 89, 113-114 (1995).




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    Initially, the 1992 notice of proposed rulemaking made the following
    statement:

           The legislative history of the Act states that this change
           was intended to assure that the division of income between
           related parties reasonably reflects the economic activities
           each undertakes. See H.R. Rep. 99-281, 99th Cong., 2d
           Sess. (1986) at II-637.

    Id. The citation of “H.R. Rep. 99-281, 99th Cong., 2d Sess. (1986) at II-
    637” was apparently an error. The cited report, H.R. Rept. No. 99-281,
    appears to be unrelated to tax law. 146 The House report that was related
    to the Tax Reform Act of 1986 was H.R. Rept. No. 99-426, a report
    written by the House Ways & Means Committee. However, nothing in
    H.R. Rept. No. 99-426 appears to correspond to the content attributed to
    “H.R. Rep. 99-281, 99th Cong., 2d Sess. (1986) at II-637” in the 1992
    notice of proposed rulemaking. Instead, the 1992 notice of proposed
    rulemaking probably meant to cite H.R. Conf. Rept. No. 99-841 (Vol. II),
    at II-637. This is the conference committee report that was related to
    the Tax Reform Act of 1986. Its content corresponds to the discussion of
    “H.R. Rep. 99-281, 99th Cong., 2d Sess. (1986) at II-637” in the 1992
    notice of proposed rulemaking. This discussion refers to dividing income
    so as to reflect economic activities. 147
           The 1992 notice of proposed rulemaking stated that the
    legislative history of the commensurate-with-income sentence “also
    expresses concern” about the improper use of comparables, including
    with respect to intangible property with high profit potential. 57 Fed.
    Reg. 3571 (citing the House Ways & Means Committee report, H.R.
    Rept. No. 99-426, at 424).

          The 1992 notice of proposed rulemaking stated that the
    “Conference Committee report” also had recommended that the IRS
    study the question of whether the regulations under section 482 should

           146 However, we acknowledge that some secondary sources discussing sec. 482

    of the Internal Revenue Code of 1986 have also referred to “H.R. 99-281, 99th Cong.,
    2d Sess. (1986).” Yariv Brauner, “Cost Sharing and the Acrobatics of Arm’s Length
    Taxation”, 38 Intertax 544, 557 (2010); Joel B. Rosenberg & Barbara N. McLennan,
    “Technology, Licensing, and Economic Issues in Transfer Pricing”, 3 Corp. Bus. Tax’n
    Monthly 10, 19-20 (January 2002).
              147 The conference committee report stated that “the objective of these

    provisions” is “that the division of income between related parties reasonably reflect
    the relative economic activity undertaken by each”. H.R. Conf. Rept. No. 99-841 (Vol.
    II), at II-637 (1986), 1986-3 C.B. (Vol. 4) 1, 637.




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    be modified. 57 Fed. Reg. 3571. This was obviously a reference to H.R.
    Conf. Rept. No. 99-841 (Vol. II), at II-637 to II-638, the conference
    committee report related to the Tax Reform Act of 1986.

           The 1992 proposed regulations contained no change to section
    1.482-1(d)(6) of the 1968 regulations relating to the deferred-income
    method of accounting for payments that would be barred by foreign legal
    restrictions, 33 Fed. Reg. 5849 (Apr. 16, 1968), 26 C.F.R. sec. 1.482-
    1(d)(6) (1969); 26 C.F.R. sec. 1.482-1(d)(6) (1992) (same as 1969 edition).

          The 1992 proposed regulations made no change to the “complete-
    power” sentence, or the sentence thereafter, in the 1968 regulations. 57
    Fed. Reg. 3578. These two sentences in the 1968 regulation were:

            The interests controlling a group of controlled taxpayers
            are assumed to have complete power to cause each
            controlled taxpayer so to conduct its affairs that its
            transactions and accounting records truly reflect the
            taxable income from the property and business of each of
            the controlled taxpayers. If, however, this has not been
            done, and the taxable incomes are thereby understated, the
            district director shall intervene, and, by making such
            distributions, apportionments, or allocations as he may
            deem necessary of gross income, deductions, credits, or
            allowances, or of any item or element affecting taxable
            income, between or among the controlled taxpayers
            constituting the group, shall determine the true taxable
            income of each controlled taxpayer. * * *

    26 C.F.R. sec. 1.482-1(b)(1) (1969) (1968 regulations); 148 26 C.F.R. sec.
    1.482-1(b)(1) (1992) (same as 1969 edition). Similar sentences had been
    in the regulations since 1934. See art. 45-1(b), Regulations 86 (1934). 149

           The 1992 proposed regulations made no changes to the definition
    of “controlled” in the 1968 regulations. 26 C.F.R. sec. 1.482-1(a)(3)

            148 No changes were made to sec. 1.482-1 of the 1968 regulations from (1) the

    promulgation of the 1968 amendments to sec. 1.482-1 of the regulations by Treasury
    Decision 6952, 33 Fed. Reg. 5848, on April 16, 1968, to (2) the publication of the 1969
    edition of 26 C.F.R. See 26 C.F.R. sec. 1.482-1 (1969) (historical notes).
             149 Before 1962 the phrase “the district director shall intervene” had been “the

    statute contemplates that the Commissioner shall intervene”. 26 C.F.R. sec. 39.45-
    1(b)(1) (1953).




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    (1969); 26 C.F.R. sec. 1.482-1(a)(3) (1992) (same as 1969 edition). This
    definition had been in the regulations since 1934. See art. 45-1(a)(3),
    Regulations 86 (1934).

           The 1992 proposed regulations made no changes to the definition
    of “true taxable income” in the 1968 regulations. 26 C.F.R. sec. 1.482-
    1(a)(6) (1969); 26 C.F.R. sec. 1.482-1(a)(6) (1992) (same as 1969 edition).
    A similar term--with a similar definition--had been in the regulations
    since 1934. See art. 45-1(a)(6), Regulations 86 (1934) (defining “true net
    income”).

           The 1992 proposed regulations made no changes to the tax-parity
    sentence in the 1968 regulations. This 1968 sentence was: “The purpose
    of section 482 is to place a controlled taxpayer on a tax parity with an
    uncontrolled taxpayer, by determining, according to the standard of an
    uncontrolled taxpayer, the true taxable income from the property and
    business of a controlled taxpayer.” 26 C.F.R. sec. 1.482-1(b)(1) (1969);
    26 C.F.R. sec. 1.482-1(b)(1) (1992) (same as 1969 edition). A similar
    sentence regarding tax-parity had been in the regulations since 1934.
    See art. 45-1(b), Regulations 86 (1934).

           The 1992 proposed regulations made no changes to the sentence
    in the 1968 regulations that imposed the arm’s-length standard. This
    sentence was: “The standard to be applied in every case is that of an
    uncontrolled taxpayer dealing at arm’s length with another uncontrolled
    taxpayer.” 26 C.F.R. sec. 1.482-1(b)(1) (1969); 26 C.F.R. sec. 1.482-
    1(b)(1) (1992) (same text as 1969 edition). This sentence had been in the
    regulations since 1934. Art. 45-1(b), Regulations 86 (1934).

           The 1992 proposed regulations contained the following addition
    relating to the arm’s-length standard and the commensurate-with-
    income standard:

          In determining whether controlled taxpayers have dealt
          with each other at arm’s length, the general principle to be
          followed is whether uncontrolled taxpayers, each
          exercising sound business judgment on the basis of
          reasonable levels of experience (or, if greater, the actual
          level of experience of the controlled taxpayer) within the
          relevant industry and with full knowledge of the relevant
          facts, would have agreed to the same contractual terms
          under the same economic conditions and other
          circumstances. * * * In the case of any transfer of an




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            intangible between or among controlled taxpayers, the true
            taxable income of the transferor with respect to such
            transfer must be commensurate with the income
            attributable to the intangible. See § 1.482-2(d).

    Sec. 1.482-1(b)(1), Proposed Income Tax Regs., 57 Fed. Reg. 3578-3579
    (Jan. 30, 1992).

           The 1992 proposed regulations also contained proposed
    replacements to the transfer-pricing rules applicable to intangible
    property in section 1.482-2(d) of the 1968 regulations. 33 Fed. Reg. 5852
    (Apr. 16, 1968); 26 C.F.R. sec. 1.482-2(d) (1992) (1968 regulations at the
    time of the 1992 proposed regulations); 150 sec. 1.482-2(d), Proposed
    Income Tax Regs., 57 Fed. Reg. 3579-3585 (Jan. 30, 1992) (1992
    proposed regulations); 57 Fed. Reg. 3572 (Jan. 30, 1992) (explanation of
    1992 proposed regulations). Under the 1992 proposed regulations, one
    of three methods would be used to determine the transfer price of
    intangible property: the matching-transaction method, the comparable-
    adjustable-transaction method, or the comparable-profit-interval
    method. Sec. 1.482-2(d)(3), (4), and (5), Proposed Income Tax Regs., 57
    Fed. Reg. 3580-3584 (Jan. 30, 1992). The 1992 proposed regulations also
    proposed the following rule regarding annual adjustments: “If an
    intangible is transferred under an arrangement with a term covering
    more than one taxable year, the consideration charged in each taxable
    year may be adjusted to assure that it is commensurate with the income
    attributable to the intangible.” Sec. 1.482-2(d)(6)(i), Proposed Income
    Tax Regs., 57 Fed. Reg. 3584. The 1992 proposed regulations included
    a paragraph on cost-sharing agreements. Sec. 1.482-2(g), Proposed
    Income Tax Regs., 57 Fed. Reg. 3595-3601.              This paragraph’s
    counterpart in the 1968 regulations was section 1.482-2(d)(4). 33 Fed.
    Reg. 5854 (Apr. 16, 1968); 26 C.F.R. sec. 1.482-2(d)(4) (1992) (1968
    regulations at the time of the 1992 proposed regulations).

          The 1992 proposed regulations also proposed modifications to the
    rules with regard to tangible property in section 1.482-2(e) of the 1968
    regulations. 33 Fed. Reg. 5854-5857 (Apr. 16, 1968) (1968 regulations),

             150 Between the 1968 promulgation of sec. 1.482-2 of the regulations related to

    sec. 482 of the Internal Revenue Code of 1954 and the publication of the 1992 edition
    of title 26 of the Code of Federal Regulations, ten amendments were made to section
    1.482-2 of the regulations. See 26 C.F.R. sec. 1.482-2 (1992) (historical notes). Some
    of the amendments were made before sec. 482 of the Internal Revenue Code of 1954
    was redesignated sec. 482 of the Internal Revenue Code of 1986. Some were made
    after the redesignation.




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    26 C.F.R. sec. 1.482-2(e) (1992) (1968 regulations at the time of the 1992
    proposed regulations); sec. 1.482-2(e), Proposed Income Tax Regs., 57
    Fed. Reg. 3585-3586 (1992 proposed regulations); 57 Fed. Reg. 3574
    (explanation of the 1992 proposed regulations). Under the proposed
    modifications, a comparable-profit-interval method would serve as a
    check on methods other than the comparable-uncontrolled-price
    method. Sec. 1.482-2(e), Proposed Income Tax Regs., 57 Fed. Reg. 3585-
    3586 (1992 proposed regulations); 57 Fed. Reg. 3574 (explanation of the
    1992 proposed regulations). It has been said that the “most significant”
    change proposed in the 1992 proposed regulations was the introduction
    of the comparable-profit-interval method for transfers of intangible and
    tangible property. Bobbe Hirsch, Alan S. Lederman, & John M. Hughes,
    “Final Transfer Pricing Regulations Restate Arm’s Length Principle”, 72
    Taxes 587, 588 (1994).

          The 1992 proposed regulations were proposed to be effective--as a
    general rule--for tax years beginning after December 31, 1992. 57 Fed.
    Reg. 3601. The 1992 notice of proposed rulemaking invited the public
    to send comments on the 1992 proposed regulations to respondent. 57
    Fed. Reg. 3578. It also invited the public to request a public hearing on
    the proposed regulations and stated that if such a request was received,
    a public hearing would be held and advance notice of the hearing would
    be published in the Federal Register. 57 Fed. Reg. 3578. The parties
    have not directed us to any record of a public hearing regarding the 1992
    proposed regulations.

           LL.    The 1993 temporary regulations                 and    the    1993
                  redesignation of the 1968 regulations

           On January 21, 1993, the Treasury Department issued Treasury
    Decision 8470, which was published in the Federal Register at 58 Fed.
    Reg. 5263. Treasury Decision 8470 did two things. First, it created
    temporary regulations under section 482 of the Internal Revenue Code
    of 1986 (26 C.F.R. secs. 1.482-1T through -7T (1994)) which were
    generally effective for tax years beginning after April 21, 1993. Id. sec.
    -1T(h) (1994) (effective date). 151 Second, it redesignated the 1968
    regulations (including subsequent amendments) and made them
    effective for tax years beginning on or before April 21, 1993. 26 C.F.R.
    secs. 1.482-1A and -2A (1994); T.D. 8470, para. 1a, 58 Fed. Reg. 5271
    (employing the heading “Regulations Applicable for Taxable Years

           151 As explained later, 26 C.F.R. sec. 1.482-6T (1994) had no text. It was

    reserved for future regulations.




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    Beginning on or Before April 21, 1993” for sections 1.482-1A and -2A);
    58 Fed. Reg. 17775 (Apr. 6, 1993) (“The temporary regulations are
    generally effective for taxable years beginning after April 21, 1993.
    Regulations §§ 1.482-1 and 1.482-2, promulgated in 1968, were
    redesignated as §§ 1.482-1A and 1.482-2A, and are effective for taxable
    years beginning on or before April 21, 1993.”).

           Treasury Decision 8470 contained errors that were later corrected
    in the Federal Register in three sets of corrections. 58 Fed. Reg. 17775
    (Apr. 6, 1993); 58 Fed. Reg. 28446 (May 13, 1993); 58 Fed. Reg. 28921
    (May 18, 1993). The first set of corrections related to both the 1993
    temporary regulations and the redesignation of the 1968 regulations. 58
    Fed. Reg. 17775 (Apr. 6, 1993). The second and third sets of corrections
    related only to the 1993 temporary regulations. 58 Fed. Reg. 28446
    (May 13, 1993); 58 Fed. Reg. 28921 (May 18, 1993).

           The changes to the section 482 regulations made by Treasury
    Decision 8470 (as corrected) were reflected in codified regulations
    published in the 1994 edition of the Code of Federal Regulations. 152 In
    explaining the changes made by Treasury Decision 8470 (and its
    corrections), we will refer to the codified regulations that were published
    in the 1994 edition of the Code of Federal Regulations (which reflected
    the changes made by Treasury Decision 8470 and its corrections) rather
    than the text of Treasury Decision 8470 (and its corrections) printed in
    the Federal Register.




            152 Recall that the changes made by Treasury Decision 8470 to the sec. 482

    regulations include both the creation of the 1993 temporary regulations and the
    redesignation of the 1968 regulations.




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           Whereas the 1992 proposed regulations would have modified
    some parts of the 1968 regulations and would have left some parts of the
    1968 regulations intact, the 1993 temporary regulations were a
    comprehensive set of regulations replacing the 1968 regulations in their
    entirety. See T.D. 8552, 59 Fed. Reg. 34972 (July 8, 1994) (preamble to
    final 1994 regulations). Section 1.482-1T set forth general transfer-
    pricing rules governing all types of transactions. 26 C.F.R. sec. 1.482-
    1T (1994).      Specific types of transactions were dealt with in
    sections -2T(a) (loans); -2T(b) (services); -2T(c) (use of tangible property);
    -3T (transfers of tangible property); -4T (transfers of intangible
    property); -5T (comparable-profits method relating to transfer of
    tangible and intangible property); and -7T (cost-sharing agreements).
    26 C.F.R. secs. 1.482-2T, 3T, -4T, -5T, -7T (1994). Section 1.482-6T was
    marked as reserved for future regulations regarding the profit-split
    method. 26 C.F.R. sec. 1.482-6T (1994).

           Recall that section 1.482-2 of the 1968 regulations had been
    divided into the following five paragraphs: (a) loans, (b) services, (c) use
    of tangible property, (d) transfer or use of intangible property, and
    (e) sales of tangible property. 26 C.F.R. sec. 1.482-2 (1992). The first
    three paragraphs ((a), (b), and (c)) were copied verbatim to the 1993
    temporary regulations. 26 C.F.R. sec. 1.482-2T(a) through (c) (1994)
    (1993 temporary regulations).

           Paragraph (d) of section 1.482-2 of the 1968 regulations had dealt
    with the transfer or use of intangible property. 26 C.F.R. sec. 1.482-2(d)
    (1992). Paragraph (d) included subparagraph (4) regarding cost-sharing
    agreements. 26 C.F.R. sec. 1.482-2(d)(4) (1992). The counterparts to
    paragraph (d) of section 1.482-2 of the 1968 regulations were sections
    1.482-4T (transfer of intangible property) and -7T (cost-sharing
    agreements) of the 1993 temporary regulations. 26 C.F.R. secs. 1.482-
    4T, -7T (1994). Section 1.482-7T of the 1993 temporary regulations
    regarding cost-sharing agreements was substantively the same as
    section 1.482-2(d)(4) of the 1968 regulations. 26 C.F.R. sec. 1.482-7T
    (1994) (1993 temporary regulations); 26 C.F.R. sec. 1.482-2(d)(4) (1992)
    (1968 regulations); see 58 Fed. Reg. 17775 (Apr. 6, 1993) (“[T]he 1968
    regulations cost sharing provisions * * * will continue to apply as
    § 1.482-7T during the period before further action is taken on the 1992
    proposed cost sharing regulations.”); 59 Fed. Reg. 34987 (July 8, 1994)
    (stating that the 1993 temporary regulations relating to cost sharing
    incorporated the text of the 1968 regulations). However, the 1993
    provisions were different from the 1992 proposed regulations on cost-




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    sharing agreements. Sec. 1.482-2(g), Proposed Income Tax Regs., 57
    Fed. Reg. 3595-3601 (Jan. 30, 1992).

           Paragraph (e) of section 1.482-2 of the 1968 regulations dealt with
    sales of tangible property. 26 C.F.R. sec. 1.482-2(e) (1992) (1968
    regulations). Its counterpart in the 1993 temporary regulations was
    section 1.482-3T. 26 C.F.R. sec. 1.482-3T (1994) (1993 temporary
    regulations).

           The 1993 temporary regulations replaced the passage containing
    the “complete-power” sentence in the 1968 regulations, a passage that
    had existed in various forms in the regulatory scheme since 1934. This
    passage in the 1968 regulations had been:

          The interests controlling a group of controlled taxpayers
          are assumed to have complete power to cause each
          controlled taxpayer so to conduct its affairs that its
          transactions and accounting records truly reflect the
          taxable income from the property and business of each of
          the controlled taxpayers. If, however, this has not been
          done, and the taxable incomes are thereby understated, the
          district director shall intervene, and, by making such
          distributions, apportionments, or allocations as he may
          deem necessary of gross income, deductions, credits, or
          allowances, or of any item or element affecting taxable
          income, between or among the controlled taxpayers
          constituting the group, shall determine the true taxable
          income of each controlled taxpayer. * * *

    26 C.F.R. sec. 1.482-1(b)(1) (1992) (1968 regulations). In the 1993
    temporary regulations, the passage was replaced by the following
    provision: “If a controlled taxpayer has not reported its true taxable
    income, the district director may make allocations between or among the
    members of a controlled group. In such cases, the district director may
    allocate income, deductions, credits, allowances, basis, or any other item
    or element affecting taxable income (referred to as “allocations”). 26
    C.F.R. sec. 1.482-1T(a)(2) (1994) (1993 temporary regulations). The
    complete-power sentence was therefore eliminated in the 1993
    temporary regulations.

          The 1993 temporary regulations replaced the definition of
    “controlled” in the 1968 regulations with a similar definition. See 26




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    C.F.R. sec. 1.482-1(a)(3) (1992) (1968 regulations). The 1993 temporary
    regulations provided:

          Controlled includes any kind of control, direct or indirect,
          whether legally enforceable, and however exercisable or
          exercised. It is the reality of the control that is decisive,
          not its form or the mode of its exercise. A presumption of
          control arises if income or deductions have been arbitrarily
          shifted as a result of the actions of two or more taxpayers
          acting in concert or with a common goal or purpose.

    26 C.F.R. sec. 1.482-1T(g)(4) (1994) (1993 temporary regulations).

           The 1993 temporary regulations defined a “group of controlled
    taxpayers” as “the taxpayers owned or controlled directly or indirectly
    by the same interests.” 26 C.F.R. sec. 1.482-1T(g)(6) (1994) (1993
    temporary regulations); cf. 26 C.F.R. sec. 1.482-1(a)(5) (1992) (1968
    regulations) (defining a “group of controlled taxpayers” as “the
    organizations, trades, or businesses owned or controlled directly or
    indirectly by the same interests”).

          The 1993 temporary regulations created the concept of a
    “controlled transaction”. A “controlled transaction” was defined as “any
    transaction * * * between two or more members of the same group of
    controlled taxpayers.” 26 C.F.R. sec. 1.482-1T(g)(8) (1994) (1993
    temporary regulations).

          The 1993 temporary regulations replaced the definition of “true
    taxable income” in the 1968 regulations. See 26 C.F.R. sec. 1.482-1(a)(6)
    (1992) (1968 regulations). The 1993 temporary regulations provided:
    “True taxable income means, in the case of a controlled taxpayer, the
    taxable income that would have resulted had it dealt with the other
    member or members of the group at arm’s length.” 26 C.F.R. sec. 1.482-
    1T(g)(9) (1994) (1993 temporary regulations).

           The 1993 temporary regulations modified the tax-parity sentence
    in the 1968 regulations. The 1968 regulations had stated: “The purpose
    of section 482 is to place a controlled taxpayer on a tax parity with an
    uncontrolled taxpayer, by determining, according to the standard of an
    uncontrolled taxpayer, the true taxable income from the property and
    business of a controlled taxpayer.” 26 C.F.R. sec. 1.482-1(b)(1) (1992)
    (1968 regulations). By contrast, the 1993 temporary regulations stated:
    “The purpose of section 482 is to ensure that taxpayers clearly reflect




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    income attributable to controlled transactions, and to prevent the
    avoidance of taxes with respect to such transactions. Section 482 places
    a controlled taxpayer on a tax parity with an uncontrolled taxpayer by
    determining the true taxable income of the controlled taxpayer in a
    manner that reasonably reflects the relative economic activity
    undertaken by each taxpayer.” 26 C.F.R. sec. 1.482-1T(a)(1) (1994)
    (1993 temporary regulations).

           The 1993 temporary regulations replaced the following sentence
    in the 1968 regulations imposing the arm’s-length standard: “The
    standard to be applied in every case is that of an uncontrolled taxpayer
    dealing at arm’s length with another uncontrolled taxpayer.” 26 C.F.R.
    sec. 1.482-1(b)(1) (1992) (1968 regulations). The new sentence in the
    1993 temporary regulations was: “In determining the true taxable
    income of a controlled taxpayer, the standard to be applied in every case
    is that of a taxpayer dealing at arm’s length with an uncontrolled
    taxpayer.” 26 C.F.R. sec. 1.482-1T(b)(1) (1994) (1993 temporary
    regulations).

           The 1993 temporary regulation did not adopt the additional text
    in the 1992 proposed regulation relating to the arm’s-length standard
    and the commensurate-with-income standard.            Sec. 1.482-1(b)(1),
    Proposed Income Tax Regs., 57 Fed. Reg. 3578-3579 (Jan. 30, 1992).
    Instead, the 1993 temporary regulation adopted the following sentence:
    “A controlled transaction meets the arm’s length standard if the results
    of that transaction are consistent with the results that would have been
    realized if uncontrolled taxpayers had engaged in a comparable
    transaction under comparable circumstances.” 26 C.F.R. sec. 1.482-
    1T(b)(1) (1994) (1993 temporary regulations).

           The         matching-transaction   and      comparable-adjustable-
    transaction methods for determining the transfer prices of intangible
    property in the 1992 proposed regulations were combined into a single
    comparable-uncontrolled-transaction method in the 1993 temporary
    regulations. See T.D. 8470, 58 Fed. Reg. 5269 (Jan. 21, 1993) (preamble
    to 1993 temporary regulations); 26 C.F.R. 1.482-4T(c) (1994) (1993
    temporary regulations); 26 C.F.R. sec. 1.482-2(d)(2)(iii), Proposed
    Income Tax Regs., 57 Fed. Reg. 3580 (Jan. 30, 1992). Instead of the
    comparable-profit-interval method for tangible and intangible property
    described in the 1992 proposed regulations (sec. 1.482-2(d)(5), Proposed
    Income Tax Regs., 57 Fed. Reg. 3583-3584 (Jan. 30, 1992); sec. 1.482-
    2(e)(1)(iii), (f), Proposed Income Tax Regs., 57 Fed. Reg. 3586-3595 (Jan.
    30, 1992)), the 1993 temporary regulations described a comparable-




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    profit method that was broadly similar to the comparable-profit-interval
    method. 26 C.F.R. sec. 1.482-5T (1994) (1993 temporary regulations);
    T.D. 8552, 59 Fed. Reg. 34974 (July 8, 1994) (preamble to 1994 final
    regulations). The comparable-profit method, unlike the comparable-
    profit-interval method in the 1992 proposed regulations, did not serve
    as a mandatory check on other methods. 26 C.F.R. sec. 1.482-3T(a)(1)
    (1994) (1993 temporary regulations); sec. 1.482-2(e)(1)(iii), Proposed
    Income Tax Regs., 57 Fed. Reg. 3586 (Jan. 30, 1992); Hirsch et al., supra,
    at 588 (“The mandatory CPI check was deleted, while a comparable
    profits method (CPM), similar to the CPI, was introduced as a specified
    method for transfer of either tangible or intangible property.”).

           Section 1.482-4T(e)(2)(i) of the 1993 temporary regulations had
    the following provision: “If an intangible is transferred under an
    arrangement that covers more than one year, the consideration charged
    in each taxable year may be adjusted to ensure that it is commensurate
    with the income attributable to the intangible. Adjustments made
    pursuant to this paragraph (e)(2) shall be consistent with the arm’s
    length standard and the provisions of § 1.482-1T.” 26 C.F.R. sec. 1.482-
    4T(e)(2)(i) (1994) (1993 temporary regulations). The first sentence of the
    provision was similar to a sentence in the 1992 proposed regulations.
    Sec. 1.482-2(d)(6)(i), Proposed Income Tax Regs., 57 Fed. Reg. 3584 (Jan.
    30, 1992). The second sentence of the provision had no counterpart in
    the 1992 proposed regulations. Id. The preamble to the 1993 temporary
    regulations explained the provision as follows: “Section 1.482-4T(e)(2)(i)
    provides that if an intangible is transferred for a period in excess of one
    year, the consideration charged is generally subject to annual
    adjustment to ensure that it is commensurate with the income
    attributable to the intangible. This provision is required by the 1986
    amendment to section 482.” 58 Fed. Reg. 5270 (Jan. 21, 1993).

           The 1993 temporary regulations did not contain any rules
    comparable to section 1.482-1(d)(6) of the 1968 regulations (26 C.F.R.
    sec. 1.482-1(d)(6) (1969)), which governed the deferred-income method
    of accounting for payments prevented by foreign legal restrictions. 153
    The 1993 temporary regulations did not contain any rules regarding the
    effect of foreign legal restrictions on section 482 allocations. The 1993

            153 Under the structure imposed by Treasury Decision 8470, sec. 1.482- 1(d)(6)

    of the 1968 regulations (26 C.F.R. sec. 1.482-1(d)(6) (1969)) had been redesignated 26
    C.F.R. sec 1.482-1A(d)(6) (1994), and applied only for tax years beginning on or before
    April 21, 1993. T.D. 8470, para. 1a, 58 Fed. Reg. 5271 (Jan. 21, 1993); 58 Fed. Reg.
    17775 (Apr. 6, 1993).




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    temporary regulations contained a placeholder for such rules in section
    1.482-1T(f)(2), which had the heading “Effect of Foreign legal
    restrictions” and the text “[Reserved]”. 26 C.F.R. sec. 1-482-1T(f)(2)
    (1994) (1993 temporary regulations).

          The preamble to the 1993 temporary regulations, T.D. 8470, 58
    Fed. Reg. 5264 (Jan. 21, 1993), stated that the 1993 temporary
    regulations were needed immediately to provide guidance to the public
    and that therefore it was impractical and contrary to the public interest
    to comply with section 4(a) of the APA. 154

           The preamble to the 1993 temporary regulations contained a
    discussion of the legislative history of the commensurate-with-income
    sentence that had been added to section 482 by the Tax Reform Act of
    1986. 58 Fed. Reg. 5264 (Jan. 21, 1993). This discussion was similar to
    the discussion of the legislative history in the 1992 notice of proposed
    rulemaking. 57 Fed. Reg. 3571 (Jan. 30, 1992).

           Treasury Decision 8470, published on January 21, 1993,
    redesignated the 1968 regulations and provided that they applied only
    for earlier years, i.e., those tax years beginning on or before April 21,
    1993. Until the 1993 redesignation, the 1968 regulations had two
    sections: 26 C.F.R. secs. 1.482-1 and -2 (1992). Section 1.482-2 of the
    1968 regulations was divided into five paragraphs:

          26 C.F.R. sec. 1.482-2(a) (1992)         loans

          26 C.F.R. sec. 1.482-2(b) (1992)         services

          26 C.F.R. sec. 1.482-2(c) (1992)         use of tangible property

          26 C.F.R. sec. 1.482-2(d) (1992)         transfer or use of intangible property

          26 C.F.R. sec. 1.482-2(e) (1992)         sales of tangible property

    Treasury Decision 8470 redesignated section 1.482-1 of the 1968
    regulations as section 1.482-1A and made section 1.482-1A applicable
    for tax years beginning on or before April 21, 1993. 26 C.F.R. sec. 1.482-
    1A (1994); see T.D. 8470, 58 Fed. Reg. 5271 (Jan. 21, 1993); 58 Fed. Reg.
    17775 (Apr. 6, 1993). For those years, Treasury Decision 8470 also
    created section 1.482-2A(a) through (c), which provided: “For applicable
    rules, see § 1.482-2T(a) through (c).” As noted before, section 1.482-2T(a)
    through (c) of the 1993 temporary regulations (regarding loans, services,

          154 Codified as amended at 5 U.S.C. sec. 553(b).




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    and use of tangible property, respectively) are verbatim copies of section
    1.482-2(a) through (c) of the 1968 regulations, respectively. In addition,
    Treasury Decision 8470 created section 1.482-2A(d), which consisted of
    a verbatim copy of section 1.482-2(d) of the 1968 regulations (regarding
    transfer or use of intangible property, including subparagraph (4)
    regarding cost-sharing agreements). 26 C.F.R. sec. 1.482-2(d) (1992); 26
    C.F.R. sec. 1.482-2A(d) (1994). Treasury Decision 8470 also created
    section 1.482-2A(e), which was a verbatim copy of section 1.482-2(e) of
    the 1968 regulations (regarding sales of tangible property). 26 C.F.R.
    sec. 1.482-2(e) (1992); 26 C.F.R. sec. 1.482-2A(e) (1994). In summary,
    sections -1 and -2 of the 1968 regulations (26 C.F.R. secs. 1.482-1 and -2
    (1992)) were transformed into sections -1A and -2A (26 C.F.R. secs.
    1.482-1A, -2A (1994)) and made applicable for tax years beginning on or
    before April 21, 1993.

          MM. The 1993 notice of proposed rulemaking

           On January 21, 1993, the same day it issued Treasury Decision
    8470, the Treasury Department published a notice of proposed
    rulemaking in the Federal Register. 58 Fed. Reg. 5310. The notice of
    proposed rulemaking withdrew the 1992 proposed regulations with the
    exception of section 1.482-2(g), Proposed Income Tax Regs., 57 Fed. Reg.
    3595 (Jan. 30, 1992), which related to cost-sharing agreements. See 58
    Fed. Reg. 5310. Thus, paragraph 2(g) of the 1992 proposed regulations
    remained a proposal by the Treasury Department. 58 Fed. Reg. 17775
    (Apr. 6, 1993) (“The 1992 proposed cost sharing regulations will be the
    basis of the final regulations that will be promulgated as § 1.482-7, and
    therefore, are the provisions on which comments are solicited.”); see also
    59 Fed. Reg. 34987 (July 8, 1994).

           The 1993 notice of proposed rulemaking explained that the
    Treasury Department proposed that sections -1T through -5T of the
    1993 temporary regulations (26 C.F.R. secs. 1.482-1T through -5T
    (1994)) eventually be made final. 58 Fed. Reg. 5310; T.D. 8470, 58 Fed.
    Reg. 5272. This meant that sections -1T through -5T of the 1993
    temporary regulations had the status of both (1) temporary regulations
    and (2) proposed regulations. See 59 Fed. Reg. 34972 (July 8, 1994)
    (referring to regulations as both temporary and proposed).

          Recall that section 1.482-6T of the 1993 temporary regulations
    was merely a placeholder for future regulations regarding the profit-
    split method. 26 C.F.R. sec. 1.482-6T (1994). The 1993 notice of
    proposed rulemaking contained the text of proposed regulations related




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    to the profit-split method. This text was section 1.482-6T, Proposed
    Income Tax Regs., 58 Fed. Reg. 5313 (Jan. 21, 1993). Although the text
    bore the identifier “T”, for temporary, the regulation was not a
    temporary regulation, but a proposal for a final regulation. 58 Fed. Reg.
    5310 (“In addition to the text of the temporary regulations, the final
    regulations that will result from the regulations proposed in this notice
    will be based on the text of proposed §§ 1.482-1T(f)(2) and 1.482-6T
    contained in this notice. These provisions are proposed to take the place
    of reserved sections of the temporary regulations.”). Therefore, for years
    governed by the 1993 temporary regulations (i.e., generally tax years
    beginning after April 21, 1993), no applicable regulatory provision
    related to the profit-split method.

           Recall that section 1.482-7T of the 1993 temporary regulations
    related to cost-sharing agreements. 26 C.F.R. sec. 1.482-7T (1994) (1993
    temporary regulations); 58 Fed. Reg. 17776 (Apr. 6, 1993); 58 Fed. Reg.
    28921 (May 18, 1993). Recall that section 1.482-2(g) of the 1992
    proposed regulations (Proposed Income Tax Regs., 57 Fed. Reg. 3595-
    3601 (Jan. 30, 1992)) also related to cost-sharing agreements.

           Recall that a passage from the 1993 temporary regulations
    related to the purpose and scope of section 482 but omitted the complete-
    power sentence found in the 1968 regulations. 26 C.F.R. sec. 1.482-
    1T(a)(1) (1994). The 1993 notice of proposed rulemaking proposed that
    this passage be made final through the effect of its general proposal that
    there be made final sections 1.482-1T to -5T of the 1993 temporary
    regulations, 26 C.F.R. secs. 1.482-1T through -5T (1994). 58 Fed. Reg.
    5310; T.D. 8470, 58 Fed. Reg. 5272.

           Recall that the 1993 temporary regulations had a provision
    (-4T(e)(2)(i)) permitting annual adjustments in the compensation for the
    long-term use of intangible property. 26 C.F.R. sec. 1.482-4T(e)(2)(i)
    (1994). The 1993 notice of proposed rulemaking proposed that this
    provision be made final through the effect of its general proposal that
    there be made final sections 1.482-1T to -5T of the 1993 temporary
    regulations, 26 C.F.R. secs. 1.482-1T through -5T (1994). 58 Fed. Reg.
    5310; T.D. 8470, 58 Fed. Reg. 5272.

           Recall that section 1.482-1T(f)(2) of the 1993 temporary
    regulations contained a placeholder for future provisions regarding the
    “Effect of foreign legal restrictions”. The 1993 notice of proposed
    rulemaking included, as proposed regulations, section 1.482-1T(f)(2),
    Proposed Income Tax Regs., 58 Fed. Reg. 5312, headed “Effect of foreign




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    legal restrictions”. Although this proposed provision was identified with
    a “T”, for temporary, the provision was not a temporary regulation, but
    a proposal for a final regulation. See 58 Fed. Reg. 5310. Here is the text
    of section 1.482-1T(f)(2), Proposed Income Tax Regs., 58 Fed. Reg. 5312:

          (i) In general. The district director may make an allocation
          under section 482 without regard to the effect of any
          foreign legal restriction, except as provided in paragraph
          (f)(2)(iv) of this section. However, an allocation under
          section 482 will be treated as deferrable if the following
          requirements are met:

                 (A) The taxpayer must establish to the satisfaction
          of the district director that the payment or receipt of part
          or all of the arm’s length amount that would otherwise be
          required under section 482 was prevented because of a
          foreign legal restriction and circumstances described in
          paragraph (f)(2)(ii) of this section.

                 (B) The taxpayer whose U.S. tax liability may be
          affected by the foreign legal restrictions must elect the
          deferred income method of accounting, as described in
          paragraph (f)(2)(iii) of this section, on a written statement
          attached to a timely U.S. income tax return (or an amended
          return) filed before the Internal Revenue Service first
          contacts any member of the controlled group concerning an
          examination of the return for the taxable year to which the
          foreign restriction applies. A written statement furnished
          by a taxpayer subject to the Coordinated Examination
          Program will be considered an amended return for
          purposes of this paragraph (f)(2)(i) if it satisfies the
          requirements of a qualified amended return for purposes of
          § 1.6662-5(j)(1) as set forth in those regulations or as the
          Commissioner may prescribe by applicable revenue
          procedures. The election statement must identify the
          affected transactions, the parties to the transactions, and
          the applicable foreign legal restrictions.

                 (ii) Applicable legal restrictions. Foreign legal
          restrictions (whether temporary or permanent) will be
          taken into account for purposes of this paragraph (f)(2) only
          if the conditions set forth in paragraphs (f)(2)(ii)(A)
          through (D) of this section are met.




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                 (A) The restrictions are publicly promulgated,
          generally applicable to all similarly situated persons (both
          controlled and uncontrolled), and not imposed as part of a
          commercial transaction between the taxpayer and the
          foreign sovereign.

                 (B) The taxpayer (or other member of the controlled
          group with respect to which the restrictions apply) has
          exhausted all effective and practical remedies prescribed
          by foreign law or practice for obtaining a waiver of such
          restrictions (other than remedies that would have a
          negligible prospect of success if pursued).

                 (C) The restrictions expressly prevented the
          payment or receipt of part or all of the arm’s length amount
          that would otherwise be required under section 482; a
          restriction that applies only to the deductibility of an
          expense for tax purposes is not a restriction on payment or
          receipt for this purpose.

                 (D) The related parties subject to the restriction did
          not engage in any transaction with controlled or
          uncontrolled parties that had the effect of circumventing
          the restriction, and have not otherwise violated the
          restriction in any material respect.

                 (iii) Deferred income method of accounting. If the
          requirements of paragraph (f)(2)(i) of this section are
          satisfied, any allocation that may be made under section
          482 with respect to such transaction will be treated as
          deferrable until payment or receipt of the relevant item
          ceases to be prevented by the foreign legal restriction. For
          purposes of the deferred income method of accounting
          under this paragraph (f)(2)(iii), deductions (including the
          cost or other basis of inventory and other assets sold or
          exchanged) and credits properly chargeable against any
          amount so deferred, are subject to deferral under the
          provisions of § 1.461-1(a)(4).

                  (iv) Exception for arm’s length transactions.
          Regardless of whether the election described in paragraph
          (f)(2)(i)(B) of this section has been made, an allocation will




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           not be made under section 482 with respect to a controlled
           transaction if the taxpayer establishes the following to the
           satisfaction of the district director--

                 (A) Payment or reimbursement for the controlled
           transaction was prevented at the time of the transaction
           because of a foreign legal restriction and circumstances
           described in paragraph (f)(2)(ii) of this section; and

                  (B) Uncontrolled transactions that establish a
           comparable uncontrolled price under § 1.482-3T(b) (in the
           case of tangible property) or a comparable uncontrolled
           transaction under § 1.482-4T(c) (in the case of intangible
           property) demonstrate that, taking into account the foreign
           legal restriction, the controlled transaction was at arm’s
           length.

                  (v) Examples. The following examples, in which Sub
           is a Country FC subsidiary of U.S. corporation, Parent,
           illustrate this paragraph (f)(2).

                  Example 1. (i) Parent licenses an intangible to Sub.
           FC law prohibits Sub from paying a royalty to Parent. The
           requirements of paragraphs (f)(2)(ii)(A), (B), and (C) of this
           section are satisfied. Parent attached to its timely filed
           U.S. income tax return a written statement that satisfies
           the requirements of paragraph (f)(2)(i)(B) of this section,
           electing the deferred income method of accounting under
           paragraph (f)(2)(iii) of this section. The arm’s length
           royalty rate for the use of the intangible property in the
           absence of the foreign restriction is 10% of its sales in
           country FC.[155]

           155 This sentence appeared in the copy of the notice of proposed rulemaking

    published in the Federal Register. 58 Fed. Reg. 5313 (Jan. 21, 1993). However, the
    copy of the notice of proposed rulemaking published in the Cumulative Bulletin
    contained instead the following two sentences:
                  The arm’s length royalty rate for the use of the intangible
           property in the absence of the foreign restriction is 10% of Sub’s sales
           in country FC. Sub pays no a royalty to Parent but does distribute to
           Parent an amount equal to 10% of its sales in country FC.
          1993-1 C.B. 825, 828.       In the stipulation, petitioner and respondent
    acknowledged that the notice of proposed rulemaking was “published in the Federal




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                   (ii) The district director makes an allocation of
            royalty income to Parent, based on the arm’s length royalty
            rate of 10%. Further, the district director determines that
            because the distribution from Sub to Parent had the effect
            of circumventing the FC law, the requirements of
            paragraph (f)(2)(ii)(D) of this section are not satisfied.
            Thus, Parent did not validly elect the deferred income
            method of accounting, and the allocation of royalty income
            cannot be treated as deferrable.            In appropriate
            circumstances, the district director may permit the amount
            of the distribution to be treated as payment by Sub of the
            royalty allocated to Parent, under the provisions of § 1.482-
            1T(e)(4).

                   Example 2. The facts are the same as in Example 1,
            except that Sub distributes an amount equal to 8% of its
            sales in country FC. Because the distribution has the effect
            of circumventing the FC law within the meaning of
            paragraph (f)(2)(ii)(D) of this section, the deferred income
            method of accounting was not validly elected, and does not
            apply, with respect to the amount of the distribution.
            However, the election was properly made, and does apply,
            with respect to the 2% difference between the arm’s length
            royalty rate and the amount of the distribution.
            Accordingly, of the 10% royalty allocated to Parent, 2%
            may be treated as deferrable.                In appropriate
            circumstances, the district director may permit the 8% that
            was distributed to be treated as payment by Sub of the
            royalty allocated to Parent, under the provisions of § 1.482-
            1T(e)(4).
                   Example 3. The facts are the same as in Example 1,
            except that Country FC law permits the payment of a
            royalty, but limits the amount to 5% of sales, and Sub pays
            the 5% royalty to Parent. Parent demonstrates the
            existence of comparable uncontrolled transactions in which

    Register”. However, petitioner and respondent stipulated that Exhibit 36-J “is a copy
    of” the notice of proposed rulemaking. Exhibit 36-J is the text of the notice of proposed
    rulemaking that was published in the Cumulative Bulletin. For these purposes, the
    Federal Register is the authoritative source. See sec. 4(a) of the APA, codified as
    amended at 5 U.S.C. sec. 553(b) (requiring a notice of proposed rulemaking to be
    published in the Federal Register). Therefore, we disregard any apparent acquiescence
    by petitioner and respondent to the proposition that text published in the Cumulative
    Bulletin should be considered the text of the notice of proposed rulemaking.




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          an uncontrolled parties accepted a royalty rate of 5%, even
          though an arm’s length royalty would otherwise have
          equaled 10%. Because the requirements of paragraph
          (f)(2)(iv) of this section are satisfied, the district director
          does not make an allocation of royalty income to Parent
          under section 482.

    The 1993 notice of proposed rulemaking gave the following explanation
    of section 1.482-1T(f)(2), Proposed Income Tax Regs., 58 Fed. Reg. 5312:

                 Section 1.482-1T(f)(2) provides guidance on the
          extent to which foreign legal restrictions on payments
          between controlled taxpayers will be respected for
          purposes of section 482. In general, 1.482-1T(f)(2)(i)
          provides that a foreign legal restriction will be recognized
          for this purpose if the taxpayer demonstrates that the
          receipt of an arm’s length payment was prevented by a
          foreign legal restriction, and the taxpayer elects the
          deferred income method of accounting with respect to such
          payments.

                 Section 1.482-1T(f)(2)(ii) defines an applicable
          foreign legal restriction as a restriction that is publicly
          promulgated and generally applicable, with respect to
          which the controlled taxpayer has exhausted all
          practicable legal remedies afforded under foreign law for
          obtaining a waiver, expressly prevents the payment of an
          arm’s length amount within the meaning of section 482,
          and was not circumvented through other transactions
          between the controlled taxpayers.

                 Section 1.482-1T(f)(2)(iii) provides that if the
          restriction meets the definition of an applicable foreign
          legal restriction and the taxpayer has elected the deferred
          income method of accounting, any section 482 allocation
          connected with the transaction will be deferrable until the
          restriction is removed. Deductions and credits chargeable
          against a deferred amount are subject to deferral under
          section 461.

                 Section 1.482-1T(f)(2)(iv) provides an exception from
          the election requirement in cases in which the taxpayer can
          demonstrate, based on a comparable uncontrolled




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          transaction, that the transaction as structured was at
          arm’s length.

    58 Fed. Reg. 5310. The 1993 notice of proposed rulemaking also made
    the following general statement:

                 Before adopting these regulations, consideration
          will be given to any written comments that are timely
          submitted (preferably a signed original and eight copies) to
          the Commissioner of Internal Revenue. All comments will
          be available for public inspection and copying. A public
          hearing will be held upon written request by any person
          who submits timely written comments on the proposed
          rules. Notice of the time, place and date for the hearing
          will be published in the Federal Register.

    Id. Respondent received comments pertaining to section 1.482-1T(f)(2),
    Proposed Income Tax Regs., 58 Fed. Reg. 5312-5313, from the following
    four organizations:

          ●     The American Petroleum Institute, which submitted
                “Comments by the American Petroleum Institute on the
                Temporary and Proposed Regulations on Intercompany
                Transfer Pricing under Code section 482,” dated July 20,
                1993.

          ●     Tax Executives Institute, Inc. (“Tax Executives Institute”),
                which submitted a letter dated August 6, 1993, enclosing
                “Comments of Tax Executives Institute, Inc. On
                Temporary and Proposed Regulations under Section 482 of
                the Internal Revenue Code, T.D. 8470, IL-401-88,
                submitted to the Internal Revenue Service.”

          ●     TRW, Inc. (“TRW”), which submitted a letter dated July 16,
                1993.

          ●     United States Council for International Business, which
                submitted a letter dated July 21, 1993, enclosing
                “Statement of the United States Council for International
                Business on Proposed Regulation Section 1.482(f)(2) Issued
                Pursuant to the Internal Revenue Code.”




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           All four organizations that submitted comments on section 1.482-
    1T(f)(2), Proposed Income Tax Regs., 58 Fed. Reg. 5312, stated that the
    proposed regulations were inconsistent with the holding in First
    Security Bank. The American Petroleum Institute stated that the
    proposed regulation “apparently ignores” First Security Bank’s holding,
    which, in the view of the American Petroleum institute, was that “an
    allocation of income is inappropriate where a government restriction
    negates the ‘complete power’ of a taxpayer to control the distribution of
    income among affiliates.” All four commentators stated that the
    proposed regulations were inconsistent with the reasoning of the Tax
    Court and the Sixth Circuit in Procter & Gamble, which involved the
    effect of a foreign legal restriction.

           Two commentators--the Tax Executives Institute and TRW--
    argued against the requirement of section 1.482-1T(f)(2)(ii)(A), Proposed
    Income Tax Regs., 58 Fed. Reg. 5312, that, for a foreign legal restriction
    to be taken into account, it would have to be “generally applicable to all
    similarly situated persons (both controlled and uncontrolled).” The Tax
    Executives Institute explained that “[a] legal restriction should not have
    to apply to all businesses in the foreign jurisdiction in order to trigger
    First Security Bank’s limitation on section 482.” The Tax Executives
    Institute added: “Some countries in Latin America, for example, apply
    such restrictions only to payments between related parties.” TRW also
    opposed the “both controlled and uncontrolled” clause, arguing that it
    was inconsistent with the Sixth Circuit opinion in Procter & Gamble.

           Two commentators--the American Petroleum Institute and
    TRW---questioned the requirement of section 1.482-1T(f)(2)(ii)(D),
    Proposed Income Tax Regs., 58 Fed. Reg. 5312, that “related parties
    subject to the restriction did not engage in any transaction with
    controlled or uncontrolled parties that had the effect of circumventing
    the restriction”. Specifically, they expressed concern that the proposed
    rule could be interpreted to mean that the payment of dividends, or
    (according to the American Petroleum Institute) even just the ability to
    pay dividends, might be considered a way to circumvent a legal
    restriction.

           Two commentators--the American Petroleum Institute and the
    Tax Executives Institute--addressed the requirement in section 1.482-
    1T(f)(2)(ii)(B), Proposed Income Tax Regs., 58 Fed. Reg. 5312, that the
    taxpayer must have “exhausted all effective and practical remedies
    prescribed by foreign law or practice for obtaining a waiver of such
    restrictions (other than remedies that would have a negligible prospect




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    of success if pursued).” The American Petroleum Institute stated that
    the exhaustion-of-remedies requirement “will be difficult to establish
    with developing nations where the effectiveness of various avenues of
    appeal is subject to question and a vigorous pursuit of an appeal may
    place the taxpayer’s business interests in that county at risk.” The Tax
    Executives Institute merely requested clarification: “The regulations
    should also clarify (perhaps in an example) when taxpayers will be
    considered to have exhausted their remedies under foreign law. The
    requirement should not compel taxpayers to pursue futile, costly
    actions.”

           The American Petroleum Institute challenged the proposed
    regulation’s requirement that a restriction imposed by foreign law be
    publicly promulgated. The American Petroleum Institute stated that,
    even in the industrialized world, “restrictions which have the practical
    force and effect of law may not necessarily be traceable to a specific
    published statutory or regulatory source.”

           Two commentators--the American Petroleum Institute and the
    Tax Executives Institute--argued that taxpayers should continue to be
    allowed to make the deferral election within the time limits that had
    been permitted by the 1968 regulations. Recall that the 1968
    regulations required that the election be made before any of the
    following events occurred: (1) the taxpayer’s waiver of the period for
    assessment, (2) 30 days after the examination report, or (3) the closing
    agreement or offer-in-compromise. 26 C.F.R. sec. 1.482-1A(d)(6) (1994).
    The 1993 proposed regulation would have required the election to be
    made before the IRS first contacted the taxpayer about an examination.
    Sec. 1.482-1T(f)(2)(i)(B), Proposed Income Tax Regs., 58 Fed. Reg. 5312.

           Following the receipt of written comments relating to the 1993
    notice of proposed rulemaking, the Treasury Department and
    respondent held a public hearing on August 16, 1993. Although several
    witnesses testified at the hearing, none testified regarding section
    1.482-1T(f)(2), Proposed Income Tax Regs., 58 Fed. Reg. 5312, which
    related to foreign legal restrictions.

          NN.    The 1994 final regulations

          On July 8, 1994, Treasury Decision 8552 was published in the
    Federal Register. 59 Fed. Reg. 34971. Treasury Decision 8552 did two
    things. First, it promulgated final regulations under section 482 of the
    Internal Revenue Code of 1986. T.D. 8552, para. 3, 59 Fed. Reg. 34988.




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    These 1994 final regulations were comprehensive: They comprised all
    regulations related to section 482 for the tax years and transactions to
    which they applied. Second, it removed the 1993 temporary regulations.
    T.D. 8552, para. 2, 59 Fed. Reg. 34988.

           The effective dates of the 1994 final regulations were specified in
    section 1.482-1(j) of the 1994 final regulations, which is printed below:

                 (1) The regulations in this are generally effective for
           taxable years beginning after October 6, 1994.

                  (2) Taxpayers may elect to apply retroactively all of
           the provisions of these regulations for any open taxable
           year. Such election will be effective for the year of the
           election and all subsequent taxable years.

                  (3) Although these regulations are generally
           effective for taxable years as stated, the final sentence of
           section 482 (requiring that the income with respect to
           transfers or licenses of intangible property be
           commensurate with the income attributable to the
           intangible) is generally effective for taxable years
           beginning after December 31, 1986. For the period prior to
           the effective date of these regulations, the final sentence of
           section 482 must be applied using any reasonable method
           not inconsistent with the statute. The IRS considers a
           method that applies these regulations or their general
           principles to be a reasonable method.

                  (4) These regulations will not apply with respect to
           transfers made or licenses granted to foreign persons
           before November 17, 1985, or before August 17, 1986, for
           transfers or licenses to others. Nevertheless, they will
           apply with respect to transfers or licenses before such dates
           if, with respect to property transferred pursuant to an
           earlier and continuing transfer agreement, such property
           was not in existence or owned by the taxpayer on such
           date.[156]

           156 The quoted text is found in Treasury Decision 8552, 59 Fed. Reg. 35002

    (July 8, 1994). In 2003, sec. 1.482-1(j)(5) of the regulation was added. T.D. 9088, 68
    Fed. Reg. 51177 (Aug. 26, 2003). Subparagraph (5) was included in the 2006 edition




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           Petitioner does not argue that any provision of section 1.482-1(j)
    of the 1994 final regulations results in the 1994 final regulations’ not
    being effective for the 2006 tax year of the 3M consolidated group.

           The 2006 edition of the Code of Federal Regulations contains the
    regulations generally applicable for the 2006 tax year for taxpayers,
    such as the 3M consolidated group, who use the calendar year as the tax
    year. Therefore, when we wish to cite the regulations that are effective
    for this case, we cite the 2006 edition of the Code of Federal Regulations.
    Between the promulgation of the 1994 final regulations and the
    publication of the 2006 edition of the Code of Federal Regulations, some
    amendments had been made to the 1994 final regulations. 157 However,
    neither petitioner nor respondent relies on these amendments. In this
    Opinion we do not refer to portions of the regulations that were amended
    after the 1994 final regulations.

            As mentioned before, the second change effected by Treasury
    Decision 8552 was the removal of temporary regulation 1.482-1T
    to -6T. 158 T.D. 8552, para. 2, 59 Fed. Reg. 34988 (July 8, 1994). Treasury
    Decision 8552 provided that the effective date for the removal of the
    1993 temporary regulations was October 6, 1994. T.D. 8552, 59 Fed.
    Reg. 34971 (sections 1.482-1T to -6T of the 1993 regulations “are
    removed effective October 6, 1994”). This effective-date provision for the
    removal of the 1993 temporary regulations was not expressed in terms
    of tax years. However, the new 1994 final regulations were generally
    effective for the tax years beginning after October 6, 1994. See section
    1.482-1(j)(1) of the 1994 final regulations, 59 Fed. Reg. 35002 (July 8,
    1994). Therefore it would be sensible to consider the temporary
    regulations to be removed generally for the tax years beginning after
    October 6, 1994. If this interpretation is placed on the effective-date
    provision regarding the removal of the 1993 temporary regulations, then



    of title 26 of the Code of Federal Regulations. This edition generally contains the
    regulations applicable for the 2006 tax year (for taxpayers, such as the 3M consolidated
    group, who use calendars years as tax years). However, 26 C.F.R. sec. 1.482-1(j)(5)
    does not appear relevant to any of the regulatory provisions affecting this case.
           157 One such amendment was the 1995 addition of final regulations regarding

    cost-sharing agreements. T.D. 8632, 60 Fed. Reg. 65553 (Dec. 20, 1995) (adding sec.
    1.482-7).
            158 As explained before, sec. 1.482-6T of the 1993 temporary regulations (26

    C.F.R. sec. 1.482-6T (1994)) was merely a placeholder.




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    the general scope of the section 482 regulations from this era can be
    described thus:

         Beginning date of tax year    Regulations generally applicable for tax year

     On or before Apr. 21, 1993       1968 regulations, redesignated in 1993

     After Apr. 21, 1993, and on or   1993 temporary regulations
     before Oct. 6, 1994


           The preamble to the 1994 final regulations contained a discussion
    of the legislative history of the commensurate-with-income sentence
    that had been added to section 482 by the Tax Reform Act of 1986. 59
    Fed. Reg. 34972 (July 8, 1994). This 1994 discussion of legislative
    history is similar to the discussions of legislative history in the 1992
    notice of proposed rulemaking, 57 Fed. Reg. 3571 (Jan. 30, 1992), and in
    the preamble to the 1993 temporary regulations, 58 Fed. Reg. 5264 (Jan.
    21, 1993); see supra part II.KK (discussing 1992 notice of proposed
    rulemaking) and LL (discussing preamble to the 1993 temporary
    regulations).

           The preamble to the 1994 final regulations also explained that
    “[w]ritten comments responding to the notice of proposed rulemaking
    were received, and a public hearing was held on August 16, 1993”; and
    that “[a]fter consideration of all the comments”, the proposed
    regulations under the 1993 notice of proposed rulemaking, as revised by
    Treasury Decision 8552, were adopted and the 1993 temporary
    regulations were removed. T.D. 8552, 59 Fed. Reg. 34972, 34988.

           The preamble to the 1994 final regulations made the following
    general comparison to the 1993 temporary regulations (which were also
    proposed regulations): “While the final regulations reflect numerous
    modifications in response to the comments received on the 1993
    regulations, both the format and substance of the final regulations are
    generally consistent with the 1993 regulations. The changes adopted
    are intended to clarify and refine those provisions of the 1993
    regulations that required improvement, without fundamentally altering
    the basic policies reflected in the 1993 regulations.” T.D. 8552, 59 Fed.
    Reg. 34975.
           The 1994 final regulations included a finalized version of the 1993
    temporary regulations (which were also proposed regulations) regarding
    the comparable-profits method. Sec. 1.482-5, 59 Fed. Reg. 35021 (text
    of section 1.482-5, the portion of the 1994 final regulations relating to




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    the comparable-profits method); 26 C.F.R. sec. 1.482-5T (1994) (1993
    temporary regulations). The 1994 final regulations included a finalized
    version of the 1993 proposed regulations regarding the profit-split
    method. Sec. 1.482-6, 59 Fed. Reg. 35025 (text of section 1.482-6, the
    portion of the 1994 final regulations relating to the profit-split method);
    59 Fed. Reg. 34986 (preamble describing history of section 1.482-6 of
    1994 final regulations); sec. 1.482-6T, Proposed Income Tax Regs., 58
    Fed. Reg. 5313-5316 (Jan. 21, 1993) (text of proposed regulation on
    profit-split method in 1993 notice of proposed rulemaking).

          The 1994 final regulations had no provisions regarding cost-
    sharing agreements. 59 Fed. Reg. 34987. Thus, the provisions in the
    1993 temporary regulations continued to apply. Id.; 26 C.F.R. sec. 1.482-
    7T (1994) (1993 temporary regulations).

           Like the 1993 temporary regulations, the 1994 final regulations
    had a provision permitting the consideration charged for an intangible
    to be periodically adjusted to be commensurate with the income
    attributable to the intangible. 26 C.F.R. sec. 1.482-4(f)(2) (2006) (1994
    final regulations); 26 C.F.R. sec. 1.482-4T(e)(2)(i) (1994) (1993
    temporary regulations). 159 The preamble to the 1994 final regulations
    explained the provision as follows: “Section 1.482-4(f)(2) provides that if
    an intangible is transferred for a period in excess of one year, the
    consideration charged is generally subject to an annual adjustment to
    ensure that it is commensurate with the income attributable to the
    intangible. This provision is required by the 1986 amendment to section
    482.” 59 Fed. Reg. 34984. 160

           159  The provision in the 1994 final regulations, which was substantially
    identical to the provision in the 1993 temporary regulations, was:
                   If an intangible is transferred under an arrangement that
           covers more than one year, the consideration charged in each taxable
           year may be adjusted to ensure that it is commensurate with the
           income attributable to the intangible. Adjustments made pursuant to
           this paragraph (f)(2) shall be consistent with the arm’s length standard
           and the provisions of § 1.482-1. * * *
           26 C.F.R. sec. 1.482-4(f)(2) (2006) (1994 final regulations); see 26 C.F.R. sec.
    1.482-4T(e)(2)(i) (1994) (1993 temporary regulations).
            160 The preamble also discussed the parallel provision in the 1992 proposed

    regulations (sec. 1.482-2(d)(6)(i), Proposed Income Tax Regs., 57 Fed. Reg. 3584 (Jan.
    30, 1992)):
                   In addition to providing new methods for transfers of
           intangibles, the 1992 regulations implemented the “commensurate




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           Recall that before the 1994 final regulations were promulgated,
    the regulatory provisions containing the “complete power” sentence
    were in effect only for tax years beginning on or before April 21, 1993.
    As we have explained, the section 482 regulations before the
    promulgation of the 1994 final regulations had consisted of two separate
    tracks. Tax years beginning on or before April 21, 1993, were generally
    governed by the 1968 regulations as redesignated in 1993. T.D. 8470
    para. 1, 58 Fed. Reg. 5271 (Jan. 21, 1993); 58 Fed. Reg. 17775 (Apr. 6,
    1993).    This redesignated set of regulations had the provisions
    containing the “complete power” sentence. 26 C.F.R. sec. 1.482-1A(b)(1)
    (1994). Tax years beginning after April 21, 1993, were governed by the
    1993 temporary regulations. 26 C.F.R. sec. 1.482-1T(a), (h) (1994). The
    1993 temporary regulations did not have the provisions containing the
    “complete power” sentence. 26 C.F.R. sec. 1.482-1T(a)(1) (1994) (1993
    temporary regulations).

          Like the 1993 temporary regulations, the 1994 final regulations
    did not have the passage containing the “complete power” sentence that
    had existed in various forms from 1934 to 1993. Instead of this passage,
    the 1993 temporary regulations had provided:

           If a controlled taxpayer has not reported its true taxable
           income, the district director may make allocations between
           or among the members of a controlled group. In such cases,
           the district director may allocate income, deductions,
           credits, allowances, basis, or any other item or element
           affecting taxable income (referred to as “allocations”).
           * * *

    26 C.F.R. sec. 1.482-1T(a)(2) (1994) (1993 temporary regulations). The
    1994 final regulations had similar provisions:

           The district director may make allocations between or
           among the members of a controlled group if a controlled
           taxpayer has not reported its true taxable income. In such
           case, the district director may allocate income, deductions,

           with income” standard by providing that these methods could be
           applied to adjust the consideration charged in the year of examination
           (periodic adjustments) unless one of three narrow exceptions applied.
    59 Fed. Reg. 34972 (July 8, 1994).




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          credits, allowances, basis, or any other item or element
          affecting taxable income (referred to as allocations). * * *

    26 C.F.R. sec. 1.482-1(a)(2) (2006) (1994 final regulations).

          The 1994 final regulations’ definition of the word “controlled”,
    which was similar to the definition in the 1993 temporary regulations,
    was as follows:

          Controlled includes any kind of control, direct or indirect,
          whether legally enforceable or not, and however
          exercisable or exercised, including control resulting from
          the actions of two or more taxpayers acting in concert or
          with a common goal or purpose. It is the reality of the
          control that is decisive, not its form or the mode of its
          exercise. A presumption of control arises if income or
          deductions have been arbitrarily shifted.

    26 C.F.R. sec. 1.482-1(i)(4) (2006) (1994 final regulations); see 26 C.F.R.
    sec. 1.482-1T(g)(4) (1994) (1993 temporary regulations).

          Like the 1993 temporary regulations, the 1994 final regulations
    defined a “group of controlled taxpayers” as “the taxpayers owned or
    controlled directly or indirectly by the same interests.” 26 C.F.R. sec.
    1.482-1(i)(6) (2006) (1994 final regulations); 26 C.F.R. sec. 1.482-1T(g)(6)
    (1994) (1993 temporary regulations).

           The 1994 final regulations, like the 1993 temporary regulations,
    defined a “controlled transaction” as “any transaction * * * between two
    or more members of the same group of controlled taxpayers.” 26 C.F.R.
    sec. 1.482-1(i)(8) (2006) (1994 final regulations); 26 C.F.R. sec. 1.482-
    1T(g)(8) (1994) (1993 temporary regulations).

         The 1994 final regulations’ definition of the term “true taxable
    income” was similar to the definition in the 1993 temporary regulations:

          True taxable income means, in the case of a controlled
          taxpayer, the taxable income that would have resulted had
          it dealt with the other member or members of the group at
          arm’s length. * * *

    26 C.F.R. sec. 1.482-1(i)(9) (2006) (1994 final regulations); 26 C.F.R. sec.
    1.482-1T(g)(9) (1994) (1993 temporary regulations).




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          The 1994 final regulations contained provisions regarding the
    purpose of section 482, which included a reference to the tax-parity goal.
    The purpose provisions in the 1994 final regulations were:

          The purpose of section 482 is to ensure that taxpayers
          clearly reflect income attributable to controlled
          transactions, and to prevent the avoidance of taxes with
          respect to such transactions.     Section 482 places a
          controlled taxpayer on a tax parity with an uncontrolled
          taxpayer by determining the true taxable income of the
          controlled taxpayer. * * *

    26 C.F.R. sec. 1.482-1(a) (2006) (1994 final regulations). These
    provisions were the same as the provisions in the 1993 temporary
    regulations, except that the 1994 final regulations omitted the clause “in
    a manner that reasonably reflects the relative economic activity
    undertaken by each taxpayer.” 26 C.F.R. sec. 1.482-1T(a)(1) (1994)
    (1993 temporary regulations).        The preamble to the 1994 final
    regulations explained this omission.

          The definition of true taxable income in § 1.482-1(i)(9)
          already incorporates the notion that, under section 482, the
          controlled taxpayer should earn the amount of income that
          would have resulted had it dealt with other controlled
          taxpayers at arm’s length. Because a transaction at arm’s
          length naturally would reflect the ‘relative economic
          activity undertaken,’ this definition incorporates that
          concept, and it is unnecessary to include the additional
          language in this provision.

    T.D. 8552, 59 Fed. Reg. 34976.

          The 1994 final regulations contained a sentence similar to the
    sentence in the 1993 temporary regulations that imposed the arm’s-
    length standard. 26 C.F.R. sec. 1.482-1(b)(1) (2006) (1994 final
    regulations); 26 C.F.R. sec. 1.482-1T(b)(1) (1994) (1993 temporary
    regulations). The sentence in the 1994 final regulations was this: “In
    determining the true taxable income of a controlled taxpayer, the
    standard to be applied in every case is that of a taxpayer dealing at arm’s
    length with an uncontrolled taxpayer.” 26 C.F.R. sec. 1.482-1(b)(1)
    (2006) (1994 final regulations).




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           As explained before, the 1993 temporary regulation adopted the
    following sentence: “A controlled transaction meets the arm’s length
    standard if the results of that transaction are consistent with the results
    that would have been realized if uncontrolled taxpayers had engaged in
    a comparable transaction under comparable circumstances.” 26 C.F.R.
    sec. 1.482-1T(b)(1) (1994) (1993 temporary regulations). The parallel
    sentence in the 1994 final regulations was this: “A controlled transaction
    meets the arm’s length standard if the results of the transaction are
    consistent with the results that would have been realized if uncontrolled
    taxpayers had engaged in the same transaction under the same
    circumstances (arm’s length result).” 26 C.F.R. sec. 1.482-1(b)(1) (2006)
    (1994 final regulations).

           The 1994 final regulations under section 482, which were
    promulgated by Treasury Decision 8552, included 26 C.F.R. sec. 1.482-
    1(h)(2) (2006) (1994 final regulations). Subparagraph (2), headed “Effect
    of foreign legal restrictions”, provides:

                 (i) In general. The district director will take into
          account the effect of a foreign legal restriction to the extent
          that such restriction affects the results of transactions at
          arm’s length. Thus, a foreign legal restriction will be taken
          into account only to the extent that it is shown that the
          restriction affected an uncontrolled taxpayer under
          comparable circumstances for a comparable period of time.
          In the absence of evidence indicating the effect of the
          foreign legal restriction on uncontrolled taxpayers, the
          restriction will be taken into account only to the extent
          provided in paragraphs (h)(2)(iii) and (iv) of this section
          (Deferred income method of accounting).

                 (ii) Applicable legal restrictions. Foreign legal
          restrictions (whether temporary or permanent) will be
          taken into account for purposes of this paragraph (h)(2)
          only if, and so long as, the conditions set forth in
          paragraphs (h)(2)(ii)(A) through (D) of this section are met.
                 (A) The restrictions are publicly promulgated,
          generally applicable to all similarly situated persons (both
          controlled and uncontrolled), and not imposed as part of a
          commercial transaction between the taxpayer and the
          foreign sovereign;




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                 (B) The taxpayer (or other member of the controlled
          group with respect to which the restrictions apply) has
          exhausted all remedies prescribed by foreign law or
          practice for obtaining a waiver of such restrictions (other
          than remedies that would have a negligible prospect of
          success if pursued);

                 (C) The restrictions expressly prevented the
          payment or receipt, in any form, of part or all of the arm’s
          length amount that would otherwise be required under
          section 482 (for example, a restriction that applies only to
          the deductibility of an expense for tax purposes is not a
          restriction on payment or receipt for this purpose); and

                 (D) The related parties subject to the restriction did
          not engage in any arrangement with controlled or
          uncontrolled parties that had the effect of circumventing
          the restriction, and have not otherwise violated the
          restriction in any material respect.

                (iii) Requirement for electing the deferred income
          method of accounting. If a foreign legal restriction
          prevents the payment or receipt of part or all of the arm’s
          length amount that is due with respect to a controlled
          transaction, the restricted amount may be treated as
          deferrable if the following requirements are met—

                 (A) The controlled taxpayer establishes to the
          satisfaction of the district director that the payment or
          receipt of the arm’s length amount was prevented because
          of a foreign legal restriction and circumstances described
          in paragraph (h)(2)(ii) of this section; and

                 (B) The controlled taxpayer whose U.S. tax liability
          may be affected by the foreign legal restriction elects the
          deferred income method of accounting, as described in
          paragraph (h)(2)(iv) of this section, on a written statement
          attached to a timely U.S. income tax return (or an amended
          return) filed before the IRS first contacts any member of
          the controlled group concerning an examination of the
          return for the taxable year to which the foreign legal
          restriction applies. A written statement furnished by a
          taxpayer subject to the Coordinated Examination Program




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          will be considered an amended return for purposes of this
          paragraph (h)(2)(iii)(B) if it satisfies the requirements of a
          qualified amended return for purposes of § 1.6664-2(c)(3)
          as set forth in those regulations or as the Commissioner
          may prescribe by applicable revenue procedures. The
          election statement must identify the affected transactions,
          the parties to the transactions, and the applicable foreign
          legal restrictions.

                 (iv) Deferred income method of accounting. If the
          requirements of paragraph (h)(2)(ii) of this section are
          satisfied, any portion of the arm’s length amount, the
          payment or receipt of which is prevented because of
          applicable foreign legal restrictions, will be treated as
          deferrable until payment or receipt of the relevant item
          ceases to be prevented by the foreign legal restriction. For
          purposes of the deferred income method of accounting
          under this paragraph (h)(2)(iv), deductions (including the
          cost or other basis of inventory and other assets sold or
          exchanged) and credits properly chargeable against any
          amount so deferred, are subject to deferral under the
          provisions of § 1.461-1(a)(4). In addition, income is
          deferrable under this deferred income method of
          accounting only to the extent that it exceeds the related
          deductions already claimed in open taxable years to which
          the foreign legal restriction applied.

                 (v) Examples. The following examples, in which Sub
          is a Country FC subsidiary of U.S. corporation, Parent,
          illustrate this paragraph (h)(2).

                        Example 1. Parent licenses an intangible to
                Sub. FC law generally prohibits payments by any
                person within FC to recipients outside the country.
                The FC law meets the requirements of paragraph
                (h)(2)(ii) of this section. There is no evidence of
                unrelated parties entering into transactions under
                comparable circumstances for a comparable period
                of time, and the foreign legal restrictions will not be
                taken into account in determining the arm’s length
                amount. The arm’s length royalty rate for the use of
                the intangible property in the absence of the foreign
                restriction is 10% of Sub’s sales in country FC.




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                However, because the requirements of paragraph
                (h)(2)(ii) of this section are satisfied, Parent can elect
                the deferred income method of accounting by
                attaching to its timely filed U.S. income tax return a
                written statement that satisfies the requirements of
                paragraph (h)(2)(iii)(B) of this section.

                      Example 2. (i) The facts are the same as in
                Example 1, except that Sub, although it makes no
                royalty payment to Parent, arranges with an
                unrelated intermediary to make payments equal to
                an arm’s length amount on its behalf to Parent.

                        (ii) The district director makes an allocation
                of royalty income to Parent, based on the arm’s
                length royalty rate of 10%. Further, the district
                director determines that because the arrangement
                with the third party had the effect of circumventing
                the FC law, the requirements of paragraph
                (h)(2)(ii)(D) of this section are not satisfied. Thus,
                Parent could not validly elect the deferred income
                method of accounting, and the allocation of royalty
                income cannot be treated as deferrable.             In
                appropriate circumstances, the district director may
                permit the amount of the distribution to be treated
                as payment by Sub of the royalty allocated to Parent,
                under the provisions of § 1.482-1(g) (Collateral
                adjustments).

                       Example 3. The facts are the same as in
                Example 1, except that the laws of FC do not prevent
                distributions    from    corporations     to    their
                shareholders. Sub distributes an amount equal to
                8% of its sales in country FC. Because the laws of
                FC did not expressly prevent all forms of payment
                from Sub to Parent, Parent cannot validly elect the
                deferred income method of accounting with respect
                to any of the arm’s length royalty amount. In
                appropriate circumstances, the district director may
                permit the 8% that was distributed to be treated as
                payment by Sub of the royalty allocated to Parent,
                under the provisions of § 1.482-1(g) (Collateral
                adjustments).




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                        Example 4. The facts are the same as in
                 Example 1, except that Country FC law permits the
                 payment of a royalty, but limits the amount to 5% of
                 sales, and Sub pays the 5% royalty to Parent. Parent
                 demonstrates the existence of a comparable
                 uncontrolled transaction for purposes of the
                 comparable uncontrolled transaction method in
                 which an uncontrolled party accepted a royalty rate
                 of 5%. Given the evidence of the comparable
                 uncontrolled transaction, the 5% royalty rate is
                 determined to be the arm’s length royalty rate.

           The preamble to Treasury Decision 8552 explains the final 1994
    regulations. The portion of the preamble related to 26 C.F.R. sec. 1.482-
    1(h)(2) (2006) states:

                 The rules on foreign legal restrictions were
          originally issued in proposed form in the 1993 regulations.
          Section 1.482-1(h)(2) modifies and finalizes that provision.
          It provides that a foreign legal restriction will be taken into
          account to the extent that such restriction affects the
          results of transactions at arm’s length. If there is no
          evidence that the restriction affected uncontrolled
          taxpayers the restriction will be disregarded in
          determining an arm’s length result, and it will be taken
          into account only to the extent provided in §§ 1.482-
          1(h)(2)(iii) and (iv), relating to the deferred income method
          of accounting. A foreign legal restriction is generally
          defined under § 1.482-1(h)(2)(ii) as a restriction that is
          publicly promulgated and generally applicable, not
          imposed as part of a commercial transaction between the
          taxpayer and the foreign government, with respect to
          which the taxpayer has exhausted all practicable legal
          remedies afforded under foreign law, expressly prevents
          the payment, in any form, of an arm’s length amount
          within the meaning of section 482, and was not otherwise
          circumvented by the controlled taxpayers.

                Section 1.482-1(h)(2)(iii) provides that if a provision
          meets the definition of a foreign legal restriction and the
          taxpayer has elected the deferred income method of
          accounting, any section 482 allocation connected with the




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          transaction will be deferrable until the restriction is
          removed.

                Section 1.482-1(h)(2)(iv) provides that if the
          requirements of § 1.482-1(h)(2)(iii) are satisfied, the
          amount subject to the restriction will be treated as
          deferrable until payment or receipt of the relevant item
          ceases to be prevented by the foreign legal restriction.
          Deductions and credits incurred in open years and that are
          chargeable against a deferred amount are subject to
          deferral under § 1.461-1(a)(4).

    59 Fed. Reg. 34981.

          OO.    Stipulations regarding the 1994 final regulations

           Petitioner and respondent have stipulated that the
    “administrative record pertaining to the adoption of subparagraph (h)(2)
    of Treas. Reg. § 1.482-1 consists of the following documents”:

          ●      The 1992 notice of proposed rulemaking, dated January 30,
                 1992. 57 Fed. Reg. 3571 (Jan. 30, 1992).

          ●      “1993 Temporary Income Tax Regulations (T.D. 8470; 58
                 FR 5263-02), dated January 21, 1993.” Note that the
                 stipulation here cites only Treasury Decision 8470, and
                 fails to acknowledge the three later corrections to Treasury
                 Decision 8470 relating to errors in the 1993 temporary
                 regulations. The three corrections are 58 Fed. Reg. 17775
                 (Apr. 6, 1993); 58 Fed. Reg. 28446 (May 13, 1993); and 58
                 Fed. Reg. 28921 (May 18, 1993). As noted in the fourth
                 bullet point below, the stipulation later mistakenly says
                 the corrections are to the 1993 notice of proposed
                 rulemaking. These anomalies in the stipulation appear to
                 be to be insignificant.

          ●      The 1993 notice of proposed rulemaking, dated January 21,
                 1993. 58 Fed. Reg. 5310 (Jan. 21, 1993).

          ●      “Corrections to the 1993 Notice of Proposed Rulemaking,
                 dated April 6, 1993 (58 Fed. Reg. 17775), dated May 13,
                 1993 (58 Fed. Reg. 28446), dated May 18, 1993 (58 Fed.
                 Reg. 28921).” In our view, while the first correction related




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                 to both the 1993 temporary regulation and the 1993 notice
                 of proposed rulemaking, the second and third corrections
                 related only to the 1993 temporary regulations. They did
                 not relate to the 1993 notice of proposed rulemaking.

          ●      Public comments:

                 ○        American Petroleum Institute, dated June 20, 1993,
                 ○        Tax Executives Institute, dated August 6, 1993,
                 ○        TRW, dated July 16, 1993, and
                 ○        United States Council for International Business,
                          dated July 21, 1993.

          ●      The 1994 final regulations, T.D. 8552, dated July 8, 1994.
                 59 Fed. Reg. 34971 (July 8, 1994).

           Petitioner and respondent stipulated that the fixed ceilings on the
    amounts payable as royalties for the licensing of patents, unpatented
    technology, and trademarks are Brazilian legal restrictions that apply
    only to payments made by a Brazilian company to a controlling foreign
    company. Petitioner and respondent stipulated that therefore, at all
    relevant times, including during the 2006 tax year, there is no evidence
    that these legal restrictions affected “an uncontrolled taxpayer under
    comparable circumstances for a comparable period of time” within the
    meaning of 26 C.F.R. sec. 1.482-1(h)(2)(i) (2006).

           Petitioner and respondent have stipulated that petitioner did not
    elect the deferred income method of accounting described in 26 C.F.R.
    sec. 1.482-1(h)(2)(iv) (2006), and that petitioner does not assert that it is
    entitled to use that method.

          PP.    The 1996 amendment to section 7805(a) regarding
                 regulations relating to post-1996 provisions of the Internal
                 Revenue Code

          When the section 482 regulations were adopted in 1994, section
    7805 could be summarized as follows:

          ●      Section 7805(a) authorized the Treasury Department to
                 prescribe all “needful” regulations for the enforcement of
                 the Internal Revenue Code. 26 U.S.C. sec. 7805(a) (1994).




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            ●       Section 7805(b) authorized the Treasury Department to
                    determine the extent, if any, to which such regulations
                    would apply without retroactive effect. 26 U.S.C. sec.
                    7805(b) (1994). 161

           In 1996, however, Congress amended section 7805(b) to provide
    as follows:

                   (1) In general.--Except as otherwise provided in this
            subsection, no temporary, proposed, or final regulation
            relating to the internal revenue laws shall apply to any
            taxable period ending before the earliest of the following
            dates:

                          (A) The date on which such regulation is filed
                    with the Federal Register.

                          (B) In the case of any final regulation, the
                    date on which any proposed or temporary regulation
                    to which such final regulation relates was filed with
                    the Federal Register.

                          (C)      The date on which any notice
                    substantially describing the expected contents of
                    any temporary, proposed, or final regulation is
                    issued to the public.

                  (2) Exception for promptly issued regulations.--
            Paragraph (1) shall not apply to regulations filed or issued
            within 18 months of the date of the enactment of the
            statutory provision to which the regulation relates.

                   (3) Prevention of abuse.--The Secretary may provide
            that any regulation may take effect or apply retroactively
            to prevent abuse.

                   (4) Correction of procedural defects.--The Secretary
            may provide that any regulation may apply retroactively to
            correct a procedural defect in the issuance of any prior
            regulation.

            161 A similar provision had been in the tax laws since 1934. See supra part II.F

    (discussing sec. 62 of the Revenue Act of 1934).




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                (5)    Internal regulations.--The limitation of
          paragraph (1) shall not apply to any regulation relating to
          internal Treasury Department policies, practices, or
          procedures.

                 (6) Congressional authorization.--The limitation of
          paragraph (1) may be superseded by a legislative grant
          from Congress authorizing the Secretary to prescribe the
          effective date with respect to any regulation.

                (7) Election to apply retroactively.--The Secretary
          may provide for any taxpayer to elect to apply any
          regulation before the dates specified in paragraph (1).

                 (8) Application to rulings.--The Secretary may
          prescribe the extent, if any, to which any ruling (including
          any judicial decision or any administrative determination
          other than by regulation) relating to the internal revenue
          laws shall be applied without retroactive effect.

    Sec. 7805(b), as amended by the Taxpayer Bill of Rights 2, Pub. L. No.
    104-168, sec. 1101(a), 110 Stat. at 1468 (1996).

           So, before the 1996 amendment section 7805(b) gave the Treasury
    Department the discretion to make regulations without retroactive
    effect. See TBL Licensing LLC v. Commissioner, 158 T.C. ___ (slip op.
    at 25 n.10 (Jan. 31, 2022) (stating that under pre-1996 section 7805(b),
    “regulations generally applied retroactively unless the Secretary of the
    Treasury exercised his discretion to apply them prospectively”). But
    after the 1996 amendment section 7805(b) generally imposed an
    antiretroactivity rule that was keyed to when the public received notice
    of the content of the regulation.

           Under the effective-date provision of the 1996 amendment, the
    1996 amendment applied “with respect to regulations which relate to
    statutory provisions enacted on or after the date of the enactment of this
    Act [July 30, 1996].” Taxpayer Bill of Rights 2, sec. 1101(b), 110 Stat. at
    1469. Would the 1994 final regulations (including 26 C.F.R. sec. 1.482-
    1(h)(2) (2006)) be considered “regulations which relate to statutory
    provisions enacted on or after the date of the enactment of this Act [July
    30, 1996]”?




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           The effective-date provision of the 1996 amendment has been
    interpreted to mean that the phrase “enacted on or after the date of the
    enactment of this Act” modifies the term “statutory provisions.”
    Grapevine Imp., Ltd. v. United States, 636 F.3d 1368, 1381 n.6 (Fed.
    Cir. 2011), vacated and remanded, 566 U.S. 971 (2012); Esden v. Bank
    of Bos., 229 F.3d 154, 171 n.21 (2d Cir. 2000); TBL Licensing LLC v.
    Commissioner, 158 T.C. at ___ (slip op. at 25 n.10); Intermountain Ins.
    Serv. of Vail, LLC v. Commissioner, 134 T.C. 211, 229 n.3 (2010)
    (Halpern & Holmes, JJ., concurring in result only), rev’d and remanded,
    650 F.3d 691 (D.C. Cir. 2011), vacated and remanded, 566 U.S. 972
    (2012); Steve R. Johnson, “Preserving Fairness in Tax Administration
    in the Mayo Era”, 32 Va. Tax Rev. 269, 312 (2012). Under this view, the
    1996 amendment to section 7805(b) would not govern the 1994 final
    regulations. The 1994 final regulations related to section 482, which
    was enacted before 1996. Therefore, the pre-1996 version of section
    7805(b) would govern the 1994 final regulations. But pre-1996 section
    7805(b) would have no effect on whether the 1994 final regulations are
    applicable for the 2006 tax year. The pre-1996 version of section 7805(b)
    generally provided that tax regulations are applied retroactively, but
    that is irrelevant to the 1994 final regulations as applied for the 2006
    tax year, as that is a prospective application.

           Another interpretation of the effective-date provision of the 1996
    amendment to section 7805(b) is that the phrase “enacted on or after”
    modifies the word “regulations” and not the phrase “statutory
    provisions”.      John Bunge, “Statutory Protection From IRS
    Reinterpretation of Old Tax Laws”, 144 Tax Notes 1177 (2014). Under
    this view, the 1996 amendment to section 7805(b) would govern the 1994
    regulations because these regulations could not be said to have been
    “enacted” after 1996; they were promulgated in 1994. If the 1996
    amendments to section 7805(b) govern the 1994 final regulations, then
    section 7805(b) does not prevent the 1994 final regulations from being
    applicable for the 2006 tax year of the 3M consolidated group. The post-
    1996 version of section 7805(b) is essentially a prohibition on retroactive
    regulations, see sec. 7805(b)(1), with certain exceptions. But the 1994
    final regulations are prospective, not retroactive, with respect to the
    2006 tax year.

          The bottom line is that neither version of section 7805(b) would
    preclude the 1994 final regulations from being applicable for the 2006
    tax year.




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          QQ.    Post-2006 amendments to section 482

          After 2006, the tax year at issue, section 482 was affected by
    several amendments.

          A 2017 law amended section 482 to add a third sentence:

          For purposes of this section, the Secretary shall require the
          valuation of transfers of intangible property (including
          intangible property transferred with other property or
          services) on an aggregate basis or the valuation of such a
          transfer on the basis of the realistic alternatives to such a
          transfer, if the Secretary determines that such basis is the
          most reliable means of valuation of such transfers.

    Tax Cuts and Jobs Act of 2017, Pub. L. No. 115-97, sec. 14221(b)(2), 131
    Stat. at 2219 (codified at 26 U.S.C. sec. 482 (2018)). The amendment
    was applicable for transfers in tax years beginning after December 31,
    2017. Id. subsec. (c)(1).

           The same 2017 law indirectly affected the second sentence of
    section 482. As it was enacted in 1986, the sentence referred to
    “intangible property (within the meaning of section 936(h)(3)(B))”. 26
    U.S.C. sec. 482 (Supp. IV 1987). Section 936(h)(3)(B) then provided:

                 The term “intangible property” means any--

                (i) patent, invention, formula, process, design,
             pattern, or know-how;

                (ii) copyright, literary, musical, or artistic
             composition;
                (iii) trademark, trade name, or brand name;

                 (iv) franchise, license, or contract;

                (v) method, program, system, procedure, campaign,
             survey, study, forecast, estimate, customer list, or
             technical data; or

                 (vi) any similar item,




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          which has substantial value independent of the services of
          any individual.

    26 U.S.C. sec. 936(h)(3)(B) (1982). In 2017, the definition of intangible
    property in section 936(h)(3)(B) was amended. Tax Cuts and Jobs Act
    of 2017, sec. 14221(a), 131 Stat. at 2218. After the 2017 amendment,
    section 936(h)(3)(B) provided:

                 The term “intangible property” means any--

                 (i) patent, invention, formula, process, design,
              pattern, or know-how;

                 (ii) copyright,    literary,   musical,   or   artistic
              composition;

                 (iii) trademark, trade name, or brand name;

                 (iv) franchise, license, or contract;

                 (v) method, program, system, procedure, campaign,
              survey, study, forecast, estimate, customer list, or
              technical data;

                 (vi) any goodwill, going concern value, or workforce
              in place (including its composition and terms and
              conditions (contractual or otherwise) of its
              employment); or

                 (vii) any other item the value or potential value of
              which is not attributable to tangible property or the
              services of any individual.
    26 U.S.C. sec. 936(h)(3)(B) (2012 ed. & Supp. V 2018). This amendment
    too was applicable for transfers in tax years beginning after December
    31, 2017. Tax Cuts and Jobs Act of 2017, sec. 14221(c)(1).

          In 2018, section 482 was amended to replace the words
    “intangible property (within the meaning of section 936(h)(3)(B))” with
    the words “intangible property (within the meaning of section
    367(d)(4))”. Consolidated Appropriations Act, 2018, Pub. L. No. 115-141,
    div. U, sec. 401(d)(1)(D)(viii)(III), 132 Stat. at 1207. Section 367(d)(4)
    provides:




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                For purposes of this subsection, the term “intangible
          property” means any--

                       (A) patent, invention,         formula,   process,
                 design, pattern, or know-how,

                      (B) copyright, literary, musical, or artistic
                 composition,

                          (C) trademark, trade name, or brand name,

                          (D) franchise, license, or contract,

                       (E) method, program, system, procedure,
                 campaign, survey, study, forecast, estimate,
                 customer list, or technical data,

                       (F) goodwill, going concern value, or
                 workforce in place (including its composition and
                 terms and conditions (contractual or otherwise) of its
                 employment), or

                        (G) other item the value or potential value of
                 which is not attributable to tangible property or the
                 services of any individual.

    Consolidated Appropriations Act, 2018, sec. 401(d)(1)(D)(viii)(I), 132
    Stat. at 1207 (codified at 26 U.S.C. sec. 367(d)(4) (2018)). The 2018
    amendment had retroactive effect only to the extent the 2018 version of
    section 482 would result in the same tax liability as the pre-2018
    version, i.e., only if the 2018 amendment would have no effect.
    Consolidated Appropriations Act, 2018, div. U, sec. 401(e), 132 Stat. at
    1212-1213.

           In summary, the 2017 amendments to section 482 and section
    936(h)(3)(B) added a third sentence to section 482 and altered the
    section 936(h)(3)(B) definition of intangible property.             These
    amendments had prospective effect only and therefore did not affect the
    2006 tax year at issue in this case. The 2018 amendment to section 482
    changed the cross-reference in the definition of intangible property to
    the section 367(d)(4) definition of intangible property. But the 2018
    amendment does not apply retroactively to past years such as 2006 to
    the extent it would affect tax liabilities. Therefore, for the purposes of




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    the 3M consolidated group’s 2006 tax year, the operative text of section
    482 is the text before the 2017 and 2018 amendments, which is:

                  In any case of two or more organizations, trades, or
          businesses (whether or not incorporated, whether or not
          organized in the United States, and whether or not
          affiliated) owned or controlled directly or indirectly by the
          same interests, the Secretary may distribute, apportion, or
          allocate gross income, deductions, credits, or allowances
          between or among such organizations, trades, or
          businesses, if he determines that such distribution,
          apportionment, or allocation is necessary in order to
          prevent evasion of taxes or clearly to reflect the income of
          any of such organizations, trades, or businesses. In the
          case of any transfer (or license) of intangible property
          (within the meaning of section 936(h)(3)(B)), the income
          with respect to such transfer or license shall be
          commensurate with the income attributable to the
          intangible.

    26 U.S.C. sec. 482 (Supp. IV 1987). And the operative text of section
    936(h)(3)(B) is:

          The term “intangible property means any--

                 (i) patent, invention, formula, process, design,
                 pattern, or know-how;

                 (ii) copyright,    literary,   musical,   or   artistic
                 composition;

                 (iii) trademark, trade name, or brand name;

                 (iv) franchise, license, or contract;

                 (v)  method,       program,    system, procedure,
                 campaign, survey, study, forecast, estimate,
                 customer list, or technical data; or

                 (vi) any similar item,

          which has substantial value independent of the services of
          any individual.




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    26 U.S.C. sec. 936(h)(3)(B) (1982).

    III.    Whether the Brazilian legal restrictions satisfy the seven
            requirements of 26 C.F.R. sec. 1.482-1(h)(2) (2006) for taking into
            account foreign legal restrictions

           Title 26 C.F.R. sec. 1.482-1(h)(2) (2006) provides that a foreign
    legal restriction is taken into account in making allocations under
    section 482 if seven 162 requirements are met: (1) the restriction affected
    uncontrolled taxpayers under comparable circumstances for a
    comparable period of time, (2) the restriction was publicly promulgated,
    (3) the restriction was generally applicable to all similarly situated
    persons (both controlled and uncontrolled), (4) the restriction was not
    imposed as part of a commercial transaction between the taxpayer and
    the foreign government, (5) the taxpayer exhausted all remedies
    prescribed by foreign law or practice for obtaining a waiver of the
    restriction (other than remedies that would have a negligible prospect
    of success), (6) the restriction expressly prevented the payment or
    receipt, in any form, of all or part of the arm’s-length amount, and (7) the
    taxpayer and related parties did not engage in any arrangement with
    controlled or uncontrolled parties that circumvented the restriction, and
    did not materially violate the restriction. 26 C.F.R. sec. 1.482-1(h)(2)(i)
    and (ii) (2006). 163     Petitioner contends that the Brazilian legal
    restrictions met some of these seven requirements. 164 We discuss


            162 Title 26 C.F.R. sec. 1.482-1(h)(2)(ii)(A) (2006) requires that the foreign legal

    restriction be “publicly promulgated, generally applicable to all similarly situated
    persons (both controlled and uncontrolled), and not imposed as part of a commercial
    transaction between the taxpayer and the foreign sovereign.” As petitioner recognizes,
    this requirement consists of three conjunctive parts. Thus, each part must be
    independently satisfied for the foreign legal restriction to be taken into account. Our
    Opinion refers to the three parts of 26 C.F.R. sec. 1.482-1(h)(2)(ii)(A) (2006) as the
    second requirement, the third requirement, and the fourth requirement, respectively,
    of 26 C.F.R. sec. 1.482-1(h)(2) (2006).
            163 The regulation also takes a foreign legal restriction into account if the

    taxpayer elects to defer the restricted income, 26 C.F.R. sec. 1.482-1(h)(2)(i), (iv) (2006),
    but the 3M consolidated group did not make such an election. Furthermore, the
    election is available only with respect to foreign legal restrictions that meet the last
    six requirements. Id. subdiv. (iv).
            164 Although all seven requirements must be met for the Brazilian legal
    restrictions to be taken into account under 26 C.F.R. sec. 1.482-1(h)(2) (2006), from
    petitioner’s perspective it is not futile to argue that only some of the requirements are




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    whether each of the seven requirements of 26 C.F.R. sec. 1.482-1(h)(2)
    (2006) is met below in part III.A, B, C, D, E, F, and G, respectively.

           A.      Effect on uncontrolled taxpayers

           The first requirement, which is set forth in 26 C.F.R. sec. 1.482-
    1(h)(2)(i) (2006), is that “a foreign legal restriction will be taken into
    account only to the extent that it is shown that the restriction affected
    an uncontrolled taxpayer under comparable circumstances for a
    comparable period of time.” The stipulation states that the Brazilian
    restrictions fail the first requirement:

                  The parties agree that the fixed ceilings on the
           amounts payable as royalties for the licensing of patents,
           unpatented technology, and trademarks are Brazilian legal
           restrictions that apply only to payments made by a
           Brazilian company to a controlling foreign company.
           Therefore, at all relevant times, including during the 2006
           year, there is no evidence that these legal restrictions
           affected “an uncontrolled taxpayer under comparable
           circumstances for a comparable period of time” within the
           meaning of Treas. Reg. § 1.482-1(h)(2)(i).

    And in its briefs, petitioner does not dispute that the Brazilian
    restrictions fail the first requirement. We therefore hold that the
    Brazilian restrictions fail the first requirement.

    met. This is because petitioner argues that the remaining requirements are invalid.
    In particular, petitioner challenges the validity of

           •       the first requirement, see infra part V.A,

           •       the second requirement, see infra parts V.B, VI.B.3

           •       the third requirement, see infra part V.C,

           •       the fifth requirement, see infra part VI.B.4,

           •       the sixth requirement, see infra part V.F, and

           •       the seventh requirement, see infra parts V.G, VI.B.5.
            A table infra part VII illustrates the relationship between (1) petitioner’s
    arguments that particular requirements are met and (2) petitioner’s arguments that
    particular requirements are invalid.
            Additionally, petitioner makes challenges to the validity of the regulation
    unrelated to any individual requirement of the regulation. See infra parts IV, VI.A,
    VI.B.1, VI.B.2, and VI.B.6.




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            B.      Publicly promulgated

           The second requirement, which is set forth in 26 C.F.R. sec. 1.482-
    1(h)(2)(ii)(A) (2006), is that the foreign legal restriction be “publicly
    promulgated”. As part of their dispute over whether the second
    requirement is met, petitioner and respondent disagree on the meaning
    of the term “publicly promulgated”. Respondent contends that to be
    publicly promulgated a foreign legal restriction must be in writing.
    Petitioner disagrees. It contends that a foreign legal restriction need
    not be in writing to be publicly promulgated. 165

            In favor of its position that a foreign legal restriction need not be
    in writing, petitioner contends that the restrictions at issue in
    Commissioner v. First Security Bank, 405 U.S. 394, Texaco, Inc. v.
    Commissioner, 98 F.3d 825, and Procter & Gamble Co. v. Commissioner,
    95 T.C. 323, were not in writing. We disagree. The restrictions at issue
    in all three cases were in writing:

            ●       First Security Bank concerned a federal statute, section 92
                    of the National Bank Act, which authorized national banks
                    “doing business in any place the population of which does
                    not exceed five thousand inhabitants * * * [to] act as the
                    agent for any fire, life, or other insurance company”. Act of
                    Sept. 7, 1916, ch. 461, 39 Stat. at 753. Commissioner v.
                    First Security Bank, 405 U.S. at 401, explained that this
                    statute had been interpreted as implicitly prohibiting
                    national banks from acting as insurance agents in places
                    populated by more than 5,000 inhabitants: “Although § 92
                    does not explicitly prohibit banks in places with a
                    population of over 5,000 from acting as insurance agents,
                    courts have held that it does so by implication.” As support
                    for this statement, Commissioner v. First Security Bank,
                    405 U.S. at 401 n.13, cited the following two judicial
                    opinions: “Saxon v. Georgia Association of Independent

             165 Petitioner makes an alternative argument that if the public-promulgation

    requirement means that a foreign legal restriction must be in writing, then the public-
    promulgation requirement is an unreasonable interpretation of sec. 482 that is invalid
    under Chevron step two. We analyze this Chevron-step-two argument in a different
    part of this Opinion. See infra part V.B. In the present part of this Opinion (i.e., part
    III.B) we consider whether the public-promulgation requirement of 26 C.F.R. sec.
    1.482-1(h)(2) (2006) is met assuming that requirement is valid under Chevron step
    two.




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                  Insurance Agents, Inc., 399 F.2d 1010 (CA5 1968). See
                  Commissioner v. Morris Trust, 367 F.2d 794, 795 (CA4
                  1966).” These two opinions were in writing and were
                  published in the Federal Reporter. The statutory provision
                  itself was also in writing, e.g., it was published in the
                  Statutes at Large, although it had been omitted from the
                  United States Code. U.S. Nat’l Bank of Or. v. Indep. Ins.
                  Agents of Am., 508 U.S. 439 (1993); Commissioner v. First
                  Security Bank, 405 U.S. at 401 n.12. 166

           ●      In Procter & Gamble Co. v. Commissioner, 95 T.C. at 336,
                  the restrictions in question were reflected in letters from
                  the Spanish government, an order by the Spanish Ministry
                  of Industry, and Decree 3099/1976. These were written
                  documents.

           ●      In Texaco, Inc. v. Commissioner, 98 F.3d at 827, the
                  restrictions in question were “authorized by the King [of
                  Saudi Arabia] and communicated to Aramco by
                  [Petroleum] Minister Yamani in Letter 103/z, dated
                  January 23, 1979.” Letter 103/z was a written document.

    Thus, all three cases concerned legal restrictions that were in writing.
    Although the courts held that the legal restrictions must be accounted
    for in making transfer-pricing determinations, the courts did not
    address the question of whether an unwritten legal restriction must be
    accounted for.
           Furthermore, the three cases did not construe the public-
    promulgation requirement imposed by 26 C.F.R. sec. 1.482-1(h)(2)(ii)(A)
    (2006) because the transactions at issue were not governed by that
    provision. See supra part II.FF (describing the transactions at issue in
    First Security Bank), HH (describing the transactions at issue in Procter
    & Gamble and Texaco, Inc.), and NN (discussing the effective-date
    provisions of the 1994 final regulations). Because the three cases did
    not interpret this regulatory requirement, they did not address the
    meaning of the term “publicly promulgated”. In particular, they did not
    address the issue of whether a “publicly promulgated” restriction must
    be in writing.

            166 We have previously observed that the Supreme Court in Commissioner v.

    First Security Bank, 405 U.S. at 402, held that the prohibition on national banks’
    acting as insurance agents could be assumed to be a prohibition on national banks’
    receiving insurance commission income. See supra part II.FF.




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           In our view, a foreign legal restriction is “publicly promulgated”
    within the meaning of 26 C.F.R. sec. 1.482-1(h)(2)(ii)(A) (2006) only if
    the restriction is in writing. Taking unwritten restrictions into account
    in determining section 482 allocations would foster disputes between
    taxpayers and the Internal Revenue Service as to the substance of
    unwritten rules made by foreign governments. Furthermore, there
    would be uncertainty in the computation of federal tax liabilities to the
    extent such liabilities were potentially affected by such rules. We are
    reluctant to assign a meaning to the words of the regulation that would
    foster tax disputes and result in uncertainty about tax liabilities. See
    Mayo Found. for Med. Educ. & Res. v. United States, 562 U.S. 44, 59
    (2011) (holding that it is reasonable to interpret a statute in such a way
    as to avoid “continuing uncertainty” and “wasteful litigation”). The
    regulation in question was written by the agency charged with “the
    administration and enforcement” of the federal tax laws. Sec. 7801(a)(1)
    (setting forth powers and duties of Secretary of the Treasury). We hold
    that the regulation’s reference to a “publicly promulgated” restriction is
    meant to include only a written restriction. With this interpretation of
    the term “publicly promulgated” in 26 C.F.R. sec. 1.482-1(h)(2)(ii)(A)
    (2006) in mind, we now consider whether the Brazilian legal restrictions
    at issue in this case were publicly promulgated.

           Printed below is petitioner’s initial argument that the Brazilian
    legal restrictions were publicly promulgated:

                 In this case, a statute--the Brazilian Foreign Capital
          Law (Law No. 4131/1962)--required Brazilian companies
          wanting to remit royalties abroad to submit evidence of the
          licensing agreement to the Brazilian Central Bank. Stip.
          ¶ 74. The Brazilian Central Bank issued formal written
          guidance--Circular-Letter No. 2795--that required a
          Brazilian licensee wanting to submit royalties abroad to
          produce evidence that the licensing agreement had been
          recorded by the BPTO. Stip. ¶ 75.b.

                 Another statute--Law No. 3470/1958--imposed fixed
          ceilings on the tax deductibility of royalties that could be
          adjusted by the Brazilian Ministry of Finance. Stip. ¶ 87.
          The Ministry of Finance issued regulations establishing
          the deduction ceilings (Portaria No. 436/58, 113/59, 314/70,
          and 60/94). Stip. ¶ 88. Yet another statute--Law No.
          8383/1991--permitted “a Brazilian company to remit




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           royalties to its controlling foreign company to the extent
           such payments were made deductible for Brazilian tax
           purposes ....” Stip. ¶ 82.a. Thus, a statute restricted
           payment of royalties by imposing rate ceilings, and a
           regulation said what the rate ceilings were. These legal
           rules ought to satisfy any public promulgation
           requirement.

    And respondent’s position is this:

           [A]t least a portion of the restrictions upon which 3M relies
           were not publicly promulgated. The pricing restrictions
           under Law No. 8383/1991 do not expressly apply to
           technology transfer payments for unpatented technology
           (such as trade secrets).           Nonetheless, the BPTO
           administratively extends these restrictions to unpatented
           technology by way of an unwritten interpretation. Stip.
           ¶ 90.

    As to respondent’s position quoted above, petitioner concedes that “the
    pricing restrictions for royalties on unpatented technology were
    unwritten.” However, petitioner contends that these restrictions on
    technology-transfer payments were publicly promulgated by the BPTO
    because the stipulation states that (1) that the restrictions exist and
    (2) penalties would apply if 3M Brazil violated the restrictions.

           The Brazilian restrictions on technology-transfer payments are
    described in paragraph 90 of the stipulation, stating that “[u]nder” the
    BPTO’s interpretation of Law Nos. 4131/1962 and 8382/1991 the BPTO
    applies the same fixed ceilings that apply to patent or trademark
    royalties to technology-transfer payments. 167 Paragraph 90 further
    states that this interpretation was applied by the BPTO during 2006
    and that it was not “published”. As we noted before, petitioner concedes
    that the Brazilian restrictions on payments for technology transfers
    were unwritten. So, in short, the Brazilian legal restrictions on
    payments for technology transfers consist of the BPTO’s unwritten
    interpretation of law described in paragraph 90. Therefore, the question
    to consider is whether the BPTO’s unwritten interpretation described in
    paragraph 90 of the stipulation is publicly promulgated.


           167   These fixed ceilings apply only to payments to controlling foreign
    companies.




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           Petitioner contends that the BPTO’s interpretation should be
    considered to have been publicly promulgated because the
    interpretation exists. 168 But 26 C.F.R. sec. 1.482-1(h)(2)(ii)(A) (2006)
    requires not just that the foreign legal restriction exist. The restriction
    must also be “publicly promulgated.” To be “publicly promulgated” the
    restriction must be in writing, as we have explained. Petitioner
    concedes that the BPTO’s interpretation is unwritten. This concession
    is consistent with the stipulation, which says that the BPTO’s
    interpretation is “unpublished.” Given petitioner’s concession that the
    BPTO’s interpretation is unwritten, and given our interpretation of the
    public-promulgation regulatory requirement, it follows that the BPTO’s
    interpretation has not been publicly promulgated. 169

           Because we conclude that the restrictions on technology-transfer
    payments were not publicly promulgated, we cannot conclude that the
    relevant Brazilian legal restrictions were publicly promulgated. The
    relevant Brazilian legal restrictions include both limits on technology-
    transfer payments and limits on patent royalties. We know only the
    cumulative effect of these limits. Paragraph 126 of the stipulation
    establishes that the relevant Brazilian legal restrictions prohibited 3M
    Brazil from paying more than $9,387,909 for patent royalties and for
    technology transfers. 170 But the stipulation does not show how much of

            168 Petitioner states: “The Commissioner points out that the pricing restrictions

    for royalties on unpatented technology were unwritten (i.e., they were applied by
    analogy to the written rules applicable to patents)”. Resp. Br. 70.
          Although these rules were unwritten, they nonetheless were publicly
    promulgated by the BPTO. They were not secret rules.
            169 Still another aspect of the Brazilian legal restrictions is that if a product is

    covered by a patent license or by a technology-transfer agreement between a Brazilian
    company and a controlling foreign company, then any trademark license between the
    Brazilian company and the controlling foreign company for the same product must be
    granted royalty-free. As to products covered by patent licenses, this requirement
    would seem to be publicly promulgated. But as to products covered by technology-
    transfer agreements, this requirement is found only in an unwritten BPTO policy
    described in paragraph 94a of the stipulation.
            170The $9,387,909 amount was calculated before subtracting $5,104,756 of
    trademark royalties actually paid by 3M Brazil, a subtraction required by the Brazilian
    prohibition on a Brazilian company’s paying trademark royalties to its controlling
    foreign company for a product covered by a patent license or technology-transfer
    agreement. The $9,387,909 amount was also calculated before subtracting the
    $4,117,370 R&D offset, a subtraction required by paragraph 128 of the stipulation.
    When both the trademark royalty payment and the R&D offset are taken into account,
    the sec. 482 adjustment would be $165,785. This adjustment assumes that the




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    this maximum payment is attributable to the restrictions on patent
    royalties. Petitioner, bearing the burden of proof, is required to show
    how much the restrictions on patent royalties, standing alone, would
    affect the appropriate section 482 allocation. Petitioner has not made
    such a showing.

           We hold that the Brazilian legal restrictions at issue are not
    publicly promulgated.

           C.     Generally applicable

           The third requirement, which is set forth in 26 C.F.R. sec. 1.482-
    1(h)(2)(ii)(A) (2006), is that the foreign legal restriction be generally
    applicable to all similarly situated persons (both controlled and
    uncontrolled). Petitioner does not contend that the Brazilian legal
    restrictions are generally applicable. We hold that the Brazilian legal
    restrictions do not meet the general-applicability requirement.

           D.     Not part of commercial transaction

           The fourth requirement, which is set forth in 26 C.F.R. sec. 1.482-
    1(h)(2)(ii)(A) (2006), is that the foreign legal restriction not have been
    imposed as part of a commercial transaction between the taxpayer and
    the foreign government. Although respondent broadly contends that the
    Brazilian legal restrictions are not “publicly promulgated, generally
    applicable to all similarly situated persons (both controlled and
    uncontrolled) and not imposed as part of a commercial transaction
    between the taxpayer and the foreign sovereign”, respondent does not
    specifically contend that the Brazilian legal restrictions were imposed
    as part of commercial transactions between the 3M consolidated group
    and the government of Brazil. As a result, we hold that the Brazilian
    legal restrictions were not imposed as part of commercial transactions
    between the 3M consolidated group and the government of Brazil.

           E.     Exhaustion of remedies

            The fifth requirement, which is set forth in 26 C.F.R. sec. 1.482-
    1(h)(2)(ii)(B) (2006), is that a foreign legal restriction is taken into
    account only if the taxpayer has exhausted all remedies prescribed by
    foreign law or practice for obtaining a waiver of the restriction (other


    Brazilian restrictions on patent royalties and on technology-transfer payments are
    taken into account (and therefore reflects petitioner’s position).




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    than remedies that would have a negligible prospect of success if
    pursued). Respondent contends that 3M Company did not exhaust its
    remedies for obtaining a waiver of the relevant Brazilian restrictions.
    Petitioner disagrees.

           It is not necessary for us to resolve the question of whether 3M
    Company exhausted the remedies for obtaining a waiver of the Brazilian
    legal restrictions. As we have explained, the Brazilian legal restrictions
    at issue fail to meet the first, second, and third requirements of 26 C.F.R.
    sec. 1.482-1(h)(2) (2006). See supra part III.A, B, and C. And as we
    explain below, the Brazilian legal restrictions do not meet the sixth
    requirement. See infra part III.F.

           F.     Restriction on payment in any form

            The sixth requirement, which is set forth in 26 C.F.R. sec 1.482-
    1(h)(2)(ii)(C) (2006), is that a foreign legal restriction will be taken into
    account only if it “expressly prevented the payment or receipt, in any
    form, of part or all of the arm’s length amount that would be otherwise
    be required under section 482 (for example, a restriction that applies
    only to the deductibility of an expense for tax purposes is not a
    restriction on payment or receipt for this purpose)”. Respondent
    contends that the Brazilian legal restrictions do not meet the “any form”
    requirement described above because, respondent contends, “Brazilian
    law does not restrict 3M Brazil’s ability to pay dividends or interest-on-
    net-equity out of its earnings and profits, including out of the additional
    profits generated by reason of 3M Brazil’s failure to pay arm’s length
    compensation.” Petitioner agrees that the Brazilian legal restrictions
    fail this requirement.

           G.     Circumvention or violation of restriction

           The seventh requirement, which is set forth in 26 C.F.R. sec.
    1.482-1(h)(2)(ii)(D) (2006), is that a foreign legal restriction is taken into
    account only if the related parties did not engage in an arrangement
    that had the effect of circumventing the restriction and did not violate
    the restriction in a material respect. Respondent contends that 3M
    Brazil materially violated the Brazilian legal restrictions. Petitioner
    contends that 3M Brazil did not materially violate the Brazilian legal
    restrictions. We need not determine whether 3M Brazil materially
    violated the Brazilian legal restrictions, because we have held supra
    part III.A, B, C, E, and F, that five other requirements of 26 C.F.R. sec.
    1.482-1(h)(2) (2006) are not met.




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    IV.    Chevron step one

           In determining whether to defer to an agency’s interpretation of
    a statute, courts employ the two-step test articulated in Chevron,
    U.S.A., Inc. v. Natural Res. Def. Council, Inc., 467 U.S. 837, 842-843
    (1984). 171 Under Chevron step one, a court must, “applying the ordinary
    tools of statutory construction, * * * determine ‘whether Congress has
    directly spoken to the precise question at issue.’” City of Arlington, Tex.
    v. FCC, 569 U.S. 290, 296 (2013) (quoting Chevron, 467 U.S. at 842).
    And “[i]f the intent of Congress is clear, that is the end of the matter; for
    the court, as well as the agency, must give effect to the unambiguously
    expressed intent of Congress.” Chevron, 467 U.S. at 842-843. But if the
    statute is ambiguous, then under Chevron step two a court must defer
    to the agency’s interpretation of the statute if the interpretation is
    reasonable. Mayo Found. for Med. Educ. & Research v. United States,
    562 U.S. 44, 58 (2011); Chevron, 467 U.S. at 843-844. An agency’s
    interpretation that satisfies Chevron step two must be deferred to by a
    court even if the interpretation conflicts with a prior judicial
    interpretation of the statute. See Nat’l Cable & Telecomms. Ass’n v.
    Brand X Internet Servs., 545 U.S. 967, 982 (2005). However, if the prior
    judicial precedent had held that the statute was unambiguous, then the
    prior judicial interpretation controls over the agency interpretation. See
    id. (“A court’s prior judicial construction of a statute trumps an agency
    construction otherwise entitled to Chevron deference only if the prior

           171 In Mayo Found. for Med. Educ. & Research v. United States, 562 U.S. 44,

    50, 55-58 (2011), the Supreme Court held that the Chevron test, not the test under
    National Muffler Dealers Ass’n, Inc. v. United States, 440 U.S. 472 (1979), required
    the Court to defer to 26 C.F.R. sec. 31.3121(b)(10)-2(d)(3)(iii) (2005), a regulation
    which, like 26 C.F.R. sec. 1.482-1(h)(2) (2006), was promulgated pursuant to sec.
    7805(a). The National Muffler test was a multifactor test, as can be seen by the
    following text from National Muffler Dealers Assn., 440 U.S. at 477:
                    In determining whether a particular regulation carries out the
           congressional mandate in a proper manner, we look to see whether the
           regulation harmonizes with the plain language of the statute, its
           origin, and its purpose. A regulation may have particular force if it is
           a substantially contemporaneous construction of the statute by those
           presumed to have been aware of congressional intent. If the regulation
           dates from a later period, the manner in which it evolved merits
           inquiry. Other relevant considerations are the length of time the
           regulation has been in effect, the reliance placed on it, the consistency
           of the Commissioner’s interpretation, and the degree of scrutiny
           Congress has devoted to the regulation during subsequent re-
           enactments of the statute. * * *




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    court decision holds that its construction follows from the unambiguous
    terms of the statute and thus leaves no room for agency discretion.”); id.
    at 982-983 (“Only a judicial precedent holding that the statute
    unambiguously forecloses the agency’s interpretation, and therefore
    contains no gap for the agency to fill, displaces a conflicting agency
    construction.”).

           Petitioner argues that 26 C.F.R. sec. 1.482-1(h)(2) (2006) is
    invalid under Chevron step one because, in petitioner’s view, judicial
    precedents have held that predecessors to section 482 unambiguously
    provided that there can be no allocation of unreceived income under
    these statutes if receiving the income is prohibited by legal restrictions.
    The judicial precedents relied on by petitioner for this argument are L.E.
    Shunk Latex, First Security Bank, Procter & Gamble, and Exxon.

           Of these four cases, petitioner primarily relies on First Security
    Bank. Petitioner argues that in First Security Bank the Supreme Court
    held that the “plain meaning” of the predecessor to section 482 was that
    respondent cannot allocate to a taxpayer income that the taxpayer was
    prevented from receiving by a legal restriction.

          However, petitioner’s interpretation of First Security Bank is
    inconsistent with the portion of the opinion explaining the reasons for
    the holding. In that portion, there is an initial passage discussing the
    general principle that a taxpayer has income only to the extent the
    taxpayer has control over the income. Commissioner v. First Sec. Bank,
    405 U.S. at 403-404. The next part of the First Security Bank opinion,
    405 U.S. at 404-407, focused specifically on section 482 of the Internal
    Revenue Code of 1954. This portion explained that a regulation related
    to section 482 of the Internal Revenue Code embraced the control
    concept discussed in the initial passage. 26 C.F.R. sec. 1.482-1(b)(1)
    (1971). We now analyze in greater depth the two portions of the First
    Security Bank opinion, i.e., (1) the initial passage and (2) the section-
    482-specific portion.

           The initial passage of First Security Bank stated that no decision
    of the Supreme Court had found that a person had “taxable income that
    he did not receive and that he was prohibited from receiving”; that it
    had long been assumed that “the person to whom the income was
    attributed could have received it”; that it has also been assumed that “in
    order to be taxed for income, a taxpayer must have complete dominion
    over it”; and that “the assignment-of-income doctrine assumes that the
    income would have been received by the taxpayer had he not arranged




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    for it to be paid to another” (an assumption articulated in Corliss v.
    Bowers, 281 U.S. 376, 378 (1930): “The income that is subject to a man’s
    unfettered command and that he is free to enjoy at his own option may
    be taxed to him as his income”.). Commissioner v. First Sec. Bank, 405
    U.S. at 403-404. Petitioner places great weight on First Security Bank’s
    identification (in the initial passage) of the principle that a taxpayer
    does not have taxable income the taxpayer cannot legally receive. 172

           Significantly the initial passage in First Security Bank involved
    the interpretation of the predecessors of section 61, not the predecessors
    of section 482. First, the principle identified in the initial passage was
    an application of the proposition that “[t]he income that is subject to a
    man’s unfettered command and that he is free to enjoy at his own option
    may be taxed to him as his income”. Commissioner v. First Sec. Bank,
    405 U.S. at 403 (quoting Corliss, 281 U.S. at 378). This proposition is a
    judicial interpretation of section 61 and its predecessors.            See
    Commissioner v. Glenshaw Glass Co., 348 U.S. 426, 427-431 (1955)
    (holding that recovery of punitive damages for fraud and antitrust
    violations was gross income under section 22(a) of the Internal Revenue
    Code of 1939, 53 Stat. at 9, because the taxpayer had complete dominion
    over the recovery); Foley v. Commissioner, 87 T.C. 605, 608 (1986)
    (specifying section 61 of the Internal Revenue Code of 1954, 68A Stat. at
    17, as the source of the proposition that income is an accession to wealth
    over which a taxpayer has complete dominion). 173 Second, the initial
    passage also explained that the assignment-of-income doctrine
    concerned situations in which a taxpayer was taxed on income over
    which the taxpayer had control. Commissioner v. First Sec. Bank, 405
    U.S. at 403-404.       The assignment-of-income doctrine too is an
    interpretation of the predecessors of section 61, not the predecessors of
    section 482. See Sargent v. Commissioner, 929 F.2d 1252, 1258 (8th Cir.

            172 The principle was identified in the following sentence in Commissioner v.

    First Sec. Bank, 405 U.S. at 403:
                    We know of no decision of this Court wherein a person has been
            found to have taxable income that he did not receive and that he was
            prohibited from receiving. * * *
    The sentence addresses the situation in which (1) the income was not received and
    (2) it was illegal to receive the income. Under sec. 61, there is no taxable income in
    that situation. Cf. James v. United States, 366 U.S. 213 (1961) (stating that under sec.
    61, there is taxable income if (1) the income was received and (2) it was illegal to receive
    the income).
          173 Sec. 61 provides that gross income generally means all income from

    whatever source derived.




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    1991), rev’g 93 T.C. 572 (1989); Wilson v. United States, 530 F.2d 772,
    778-779 (8th Cir. 1976). Indeed, the cases cited in the initial passage as
    examples of the application of the assignment-of-income doctrine were
    resolved under the predecessors of section 61, not the predecessors of
    section 482. Commissioner v. First Sec. Bank, 405 U.S. at 403-404 &
    n.17; Harrison v. Schaffner, 312 U.S. 579, 581 (1941) (section 22(a) of
    the Revenue Act of 1928, 45 Stat. at 797); Helvering v. Horst, 311 U.S.
    112, 114 (1940) (section 22 of the Revenue Act of 1934, 48 Stat. at 686);
    Lucas v. Earl, 281 U.S. at 114 (1930) (section 213(a) of the Revenue Act
    of 1918, ch. 18, 40 Stat. at 1065). But the ultimate question in
    Commissioner v. First Sec. Bank, 405 U.S. at 400, involved respondent’s
    authority under the predecessors of section 482, not section 61. Thus,
    the initial passage does not constitute the complete explanation of First
    Security Bank’s holding. Such an explanation must necessarily involve
    the predecessors of section 482, since that was the statute supporting
    respondent’s position in First Security Bank.

          The following sentence was the transition between (1) First
    Security Bank’s discussion of section 61 principles and (2) its
    interpretation of the predecessors of section 482:

                   One of the Commissioner’s regulations for the
            implementation of § 482 expressly recognizes the concept
            that income implies dominion or control of the taxpayer.
            ***

    Commissioner v. First Sec. Bank, 405 U.S. at 404. 174 First Security
    Bank then quoted the “complete power” sentence from 26 C.F.R. sec.
    1.482-1(b)(1) (1971), 175 explaining that the “complete-power” sentence
    “is consistent with the control concept heretofore approved by this Court,
    although in a different context.”



            174 Petitioner’s description of this sentence in the First Security Bank opinion

    omits the Supreme Court’s reference to the regulation. Here is how petitioner
    describes the sentence:
            As the Supreme Court stated in First Security, section 482 “recognizes
            the concept that income implies dominion or control of the taxpayer.”
            405 U.S. 404.
           175 “The interests controlling a group of controlled taxpayers are assumed to

    have complete power to cause each controlled taxpayer so to conduct its affairs that its
    transactions and accounting records truly reflect the taxable income from the property
    and business of each of the controlled taxpayers.”




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         The First Security Bank opinion next stated that the allocation of
    income under section 482 of the Internal Revenue Code of 1954 was
    improper under the “complete power” regulation:

            The regulation, as applied to the facts in this case,
            contemplates that Holding Company--the controlling
            interest--must have “complete power” to shift income
            among its subsidiaries. It is only where this power exists,
            and has been exercised in such a way that the “true taxable
            income” of a subsidiary has been understated, that the
            Commissioner is authorized to reallocate under § 482. But
            Holding Company had no such power unless it acted in
            violation of federal banking laws. The “complete power”
            referred to in the regulations hardly includes the power to
            force a subsidiary to violate the law.

    Id. at 404-405. This passage, which holds the section 482 allocation to
    the banks was not authorized under 26 C.F.R. sec. 1.482-1(b)(1) (1971),
    is in our view the core reasoning of First Security Bank. The passage
    indicated that 26 C.F.R. sec. 1.482-1(b)(1) (1971) limited transfer-pricing
    allocations to those situations in which the income to be allocated could
    legally have been paid.

           That First Security Bank relied on a regulation rather than the
    text of the relevant statute indicates that First Security Bank did not
    hold that the statute was “unambiguous”. 176 Had it thought the statute
    to be unambiguous, the Supreme Court would not have had to rely on a
    regulation. See Barnhart v. Sigmon Coal Co., 534 U.S. 438, 462 (2002)
    (“In the context of an unambiguous statute, we need not contemplate
    deferring to the agency’s interpretation. See Chevron U.S.A. Inc. v.
    Natural Resources Defense Council, Inc., 467 U.S. 837, 842-843
    (1984).”); Andrade-Zamora v. Lynch, 814 F.3d 945, 951 (8th Cir. 2016)
    (“If the statute is unambiguous, we simply apply the statute.” (citing
    Hawkins v. Cmty. Bank of Raymore, 761 F.3d 937, 940 (8th Cir. 2014))).

             176 It is relevant whether First Security Bank held that the terms of the statute

    were unambiguous. Nat’l Cable & Telecomms. Ass’n v. Brand X Internet Servs., 545
    U.S. 967, 982 (2005) (“A court’s prior judicial construction of a statute trumps an
    agency construction otherwise entitled to Chevron deference only if the prior court
    decision holds that its construction follows from the unambiguous terms of the statute
    and thus leaves no room for agency discretion.”); id. at 982-983 (“Only a judicial
    precedent holding that the statute unambiguously forecloses the agency’s
    interpretation, and therefore contains no gap for the agency to fill, displaces a
    conflicting agency construction.”).




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    The statute in question in First Security Bank was section 482 of the
    Internal Revenue Code of 1954. Nothing indicates that First Security
    Bank thought that the unambiguous words of the statute justified its
    holding about the effect of legal restrictions. Although First Security
    Bank quoted the one-sentence statute in full, this quotation was
    relegated to a footnote to the first sentence of the opinion. The first
    sentence of the opinion was simply an introduction to the opinion:

                This case presents for review a determination by the
          Commissioner of Internal Revenue (Commissioner),
          pursuant to § 482 of the Internal Revenue Act [footnote
          quoting section 482 of the Internal Revenue Code of 1954],
          that the income of taxpayers within a controlled group
          should be reallocated to reflect the true taxable income of
          each.

    Commissioner v. First Sec. Bank, 405 U.S. at 395 & n.1. This
    introductory sentence merely framed the issue in the case as one arising
    under the predecessors of section 482 as opposed to some other provision
    of the Internal Revenue Code of 1954. Neither the footnote containing
    the text of this statute nor any other part of the First Security Bank
    opinion parsed the text of the statute so as to link the text of the statute
    to the principle that income cannot be attributed to a taxpayer who
    cannot legally receive it. That link was supplied by a regulation, 26
    C.F.R. sec. 1.482-1(b)(1) (1971), which, First Security Bank explained,
    embodied the concept that “income implies dominion or control of the
    taxpayer”. Id. at 404.

            In our view, First Security Bank did not hold that the predecessor
    of section 482 of the Internal Revenue Code of 1954 unambiguously
    precluded an allocation of income that could not be legally received. See
    Nat’l Cable & Telecomms. Ass’n, 545 U.S. at 982 (“A court’s prior judicial
    construction of a statute trumps an agency construction otherwise
    entitled to Chevron deference only if the prior court decision holds that
    its construction follows from the unambiguous terms of the statute and
    thus leaves no room for agency discretion.”); id. at 982-983 (“Only a
    judicial precedent holding that the statute unambiguously forecloses the
    agency’s interpretation, and therefore contains no gap for the agency to
    fill, displaces a conflicting agency construction.”). We therefore reject
    petitioner’s argument that “the Supreme Court in First Security
    determined that the plain meaning of section 482 precludes the
    interpretation adopted by the Commissioner in Treas. Reg. § 1.482-




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    1(h)(2).” In other words, we hold that First Security Bank was not a
    Chevron step one opinion. 177

           Petitioner also argues that L.E. Shunk Latex was a Chevron step
    one opinion. In L.E. Shunk Latex Prods., Inc. v. Commissioner, 18 T.C.
    at 961, the court held that section 45 of the Internal Revenue Code of
    1939 did not authorize the allocation of income to a taxpayer who could
    not legally receive the income. Section 45 of the Internal Revenue Code
    of 1939 was essentially the same as the first sentence of section 482. So
    if L.E. Shunk Latex had held that section 45 of the Internal Revenue
    Code of 1939 unambiguously precluded respondent from making an
    income allocation, as petitioner argues it held, then L.E. Shunk Latex is
    a precedent that arguably precludes the allocation respondent has made
    of income to 3M IPC in this case. 178 In our view, though, L.E. Shunk
    Latex is not a Chevron step one opinion. It held that respondent’s
    allocation under section 45 of the Internal Revenue Code of 1939 cannot
    disregard a legal restriction on the receipt of income but did not suggest
    that this holding stems from unambiguous statutory text. See Nat’l
    Cable & Telecomms. Ass’n, 545 U.S. at 982 (stating that prior judicial
    construction controls if “the prior court decision holds that its
    construction follows from the unambiguous terms of the statute”). The
    statute authorized respondent to allocate income among businesses “in
    order to clearly * * * reflect the income” of the businesses but did not
    refer to the effect of legal restrictions on the receipt of income. 179

           Furthermore, recall that Commissioner v. First Sec. Bank, 405
    U.S. at 404-405, expressly relied on the “complete power” sentence in
    the regulation. As explained before, First Security Bank’s reliance on a
    regulation suggests that First Security Bank did not hold the statute to
    be unambiguous. Petitioner contends that L.E. Shunk Latex, which was
    written in 1952, could not have relied on the regulation containing the
    “complete power” sentence because, petitioner contends, the regulation


            177 Of course, First Security Bank (1971) was written before Chevron (1984)

    and therefore would not have found it necessary to classify its reasoning as Chevron
    step one or Chevron step two. See United States v. Home Concrete & Supply, Inc., 566
    U.S. 478, 488-489 (2012) (plurality opinion).
           178   Remember though that sec. 482 now contains “commensurate-with-
    income”, which also serves to distinguish our case from L.E. Shunk Latex. We discuss
    the significance of this phrase later on.
           179 Unlike 26 C.F.R. sec. 1.482-2(h)(2) (2006) (giving rules for taking into

    account the effect of a “foreign legal restriction”).




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    was promulgated only in 1962. Petitioner’s contention is reflected in the
    following passage in its brief:

          The Supreme Court in First Security Bank said that the
          “views of the Tax Court [in L.E. Shunk] were correct. 405
          U.S. at 406, n.22. The decision in L.E. Shunk did not
          depend on the “complete power” regulation, which was
          adopted later13 and neither did the decision in First
          Security.

                 13The regulation was promulgated in 1962.   T.D. 6595, 1962-1
          C.B. 43, 1962 IRB LEXIS 321, at *20 (July, 1962)

    (Alleration in original.) At oral argument, petitioner also pressed the
    contention that L.E. Shunk Latex was decided before the promulgation
    of the regulation containing the “complete power” sentence:

          [A]ll this says is that the interest controlling a group of
          controlled taxpayers are assumed to have complete power
          to cause--basically it caused them to have their records
          truly reflect income. * * * Just one more thing on that
          point--L.E. Shunk was decided before this regulation by the
          Tax Court and so, obviously, this regulation had no effect
          on the L.E. Shunk decision and the Supreme Court in First
          Security said it agreed with L.E. Shunk.

    (Emphasis added.) We reject petitioner’s theory that the “complete
    power” sentence first arose in 1962 and that therefore L.E. Shunk Latex
    could not have relied on the “complete power” sentence. The “complete
    power” sentence first appeared in 1934 with the promulgation of
    Regulations 86. Art. 45-1(b), Regulations 86 Relating to the Income Tax
    Under the Revenue Act of 1934, at 123. The “complete power” sentence
    also appeared in section 29.45-1(b) of Regulations 111, which had been
    published in the Federal Register in 1943 and in the Cumulative
    Supplement to the Code of Federal Regulations in 1944. 8 Fed. Reg.
    14882 (Nov. 3, 1943). Significantly, Regulations 111 was effective for
    tax years beginning after December 31, 1941. Sec. 29.1-1, Regulations
    111 relating to the Income Tax Under the Internal Revenue Code 1. The
    years at issue in L.E. Shunk Latex were 1942, 1943, and 1945. L.E.
    Shunk Latex Prods., Inc. v. Commissioner, 18 T.C. at 955. Although
    Regulations 111 was amended in 1944, see T.D. 5426, 10 Fed. Reg. 23
    (Jan. 2, 1945), 26 C.F.R. sec. 29.45-1 (1944 Supp.), and this amendment
    was seemingly effective starting with the 1944 tax year and thus would




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    seem to have been effective with respect to the 1945 tax year in L.E.
    Shunk Latex, the 1944 amendment did not appreciably change the
    “complete power” sentence or the passage containing it. To wit, before
    the 1944 amendment the “complete power” passage was:

          The interests controlling a group of controlled taxpayers
          are assumed to have complete power to cause each
          controlled taxpayer so to conduct its affairs that its
          transactions and accounting records truly reflect the net
          income from the property and business of each of the
          controlled taxpayers. If, however, this has not been done,
          and the taxable net incomes are thereby understated, the
          statute contemplates that the Commissioner shall
          intervene, and, by making such distributions,
          apportionments, or allocations as he may deem necessary
          of gross income or deductions, or of any item or element
          affecting net income, between or among the controlled
          taxpayers constituting the group, shall determine the true
          net income of each controlled taxpayer. * * *

    26 C.F.R. sec. 29.45-1(b) (Cum. Supp. 1944). After the 1944 amendment,
    the “complete power” passage was:

          The interests controlling a group of controlled taxpayers
          are assumed to have complete power to cause each
          controlled taxpayer so to conduct its affairs that its
          transactions and accounting records truly reflect the net
          income from the property and business of each of the
          controlled taxpayers. If, however, this has not been done,
          and the taxable net incomes are thereby understated, the
          statute contemplates that the Commissioner shall
          intervene, and, by making such distributions,
          apportionments, or allocations as he may deem necessary
          of gross income[,] deductions, credits, or allowances or of
          any item or element affecting net income, between or
          among the controlled taxpayers constituting the group,
          shall determine the true net income of each controlled
          taxpayer. * * *

    26 C.F.R. sec. 29.45-1 (1949). As can be seen, the 1944 amendment to
    the “complete power” passage in Regulations 111 was insignificant.
    Regulations 111 was not superseded until the 1953 promulgation of




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    Regulations 118, a series of regulations which also contained the
    complete-power passage. 26 C.F.R. sec. 39.45-1(b)(1) (1953).

           In 1962, the Treasury Department promulgated regulations
    under section 482 of the Internal Revenue Code of 1954. T.D. 6595, 27
    Fed. Reg. 3597 (Apr. 13, 1962), codified at 26 C.F.R. sec. 1.482-1 (1961
    ed. 1965 Cum. Supp.). These 1962 regulations included the passage
    containing the “complete power” sentence. 26 C.F.R. sec. 1.482-1(b)(1)
    (1961 ed. 1965 Cum. Supp.). However, the same passage was in section
    29.45-1 of Regulations 111, which was in effect for the three tax years
    at issue in L.E. Shunk Latex. 26 C.F.R. sec. 29.45-1(b) (Cum. Supp.
    1944) (before 1944 amendment); 26 C.F.R. sec. 29.45-1(b) (1949) (after
    1944 amendment).

           There were some irregularities in the official publication of
    section 29.45-1 of Regulations 111. Regulations 111 should seemingly
    have been published in the 1943 Supplement to the Code of Federal
    Regulations, not just the Cumulative Supplement to the Code of Federal
    Regulations. 180 And in the Federal Register, section 29.45-1 of
    Regulations 111 was inexplicably published with the prefix “9.” instead
    of “29.” Although these discrepancies may make it difficult for today’s
    researchers to find section 29.45-1 of Regulations 111, they do not
    detract from the proposition that section 29.45-1 of Regulations 111 was
    effective as to the transactions at issue in L.E. Shunk Latex. That
    section 29.45-1 of Regulations 111 was effective as to the transactions at
    issue in L.E. Shunk Latex is supported by the fact that the opinion cited
    section 29.45-1 of Regulations 111 three times. L.E. Shunk Latex
    Prods., Inc. v. Commissioner, 18 T.C. at 956, 958.

            Consequently, we are not persuaded by petitioner’s view that the
    regulation containing the “complete power” sentence was not effective
    for, or in existence for, the years at issue in L.E. Shunk Latex.

          Although the “complete power” sentence was in effect for the
    years at issue in L.E. Shunk Latex Prods., Inc. v. Commissioner, 18 T.C.
    at 956, the opinion did not quote that sentence. 181 By contrast,
    Commissioner v. First Sec. Bank, 405 U.S. at 404, quoted the “complete
    power” sentence, and also explained that this sentence led to its

             And Regulations 111 erroneously stated that it was part of the 1943
           180

    Supplement to the Code of Federal Regulations.
           181 L.E. Shunk Latex quoted the tax-parity sentence, which, like the “complete

    power” sentence, was in subparagraph (1) of sec. 29.45-1(b) of Regulations 111.




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    conclusion that section 482 could not result in the allocation of income
    to a taxpayer for whom receipt of the income was illegal. As
    Commissioner v. First Sec. Bank, 405 U.S. at 404-405, explained:

           The regulation, as applied to the facts in this case,
           contemplates that Holding Company--the controlling
           interest--must have “complete power” to shift income
           among its subsidiaries. It is only where this power exists,
           and has been exercised in such a way that the “true taxable
           income” of a subsidiary has been understated, that the
           Commissioner is authorized to reallocate under § 482. But
           Holding Company had no such power unless it acted in
           violation of federal banking laws. The “complete power”
           referred to in the regulations hardly includes the power to
           force a subsidiary to violate the law.

    By contrast, no textual link can be found in the L.E. Shunk Latex
    opinion between (1) the “complete power” sentence and (2) its holding
    that “the Commissioner had no authority to attribute to * * * [the two
    manufacturers] income which they could not have received.” L.E. Shunk
    Latex Prods., Inc. v. Commissioner, 18 T.C. at 961. 182
           Because First Security Bank cited L.E. Shunk Latex with favor,
    and because L.E. Shunk Latex did not expressly rely on the complete-
    power sentence, petitioner argues that First Security Bank did not rely
    on the complete-power regulation. We reject this argument. It is
    speculative to assume that L.E. Shunk Latex would not have been
    decided differently in the absence of the complete-power sentence. More
    importantly, Commissioner v. First Sec. Bank, 405 U.S. at 404-405,
    expressly stated that its result followed from the complete-power
    sentence.

         Petitioner alternatively suggests that we could set First Security
    Bank aside and rely entirely on L.E. Shunk Latex 183 for the proposition


           182 Commissioner v. First Sec. Bank, 405 U.S. at 406, observed that L.E. Shunk

    Latex’s statement that the Commissioner “had no authority to attribute to petitioners
    income which they could not have received” constituted the holding of L.E. Shunk
    Latex and stated that L.E. Shunk Latex was a “closely analogous situation” to First
    Security Bank.
            183 L.E. Shunk Latex is an Opinion of the Tax Court of the United States. We

    are a continuation of that court. Tax Reform Act of 1969, Pub. L. No. 91-172, sec. 961,
    83 Stat. at 735-736 (“The United States Tax Court * * * is a continuation of the Tax
    Court of the United States as it existed prior to the date of enactment of this Act”.).




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    that no income can be allocated to a taxpayer under section 482 that a
    taxpayer could not receive. Even if petitioner were correct that L.E.
    Shunk Latex concluded that the statute was unambiguous, 184 that
    holding would conflict with First Security Bank, for First Security Bank
    held the same statute to be ambiguous. In such a conflict, the Supreme
    Court’s view should prevail over a lower court’s. We would therefore
    reject petitioner’s argument that we should adopt L.E. Shunk Latex’s
    interpretation of a statute over First Security Bank’s.

           Petitioner also argues that the Tax Court’s Procter & Gamble
    opinion was a Chevron step one opinion. The holding of Procter &
    Gamble Co. v. Commissioner, 95 T.C. at 335-336, can be found in the
    following passage: “We find First Security Bank and Salyersville
    National Bank compelling with respect to the issue before the Court. As
    we understand these cases, section 482 simply does not apply where
    restrictions imposed by law, and not the actions of the controlling
    interest, serve to distort income among the controlled group.” The term
    “these cases” referred to First Security Bank and to Salyersville
    National Bank v. United States, 613 F.2d 650 (6th Cir. 1980), which was
    a Sixth Circuit opinion that followed directly from First Security Bank.
    Procter & Gamble Co. v. Commissioner, 95 T.C. at 335. The holding of
    Procter & Gamble did not encompass a view that the text of section 482
    of the Internal Revenue Code of 1954 was unambiguous. Rather,
    Procter & Gamble relied on First Security Bank’s interpretation of
    section 482 of the Internal Revenue Code of 1954. Procter & Gamble Co.
    v. Commissioner, 95 T.C. at 335-336. First Security Bank in turn did
    not state that its holding followed from the unambiguous text of section
    482 of the Internal Revenue Code of 1954. Instead, Commissioner v.
    First Sec. Bank, 405 U.S. at 405, relied on the “complete power”
    regulatory sentence to interpret section 482. See 26 C.F.R. sec. 1.482-
    1(b)(1) (1971). Indeed, the Tax Court’s opinion in Procter & Gamble, 95
    T.C. at 334-335, recognized that First Security Bank had relied on the
    “complete power” sentence. 185 Furthermore, the Sixth Circuit’s opinion,


           184 We emphasize that we do not think that L.E. Shunk Latex held that the

    statute was unambiguous.
            185 Addressing the significance of the deferred-income method of accounting in

    the 1968 regulations, 26 C.F.R. sec. 1.482-1(d)(6) (1971), the Tax Court stated that the
    regulations under sec. 482 of the Internal Revenue Code of 1954 “do not apply” because
    of “our holding that section 482” does not apply. Procter & Gamble Co. v.
    Commissioner, 95 T.C. at 341. However, as we have just explained, the holding that
    the statute did not apply was not reasoned from the statutory text, but from First
    Security Bank, which in turn relied on the “complete power” regulatory sentence.




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    affirming the Tax Court, also relied on First Security Bank. Procter &
    Gamble Co. v. Commissioner, 961 F.2d at 1259. The Sixth Circuit
    observed that First Security Bank had in turn relied on the “complete
    power” sentence: “The [First Security Bank] Court stated that the
    ‘complete power’ referred to in Treas. Reg. § 1.482-1(b)(1) does not
    include the power to force a subsidiary to violate the law.” Procter &
    Gamble Co. v. Commissioner, 961 F.2d at 1259. 186 Thus, both the Tax
    Court and the Sixth Circuit relied ultimately on the “complete power”
    sentence in the 1934 regulation. They did not hold that the statute was
    unambiguous. They are not Chevron step-one opinions.

            Petitioner also argues that Texaco, Inc. v. Commissioner, 98 F.3d
    825, was a Chevron step-one opinion. In Texaco, the Fifth Circuit held
    that the First Security Bank opinion prevented respondent from making
    an allocation of income to Textrad, a U.S. company, because Textrad was
    prevented by Saudi law from charging a full market price when selling
    oil to its foreign refining affiliates. Id. at 828 (“We also agree with the
    Tax Court’s legal conclusion that the teaching of Commissioner v. First
    Sec. Bank, 405 U.S. 394, 92 S. Ct. 1085, 31 L.Ed.2d 318 (1972), bars the
    Commissioner from allocating income to Textrad on its sales of Saudi
    crude under § 482.”). The Fifth Circuit Texaco opinion did not state that
    its holding was based on the unambiguous text of section of 482 of the
    Internal Revenue Code of 1954. Rather, the Fifth Circuit relied on the
    First Security Bank opinion. Texaco, Inc. v. Commissioner, 98 F.3d at
    828. The Fifth Circuit observed in Texaco, Inc. v. Commissioner, 98 F.3d
    at 829, that the First Security Bank opinion had in turn relied on the
    “complete power” regulation:

           Indeed, as the Court noted, the Commissioner’s own
           regulations for implementing § 482 contemplate that the
           controlling interest “must have ‘complete power’ to shift
           income among its subsidiaries.” Id. at 404-05, 92 S. Ct. at
           1091-92 (quoting 26 C.F.R. § 1.482-1(b)(1) (1971)).

    The Fifth Circuit had earlier observed that the complete-power sentence
    was in the then-current volume of the Code of Federal Regulations, 26
    C.F.R. sec. § 1.482-1A(b)(1) (1996). Id. at 828 n.4; see supra part II.HH

            186 Directly analyzing the meaning of the “complete power” sentence, the Sixth

    Circuit’s opinion stated that the “complete power” sentence recognized that respondent
    is authorized to make a transfer-pricing allocation only when the distortion of income
    results from the exercise of common control, not when the distortion of income results
    from a legal restriction. Procter & Gamble Co. v. Commissioner, 961 F.2d at 1258.




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    (the last paragraph, which discusses what version of the section 482
    regulations was referred to in the Fifth Circuit’s Texaco opinion). The
    Fifth Circuit’s observation about the existence of the regulation, and its
    reliance on First Security Bank, causes us to conclude that Texaco is not
    a Chevron step-one opinion.

           Another aspect of the four opinions we have discussed (First
    Security Bank, 405 U.S. 394, L.E. Shunk Latex, 18 T.C. 940, Procter &
    Gamble Co., 95 T.C. 323, and Texaco, 98 F.3d 825) is that each opinion
    interpreted the one-sentence version of the statute. In 1986, Congress
    added a second sentence to the effect that when there is a license or
    transfer of intangible property, the income with respect to such a license
    or transfer must be commensurate with the income attributable to the
    intangible. Tax Reform Act of 1986, sec. 1231(e)(1), 100 Stat. at 2562-
    2563. 187 3M IPC allowed 3M Brazil to use its patents; it also transferred
    unpatented technology to 3M Brazil. Respondent seeks to allocate
    income to 3M IPC for the use of the patents and for the transfer of
    unpatented technology in amounts that correlate with the income
    earned by 3M Brazil from its use of the patents and the transfer to it of
    unpatented technology. The proposed allocation is consistent with the
    1986 statutory amendment. The income respondent seeks to allocate to
    3M IPC is commensurate with the income attributable to the intangible
    property. Therefore, the four opinions are distinguishable because they

            187 The statutory text that is effective for the 2006 year of the 3M consolidated

    group is sec. 482 of the Internal Revenue Code of 1986. Sec. 482 of the Internal
    Revenue Code of 1954 had contained the following single sentence:
                    In any case of two or more organizations, trades, or businesses
            (whether or not incorporated, whether or not organized in the United
            States, and whether or not affiliated) owned or controlled directly or
            indirectly by the same interests, the Secretary or his delegate [in 1976,
            the term “Secretary or his delegate” was replaced with the term
            “Secretary”, Pub. L. No. 94-455, sec. 1906(b)(13)(A), 90 Stat. at 1834,
            an inconsequential change] may distribute, apportion, or allocate gross
            income, deductions, credits, or allowances between or among such
            organizations, trades, or businesses, if he determines that such
            distribution, apportionment, or allocation is necessary in order to
            prevent evasion of taxes or clearly to reflect the income of any of such
            organizations, trades, or businesses.
    68A Stat. at 162. Sec. 482 of the Internal Revenue Code of 1986, however, contained
    the following additional sentence: “In the case of any transfer (or license) of intangible
    property (within the meaning of section 936(h)(3)(B)), the income with respect to such
    transfer or license shall be commensurate with the income attributable to the
    intangible.” This sentence had been added by the Tax Reform Act of 1986, sec.
    1231(e)(1), 100 Stat. at 2562-2563.




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    construed the pre-1986 statutory           provision   that    lacked   the
    commensurate-with-income sentence.

           But petitioner argues that the 1986 statutory change is irrelevant
    to the effect of legal restrictions on section 482 allocations because, in
    petitioner’s view, the scope of the 1986 amendment is limited to the
    purpose attributed to it by the report of the House Ways & Means
    Committee. Petitioner observes that that report stated that the
    committee intended the 1986 amendment to “make it clear that industry
    norms or other unrelated party transactions do not provide a safe-harbor
    minimum payment for related party intangibles transfers” and that
    “consideration * * * be given the actual profit experience realized as a
    consequence of the transfer.” H.R. Rept. No. 99-426, at 425, 1986-3 C.B.
    (Vol. 2), at 425. Thus, petitioner contends that the legislative intent for
    the 1986 amendment was to require that “income from intangibles be
    commensurate with income over an extended timeframe.” Petitioner
    also observes that the Blue Book stated that the 1986 statutory
    amendment had been intended to ensure that “consideration also be
    given to the actual profit experience realized as a consequence of the
    transfer” of intangibles and that “payments made for the intangible be
    adjusted over time to reflect changes in the income attributable to the
    intangible.” Staff of J. Comm. on Taxation, General Explanation of the
    Tax Reform Act of 1986, at 1016 (J. Comm. Print 1987). Petitioner
    further notes that neither the House report, the conference committee
    report, nor the Blue Book mentions legal restrictions on the payment or
    receipt of income and that none of these publications refers to First
    Security Bank or L.E. Shunk Latex. Respondent responds that the
    congressional intent behind the 1986 amendment is documented by the
    conference committee report, H.R. Conf. Rept. No. 99-841 (Vol. II), at II-
    637, 1986-3 C.B. (Vol. 4) at 637, which stated that the object of the
    amendment was to ensure that “the division of income between related
    parties reasonably reflect the relative economic activity undertaken by
    each”. In respondent’s view, the way respondent has applied 26 C.F.R.
    sec. 1.482-1(h)(2) (2006) in this case is consistent with the 1986 statutory
    change because the change was designed to “address a growing concern
    that multinational companies, such as 3M, were transferring valuable
    intangibles offshore for less than arm’s length consideration”. First
    Security Bank and the other three cases, according to respondent, are
    distinguishable because they had not “addressed allocation of income
    subject to foreign legal restrictions under section 482 as amended by the
    Tax Reform Act of 1986.”




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           We do not agree with petitioner that the scope of the
    commensurate-with-income sentence added in 1986 is limited to the
    narrow “timeframe” purpose identified in the House report and the
    Bluebook. Even if that could be said to be Congress’ purpose for the
    1986 amendment, Congress used remarkably broad wording in the
    commensurate-with-income sentence. It was the text of the 1986
    amendment that was enacted by Congress, not the purpose behind the
    amendment. See Oncale v. Sundowner Offshore Servs., Inc., 523 U.S.
    75, 79 (1998) (“[I]t is ultimately the provisions of our laws rather than
    the principal concerns of our legislators by which we are governed.”) As
    we explained supra part II.K, a portion of the 1994 final regulations
    addressed the “timeframe” concern identified in the House report and
    the Blue Book.        26 C.F.R. sec. 1.482-4(f)(2) (2006) (1994 final
    regulations). If petitioner is right that the scope of the commensurate-
    with-income sentence of section 482 is limited to remedying the
    “timeframe” concern, then only this small portion of the vast 1994 final
    regulations was authorized by the second sentence of section 482. The
    rest of the 1994 final regulations would be unauthorized, including the
    comparable-profits method, 26 C.F.R. sec. 1.482-5 (2006), and the profit-
    split method, 26 C.F.R. sec. 1.482-6 (2006). These methods have a strong
    conceptual tie to the commensurate-with-income standard. 188

            188 The comparable-profits method is strongly linked to the commensurate-

    with-income standard. The 1988 White Paper proposed a rate-of-return approach for
    determining the proper charge for an intangible property under the commensurate
    with income standard. See 57 Fed. Reg. 3572 (Jan. 30, 1992) (1992 notice of proposed
    rulemaking) (explaining that the basic arm’s-length rate of return method described
    in the White Paper was an “approach[] for determining the proper charge for an
    intangible under the commensurate with income standard”). The comparable-profit-
    interval method in the 1992 proposed regulations was based on the rate-of-return
    approach. See 57 Fed. Reg. 3572-3573 (1992 notice of proposed rulemaking)
    (explaining that the methods put forward for pricing intangible property in the 1992
    proposed regulations, which were, in order of priority, the matching-transaction
    method, the comparable-adjustable-transaction method, and the comparable-profit-
    interval method, were formulated in response to the criticism of the prominent role
    accorded in the White Paper to the basic arm’s-length rate of return method). The
    comparable-profits method, adopted in the 1993 temporary regulations and the 1994
    final regulations, was “broadly similar” to the comparable-profit interval method from
    the 1992 proposed regulations. T.D. 8552, 59 Fed. Reg. 34974 (preamble to the 1994
    final regulations).
           The profit-split method is also strongly linked to the commensurate-with-
    income standard. See G. Michael Tilton, U.S. International Tax Forms Manual:
    Compliance & Reporting, para. 9.08 (2020) (“The 1986 amendment to the statute
    created legislative sanction to use a profit-split analysis, at least in part. That
    amendment, which added just one sentence to the statute, was limited by its terms to




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           Furthermore, Congress was likely aware that by the time of the
    1986 amendment, much of the interpretation of predecessors of section
    482 had been made through regulations promulgated by the Treasury
    Department. T.D. 6595, 27 Fed. Reg. 3595 (Apr. 14, 1962) (1962
    regulations); T.D. 6952, 33 Fed. Reg. 5848 (Apr. 16, 1968) (1968
    regulations). It is reasonable to think that Congress would have
    expected that the interpretive questions posed by section 482 as
    amended in 1986 would be resolved by subsequent regulations, not by
    pre-amendment legislative history. Indeed, the conference committee
    report urged the Treasury Department to adopt new regulations.
    Specifically, the conference committee report stated that the committee
    was aware that “many important and difficult issues under section 482
    are left unresolved by this legislation”, that the committee believed that
    the executive branch should conduct a comprehensive study of the 1968
    regulations, and that the executive branch should carefully consider
    whether the 1968 regulations should be modified “in any respect.” H.R.
    Conf. Rept. No. 99-841 (Vol. II), at II-638, 1986-3 C.B. (Vol. 4) at 638.

           Petitioner has a contention that bears on the proposition that
    Congress intended the Treasury Department to promulgate regulations
    to interpret section 482 after the 1986 amendment. Petitioner contends
    that the Treasury Department never indicated that there was a link
    between the 1986 amendment and the 1994 regulations regarding
    foreign legal restrictions. 189 To evaluate the merits of this contention
    we will review the various administrative pronouncements made by the
    Treasury Department from 1986 to 1994. We begin with the 1988 White
    Paper, which was the comprehensive Treasury Department and IRS
    study of section 482 requested by the 1986 conference committee report.
    Notice 88-123, 1988-2 C.B. 458. The White Paper discussed the
    commensurate-with-income sentence that was added to the statute in
    1986 but did not discuss foreign or domestic legal restrictions on the
    receipt of income. Id., 1988-2 C.B. at 472-475, 478-480. The preamble
    to the 1992 proposed regulations discussed the commensurate-with-
    income sentence, 57 Fed. Reg. 3571, 3574 (Jan. 30, 1992), but the 1992


    transfer prices for intangible property, but the 1994 final regulations provide that the
    profit-split method may be used as a check on another method or as a separate
    method.”).
           189 Petitioner argues: “But the Commissioner is wrong when he asserts that

    the TRA 1986 amendment modified the holding of First Security. * * * The
    Commissioner made no such claim in the White Paper. Nor did Treasury cite TRA
    1986 as one of its reasons for adopting Treas. Reg. § 1.482-1(h)(2) anywhere in the
    administrative record”.




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    proposed regulations did not involve legal restrictions on the receipt of
    income, id. at 3578-3601. On January 21, 1993, the Treasury
    Department published two documents that were related to each other:
    Treasury Decision 8470, 58 Fed. Reg. 5263, and a notice of proposed
    rulemaking, 58 Fed. Reg. 5310. Treasury Decision 8470 contained the
    text of the 1993 temporary regulations. The preamble to Treasury
    Decision 8470 had a section labeled “Introduction” that discussed the
    1986 commensurate-with-income amendment. 58 Fed. Reg. 5264. The
    preamble to Treasury Decision 8470 also had a section labeled
    “Provisions of the Temporary Regulations” that addressed particular
    provisions in the 1993 temporary regulations. The 1993 temporary
    regulations did not involve legal restrictions on the receipt of income
    except for creating a placeholder for rules involving foreign legal
    restrictions. 26 C.F.R. sec. 1.482-1T(f)(2) (1994) (1993 temporary
    regulations). The 1993 notice of proposed rulemaking, issued on the
    same day as the Treasury Decision, proposed that the 1993 temporary
    regulations be made final. 58 Fed. Reg. 5310, 5312-5313. The 1993
    notice of proposed rulemaking also proposed that rules regarding foreign
    legal restrictions be added at regulation section 1.482-1T(f)(2). 58 Fed.
    Reg. 5312-5313. The preamble to the 1993 notice of proposed
    rulemaking did not contain an “Introduction” section like Treasury
    Decision 8470. It contained a section titled “Explanation of Proposed
    Regulations” discussing particular provisions of the proposed
    regulations. This section did not refer to the commensurate-with-
    income sentence added to the statute in 1986. But if one views the two
    January 21, 1993 documents as related to each other, then the
    discussion of the commensurate-with-income sentence in the preamble
    to Treasury Decision 8470 explained not just Treasury Decision 8470
    but also the proposed regulations in the notice of proposed rulemaking.
    In 1994, the Treasury Department published Treasury Decision 8552,
    59 Fed. Reg. 34971 (July 8, 1994), which contained the 1994 final
    regulations. The 1994 final regulations consisted of final versions of
    (1) the 1993 temporary regulations, which had also been proposed
    regulations, and (2) the 1993 proposed regulation regarding foreign legal
    restrictions. The preamble to Treasury Decision 8552 discussed
    Treasury Decision 8470 (Jan. 21, 1993) and the notice of proposed
    rulemaking (Jan. 21, 1993) as if the two documents were integral to each
    other. 59 Fed. Reg. 34972. Furthermore, the preamble to Treasury
    Decision 8552 had a section titled “Introduction” that discussed the 1986
    addition of the commensurate-with-income sentence to the statute. 59
    Fed. Reg. 34972. So to summarize, the Treasury Department did draw
    a link between the commensurate-with-income statutory change and the
    rules regarding foreign legal restrictions in 26 C.F.R. sec. 1.482-1(h)(2)




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    (2006) (1994 final regulations). First, the 1986 statutory change was
    discussed in the “Introduction” portion of the preamble to Treasury
    Decision 8470. 58 Fed. Reg. 5264. Treasury Decision 8470 was issued
    the same day as the notice of proposed rulemaking, January 21, 1993,
    setting forth the proposed regulations on foreign legal restrictions. T.D.
    8470, 58 Fed. Reg. 5310; sec. 1.482-1T(f)(2), Proposed Income Tax Regs.,
    58 Fed. Reg. 5312-5313. The two documents were related to each other.
    See T.D. 8552, 59 Fed. Reg. 34972. Second, the 1986 statutory change
    was discussed in the preamble to Treasury Decision 8552 under the
    heading “Introduction”. 59 Fed. Reg. 34972. Treasury Decision 8552
    contained the 1994 final regulations, including the rules in section
    1.482-1(h)(2) of the 1994 final regulations which addressed foreign legal
    restrictions. 59 Fed. Reg. 35000-35001; 26 C.F.R. sec. 1.482-1(h)(2)
    (2006) (1994 final regulations). Petitioner is therefore incorrect to
    suggest that there is no link between the 1986 statutory change and 26
    C.F.R. sec. 1.482-1(h)(2) (2006) (1994 final regulations). 190
           Petitioner invokes the 2012 Supreme Court opinion of Home
    Concrete in support of its argument that 26 C.F.R. sec. 1.482-1(h)(2)
    (2006) is invalid. But applying the analysis of Home Concrete reaffirms
    our conclusion that the prior caselaw does not resolve this case. In
    United States v. Home Concrete & Supply, LLC, 566 U.S. 478, 480, 486
    (2012) (plurality opinion), the Supreme Court resolved a conflict
    between (1) its 1958 opinion in Colony, Inc. v. Commissioner, 357 U.S.
    28 (1958), and (2) a Treasury regulation promulgated in 2010. 26 C.F.R.
    sec. 301.6501(e)-1(a)(1)(iii) (2011). Colony had interpreted a provision
    of the Internal Revenue Code of 1939. Home Concrete & Supply, 566
    U.S. at 481. According to Home Concrete, the opinion in Colony had
    held that Congress “had ‘directly spoken to the question at hand’” and
    therefore “left ‘[no] gap for the agency to fill’.” Id. at 489 (plurality
    opinion) (citing Chevron, 467 U.S. at 842-843). Significantly Home
    Concrete also explained that the “operative language” of the statute
    interpreted by the 2010 regulation was not different from the provision

             190 Although we have directly addressed petitioner’s argument on its face by

    explaining that the Treasury Department linked the 1986 statutory change to the 1994
    regulations regarding foreign legal restrictions, we are skeptical that the Treasury
    Department was actually required to draw such a link. At this stage in the analysis,
    the question is whether First Security Bank is binding precedent as to this case.
    Respondent’s argument is that First Security Bank is not binding precedent as to this
    case because First Security Bank interpreted the statute before it was changed in 1986.
    The validity of respondent’s view that First Security Bank is distinguishable because
    it interpreted the pre-1986 version of the statute does not appear to hinge on whether
    the Treasury Department articulated a link between the 1986 statutory change and
    the 1994 regulations regarding foreign legal restrictions.




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    of the Internal Revenue Code of 1939 interpreted by Colony. Id. at 483-
    484. Although there had been changes to portions of the tax laws other
    than the provision interpreted by Colony, the Supreme Court in Home
    Concrete explained that these changes failed “to exert an interpretive
    force sufficiently strong to affect our conclusion.” Id. at 485. Home
    Concrete is distinguishable. Unlike Colony, First Security Bank did not
    hold that Congress had “directly addressed the precise question at
    issue”. See Home Concrete & Supply, 566 U.S. at 488 (plurality opinion)
    (quoting Chevron, 467 U.S. at 843). Furthermore, compared to the
    changed statutory text in Colony, the addition of the commensurate-
    with-income sentence to the statute in 1986 has stronger “interpretive
    force” because respondent’s position--of allocating income to 3M IPC
    commensurate with income from intangibles--is supported by the text of
    the 1986 amendment. Therefore, Home Concrete does not counsel the
    invalidation of 26 C.F.R. sec. 1.482-1(h)(2) (2006) (1994 final
    regulations) on the grounds of the regulation’s conflict with First
    Security Bank.

           Having rejected petitioner’s argument that caselaw has already
    held that section 482 is unambiguous, we next consider whether section
    482 is actually unambiguous. 191 This is a Chevron step one question
    that depends on whether Congress has “directly addressed the precise
    question at issue”. Chevron, 467 U.S. at 843. In determining whether
    Congress has “directly addressed the precise question at issue”, a court
    is to consult the plain language of the statute, and, if the intent of
    Congress is not clear, the legislative history. 192

           191  Petitioner’s arguments regarding Chevron step one hinge primarily on
    judicial precedents that we have discussed above. However, petitioner also makes the
    argument that “legislative history makes clear that the purpose of section 482 is to
    prevent the arbitrary shifting of profits among related taxpayers through the exercise
    of control” and that “3M did not exercise its control over 3M to shift profits to 3M
    Brazil”.
           192 The U.S. Court of Appeals for the Eighth Circuit explained it this way:


                   In the course of a Chevron analysis, a court must first consider
           the actual words of the statute. Chevron, 467 U.S. at 843 * * * (the
           starting point for the interpretation of a statute must be its plain
           language.) If the intent of Congress is clear from the plain language of
           the statutory provision, that will be the end of the judicial inquiry. Id.
           If analysis of the statutory language does not yield an unambiguous
           congressional intent, the court should then look to the legislative
           history. [Fn. Omitted.] If congressional intent is clearly discernable,
           the agency must act in accordance with that intent and the court need
           not defer to the agency’s interpretation of its mandate. K Mart Corp.




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           The “precise question at issue” is whether respondent is
    precluded from making a section 482 allocation of income to 3M IPC that
    could not be paid to 3M IPC under Brazilian law. 193 The first sentence
    of section 482 authorizes respondent to make allocations of income
    between related businesses if “necessary in order to prevent evasion of
    taxes or clearly to reflect the income of any of such * * * businesses.” We
    do not see in these words an unambiguous expression of Congress’ intent
    on how to account for legal restrictions that prevent the receipt of
    income. Chevron, 467 U.S. at 842-843. And, as we explained earlier,
    the second sentence of section 482 is consistent with the allocation of
    income proposed by respondent because respondent seeks to allocate
    income to 3M IPC for the use of the patents and for the transfer of
    unpatented technology in amounts that are proportionate to the income
    earned by 3M Brazil from its use of the patents and the transfer to it of
    unpatented technology. In conclusion, the actual words of section 482
    do not reveal that Congress unambiguously intended to prevent
    respondent from making the allocation at issue.

            We now turn to the legislative history of section 482 to see
    whether it suggests that section 482 is unambiguous in this context. See
    Chevron, 467 U.S. at 383 n.9 (explaining the principle subsequently
    known as Chevron step one: “If a court, employing traditional tools of
    statutory construction, ascertains that Congress had an intention on the
    precise question at issue, that intention is the law and must be given
    effect.”); Ark. AFL-CIO v. FCC, 11 F.3d 1430, 1440 n.9 (8th Cir. 1993)
    (considering legislative history at Chevron step one). In favor of its
    interpretation of section 482, petitioner points to the Senate Finance
    Committee report that preceded the passage of the Revenue Act of 1921.
    See supra part II.A (discussing the Revenue Act of 1921). That Senate
    committee report suggested that section 240(d) of the Revenue Act of
    1921 was designed to combat the “arbitrary shifting of profits among
    related businesses”. S. Rept. No. 67-275, supra at 20, 1939-1 C.B. (Part
    2) at 195. Petitioner argues that an “arbitrary shifting of profits” can


            v. Cartier Inc., 486 U.S. 281, 291 * * * (1988); see also Chevron, 467
            U.S. at 843 n.9 * * * (“the judiciary is the final authority on issues of
            statutory construction and must reject administrative constructions
            which are contrary to clear congressional intent.”)
    Ark. AFL-CIO v. FCC, 11 F.3d 1430, 1440 (8th Cir. 1993).
            193 Sec. 482 also authorizes allocations of income between related businesses if

    “necessary in order to prevent evasion of taxes”. Respondent does not argue that this
    basis for allocating income justifies his allocation of income to 3M IPC.




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    result only from the voluntary setting of intercompany prices by the
    common owners of related companies.

           Even if the purpose of section 240(d) of the Revenue Act of 1921
    were to prevent the voluntary shifting of profits, this does not mean that
    section 482 of the Internal Revenue Code of 1986 had the same purpose.
    Furthermore, we disagree with the premise that an “arbitrary shifting
    of profits” among related businesses can result only from the voluntary
    setting of intercompany prices. A legal restriction on intercompany
    payments could also arbitrarily shift profits. Thus, even if section 482
    should be narrowly interpreted to confine respondent to correcting
    “arbitrary shifting of profits” (the phrase used in the 1921 Senate
    committee report), a foreign legal restriction could arbitrarily shift
    profits and therefore justify a section 482 allocation.

           Petitioner next points us to the report of the House Ways and
    Means Committee, H.R. Rept. No. 70-2, supra at 16-17, 1939-1 C.B.
    (Part 2) at 395, which related to section 45 of the Revenue Act of 1928.
    Section 45 of the Revenue Act of 1928 is essentially identical to the first
    sentence of the section 482 of the Internal Revenue Code of 1986. See
    supra part II.D (discussing the Revenue Act of 1928); Avi-Yonah, supra,
    at 96. The House committee report stated that section 45 of the Revenue
    Act of 1928 would serve two purposes: to prevent tax evasion and to
    clearly reflect correct tax liability. The sentence from the House
    committee report quoted by petitioner was:

           The section of the new bill provides that the Commissioner
           may, in the case of two or more trades or businesses owned
           or controlled by the same interests, apportion, allocate, or
           distribute the income or deductions between or among
           them, as may be necessary in order to prevent evasion (by
           the shifting profits, the making of fictitious sales, and other
           methods frequently adopted for the purpose of “milking”),
           and in order clearly to reflect their true tax liability.

    H.R. Rept. No. 70-2, supra at 16-17, 1939-1 C.B. (Part 2) at 395. 194 This
    sentence merely summarizes the two bases for allocations found in the



           194 A similar statement is made in the Senate Finance Committee’s report

    regarding section 45 of the Revenue Act of 1928. S. Rept. No. 70-960, supra at 24,
    1939-1 C.B. (Part 2) at 426.




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    plain text of section 45 of the Revenue Act of 1928. 195 The House
    committee report does not show that Congress unambiguously
    expressed its intent to bar respondent from making allocations of income
    under section 482 when legal restrictions prevented the receipt of the
    income. If anything is to be deduced from the existence of two types of
    authorizations in section 45 of the Revenue Act of 1928 (the single
    sentence of which was carried over as the first sentence of section 482 of
    the Internal Revenue Code of 1986), it might be that taxpayer-caused
    misallocations of income are not the sole object of section 482.

           There is also legislative history of the 1986 addition of the
    commensurate-with-income sentence. Petitioner, in contending that
    First Security Bank, L.E. Shunk Latex, Procter & Gamble, and Texaco,
    should control this case even though they were decided before the
    addition of the commensurate-with-income sentence, argues that the
    commensurate-with-income sentence, was intended only to serve the
    “timeframe” purpose identified in the House committee report and the
    Blue Book. H.R. Rept. No. 99-426, supra at 425-426, 1986-3 C.B. (Vol.
    2) at 425-426; General Explanation of the Tax Reform Act of 1986, supra
    at 1016. But, as we have already explained, the commensurate-with-
    income sentence is worded too broadly to support an interpretation
    confining the operation of the sentence to such a purpose. We would add
    here that the proposition that the scope of the commensurate-with-
    income sentence is not confined to the “timeframe” purpose is supported
    by the Conference Committee report. H.R. Conf. Rept. No. 99-841 (Vol.
    II), supra at II-637 to II-638, 1986-3 C.B. (Vol. 4) at 637-638. The
    conference committee report stated that the sentence was added to
    ensure that “the division of income between related parties reasonably
    reflect[s] the relative economic activity undertaken by each”; the report
    also urged the Treasury Department to consider comprehensive
    revisions to the 1968 regulations. Id. at II-637 to II-638.




            195 As we have explained:


                     As relevant here, this statute gives respondent broad authority
            to allocate gross income, deductions, credits, or allowances between or
            among commonly controlled corporations on two alternate bases; to
            prevent the evasion of taxes or in order clearly to reflect the income of
            such corporations. * * *
    G.D. Searle & Co. v. Commissioner, 88 T.C. 252, 357 (1987) (referring to sec. 482 of the
    Internal Revenue Code of 1954, 26 U.S.C. sec. 482 (1976), which is essentially identical
    to section 45 of the Revenue Act of 1928).




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          We hold that section 482 does not “unambiguously” preclude
    respondent from allocating income to 3M IPC. See Chevron, 467 U.S. at
    843.

    V.      Whether 26 C.F.R. sec. 1.482-1(h)(2) (2006) is reasonable under
            Chevron step two

           Having rejected petitioner’s argument that 26 C.F.R. sec. 1.482-
    1(h)(2) (2006) is invalid under Chevron step one, we next consider
    petitioner’s argument that portions of the regulation are invalid under
    Chevron step two. A regulation satisfies Chevron step two if it is a
    “reasonable interpretation” of the statute. Mayo Found. for Med. Educ.
    & Research, 562 U.S. at 58; Chevron, 467 U.S. at 844. Here is a more
    detailed explanation of this condition:

                   Deference to an agency becomes an issue when the
            first part of a Chevron analysis does not yield a clear
            congressional intent. Chevron, 467 U.S. at 843 * * *. In
            such cases, Congress delegated the interpretation and
            development of the statutory provision to the discretion of
            the agency charged with enforcing the statute. Id.
            Therefore, Chevron requires that a reviewing court defer to
            the agency’s interpretation of an ambiguous statute if that
            interpretation is “permissible.” Good Samaritan Hosp. v.
            Shalala, * * * 113 S. Ct. 2151, 2157 * * * (1993). In order
            to be “permissible,” the agency’s construction of the statute
            must be reasonable. Chevron, 467 U.S. at 844 * * *. As
            long as the interpretation proposed by the agency is
            reasonable, a reviewing court cannot replace the agency’s
            judgment with its own. Therefore, we cannot balance
            policy considerations, or choose among competing interests
            when evaluating the reasonableness of an agency action.
            [Fn. Omitted.] See EEOC v. Commercial Office Products
            Co., 486 U.S. 107 * * * (1988).

    Ark. AFL-CIO, 11 F.3d at 1441. Petitioner makes a number of
    challenges under Chevron step two to the validity of the various
    requirements imposed by 26 C.F.R. sec. 1.482-1(h)(2) (2006). 196 We
    address these arguments below on a requirement-by-requirement basis.


            196 All of petitioner’s Chevron step two challenges to 26 C.F.R. sec. 1.482-1(h)(2)

    (2006) are to specific requirements of 26 C.F.R. sec. 1.482-1(h)(2) (2006).




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           A.     Effect on uncontrolled taxpayers

            The first requirement of 26 C.F.R. sec. 1.482-1(h)(2) (2006), which
    is set forth in subdivision (i), is this: “[A] foreign legal restriction will be
    taken into account only to the extent that it is shown that the restriction
    affected an uncontrolled taxpayer under comparable circumstances for
    a comparable period of time.” The argument pressed by petitioner is
    that this effect-on-uncontrolled-taxpayers requirement is incompatible
    with the purpose of section 482, which, as described by 26 C.F.R. sec.
    1.482-1(a)(1) (2006), “is to ensure that taxpayers clearly reflect income
    attributable to controlled transactions, and to prevent the avoidance of
    taxes with respect to such transactions.” Here is petitioner’s full
    argument:

           Under the general rule [26 C.F.R. sec. 1.482-1(h)(2)(i)], in
           the absence of evidence indicating the effect of the foreign
           legal restriction on an uncontrolled taxpayer, the
           Commissioner will ignore the legal restriction--except that
           the Commissioner may (if the conditions set forth in clause
           (h)(2)(ii) are satisfied) allow the election of the deferred
           income method of accounting.

                  The general rule apparently is an application of the
           principle that section 482 “places a controlled taxpayer on
           a tax parity with an uncontrolled taxpayer by determining
           the true taxable income of the controlled taxpayer.” Treas.
           Reg. § 1.482-1(a)(1). The general rule of Treas. Reg.
           § 1.482-1(h)(2)(i) is that if uncontrolled taxpayers are not
           subject to a foreign legal restriction, then controlled
           taxpayers, even if they are subject to the restriction, should
           be treated as if they were not subject to it.

                  This is faulty logic. The purpose of section 482,
           according to the regulations, “is to ensure that taxpayers
           clearly reflect income attributable to controlled
           transactions and to prevent the avoidance of taxes with
           respect to such transactions.” Treas. Reg. § 1.482-1(a)(1)
           (emphasis added). When a legal restriction prevents the
           exercise of control, then the transaction is not a controlled
           transaction. This is so even if the legal restriction applies
           only to related party transactions. As the Supreme Court
           stated in First Security, section 482 “recognizes the concept
           that income implies dominion or control of the taxpayer.”




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          405 U.S. at 404. If such control cannot be exercised, then
          the Commissioner has no authority to allocate income
          under section 482. And as this Court said in Procter &
          Gamble (which involved a Spanish restriction on paying
          royalties to a controlling foreign parent), “we do not find it
          significant that Spanish law only precluded royalty
          payments among companies with common ownership.”
          The Court said that “the proper focus is whether control
          was utilized to shift income,” and [w]hen control cannot be
          exercised, the Commissioner has no authority to allocate
          income under section 482.” 95 T.C. at 339-40. Thus, the
          general rule of Treas. Reg. § 1.482-1(h)(2)(i) is not a
          reasonable implementation of the statute.

           Petitioner’s argument essentially consists of two parts. First,
    petitioner argues that section 482 should be interpreted to address
    misallocations of income attributable to controlled transactions.
    Second, petitioner argues that a transaction is not a controlled
    transaction to the extent that a legal restriction prevents a payment of
    compensation with respect to the transaction.

           Applying this argument to the case at hand, petitioner’s position
    is that 3M Company did not control the amounts that 3M Brazil paid to
    3M IPC for the use of patents and for unpatented technology. That
    control, petitioner argues, was exercised by the government of Brazil
    through its legal restrictions.

           The first part of the argument--that section 482 is aimed at
    controlled transactions--is based directly on regulations under section
    482. 26 C.F.R. sec. 1.482-1(a)(1) (2006) (stating that the purpose of
    section 482 is to clearly reflect income attributable to controlled
    transactions). This part of the argument seems valid.

           The second part of the argument--that a transaction is a not a
    controlled transaction if payment for the transaction is controlled by
    law--is founded on a Supreme Court opinion, First Security Bank. The
    problem with the second part of the argument is that First Security
    Bank rested upon a regulatory provision from 1934 that is no longer in
    effect. The history of regulations under section 482 and its predecessors
    begins with the 1934 regulations that were related to section 45 of the
    Revenue Act of 1934. Art. 45-1, Regulations 86. But the 1934
    regulations did not limit respondent’s authority through the concept of
    “controlled transactions”.     The 1934 regulations stated that the




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    “interests controlling a group of controlled taxpayers are assumed to
    have complete power to cause each controlled taxpayer so to conduct its
    affairs that its transactions and accounting records truly reflect the net
    income from the property and business of each of the controlled
    taxpayers.” Art. 45-1(b), Regulations 86. This “complete power”
    sentence was carried over to subsequent regulations. 197 This sentence
    was recognized by First Security Bank as a limit on the scope of section
    482 of the Internal Revenue Code of 1954, such that respondent could
    not allocate income to a taxpayer who was barred from receiving the
    income because of a legal restriction. Commissioner v. First Sec. Bank,
    394 U.S. at 404-405 & n.18 (citing 26 C.F.R. sec. 1.482-1(b)(1) (1971)).
    First Security Bank thus seemingly supports the second part of
    petitioner’s argument discussed above, that essentially there can be no
    control without legal control. But the “complete-power” sentence on
    which First Security Bank relied is no longer in the regulatory scheme
    for tax years beginning after April 21, 1993. 198 Therefore, the sentence
    does not limit respondent’s authority to allocate the income of the 3M
    consolidated group for the 2006 tax year.

           We are still left with the first part of petitioner’s argument--that
    section 482 is aimed at controlled transactions. This proposition is valid
    as far as it goes. But the proposition fails to defeat the section 482
    allocation at issue in this case. The term “controlled transaction” was
    introduced in the 1993 temporary (which were also proposed)
    regulations and then adopted in the 1994 final regulations. 26 C.F.R.
    sec. 1.482-1(i)(8) (2006) (1994 final regulations); 26 C.F.R. sec. 1.482-
    1T(g)(8) (1994) (1993 temporary regulations). Under both sets of
    regulations, the purpose of section 482 is to ensure the clear reflection
    of income from controlled transactions. 26 C.F.R. sec. 1.482-1(a)(1)
    (2006) (1994 final regulations); 26 C.F.R. sec. 1.482-1T(a)(1) (1994) (1993

           197 Parts II.Y, II.CC, and II.EE, supra, discuss the history of the 1953, 1962,

    and 1968 regulations.
           198 This point can be verified by looking at a single volume of the 2006 edition

    of the Code of Federal Regulations. Compare

           •       26 C.F.R. sec. 1.482-1A(b)(1) (2006) (the redesignated regulation
                   containing the “complete power” passage published under the heading
                   “REGULATIONS        APPLICABLE        FOR     TAXABLE       YEARS
                   BEGINNING ON OR BEFORE APRIL 21, 1993”)
           to

           •       26 C.F.R. sec. 1.482-1(a)(2), (b)(1) (2006) (1994 final regulations
                   applicable for 2006 tax year).




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    temporary regulations). A “controlled transaction” is defined as “any
    transaction or transfer between two or more members of the same group
    of controlled taxpayers.” 26 C.F.R. sec. 1.482-1(i)(8) (2006) (1994 final
    regulations); 26 C.F.R. sec. 1.482-1T(g)(8) (1994) (1993 temporary
    regulations). And a group of controlled taxpayers is defined as
    “taxpayers owned or controlled directly or indirectly by the same
    interests.” 26 C.F.R. sec. 1.482-1(i)(6) (2006) (1994 final regulations); 26
    C.F.R. sec. 1.482-1T(g)(6) (1994) (1993 temporary regulations).
    Petitioner does not contest that 3M IPC and 3M Brazil are owned or
    controlled directly by the same interests. 199 It follows that 3M IPC and
    3M Brazil are members of a group of controlled taxpayers, that all
    transactions between them (including the use by 3M Brazil of 3M IPC’s
    patents and including the transfer of technology from 3M IPC to 3M
    Brazil), are “controlled transactions”, see 26 C.F.R. sec. 1.482-1(i)(8)
    (2006) (1994 final regulations), and that therefore respondent’s section
    482 adjustment to the income of the 3M consolidated group fits the
    aforedescribed purpose of section 482 to achieve clear reflection of
    income from controlled transactions. In short, the regulation’s focus on
    a “controlled transaction”, i.e., the first part of petitioner’s argument, is
    not inconsistent with the section 482 allocation at issue. We therefore
    reject petitioner’s two-part argument.

           Although we have considered on its terms petitioner’s two-part
    argument        challenging      the      effect-on-uncontrolled-taxpayers
    requirement, we do not vouch that this two-part challenge implicates
    the correct legal test for determining whether the requirement is valid
    under Chevron step two. If we look to the words used by the Supreme
    Court in Chevron, 467 U.S. at 844, this determination should be framed
    as whether the effect-on-uncontrolled-taxpayers requirement is a
    “reasonable interpretation” of section 482. Section 482 authorizes
    respondent to allocate income among commonly controlled businesses if
    the allocation is necessary to clearly reflect the income of the businesses.
    But no text in section 482 addresses how the allocation should account
    for legal restrictions on the payment of income. For example, section
    482 does not mention legal restrictions on the payment of income. This

             199 There is an identical control test in the text of sec. 482. For an allocation of

    income to be made, the statute requires that the two businesses be “owned or controlled
    directly or indirectly by the same interests”. Sec. 482. Paragraph 25 of the stipulation
    states that the operations of 3M Brazil were “owned or controlled” within the meaning
    of sec. 482 by (1) 3M Company and (2) 3M IPC. Furthermore, it has been stipulated
    that 3M Company ultimately owned 3M IPC and 3M Brazil in that it has been
    stipulated that (1) 3M IPC was a wholly owned second-tier subsidiary of 3M Company
    and (2) 3M Brazil was a wholly owned subsidiary of 3M IPC.




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    omission is an implicit signal that the Treasury Department has
    regulatory space to account for legal restrictions. See Chevron, 467 U.S.
    at 844. Exercising that authority, the Treasury Department has
    specified that foreign legal restrictions are taken into account only if
    those restrictions affect uncontrolled taxpayers. 26 C.F.R. sec. 1.482-
    1(h)(2)(i) (2006). In our view, this requirement is a reasonable
    interpretation of section 482.        That statutory text--authorizing
    respondent to allocate income between controlled businesses “in order
    * * * clearly to reflect” their income--is broad enough to accommodate
    the interpretation. See Springdale Mem’l Hosp. Ass’n, Inc. v. Bowen,
    818 F.2d 1377, 1381 (8th Cir. 1987). The interpretation is reasonable.

           Our view that the effect-on-uncontrolled-taxpayers requirement
    is a reasonable interpretation of section 482 is consistent with the way
    in which the requirement supports two of the goals ascribed to section
    482 by regulation. These goals are (1) tax parity and (2) arm’s-length
    results.   26 C.F.R. sec. 1.482-1(a)(1), (b)(1) (2006) (1994 final
    regulations).

           The effect-on-uncontrolled-taxpayers requirement is consistent
    with the tax-parity goal in the regulations. The regulations state that
    section 482 places a controlled taxpayer on a tax parity with an
    uncontrolled taxpayer. 26 C.F.R. sec. 1.482-1(a)(1) (2006) (1994 final
    regulations) (“Section 482 places a controlled taxpayer on a tax parity
    with an uncontrolled taxpayer by determining the true taxable income
    of the controlled taxpayer.”). It is consistent with this goal for income to
    be allocated to a U.S. company from a related foreign company, despite
    a foreign law barring the payment of the income, if the foreign law would
    have allowed an unrelated foreign company to pay the income. The
    allocation places the U.S. company receiving payments from a related
    foreign company on par with a U.S. company receiving payments from
    an unrelated foreign company.

           The effect-on-uncontrolled-taxpayers requirement is also
    consistent with the arm’s-length standard. The regulations explain that
    determinations under section 482 are to be made under the arm’s-length
    standard and that the arm’s-length standard is met if “the results of the
    [controlled] transaction are consistent with the results that would have
    been realized if uncontrolled taxpayers had engaged in the same
    transaction under the same circumstances (arm’s length result).” 26
    C.F.R. sec. 1.482-1(b)(1) (2006) (1994 final regulations). If a foreign
    restriction governs payments between controlled taxpayers but not
    uncontrolled taxpayers, then allowing the restriction to affect the




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    taxable income of controlled taxpayers would produce a non-arm’s-
    length result that does not meet the arm’s-length standard. The effect-
    on-uncontrolled-taxpayers requirement, 26 C.F.R. sec. 1.482-1(h)(2)(i)
    (2006), disregards such a foreign legal restriction. The requirement thus
    corrects the non-arm’s-length result and sets the controlled taxpayers
    on the arm’s-length standard.

            Thus far we have been discussing whether the effect-on-
    uncontrolled-taxpayers requirement reasonably interprets the first
    sentence of section 482. But respondent also argues that the effect-on-
    uncontrolled-taxpayers requirement is a reasonable interpretation of
    the second sentence of section 482. Added in 1986, the second sentence
    of section 482 provides that in the case of transfer or license of intangible
    property, the income with respect to the transfer or license must be
    commensurate with the income attributable to the intangible. In the
    case of a foreign legal restriction that affects only controlled taxpayers,
    the restriction would be disregarded by the effect-on-uncontrolled-
    taxpayers requirement. If such a foreign legal restriction prevents
    payment of compensation for the transfer or license of intangible
    property, the effect of disregarding the restriction is that the transferor
    or licensor of the intangible property could be allocated income
    commensurate with the income from the intangible. In such an
    instance, the commensurate-with-income goal of the second sentence of
    section 482 is achieved by the effect-on-uncontrolled-taxpayers
    requirement. The Brazilian legal restrictions at issue in this case are
    an instance of foreign legal restrictions that prevent payment of
    compensation for the transfer or license of intangible property.
    Disregarding these restrictions achieves the goal of the second sentence
    of section 482, which is to ensure that income with respect to the
    transfer or license of intangibles is commensurate with the income
    attributable to the intangibles. As applied to the facts of this case,
    therefore, the effect-on-uncontrolled-taxpayers requirement of 26 C.F.R.
    sec. 1.482-1(h)(2)(i) (2006) is a reasonable interpretation of the second
    sentence of section 482.

           In conclusion, the effect-on-uncontrolled-taxpayers requirement
    of 26 C.F.R. sec. 1.482-1(h)(2)(i) (2006) is a reasonable interpretation of
    both sentences of section 482. We reject petitioner’s challenge to the
    validity of the effect-on-uncontrolled-taxpayers requirement under
    Chevron step two.




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           B.      Publicly promulgated

           Title 26 C.F.R. 1.482-1(h)(2)(ii)(A) (2006) provides that a foreign
    legal restriction is taken into account under section 482 only if it is
    “publicly promulgated”. We held supra part III.B that this means the
    restriction must be in writing.

           The public-promulgation requirement is a reasonable
    interpretation of section 482 because the requirement avoids
    uncertainty about, and litigation over, the existence of a foreign legal
    restriction. See Mayo Found., 562 U.S. at 59 (holding that a regulation
    was valid under Chevron step two because, in part, the regulation
    reduced litigation and uncertainty). It is difficult to discern the
    existence and scope of a foreign legal restriction that is not publicly
    promulgated. 200 It was not unreasonable for the Treasury Department
    to require a foreign legal restriction to be publicly promulgated.

           Petitioner contends that the public-promulgation requirement is
    an unreasonable interpretation of section 482 because it does not “take
    into account the fact that many countries rely on unpromulgated
    administrative guidance that is nonetheless considered binding.” Yet
    the structure of 26 C.F.R. sec. 1.482-1(h)(2) (2006) shows that the
    Treasury Department recognized that some foreign legal restrictions
    were not publicly promulgated. Title 26 C.F.R. sec. 1.482-1(h)(2)(ii)(C)
    (2006) provides that for foreign legal restrictions to affect a section 482
    allocation they must “expressly prevent[] the payment or receipt, in any
    form, of part or all of the arm’s length amount”. This (the sixth)
    requirement is separate from the public-promulgation requirement
    imposed by 26 C.F.R. sec. 1.482-1(h)(2)(ii)(A) (2006). To require a
    restriction to be publicly promulgated implies the recognition that some
    restrictions are not publicly promulgated.


           200 As a factual matter, petitioner claims that the Brazilian legal restrictions

    are “easily discoverable.” Petitioner does not cite any evidence for this proposition.
    Instead petitioner directs us to a website that petitioner claims exemplifies the
    “summaries of the rules on the Internet.” However, the website does not currently
    contain any content regarding any Brazilian legal restrictions. Furthermore,
    petitioner made this claim in its answering brief, so respondent did not have a chance
    to respond to it.
           As respondent points out, the difficulty in discovering unwritten laws is
    supported by the facts of this case. The stipulation recounts that in at least two
    instances (described in paragraphs 64.b, 65, 94.b, and 94.c of the stipulation), 3M
    Company’s attorneys misunderstood the BPTO’s unwritten policies.




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          We hold the requirement is valid under Chevron step two.

          C.     Generally applicable

           Title 26 C.F.R. sec. 1.482-1(h)(2)(ii)(A) (2006) requires the foreign
    legal restriction to be “generally applicable to all similarly situated
    persons (both controlled and uncontrolled)”. Petitioner contends that
    this requirement is an unreasonable interpretation of section 482.
    Petitioner states that this requirement is similar to the effect-on-
    uncontrolled-taxpayers requirement. Petitioner further states that its
    arguments against the reasonableness of this general-applicability
    requirement are similar to its arguments that the effect-on-
    uncontrolled-taxpayers requirement is unreasonable. See supra part
    III.A (holding that effect-on-uncontrolled-taxpayers requirement is
    valid under Chevron step 2). We hold that the general-applicability
    requirement is valid under Chevron step two.

          D.     Not part of commercial transaction

           Title 26 C.F.R. sec. 1.482-1(h)(2)(ii)(A) (2006) provides that the
    foreign legal restriction must not have been imposed as part of a
    commercial transaction between the taxpayer and the foreign
    government. Petitioner does not contend that this requirement is
    invalid under Chevron step two. For the purposes of this Opinion, we
    conclude without further discussion that the requirement is valid under
    Chevron step two.

          E.     Exhaustion of remedies

           Title 26 C.F.R. sec. 1.482-1(h)(2)(ii)(B) (2006) provides that a
    foreign legal restriction will be taken into account only if the taxpayer
    has exhausted all remedies prescribed by foreign law or practice for
    obtaining a waiver of the restriction (other than remedies that would
    have a negligible prospect of success if pursued). Petitioner concedes
    that the exhaustion-of-remedies requirement is reasonable under
    Chevron step two because the requirement does not impose on taxpayers
    a duty to pursue remedies with a negligible prospect of success.

          F.     Restriction on payment in any form

           Title 26 C.F.R. sec 1.482-1(h)(2)(ii)(C) (2006) provides that a
    foreign legal restriction will be taken into account only if the restriction
    “expressly prevented the payment or receipt, in any form, of part or all




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    of the arm’s length amount that would otherwise be required under
    section 482 (for example, a restriction that applies only to the
    deductibility of an expense for tax purposes is not a restriction on
    payment or receipt for this purpose)”. Petitioner contends that the “any
    form” requirement is invalid because it is an unreasonable
    interpretation of section 482.

           We need not determine whether the “any form” requirement
    satisfies Chevron step two because we have held that the Brazilian legal
    restrictions fail three other requirements of 26 C.F.R. sec. 1.482-1(h)(2)
    (2006). See Ramm v. Commissioner, 72 T.C. 671, 674-675 (1979)
    (finding it unnecessary for the Court to evaluate the validity of a
    requirement imposed by a regulation if the taxpayer did not satisfy the
    other requirements imposed by the regulation).

           G.      Circumvention or violation of restriction

           Title 26 C.F.R. sec. 1.482-1(h)(2)(ii)(D) (2006) provides that a
    foreign legal restriction will be taken into account only if the related
    parties did not engage in an arrangement that had the effect of
    circumventing the restriction and did not violate the restriction in a
    material respect. Petitioner contends that this no-circumvention
    requirement is invalid under Chevron step two. We need not determine
    whether the no-circumvention requirement fails Chevron step two. This
    is because we have held that three other requirements of 26 C.F.R. sec.
    1.482-1(h)(2) (2006) have not been met. See Ramm v. Commissioner, 72
    T.C. at 674-675.

    VI.    The State Farm test for validity of regulations

          In Motor Vehicle Mfrs. Ass’n of the U.S., Inc. v. State Farm Mut.
    Auto. Ins. Co. (State Farm), 463 U.S. 29, 34, 37 (1983), the Supreme
    Court held that the Department of Transportation failed to present an
    “adequate basis and explanation” for rescinding its regulatory
    requirement that car manufacturers equip cars with either airbags or
    automatic seatbelts. This failure meant that the requirement “may not
    be abandoned”. Id. at 51. 201 In Altera Corp. & Subs. v. Commissioner,
    145 T.C. at 106, 117-120, we held that the test employed in State Farm
    should be applied to the 2003 amendments to the section 482 regulations

            201 The Supreme Court held that the matter should be remanded to the agency

    for further consideration. Motor Vehicle Mfrs. Ass’n of the U.S., Inc. v. State Farm
    Mut. Auto. Ins. Co. (State Farm), 463 U.S. 29, 57 (1983).




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    regarding stock compensation in the context of cost-sharing
    arrangements. 202 We held that the 2003 regulatory amendments failed
    the State Farm test. Altera Corp. & Subs. v. Commissioner, 145 T.C. at
    133. Therefore we held that the 2003 regulatory amendments were
    invalid. Id. 203

           Petitioner contends that 26 C.F.R. sec. 1.482-1(h)(2) (2006)
    regarding foreign legal restrictions is valid only if it satisfies the State
    Farm test. Respondent disagrees. He contends that the State Farm test
    is inapplicable to 26 C.F.R. sec. 1.482-1(h)(2) (2006). We need not
    resolve whether 26 C.F.R. sec. 1.482-1(h)(2) (2006) must satisfy the
    State Farm test. Even if 26 C.F.R. sec. 1.482-1(h)(2) (2006) is reviewable
    under the State Farm test, this review would not result in a decision for
    petitioner.

           Petitioner makes two types of challenges to 26 C.F.R. sec. 1.482-
    1(h)(2) (2006) under State Farm: first, that the Treasury Department
    did not “explain[] its choices with respect to Treas. Reg. § 1.482-1(h)(2)”;
    and second, that the Treasury Department did not “respond[] to the
    comments it received objecting to aspects thereof and requesting that
    changes be made to the proposed regulations”. We consider both types


            202 The Ninth Circuit reversed our decision in Altera, but did not disagree that

    the 2003 regulatory amendments had to meet the State Farm test. Altera Corp. &
    Subs. v. Commissioner, 926 F.3d 1061, 1075, 1079-1086 (9th Cir. 2019), rev’g 145 T.C.
    91 (2015).
            203  As we explained supra part I.H., the 1992 proposed regulations had a
    paragraph on cost-sharing agreements. Sec. 1.482-2(g), Proposed Income Tax Regs.,
    57 Fed. Reg. 3595-3601 (Jan. 30, 1992). As we explained supra part II.LL and MM,
    the 1993 temporary regulations also had a provision related to cost-sharing
    agreements. 26 C.F.R. sec. 1.482-7T (1994) (1993 temporary regulations). As we
    explained supra part II.NN, the 1994 final regulations had no provisions regarding
    cost-sharing agreements. In 1995, the Treasury Department promulgated final
    regulations regarding cost-sharing agreements. T.D. 8632, 60 Fed. Reg. 65553 (Dec.
    20, 1995). In July 2002, the Treasury Department issued a notice of proposed
    rulemaking with respect to a proposed amendment to the 1995 cost-sharing
    regulations. 67 Fed. Reg. 48997 (July 29, 2002). In August 2003, the Treasury
    Department promulgated a final rule amending the 1995 cost-sharing regulations.
    T.D. 9088, 68 Fed. Reg. 51171 (Aug. 26, 2003). In Altera Corp. Subs. v. Commissioner,
    145 T.C. at 117-120, we held that the final rule had to satisfy the State Farm test. We
    held that the final rule did not satisfy the State Farm test because (1) it lacked a basis
    in fact, (2) the Treasury Department failed to rationally connect the choice it made
    with the facts it found, (3) the Treasury Department failed to adequately respond to
    those who had commented on the proposed rulemaking, and (4) the final rule was
    contrary to the evidence before the Treasury Department. Id. at 120-131.




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    of challenges in the same sequence: (1) satisfactory explanation and
    (2) and adequate response to comments.

           A.      Satisfactory explanation

           State Farm requires the agency to “articulate a satisfactory
    explanation for its action, including a ‘rational connection between the
    facts found and the choices made.’” State Farm, 463 U.S. at 43 (quoting
    Burlington Truck Lines, Inc. v. United States, 371 U.S. 156, 168
    (1962)). 204 The agency’s explanation is satisfactory if the explanation is
    “clear enough” that the agency’s “path may reasonably be discerned”.
    Encino Motor Cars v. Navarro, 579 U.S. 211, 221 (2016) (quoting
    Bowman Transp., Inc. v. Ark.-Best Freight Sys., Inc., 419 U.S. 281, 286
    (1974)).

           Petitioner argues that “Treasury provided no rationale
    whatsoever for Treas. Reg. § 1.482-1(h)(2)”. We disagree. The first
    requirement of 26 C.F.R. sec. 1.482-1(h)(2) (2006) is that the foreign
    legal restriction affect uncontrolled taxpayers. The words of the
    requirement itself express its rationale: “The district director will take
    into account the effect of a foreign legal restriction to the extent that
    such restriction affects the results of transactions at arm’s length. Thus,
    a foreign legal restriction will be taken into account only to the extent
    that it is shown that the restriction affected an uncontrolled taxpayer
    under comparable circumstances for a comparable period of time.” 26
    C.F.R. sec. 1.482-1(h)(2)(i) (2006). An “[u]ncontrolled taxpayer”--a term
    used in the text of the requirement--is defined elsewhere in the 1994
    final regulations as “any one of two or more taxpayers not owned or
    controlled directly or indirectly by the same interests.” 26 C.F.R. sec.
    1.482-1(i)(5) (2006). In our view, the regulatory text imposing the effect-
    on--uncontrolled-taxpayers requirement, 26 C.F.R. sec. 1.482-1(h)(2)(i)
    (2006), means that it is a specific application of two principles of section
    482: (1) the arm’s-length standard and (2) the principle that section 482
    should achieve tax parity between controlled and uncontrolled parties.
    We explain this in greater detail below.




            204 The statutory source for this requirement has been identified as sec.

    10(e)(B)(1) of the APA (codified as amended at 5 U.S.C. sec. 706(2)(A) (2018)), which
    provides that a reviewing court will hold unlawful and set aside agency action that is
    arbitrary, capricious, an abuse of discretion, or otherwise not in accordance with law.
    SIH Partners LLLP v. Commissioner, 150 T.C. 28, 42 (2018).




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           The arm’s-length standard has been recognized as a guiding
    principle of allocations of income under section 482 and its predecessors
    as far back as the 1934 regulations interpreting section 45 of the
    Revenue Act of 1934. Art. 45-1(b), Regulations 86. The arm’s-length
    standard is still recognized in the 1994 final regulations:

            In determining the true taxable income of a controlled
            taxpayer, the standard to be applied in every case is that
            of a taxpayer dealing at arm’s length with an uncontrolled
            taxpayer. A controlled transaction meets the arm’s length
            standard if the results of the transaction are consistent
            with the results that would have been realized if
            uncontrolled taxpayers had engaged in the same
            transaction under the same circumstances (arm’s length
            result). * * *

    26 C.F.R. sec. 1.482-1(b)(1) (2006). Under the arm’s-length standard, a
    section 482 allocation is based on the pricing of transactions between
    unrelated parties--i.e., parties who deal with each other at arm’s length.
    A foreign legal restriction that does not affect unrelated parties would
    not affect the pricing of transactions between unrelated parties. See 26
    C.F.R. sec. 1.482-1(h)(2)(i) (2006). Thus, the Treasury Department
    satisfactorily explained that one of the reasons it promulgated section
    1.482-1(h)(2) of the 1994 final regulations (26 C.F.R. sec. 1.482-1(h)(2)
    (2006)) was to advance the goal of arm’s-length comparisons.

          Likewise, the tax-parity goal has long been recognized in the
    regulatory scheme. 205 The 1994 final regulations state that section 482

            205 The regulations first adopted the goal of tax parity in 1934.  Art. 45-1(b),
    Regulations 86 (“The purpose of section 45 is to place a controlled taxpayer on a tax
    parity with an uncontrolled taxpayer, by determining, according to the standard of an
    uncontrolled taxpayer, the true net income from the property and business of a
    controlled taxpayer.”). The 1993 temporary regulations contained a sentence
    regarding tax parity: “Section 482 places a controlled taxpayer on a tax parity with an
    uncontrolled taxpayer by determining the true taxable income of the controlled
    taxpayer in a manner that reasonably reflects the relative economic activity
    undertaken by each taxpayer.” 26 C.F.R. sec. 1.482-1T(a)(1) (1994) (1993 temporary
    regulations). The preamble to the Treasury Department’s decision to promulgate the
    1993 temporary regulations echoed the tax-parity goal: “Section 1.482-1T(a)(1)
    reaffirms that the purpose of section 482 is to ensure that taxpayers clearly reflect
    their income by placing a controlled taxpayer on a tax parity with an uncontrolled
    taxpayer by determining the controlled taxpayer’s true taxable income.” T.D. 8470, 58
    Fed. Reg. 5265 (Jan. 21, 1993). The preamble to the Treasury Department’s decision




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    “places a controlled taxpayer on a tax parity with an uncontrolled
    taxpayer by determining the true taxable income of the controlled
    taxpayer”. 26 C.F.R. sec. 1.482-1(a)(1) (2006) (emphasis added). This
    tax-parity goal is reflected in the 26 C.F.R. sec. 1.482-1(h)(2) (2006)
    treatment of foreign legal restrictions. Subdivision (1) of that regulation
    states that “a foreign legal restriction will be taken into account only to
    the extent that it is shown that the restriction affected an uncontrolled
    taxpayer”.     (Emphasis added.)       Thus, the effect-on-uncontrolled-
    taxpayers requirement of section 1.482-1(h)(2)(i) of the 1994 final
    regulations (26 C.F.R. sec. 1.482-1(h)(2)(i) (2006)) articulates a link to
    the goal of tax parity between controlled and uncontrolled taxpayers
    found in section 1.482-1(a)(1). 206          The Treasury Department
    satisfactorily explained that one of the reasons it promulgated section
    1.482-1(h)(2) of the 1994 final regulations was to advance the goal of tax
    parity.

          We conclude that the regulation is not invalid for want of
    explanation.

           B.      Adequate response to comments

          One aspect of the State Farm test is that an agency must
    adequately respond to significant comments. See Altera Corp. & Subs.
    v. Commissioner, 145 T.C. at 120, 130. 207 Significant comments are


    to promulgate the 1994 final regulations explained that both the 1993 temporary
    regulations and the 1994 final regulations contained the tax-parity sentence and
    explained why the phrase “in a manner that reasonably reflects the relative economic
    activity undertaken by each taxpayer” was omitted from the 1994 final regulation.
    T.D. 8552, 59 Fed. Reg. 34976.
            206 Indeed, as part of its argument that the effect-on-uncontrolled-taxpayers

    requirement fails the Chevron step-two test (an argument discussed supra part V.A),
    petitioner concedes that the requirement “apparently is an application of the principle
    that section 482 ‘places a controlled taxpayer on a tax parity with an uncontrolled
    taxpayer by determining the true taxable income of the controlled taxpayer.’ Treas.
    Reg. § 1.482-1(a)(1).”
           207 Altera suggested that the adequate-response-to-comments requirement was

    part of the State Farm test but did not identify a specific portion of the State Farm
    opinion that discussed this requirement. Instead Altera cited a U.S. Court of Appeals
    opinion that held that an agency has an obligation to “respond[] to significant points
    raised by the public”. Altera Corp. & Subs. v. Commissioner, 145 T.C. at 112 (quoting
    Home Box Office, Inc. v. FCC, 567 F.2d 9, 35-36 (D.C. Cir. 1977)). “However,” Altera
    observed, “[t]he failure to respond to comments is significant only insofar as it
    demonstrates that the agency’s decision was not based on a consideration of the




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    “those ‘comments which, if true, . . . would require a change in [the]
    proposed rule.’” La. Fed. Land Bank Ass’n, FLCA v. Farm Credit
    Admin., 336 F.3d 1075, 1080 (D.C. Cir. 2003) (quoting Am. Mining Cong.
    v. EPA, 907 F.2d 1179, 1188 (D.C. Cir. 1990)). Petitioner has identified
    six types of comments regarding section 1.482-1T(f)(2), Proposed Income
    Tax Regs., 58 Fed. Reg. 5312 (Jan. 21, 1993), to which in its view the
    Treasury Department did not give an adequate response. 208 We discuss
    below each of the types of comments discussed by petitioner.

                     1.      Inconsistency with First Security Bank

          First, as petitioner points out, all four commentators (the
    American Petroleum Institute, the Tax Executives Institute, TRW, and
    the United States Council for International Business) explained to the
    Treasury Department that section 1.482-1T(f)(2), Proposed Income Tax
    Regs., 58 Fed. Reg. 5212-5314, was inconsistent with First Security
    Bank and Procter & Gamble. Given the history of section 482, it is
    apparent that the Treasury Department was already aware that the
    proposed regulation was inconsistent with the caselaw. Indeed, one of
    the commentators said that the proposed regulation was an “obvious
    attempt” to “override” Procter & Gamble. Thus, these comments about
    inconsistency with prior caselaw were not significant. Thompson v.
    Clark, 741 F.2d 401, 409 (D.C. Cir. 1984) (stating that when comments
    “brought to the attention of the agency nothing which it had not already
    considered”, the agency need not respond).

                     2.      That some foreign legal restrictions apply only to
                             payments between related parties

           Second, petitioner points out that two commentators explained
    that some foreign legal restrictions apply only to payments between
    related persons. The structure of 26 C.F.R. sec. 1.482-1(h)(2) (2006)
    shows that the Treasury Department was aware that some foreign legal
    restrictions applied only to payments between related persons. Under
    the general applicability requirement in 26 C.F.R. sec. 1.482-

    relevant factors.” Altera Corp. & Subs. v. Commissioner, 145 T.C. at 112 (quoting
    Sherley v. Sebelius, 689 F.3d 776, 784 (D.C. Cir. 2012)).
            208 To the extent it matters whether the Treasury Department considered the

    public comments, petitioner has conceded that the Treasury Department considered
    the public comments. First, paragraph 116 of the stipulation acknowledges that “all
    the comments were considered”. Second, petitioner’s brief argues that the Treasury
    Department did not “respond[]” to the comments, not that it failed to consider the
    comments.




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    1(h)(2)(ii)(A) (2006), a foreign legal restriction will be accounted for in
    making a section 482 allocation only if the restriction applies to
    controlled persons (which includes related persons) and uncontrolled
    persons. Therefore, it is evident that the Treasury Department was
    aware that some foreign legal restrictions apply only to payments
    between related persons. Thus, these comments did not bring to the
    Treasury Department’s attention something of which the Treasury
    Department was not already aware and did not require a change to the
    regulation. La. Fed. Land Bank Ass’n, FLCA, 336 F.3d at 1080;
    Thompson v. Clark, 741 F.2d at 409.

                    3.     That some foreign legal restrictions are
                           unpublished (comment related to the second
                           requirement)

           Third, petitioner points out that the American Petroleum
    Institute explained that some foreign restrictions with the practical
    force and effect of law may not be traceable to a specific published
    source. On that ground, the American Petroleum Institute opposed the
    requirement in section 1.482-1T(f)(2)(ii)(A), Proposed Income Tax Regs.,
    58 Fed. Reg. 5312, that the foreign legal restriction be “publicly
    promulgated”. The Treasury Department was aware that some legal
    restrictions are not publicly promulgated, as is shown by its insistence
    that only publicly promulgated restrictions be taken into account. Thus
    the American Petroleum Institute’s comment is not significant. See
    Thompson, 741 F.2d at 408.

                    4.     Difficulty of establishing that the remedies were
                           exhausted (comment related to the fifth
                           requirement)

           Fourth, petitioner observes that commentators had expressed
    concern that it would be difficult for a taxpayer to establish the
    satisfaction of the requirement, in section 1.482-1T(f)(2)(ii)(B), Proposed
    Income Tax Regs., 58 Fed. Reg. 5312, that the taxpayer exhaust all
    remedies.     This requirement was made part of the 1994 final
    regulations. 26 C.F.R. sec. 1.482-1(h)(2)(ii)(B) (2006). In this case
    however, other requirements of 26 C.F.R. sec. 1.482-1(h)(2) (2006) are
    not met: i.e., the effect-on-uncontrolled-taxpayers requirement, the
    public-promulgation requirement, and the general-applicability
    requirement. Therefore, any failure by the Treasury Department to
    appropriately respond to comments regarding the exhaustion-of-
    remedies requirement is irrelevant to the current case.




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                    5.     Payment of dividends and the no-circumvention
                           requirement (comment related to the seventh
                           requirement)

           Fifth, petitioner observes that commentators expressed concern
    that the no-circumvention requirement found in section 1.482-
    1T(f)(2)(ii)(D), Proposed Income Tax Regs., 58 Fed. Reg. 5312, could be
    interpreted to mean that the payment of dividends might be considered
    a way to circumvent a legal restriction. In this case however, other
    requirements are not met: i.e., the effect-on-uncontrolled-taxpayers
    requirement, the public-promulgation requirement, and the general-
    applicability requirement. Therefore, any failure by the Treasury
    Department to appropriately respond to comments regarding the no-
    circumvention requirement is irrelevant to the current case.

                    6.     Time for making deferral election

           Petitioner observes that commentators had stated that they
    preferred that taxpayers be allowed to continue to make the deferral
    election within the timeframe permitted by the 1968 regulations. See
    26 C.F.R. sec. 1.482-1(d)(6) (1969) (1968 regulations). However, the 3M
    consolidated group did not elect the deferred income method of
    accounting. Nor does petitioner assert that the group is entitled to use
    that method. Therefore, any failure by the Treasury Department to
    respond appropriately to comments regarding the timing of the deferral
    election is irrelevant to the current case.

    VII.   Conclusion

           As explained above, some of petitioner’s arguments involve a
    general challenge to the entire regulation 26 C.F.R. sec. 1.482-1(h)(2)
    (2006). This regulation was promulgated in 1994 to resolve questions
    regarding foreign legal restrictions under section 482. As to petitioner’s
    Chevron step-one challenge, we hold that judicial precedent has not
    established that the plain language of section 482 is inconsistent with
    the regulation. See supra part IV. We further hold that the plain text
    of section 482 itself is not inconsistent with 26 C.F.R. sec. 1.482-1(h)(2)
    (2006). See supra part IV. This further holding also relates to Chevron
    step one.

           Petitioner’s State Farm challenge to 26 C.F.R. sec. 1.482-1(h)(2)
    (2006) rests in part on the theory that the Treasury Department failed
    to satisfactorily explain 26 C.F.R. sec. 1.482-1(h)(2) (2006). This is an




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    attack on the entire regulation that we reject for reasons explained
    supra part VI.A.

          Petitioner’s State Farm challenge also rests on the theory that the
    Treasury Department failed to adequately respond to public comments
    on the proposed form of the regulation. In part, this is a general attack
    on the regulation, which we reject. See supra part VI.B.1, 2, and 6.

           That leaves petitioner’s arguments that are related to particular
    requirements of the regulation, 26 C.F.R. sec. 1.482-1(h)(2) (2006).
    Petitioner’s Chevron step-two challenge is particular to the first, second,
    third, sixth, and seventh requirements of 26 C.F.R. sec. 1.482-1(h)(2)
    (2006). We reject petitioner’s Chevron step-two challenge to the first,
    second, and third requirements, see supra part V.A, B, and C, and we
    leave unresolved its challenge to the sixth and seventh requirements.
    See supra part V.F and G. Petitioner’s State Farm challenge based on
    an adequate response to comments includes specific attacks on the
    second, fifth, and seventh requirements. See supra part VI.B.3, 4, and
    5. We reject the challenge to the second requirement, see supra part
    VI.B.3, and leave unresolved the challenges to the fifth and seventh
    requirements, see supra part VI.B.4 and 5. Petitioner also argues that
    the second, fourth, fifth, and seventh requirements are satisfied. We
    hold that the second requirement is not met, see supra part III.B, we
    hold that the fourth requirement is met, see supra part III.D, but we
    leave unresolved the question of whether the fifth and seventh
    requirements are met, see supra part III.E and G.

           The table below illustrates petitioner’s contentions regarding the
    validity of particular requirements of 26 C.F.R. sec. 1.482-1(h)(2) (2006):

                                                                     Does P contend
                                                                    the requirement
                                                 Does P contend    is invalid because
                                                the requirement       of insufficient
                               Does P contend   is invalid under       response to
                              the requirement     Chevron step      comments under
          Requirement              is met?            two?             State Farm?

     1. Restriction must            No                Yes                 No
     affect uncontrolled
     taxpayers

     2. Restriction must be        Yes                Yes                 Yes
     publicly promulgated




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     3. Restriction must be         No             Yes             No
     generally applicable

     4. Restriction must not        Yes             No             No
     be part of a commercial
     transaction

     5. Taxpayer must               Yes             No             No
     exhaust remedies for
     obtaining waiver of
     restriction

     6. Restrictions must           No             Yes             Yes
     prohibit any form of
     payment

     7. Taxpayer did not            Yes            Yes             Yes
     circumvent or violate
     restriction


          The table below illustrates the Court’s holdings regarding the
    particular requirements of 26 C.F.R. sec. 1.482-1(h)(2) (2006):




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                                                                       Is the
                                                                   requirement
                                                    Is the      invalid because of
                                                 requirement        insufficient
                                   Is the       invalid under       response to
                                requirement     Chevron step     comments under
          Requirement               met?             two?          State Farm?

     1. Restriction must            No               No                No
     affect uncontrolled
     taxpayers

     2. Restriction must be         No               No                No
     publicly promulgated

     3. Restriction must be         No               No                No
     generally applicable

     4. Restriction must not        Yes              No                No
     be part of a commercial
     transaction

     5. Taxpayer must            Unresolved          No                No
     exhaust remedies for
     obtaining waiver of
     restriction

     6. Restrictions must           No           Unresolved        Unresolved
     prohibit any form of
     payment

     7. Taxpayer did not         Unresolved      Unresolved        Unresolved
     circumvent or violate
     restriction


           As the table illustrates, the first, second, and third requirements
    are valid and are not met with respect to the Brazilian legal restrictions.
    Therefore the restrictions should not be taken into account in evaluating
    respondent’s allocation of income to the 3M consolidated group. We
    therefore sustain respondent’s determination.

           To reflect the foregoing,

           Decision will be entered under Rule 155.




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          Reviewed by the Court.

        KERRIGAN, GALE, GUSTAFSON, NEGA, ASHFORD, and
    MARSHALL, JJ., agree with this opinion of the Court.

          PARIS and COPELAND, JJ., concur in the result only.

        FOLEY, BUCH, PUGH, URDA, JONES, TORO, GREAVES, and
    WEILER, JJ., dissent.




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           KERRIGAN, C.J., concurring: I agree with the outcome in the
    opinion of the Court and write mainly in response to the dissents. The
    opinion of the Court provides a thorough analysis of the issues under
    consideration. I will focus solely on the arguments made against the
    validity of Treasury Regulation § 1.482-1(h)(2) (blocked income
    regulation).

           In the notice of deficiency, respondent made an adjustment under
    section 482 “to clearly reflect the income of the entities.” Respondent
    allocated royalty income to petitioner from its Brazilian subsidiary in
    connection with the subsidiary’s use of intellectual property. At issue
    here is a Brazilian law that precluded the subsidiary from paying any
    royalties to petitioner other than a nominal amount.

           Petitioner contends that respondent’s allocation is improper
    because the subsidiary was not legally permitted to make the payment
    to petitioner. Respondent asserts that the Brazilian law should not be
    considered because the blocked income regulation’s requirements are
    not satisfied. Petitioner asserts—and the dissents agree—that the
    blocked income regulation is invalid. I disagree on the basis of the
    following.

           The thrust of Judge Buch’s dissent is that section 482, as
    interpreted by the Supreme Court in Commissioner v. First Security
    Bank of Utah, N.A., 405 U.S. 394, 404–05 (1972), is unambiguous,
    thereby foreclosing the promulgation of regulations interpreting it. See
    Chevron, U.S.A., Inc. v. Nat. Res. Def. Council, Inc., 467 U.S. 837 (1984).
    Under that interpretation, any regulation permitting the Commissioner
    to allocate income in the face of a legal restriction would be invalid.
    Judge Toro’s dissent goes further and asserts that the blocked income
    regulation is invalid because Treasury failed to follow the
    Administrative Procedure Act’s (APA) requirements. I disagree with
    both assertions and will respond to each in turn.

           First, First Security Bank is distinguishable on its face and
    therefore does not control this case. In Commissioner v. First Security
    Bank, 405 U.S. at 401 n.13, the Court was interpreting a domestic
    Federal banking law which implicitly prohibits national banks from
    acting as insurance agents in places with a population of 5,000 or more.
    Here the Tax Court is tasked with interpreting a foreign law.
    Additionally, the law considered in First Security Bank was one of
    general application whereas the blocked income regulation has a specific
    use: It is aimed at restrictions that bar payments only to foreign




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    companies affiliated with the local business. I find these factual
    distinctions to be significant, confining First Security Bank’s holding to
    the circumstances presented in that case.

           Furthermore, the version of section 482 that the Supreme Court
    interpreted in First Security Bank differs significantly from the
    statutory text that controls this case. In 1986 Congress amended section
    482, making the first substantive change since 1954. The amendment
    added the following new sentence to section 482: “In the case of any
    transfer (or license) of intangible property . . . the income with respect
    to such transfer or license shall be commensurate with the income
    attributable to the intangible.”

           As a result of the sentence added to section 482, Treasury
    promulgated new regulations in 1994. The new regulations made
    changes to the section 482 regulations, including the elimination of the
    complete power regulation provided in Treasury Regulation § 1.482-
    1(b)(1) (complete power regulation). See Treas. Reg. § 1.482-1(b)(1)
    (1971) (“The interests controlling a group of controlled taxpayers are
    assumed to have complete power to cause each controlled taxpayer so to
    conduct its affairs that its transactions and accounting records truly
    reflect the taxable income . . . of each of the controlled taxpayers.”). The
    holding in First Security Bank was grounded in this provision; it stated:
    “The ‘complete power’ referred to in the regulations hardly includes the
    power to force a subsidiary to violate the law.” Commissioner v. First
    Security Bank, 405 U.S. at 405. Because the complete power regulation
    no longer exists—as a result of the 1994 promulgation—I disagree with
    Judge Buch’s dissent’s reliance on First Security Bank.

           Judge Buch’s dissent also relies on a prior decision of this Court,
    Procter & Gamble Co. v. Commissioner, 95 T.C. 323 (1990), aff’d, 961
    F.2d 1255 (6th Cir. 1992), to bolster its argument that section 482 is
    unambiguous. In Procter & Gamble the tax years in issue were 1978
    and 1979, meaning that the 1954 version of section 482 governed that
    dispute. We concluded in Procter & Gamble that the First Security Bank
    analysis applied and held: “Where the controlling interest has not
    utilized its power to shift income, a section 482 allocation is
    inappropriate.” Procter & Gamble Co., 95 T.C. at 339. Once again,
    Judge Buch’s dissent is relying upon a case that was grounded in the
    complete power provision, which is no longer part of the regulations.

          None of the cases cited in Judge Buch’s dissent interpreted the
    version of section 482 that controls this case. Those courts did not have




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    the opportunity to consider whether the sentence added to section 482
    addressing “commensurate with the income attributable to the
    intangible” would affect their interpretation of section 482. In this case
    the additional sentence is essential to our analysis because at issue is
    the amount of income to be allocated upon the transfer or license of
    intangible property.

           Here the Brazilian blocking statute would prevent petitioner from
    receiving royalty income that is “commensurate with the income
    attributable to the intangible.” By preventing the application of the
    blocking statute, the challenged regulation accomplishes perfectly
    Congress’ purpose in enacting the 1986 amendment. All considered, one
    cannot argue that First Security Bank unambiguously defined section
    482 since the Court there was not considering the current statute.

           Second, I agree with the opinion of the Court that Treasury
    adhered to the APA’s procedural requirements in promulgating the
    blocked income regulation. Legislative rules—those that “create[]
    rights, assign[] duties, or impose[] obligations, the basic tenor of which
    is not already outlined in the law itself”—are subject to APA notice-and-
    comment rulemaking procedures. SIH Partners LLLP v. Commissioner,
    150 T.C. 28, 40 (2018) (quoting Dia Navigation Co. v. Pomeroy, 34 F.3d
    1255, 1264 (3d Cir. 1994)), aff’d, 923 F.3d 296 (3d Cir. 2019). To comply
    with these procedures, the issuing agency must: “(1) publish a notice of
    proposed rulemaking in the Federal Register; (2) provide ‘interested
    persons an opportunity to participate * * * through submission of
    written data, views, or arguments’; and (3) [a]fter consideration of the
    relevant matter presented, * * * incorporate in the rules adopted a
    concise general statement of their basis and purpose.” Oakbrook Land
    Holdings, LLC v. Commissioner, 154 T.C. 180, 190 (2020) (citing
    5 U.S.C. § 553(b) and (c)), aff’d, 28 F.4th 700 (6th Cir. 2022). The APA
    provides that a reviewing court shall set aside an agency action that is
    “arbitrary, capricious, an abuse of discretion, or otherwise not in
    accordance with law.” 5 U.S.C. § 706(2)(a).

           The 1993 temporary regulations eliminated the complete power
    regulation and included a place holder for rules relating to foreign legal
    restrictions. See Temp. Treas. Reg. § 1.482-1T. The preamble to these
    temporary regulations specifically addressed the 1986 amendment to
    section 482 and the accompanying legislative history. T.D. 8470, 58 Fed.
    Reg. 5264, (Jan. 21, 1993). The 1993 Notice of Proposed Rulemaking
    (1993 Notice) included as proposed regulations Temporary Treasury
    Regulation § 1.482-1T(f)(2), which addresses foreign legal restrictions,




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    a.k.a. the blocked income regulation. See 58 Fed. Reg. 5312. The 1993
    Notice does not specifically mention the 1986 amendment to section 482;
    however, the background section includes the following: “The preamble
    to the temporary regulations contains a full explanation of the reasons
    underlying the issuance of the proposed regulation.” Id. at 5310. The
    1993 Notice further states: “These provisions are proposed to take the
    place of reserved section of the temporary regulations.” Id. It
    additionally states: “Before adopting these regulations, consideration
    will be given to any written comments that are timely submitted . . . .”
    Id.

          In promulgating the 1994 regulations—which include the blocked
    income regulation—Treasury issued proper notice, received comments
    from various interested persons, and held a public hearing. Where
    Treasury erred, Judge Toro’s dissent argues, was in failing to adequately
    respond to the four comments relating to the blocked income regulation.
    And because of that failure, according to Judge Toro’s dissent, the
    regulation should be invalidated. I disagree.

           In their Stipulation of Facts, the parties agreed that the 1993
    Notice stated the following: “Before adopting these regulations,
    consideration will be given to any written comments that are timely
    submitted . . . to the Commissioner of Internal Revenue.” The parties
    stipulated further that the Commissioner received only four
    comments—from the American Petroleum Institute, the Tax Executives
    Institute, TRW, Inc., and the United States Council for International
    Business—pertaining to the proposed blocked income regulation. The
    comments generally contended that Treasury was attempting to
    overturn Procter & Gamble and questioned whether the agency had the
    authority to issue the proposed regulation. The comments failed to
    address the elimination of the complete power regulation and the 1986
    amendment to section 482 in the context of the blocked income
    regulation.

           In July 1994 Treasury adopted final regulations which
    specifically address the 1986 amendment to section 482 and include the
    blocked income regulation. The preamble provides a history regarding
    the regulations starting with proposed regulations in 1992. It also
    specifically addresses the addition in the 1993 regulations of a section
    dealing with foreign legal restrictions. The parties’ own stipulations
    make it clear that Treasury reviewed the comments. I believe that the
    preamble included in the 1994 regulation acknowledges that the
    comments were considered. I would take it a step further and argue




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    that the preamble is sufficient to respond to the four comments
    regarding the proposed blocked income regulation.

           The opinion of the Court concludes that the comments are
    insignificant. I do not think the determination of whether the comments
    are significant affects our outcome under the second step of Chevron,
    which requires us to consider whether the regulation “is based on a
    permissible construction of the statute.” Chevron, 467 U.S. at 843. The
    U.S. Court of Appeals for the D.C. Circuit in City of Waukesha v. EPA,
    320 F.3d 228, 257 (D.C. Cir. 2003), stated that “the agency ‘need not
    address every comment, but it must respond in a reasoned manner to
    those that raise significant problems’” (quoting Reytblatt v. NRC, 105
    F.3d 715, 722 (D.C. Cir. 1997)). City of Waukesha stated further that
    “[t]he failure to respond to comments is significant only insofar as it
    demonstrates that the agency’s decision was not based on a
    consideration of the relevant factors.” Id. at 258 (quoting Tex. Mun.
    Power Agency v. EPA, 89 F.3d 858, 876 (D.C. Cir. 1996)).

           The parties stipulated that Treasury considered all comments to
    the 1994 regulations in their proposed form. Even assuming the
    comments went to the relevant factors and raised significant problems—
    they arguably did not—Treasury considered them and therefore the
    regulations cannot be invalidated on the grounds that it failed to
    specifically respond.

          The proposed regulations at issue make clear that the
    regulations—including those on foreign legal restrictions—are
    addressing the 1986 amendment to section 482. Treasury understood
    that there was opposition to the new regulations. And I believe going
    forward with the proposed blocked income regulation in the face of
    opposing comments is indeed acknowledgment of them.

           On the basis of that analysis, I agree that Treasury adhered to
    the APA’s procedural requirements. Thus it did not take an action that
    was “arbitrary, capricious, an abuse of discretion, or otherwise not in
    accordance with law.” See Motor Vehicle Mfrs. Ass’n of the U.S., Inc.
    v. State Farm Mut. Auto. Ins. Co., 463 U.S. 29, 43 (1983) (finding that
    the reviewing court considers only whether the agency “articulate[d] a
    satisfactory explanation for its action”). Therefore, the second step of
    Chevron is satisfied.

         Finally, I find aspects of Judge Toro’s dissent troubling.
    Determining whether a comment is significant may result in an analysis




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    that is more subjective than objective. That being so, I am concerned
    that Judge Toro’s dissent would create a slippery slope whereby courts
    would be constantly faced with determining whether comments are
    significant and whether the agency responded appropriately to them.

          Judge Toro’s dissent maintains that Treasury should have
    provided a more in-depth response. This viewpoint requires the Court
    to consider whether the agency did enough. That clearly exceeds the
    APA’s requirement that the reviewing court determine whether the
    agency’s actions were “arbitrary, capricious, an abuse of discretion, or
    otherwise not in accordance with law.” Judge Toro’s dissent would
    therefore place a greater burden on both the agency and the court
    system.

           The result of this heightened scrutiny would likely be the undoing
    of years of regulatory promulgation. This would create uncertainty for
    both taxpayers and Treasury, performing a disservice to the tax system
    as a whole. For all of those reasons, I am wary of the approach taken in
    Judge Toro’s dissent.

          GALE, PARIS, ASHFORD, and COPELAND, JJ., agree with this
    concurring opinion.




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           COPELAND, J., concurring in the result: I agree with the
    decision of the Court. In my view, the result of this case is dictated by
    the plain text of section 482—specifically, the second sentence added by
    amendment in 1986:

          In any case of two or more organizations, trades, or
          businesses . . . owned or controlled directly or indirectly by
          the same interests, the Secretary may distribute,
          apportion, or allocate gross income, deductions, credits, or
          allowances between or among such organizations, trades,
          or businesses, if he determines that such distribution,
          apportionment, or allocation is necessary in order to
          prevent evasion of taxes or clearly to reflect the income of
          any of such organizations, trades, or businesses. In the
          case of any transfer (or license) of intangible property . . .
          the income with respect to such transfer or license shall be
          commensurate with the income attributable to the
          intangible.

    Tax Reform Act of 1986, Pub. L. No. 99-514, § 1231(e)(1), 100 Stat. 2085,
    2562–63 (emphasis added).

           In Commissioner v. First Security Bank of Utah, N.A., 405 U.S.
    394, 403 (1972), the Supreme Court held that for purposes of section 482
    allocations, “income” may never include payments that the taxpayer
    “did not receive and that he was prohibited from receiving.” This
    holding was followed in our cases Procter & Gamble Co. v.
    Commissioner, 95 T.C. 323 (1990), aff’d, 961 F.2d 1255 (6th Cir. 1992),
    and Exxon Corp. v. Commissioner, T.C. Memo. 1993-616, aff’d sub nom.
    Texaco, Inc. v. Commissioner, 98 F.3d 825 (5th Cir. 1996).

           In each of these cases—First Security Bank, Procter & Gamble,
    and Exxon—the courts held that the IRS could not (for purposes of
    properly allocating income under section 482) create deemed payments
    between related companies if applicable law (whether domestic or
    foreign) had forbidden such payments in fact. However, each of these
    cases was decided with respect to tax years prior to 1986, the year
    Congress amended section 482. And it appears that no cases on this
    issue have been decided between Exxon and the case before us today.

          When we look to the legislative history of the 1986 amendment,
    we find that Congress’ aim was to assist the IRS in the difficult task of
    determining an arm’s-length value for the transfer and license of




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    intangibles between related companies. See H.R. Rep. No. 99-841
    (Vol. II), at II-637 (1986) (Conf. Rep.), 1986-3 C.B. (Vol. 4) 1, 637
    (“Uncertainty exists regarding what transfers are appropriate to treat
    as ‘arm’s-length’ comparables and regarding the significance of
    profitability, including major changes in profitability of the intangible
    after the transfer.”); H.R. Rep. No. 99-426, at 424 (1985), 1986-3 C.B.
    (Vol. 2) 1, 424 (“The problems are particularly acute in the case of
    transfers of high-profit potential intangibles. Taxpayers may transfer
    such intangibles to foreign related corporations . . . at an early stage, for
    a relatively low royalty, and take the position that it was not possible at
    the time of the transfers to predict the subsequent success of the
    product.”).

           To remedy the situation, Congress specified a new standard for
    determining an arm’s-length value for intangibles: Whereas taxpayers
    and the courts previously often looked to comparable transactions
    between unrelated parties, or to industry norms, the commensurate-
    with-income standard directs taxpayers, the courts, and the IRS to
    consider also “the actual profit experience realized as a consequence of
    the transfer. Thus, the committee intends to require that the payments
    made for the intangible be adjusted over time to reflect changes in the
    income attributable to the intangible.” H.R. Rep. No. 99-426, at 425‒26,
    1986-3 C.B. (Vol. 2) at 425–26.

           Congress then invited the Treasury Department to modify its
    regulations under section 482 to address the amended statute. See H.R.
    Rep. No. 99-841 (Vol. II), at II-638, 1986-3 C.B. (Vol. 4) at 638. (“The
    conferees are . . . aware that many important and difficult issues under
    section 482 are left unresolved by this legislation. The conferees believe
    that a comprehensive study of intercompany pricing rules by the
    Internal Revenue Service should be conducted and that careful
    consideration should be given to whether the existing regulations could
    be modified in any respect.”). The Treasury Department accordingly
    produced a “White Paper,” published as I.R.S. Notice 88-123, 1988-2
    C.B. 458, and ultimately issued new regulations under section 482, in
    part addressing the new commensurate-with-income standard. See T.D.
    8552, 1994-2 C.B. 93. Congress’ invitation to the Treasury Department
    further confirms that Congress intended to change the existing law
    under section 482 as it related to the transfer and license of intangibles.

           The new regulations, which have remained in place for over 24
    years, put logical concrete parameters on the concept of “commensurate
    with income” as it relates to intangibles. They also provide certainty




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    regarding the effects of foreign legal restrictions, which according to the
    regulations will not upset otherwise necessary reallocations under
    section 482 unless they are publicly promulgated—as was the case in
    First Security Bank, Procter & Gamble, and Exxon but is not the case
    here for 3M. The new regulations likewise require accountability, as the
    legal restrictions must apply equally to controlled and uncontrolled
    taxpayers, as was the situation confronted by the Supreme Court in
    First Security Bank and our Court in Exxon. Specifically, the new
    regulations provide that

          a foreign legal restriction will be taken into account only to
          the extent that it is shown that the restriction affected an
          uncontrolled taxpayer under comparable circumstances for
          a comparable period of time. In the absence of evidence
          indicating the effect of the foreign legal restriction on
          uncontrolled taxpayers, the restriction will be taken into
          account only to the extent provided in paragraphs (h)(2)
          (iii) and (iv) of this section (Deferred income method of
          accounting).

    Treas. Reg. § 1.482-1(h)(2)(i) (1994).

           The legal restrictions at issue in First Security Bank and Exxon
    applied equally to controlled and uncontrolled taxpayers.             The
    restrictions at issue in Procter & Gamble applied only to controlled
    taxpayers, so the new regulations might appear to have contradicted our
    holding (and the U.S. Court of Appeals for the Sixth Circuit’s holding)
    in that case. However, the courts in Procter & Gamble did not have the
    opportunity to address the commensurate-with-income standard and
    Congress’ mandate that the Treasury Department issue appropriate
    regulations. The statute as it relates to intangibles specifically tasked
    the Treasury Department with “careful consideration . . . [as] to whether
    the existing regulations could be modified in any respect.” H.R. Rep. No.
    99-841 (Vol. 2), at II-638, 1986-3 C.B. (Vol. 4) at 638.

           The first, preexisting, sentence of section 482 incorporated—
    without modification—existing standards for determining taxable
    income. This sentence authorized the IRS to reallocate gross income,
    deductions, and credits among related parties if “necessary in order . . .
    clearly to reflect the income of any of such organizations, trades, or
    businesses.” (Emphasis added.) By contrast, the sentence added by the
    1986 amendment specified a new standard for determining income in
    the context of intangible transfers among related parties: “In the case of




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    any transfer (or license) of intangible property . . . the income with
    respect to such transfer or license shall be commensurate with the
    income attributable to the intangible.” (Emphasis added.) However
    taxable income from the transfer of intangibles was determined before
    the amendment, now we must impose the commensurate-with-income
    standard to determine the taxable portion of income of a taxpayer that
    transfers an intangible to a taxpayer in the same controlled group. In
    effect, the new sentence added to section 482 now more clearly defines
    the “income” that must be “clearly reflect[ed]” under the first sentence.

          Indeed, Congress clearly intended “commensurate with income”
    to mean something different from that which the then-existing caselaw
    held. As the House Committee on Ways and Means explained:

                 Certain judicial interpretations of section 482
          suggest that pricing arrangements between unrelated
          parties for items of the same apparent general category as
          those involved in the related party transfer may in some
          circumstances be considered a “safe harbor” for related
          party pricing arrangements, even though there are
          significant differences in the volume and risks involved, or
          in other factors. See, e.g., United States Steel Corporation
          v. Commissioner, 617 F.2d 942 (2d Cir. 1980). While the
          committee is concerned that such decisions may unduly
          emphasize the concept of comparables even in situations
          involving highly standardized commodities or services, it
          believes that such an approach is sufficiently troublesome
          where transfers of intangibles are concerned that a
          statutory modification to the intercompany pricing rules
          regarding transfers of intangibles is necessary.

    H.R. Rep. No. 99-426, at 424, 1986-3 C.B. (Vol. 2) at 424 (emphasis
    added).

           The committee report also supports an inference to what a plain
    reading of the new statutory text indicates—namely, that the new
    commensurate-with-income standard cannot be implemented
    consistently with a strict adherence to the First Security Bank holding.
    In particular:

          In requiring that payments be commensurate with the
          income stream [from the intangible], the bill does not
          intend to mandate the use of the “contract manufacturer”




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           or “cost-plus” methods of allocating income or any other
           particular method. As under present law, all the facts and
           circumstances are to be considered in determining what
           pricing methods are appropriate in cases involving
           intangible property, including the extent to which the
           transferee bears real risks with respect to its ability to
           make a profit from the intangible or, instead, sells products
           produced with the intangible largely to related parties
           (which may involve little sales risk or activity) and has a
           market essentially dependent on, or assured by, such
           related parties’ marketing efforts. However, the profit or
           income stream generated by or associated with intangible
           property is to be given primary weight.

    Id. at 426, 1986-3 C.B. (Vol. 2) at 426 (emphasis added).

           In specifying “all the facts and circumstances” that are to be
    weighed, the committee gives us an example—the relative risks borne
    by the parties—which suggests that the relevant facts and
    circumstances are those internal to generating income from the
    intangible, rather than such external factors as legal restrictions on
    payments to the transferor. Moreover, accommodating such restrictions
    in cases like the present one would give “primary weight” to the
    restriction, 1 rather than to the “income stream generated by . . . [the]
    intangible property,” contrary to congressional intent.

            It is important to note that the tax years at issue in Procter &
    Gamble were 1978 and 1979, and in Exxon 1979–81—all prior to the
    1986 amendment of section 482 (which was effective for tax years
    beginning after December 31, 1986). Therefore, there is no reason to
    construe our decision in the present case as overturning either of our
    precedents, as there we were dealing with a different version of the law
    as it relates to income from intangibles.

           The Court views the IRS’s allocation to the 3M consolidated group
    as “consistent with the 1986 statutory amendment” and “supported by
    the language of the 1986 amendment.” Such allocation is in fact



           1 We also note that, if we were to agree with 3M in the present case, we would

    be giving primary weight to a Brazilian legal restriction that was not publicly
    promulgated, creating further uncertainty—arguably of the sort that Congress was
    attempting to avert with the 1986 amendment.




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    required by the amended statute, with or without the clarifications of
    Treasury Regulation § 1.482-1(h)(2).

          KERRIGAN, GALE, and PARIS, JJ., agree with this opinion
    concurring in the result.




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           BUCH, J., dissenting: “Blocked income” is income that a taxpayer
    is prohibited by law from receiving. We have previously held that
    blocked income cannot be taxed. L.E. Shunk Latex Prods., Inc. v.
    Commissioner, 18 T.C. 940, 961 (1952). The U.S. Courts of Appeals for
    the Fifth and Sixth Circuits have held that blocked income cannot be
    taxed. Texaco, Inc. v. Commissioner, 98 F.3d 825 (5th Cir. 1996), aff’g
    Exxon Corp. v. Commissioner, T.C. Memo. 1993-616; Procter & Gamble
    Co. v. Commissioner, 961 F.2d 1255 (6th Cir. 1992), aff’g 95 T.C. 323
    (1990). And the Supreme Court has held that blocked income cannot be
    taxed. Commissioner v. First Sec. Bank of Utah, N.A., 405 U.S. 394
    (1972). In response, the Department of the Treasury promulgated a
    regulation under section 482 that results in the taxing of blocked
    income. Treas. Reg. § 1.482-1(h)(2)(ii)(A) (promulgated by T.D. 8552,
    1994-2 C.B. 93, 125–26). We are asked to decide whether this regulation
    exceeds the Department of the Treasury’s power to tax.

          As a trial court, we may depart from our own precedent if we have
    special justification for doing so. Sec. State Bank v. Commissioner, 111
    T.C. 210, 213 (1998), aff’d, 214 F.3d 1254 (10th Cir. 2000). As a national
    court whose cases can be appealed in any one of the geographic circuits,
    we are not required to follow the precedent of circuits other than the one
    in which the present case is appealable. Golsen v. Commissioner, 54 T.C.
    742, 756–58 (1970), aff’d, 445 F.2d 985 (10th Cir. 1971). But we are
    required to follow the precedent of the Supreme Court. Parks v.
    Commissioner, 145 T.C. 278, 341 (2015) (citing Rodriguez de Quijas v.
    Shearson/Am. Express, Inc., 490 U.S. 477, 484 (1989)), aff’d sub nom.
    Parks Found. v. Commissioner, 717 F. App’x 712 (9th Cir. 2017).
    Because the opinion of the Court is contrary to established Supreme
    Court precedent prohibiting the taxation of blocked income, I dissent.

    I.    Background

           A predicate to imposing an income tax is to define what is income.
    Section 61 does that in the broadest possible terms. It includes in the
    definition of income: compensation for services, gross income from
    businesses, gains, royalties, and many more items.

           Income is not limited to amounts actually received. Although
    individuals are typically taxed on amounts they have received (i.e., on a
    cash basis), businesses are often taxed on an accrual basis. A common
    result is that businesses are often taxed on money they have the right
    to receive in the future but have not yet received. See, e.g., Commissioner
    v. Hansen, 360 U.S. 446, 466–67 (1959).




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           In an effort to minimize their tax liabilities, both individuals and
    corporations have been known to manipulate their receipt of income.
    One example might be a parent who is taxed at a higher rate attempting
    to shift income to a child or a grandchild who is taxed at a lower rate.
    See, e.g., Harrison v. Schaffner, 312 U.S. 579 (1941). Another example
    might be a corporation diverting its income directly to its shareholders.
    See, e.g., United States v. Joliet & C.R. Co., 315 U.S. 44, 45 (1942).

           Businesses that operate through multiple entities spread across
    multiple countries can try to manipulate their receipt of income through
    additional means. Different countries impose taxes at different rates,
    and some countries don’t impose taxes on certain types of income. See,
    e.g., Amazon.com, Inc. & Subs. v. Commissioner, 148 T.C. 108, 120–21
    (2017) (discussing tax considerations in the selection of a potential
    European headquarters location), aff’d, 934 F.3d 976 (9th Cir. 2019);
    Bausch & Lomb, Inc. v. Commissioner, T.C. Memo. 1996-57, 71 T.C.M.
    (CCH) 2031, 2035 (noting that Ireland “generally exempted from . . . tax
    income earned through export sales of goods manufactured in Ireland”).
    To take advantage of differing tax structures in different countries, a
    corporation might attempt to shift income to a lower tax jurisdiction so
    that it is taxed at a lower rate. See, e.g., Eaton Corp. & Subs. v.
    Commissioner, 47 F.4th 434, 437 (6th Cir. 2022), aff’g in part, rev’g in
    part T.C. Memo. 2017-147.

          A.     The Power to Allocate Income

           Long ago, Congress vested the Commissioner with the power to
    allocate gross income between commonly controlled organizations. See
    I.R.C. § 482. That power has remained largely unchanged since the
    Internal Revenue Code of 1939, at which time section 45 of the 1939
    Code provided:

                  In any case of two or more organizations, trades, or
          businesses (whether or not incorporated, whether or not
          organized in the United States, and whether or not
          affiliated) owned or controlled directly or indirectly by the
          same interests, the Commissioner is authorized to
          distribute, apportion, or allocate gross income or
          deductions between or among such organizations, trades,
          or businesses, if he determines that such distribution,
          apportionment, or allocation is necessary in order to
          prevent evasion of taxes or clearly to reflect the income of
          any of such organizations, trades, or businesses.




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          Congress renumbered that provision as section 482 when
    enacting the Internal Revenue Code of 1954. And it kept that same
    numbering when it enacted the Internal Revenue Code of 1986. With
    the enactment of both the 1954 Code and the 1986 Code, Congress made
    minor changes to section 482. During the year at issue it provided:

          In any case of two or more organizations, trades, or
          businesses (whether or not incorporated, whether or not
          organized in the United States, and whether or not
          affiliated) owned or controlled directly or indirectly by the
          same interests, the Secretary may distribute, apportion, or
          allocate gross income, deductions, credits, or allowances
          between or among such organizations, trades, or
          businesses, if he determines that such distribution,
          apportionment, or allocation is necessary in order to
          prevent evasion of taxes or clearly to reflect the income of
          any of such organizations, trades, or businesses. In the case
          of any transfer (or license) of intangible property (within
          the meaning of section 936(h)(3)(B)), the income with
          respect to such transfer or license shall be commensurate
          with the income attributable to the intangible.

    I.R.C. § 482. The only material change between the 1939 Code and the
    Code as in effect during the year at issue is the addition of the second
    sentence.

           The Commissioner has used section 482 in a variety of ways to
    allocate items across controlled entities. For example, in Kenco
    Restaurants, Inc. v. Commissioner, 206 F.3d 588 (6th Cir. 2000), aff’g
    T.C. Memo. 1998-342, the Commissioner used section 482 to allocate
    management fees and administrative expenses across a group of
    commonly owned domestic companies to more clearly reflect the income
    of the controlled entities. In Likins-Foster Honolulu Corp. v.
    Commissioner, 840 F.2d 642, 647 (1988), aff’g T.C. Memo. 1985-572, the
    Commissioner used section 482 to allocate interest income to a parent
    company that had made an interest-free loan to its subsidiary, because
    “[s]uch a scheme does not reflect true taxable income.” And in Bausch &
    Lomb Inc. v. Commissioner, 933 F.2d 1084 (2d Cir. 1991), aff’g 92 T.C.
    525 (1989), the Commissioner used section 482 to adjust royalty rates
    paid by an Irish subsidiary for the use of its parent company’s
    manufacturing technology and related intangibles to better reflect
    arm’s-length consideration. As these varied examples illustrate, the




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    Commissioner can use section 482 in myriad ways to allocate income
    among commonly controlled entities.

            B.       The Blocked Income Problem

           Commonly controlled entities don’t necessarily have an
    unfettered ability to allocate income amongst themselves. On occasion,
    domestic or foreign laws may limit, or outright prohibit, the allocation
    of income between commonly controlled entities. For example, a foreign
    country might prohibit the payment of royalties from a subsidiary in
    that country to a parent located elsewhere. See, e.g., Procter & Gamble,
    discussed infra. Or a domestic law might prohibit a regulated entity
    from receiving certain types of income. See, e.g., First Security Bank,
    discussed infra. When a law prohibits an entity from receiving income,
    that income is sometimes referred to as blocked income.

           Regulations in effect from 1934 through 1993 shed light on the
    Commissioner’s interpretation of section 482 and its predecessor,
    section 45. Throughout that time, the relevant portion of the regulation
    remained unchanged in all material respects 1 and provided:

            The interests controlling a group of controlled taxpayers
            are assumed to have complete power to cause each
            controlled taxpayer so to conduct its affairs that its
            transactions and accounting records truly reflect the net
            income from the property and business of each of the
            controlled taxpayers. If, however, this has not been done,
            and the taxable net incomes are thereby understated, the
            statute contemplates that the Commissioner shall
            intervene, and, by making such distributions,
            apportionments, or allocations as he may deem necessary
            of gross income or deductions, or of any item or element
            affecting net income, between or among the controlled
            taxpayers constituting the group, shall determine the true
            net income of each controlled taxpayer.


             1 The opinion of the Court provides details regarding the various iterations

    over time of the relevant portion of the 1934 regulation, quoted here. The opinion of
    the Court characterizes those reiterations as “identical to,” see op. Ct. p. 83, “identical
    to,” see op. Ct. p. 86, “substantively identical to,” see op. Ct. p. 87, “identical to . . .
    except for a difference in prefixes,” see op. Ct. p. 89, “virtually identical to,” see op. Ct.
    p. 114, “not substantively different from,” see op. Ct. p. 123‒24, and having “left in
    place,” see op. Ct. p. 129, the preceding iterations. We will not repeat each iteration
    here.




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    Art. 45-1(b), Regulations 86, Regulations 86 Relating to the Income Tax
    Under the Revenue Act of 1934, at 123 (Gov’t Prtg. Off. 1935). This
    regulation acknowledges that, for the Commissioner to allocate income
    to a taxpayer, that taxpayer must have “complete power” over that
    income.

           C.      Taxing and Allocating Blocked Income

            Section 482 is silent as to blocked income, and the regulations in
    effect from 1934 through 1993 did not explicitly purport to tax blocked
    income. 2 But the Commissioner repeatedly attempted to use section 482
    (and its predecessor, section 45) in an effort to tax blocked income.

           The first such case we have identified was L.E. Shunk Latex
    Products, 18 T.C. 940, in which the Tax Court held that the
    Commissioner could not allocate, and thereby tax, blocked income. In
    L.E. Shunk Latex, three commonly controlled entities were involved in
    the manufacture and sale of latex products. Two corporations, L.E.
    Shunk Latex Products, Inc. (Shunk), and Killian Manufacturing Co.
    (Killian), manufactured the products and sold them to a partnership,
    Killashun Sales Division (Killashun), which resold them. Id. at 941. As
    the U.S. involvement in World War II began, Killashun increased its
    prices. Id. at 950. In 1942, after Killashun had increased its prices but
    before Shunk or Killian had done so, the United States enacted wartime
    price controls. Id. The result was that Shunk and Killian were selling
    products to Killashun at pre-war prices while Killashun was reselling
    those products at inflated wartime prices. The Commissioner sought to
    allocate some of Killashun’s profits to Shunk and Killian. Id. at 952.

           The Tax Court opined that the Commissioner could not make
    such an allocation. Had the Commissioner sought to allocate income
    from the period before the price controls had taken effect, our Court
    hypothesized that “we would be constrained to regard [the] action . . . as
    warranted.” Id. at 957. But this Court used that counterfactual example
    to highlight why the Commissioner could not allocate the income as he
    chose. We noted “the uncontroverted effect of those [price control]

            2 During a portion of this time, the Treasury regulations included a provision

    addressing blocked income. See, e.g., Treas. Reg. § 1.482-1(d)(6) (promulgated by T.D.
    6952, 1968-1 C.B. 218, 222) (allowing treatment of blocked income as deferrable
    income). Both this Court and the Sixth Circuit held that this regulation did not
    authorize the taxing of blocked income, with the Sixth Circuit further stating that the
    regulation applied only “where a temporary restriction under foreign law prevents
    payments.” Procter & Gamble Co. v. Commissioner, 961 F.2d at 1260.




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    regulations in prohibiting petitioners from receiving the very income
    sought to be attributed to them.” Id. at 961. In allocating Killashun’s
    income to Shunk and Killian, the Commissioner exceeded his authority
    because “the Commissioner had no authority to attribute to petitioners
    income which they could not have received.” Id. Nowhere in our opinion
    did we rely on, or even mention, the “complete power” passage in the
    regulations under (then) section 45.

           The only case we have identified in which the Commissioner was
    permitted to allocate blocked income to a taxpayer is Local Finance
    Corp. v. Commissioner, 407 F.2d 629 (7th Cir. 1969), aff’g 48 T.C. 773
    (1967). In that case, the Commissioner successfully allocated
    commissions from the sales of insurance policies to a finance company
    notwithstanding a state law prohibiting that finance company from
    receiving such commissions. Relying principally on federal supremacy
    principles, the U.S. Court of Appeals for the Seventh Circuit held that
    “the Commissioner is not precluded from making his allocation, since
    the criteria of what constitutes income under section 61 and the
    appropriateness of an allocation under section 482 are matters of federal
    law.” Id. at 633. But subsequent developments demonstrate that this
    case was an aberration.

          D.     The Supreme Court on Blocked Income

           In Commissioner v. First Security Bank of Utah, N.A., 405 U.S.
    394, the Supreme Court considered facts remarkably similar to those
    presented in Local Finance. First Security Bank involved a situation
    where banks referred their customers for the purchase of insurance
    policies. Those policies were underwritten by an independent insurer
    and then reinsured with Security Life. Security Life and the banks were
    commonly controlled by a holding company. Id. at 398. Although the
    banks offered the insurance policies to their customers, they did not
    receive commissions because they had been advised that they were
    prohibited (blocked) by law from receiving income from their customers’
    purchases of such insurance. Id. at 397. Because insurance companies
    were taxed at a lower rate than banks, not paying commissions to the
    banks lowered the overall tax liability of the commonly controlled
    companies.

           In First Security Bank, the Supreme Court considered the
    application of section 482 to the blocked income, and it explicitly rejected
    the conclusion reached in Local Finance. The Court began its analysis
    by looking to the definition of income, without regard to section 482:




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                 We know of no decision of this Court wherein a
          person has been found to have taxable income that he did
          not receive and that he was prohibited from receiving. In
          cases dealing with the concept of income, it has been
          assumed that the person to whom the income was
          attributed could have received it. The underlying
          assumption always has been that in order to be taxed for
          income, a taxpayer must have complete dominion over it.

    Id. at 403. Only after defining income did the Court look to the complete
    power regulation as then in effect and only as reinforcement of its own
    conclusion.

                 One of the Commissioner’s regulations for the
          implementation of § 482 expressly recognizes the concept
          that income implies dominion or control of the
          taxpayer . . . . This regulation is consistent with the control
          concept heretofore approved by this Court, although in a
          different context.

    Id. at 404. The Court did not rely on that regulation, but merely cited it
    for the proposition that even the Commissioner recognized that blocked
    income could not be taxed. Indeed, the Court was clear that it was
    interpreting the statute, not the regulations, writing:

                Apart from the inequity of attributing to the Banks
          taxable income that they have not received and may not
          lawfully receive, neither the statute nor our prior decisions
          require such a result.

    Id. at 405. Ultimately, the Court concluded that the “income received by
    Security Life could not be attributable to the Banks.” Id. at 407
    (emphasis added). For good measure, the Court noted that “Local
    Finance Corp. was erroneously decided and that the earlier views of the
    Tax Court [in L.E. Shunk Latex] were correct.” Id. at 406 n.22.

          The Supreme Court has explained on at least two occasions the
    import of its holding in First Security Bank. In United States v. Basye,
    410 U.S. 441 (1973), the Court explicitly described its holding in First
    Security Bank as describing what the Commissioner is not permitted to
    do. “We held there that the Commissioner could not properly allocate
    income to one of a controlled group of corporations under 26 U. S. C.
    § 482 where that corporation could not have received that income as a
    matter of law.” Id. at 453 n.13 (emphasis added). And in Commissioner




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    v. Banks, 543 U.S. 426, 434 (2005), the Court cited First Security Bank
    for the proposition that “attribution of income is resolved by asking
    whether a taxpayer exercises complete dominion over the income in
    question.”

           E.     Interpreting First Security Bank

           In the years since the Supreme Court decided First Security
    Bank, cases involving many variations of blocked income have arisen.
    Although First Security Bank involved a federal law that blocked
    income, the later cases also dealt with state and foreign laws that
    blocked income. Although First Security Bank involved a law that
    prohibited the taxpayer from receiving income, subsequent cases also
    dealt with laws that prohibited the controlled entity from making
    payments to the taxpayer. And at least one of these cases involved a
    situation in which a taxpayer could have taken steps to structure its
    business in such a way that the blocking statute did not apply.
    Notwithstanding these variations, in each case the deciding court found
    that First Security Bank prohibited the Commissioner from allocating
    and taxing blocked income.

                  1.      Salyersville National Bank

           In Salyersville National Bank v. United States, 613 F.2d 650 (6th
    Cir. 1980), the Sixth Circuit faced a set of facts very similar to those in
    First Security Bank and Local Finance. Like those cases, Salyersville
    National Bank involved a bank that was prohibited by state law from
    receiving commissions from the sales of insurance. To facilitate the
    purchase of insurance, the bank would refer its clients to the bank’s
    president, who was licensed to sell insurance. Salyersville Nat’l Bank,
    613 F.2d at 650–51. The bank president would sell the insurance and
    receive the commissions. Id. The Commissioner attempted to use his
    power under section 482 to allocate the commission income from the
    bank president (a shareholder of the bank) to the bank under section
    482. The court found that First Security Bank prohibited such an
    allocation, describing the Supreme Court as having “held that income
    could not be reallocated to a taxpayer who did not receive the income
    and who could not lawfully have received it.” Id. at 655 (emphasis
    added). 3


           3 One additional observation about Salyersville National Bank is noteworthy.

    The bank involved in that case could have received commissions if it took steps to




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                   2.      Procter & Gamble

           In Procter & Gamble Co. v. Commissioner, 961 F.2d 1255, the
    Sixth Circuit held that section 482 could not be used to allocate income
    to a taxpayer when the controlled entity was prohibited by foreign law
    from making payments to the taxpayer. Procter & Gamble organized a
    Spanish entity to manufacture and sell products in Spain. Id. at 1256.
    The Spanish entity relied on the intellectual property of other Procter &
    Gamble affiliates. Id. at 1256–57. Various Spanish decrees limited the
    ability of the Spanish entities to make royalty payments to their foreign
    owners. Id. at 1257. These decrees varied depending on the extent of
    foreign ownership; and although there was a procedure to seek a waiver,
    Procter & Gamble did not avail itself of that procedure. Id. As a result,
    Procter & Gamble’s Spanish entity was prohibited from making royalty
    payments to other Procter & Gamble affiliates. Id. The Commissioner
    attempted to use section 482 to allocate income from the Spanish entity
    to another Procter & Gamble entity. Id. at 1257–58. Because the
    Spanish entity was able to use Procter & Gamble’s intellectual property
    without paying a royalty, the Commissioner based this allocation on a
    hypothetical royalty that the Commissioner argued should have been
    paid by the Spanish entity. Id.

           Both this Court and the Sixth Circuit rejected the Commissioner’s
    arguments. In doing so, both this Court and the Sixth Circuit described
    section 482, and not any regulations thereunder, as prohibiting the
    Commissioner’s proposed allocation.

           The Tax Court determined that section 482 does not apply to
    blocked income. Citing both First Security Bank and Salyersville
    National Bank, we wrote: “As we understand these cases, section 482
    simply does not apply where restrictions imposed by law, and not the
    actions of the controlling interest, serve to distort income among the
    controlled group.” Procter & Gamble, 95 T.C. at 336 (emphasis added).
    We further explained that, when it is a law that blocks income, the
    taxpayer is not using its control over its subsidiaries to manipulate or
    shift income among them. Id. at 338. As he does in this case, the
    Commissioner directed the Court in Procter & Gamble to his then-extant
    regulations. But we expressly stated that, “[b]y virtue of our holding that


    qualify as an insurance agent. The Commissioner argued that the bank had a duty to
    do so. The court rejected this argument, because “the fact that taxpayer may have had
    the power to enable it to receive the income legally does not require that it exercise
    that power.” Salyersville Nat’l Bank, 613 F.2d at 655.




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    section 482 does not apply, the regulations under section 482 likewise
    do not apply.” Id. at 341.

           Dissatisfied, the Commissioner sought reconsideration. The
    result, common when reconsideration is sought, was a more emphatic
    statement of our interpretation of First Security Bank.

           Stated another way, in Commissioner v. First Security
           Bank of Utah, supra, the Supreme Court interpreted
           section 482 so that an allocation cannot be made when the
           taxpayer’s receipt of the allocated income is prohibited by
           law.

    Procter & Gamble Co. v. Commissioner, T.C. Memo. 1990-638, 60 T.C.M.
    (CCH) 1463, 1466 (emphasis added).

           The Sixth Circuit agreed. It described the Supreme Court as
    having “held in First Security that the Commissioner is authorized to
    allocate income under section 482 only where a controlling interest has
    complete power to shift income among its subsidiaries and has exercised
    that power.” Procter & Gamble Co. v. Commissioner, 961 F.2d at 1259.
    It cited the then-extant regulations, not as support for this proposition,
    but as merely recognizing this limit on the Commissioner’s authority to
    make an allocation. Id. at 1258.

                   3.     Exxon/Texaco

           In Texaco, 4 the Tax Court and the Fifth Circuit were asked to
    apply section 482 to income distortions caused by foreign price controls.
    Saudi Arabia sold crude oil at a price that was below market rates, but
    it required that the purchasers likewise resell it at below-market rates.
    Texaco, Inc. v. Commissioner, 98 F.3d at 827. These price restrictions,
    however, applied only to crude oil and not to products refined from that
    oil. Id. Under this set of rules, Exxon and Texaco affiliates would
    purchase Saudi crude oil and then sell it to their affiliates at below-
    market rates. Those entities, in turn, would refine the oil and sell the
    refined products at market rates. Because the refining affiliates
    purchased crude at below-market rates but sold their refined products
    at market rates, the profits of the refining affiliates were inflated. Id.



           4 For purposes of deciding the section 482 issue, cases involving Texaco and

    Exxon were consolidated before the Tax Court.




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    The Commissioner sought to use section 482 to allocate income from the
    refining affiliates to the crude oil resellers.

           Both this Court and the Fifth Circuit rejected the Commissioner’s
    arguments. In doing so, both this Court and the Fifth Circuit described
    section 482, as interpreted by First Security Bank, as prohibiting the
    Commissioner’s proposed allocation.

           In deciding whether the Commissioner could use section 482 to
    allocate blocked income, the Tax Court looked to the cases that had
    already addressed blocked income and found that the Commissioner had
    no such authority. We described First Security Bank as standing for the
    proposition that the Commissioner lacked the authority to reallocate
    blocked income.

          The Supreme Court affirmed the Court of Appeals on the
          ground that, since the banks could not legally receive the
          commissions under Federal law, the Commissioner could
          not reallocate them to the banks.

    Exxon Corp., 66 T.C.M. (CCH) at 1735. We understood that the Supreme
    Court reached this conclusion without relying on the regulations under
    section 482. We noted that the Supreme Court “observed that one of the
    Commissioner’s regulations under section 482 also recognized the
    concept that ‘income implies dominion or control’” and went on to quote
    the regulation. Id. (emphasis added).

           We rightly observed in Exxon that the prohibition on allocating
    blocked income relates to the very concept of income. We described our
    holding in Procter & Gamble as being “premised upon the important
    domestic tax concept, as espoused by the Supreme Court in First
    Security, that a section 482 allocation cannot be made when receipt of
    the income at issue is prohibited by law.” Id. at 1736. And quoting First
    Security Bank, we explicitly characterized this as relating to the very
    definition of income.

          [A] taxpayer who is legally prohibited from receiving
          income and who does not in fact receive such income,
          cannot be said to have “earned” the income under a
          section 61 analysis.

    Id. at 1739.




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           The Fifth Circuit likewise agreed that First Security Bank stands
    for the proposition that “§ 482 did not authorize the Commissioner to
    allocate income to a party prohibited by law from receiving it.” Texaco,
    Inc. v. Commissioner, 98 F.3d at 828. Like other courts before it, the
    Fifth Circuit did not rely on the complete power regulation but instead
    described it as merely explaining the purpose of section 482. Id. at 829.
    And like the courts before it, the Fifth Circuit concluded that “where, as
    here, the taxpayer lacks the power to control the allocation of the profits,
    reallocation under § 482 is inappropriate.” Id. at 830.

                    4.      Tower Loan

           The last case in our chronology adds a small but emphatic point
    to this discussion. In Tower Loan of Mississippi, Inc. v. Commissioner,
    T.C. Memo. 1996-152, 71 T.C.M. (CCH) 2581, we were again asked by
    the Commissioner to allocate commissions on the sale of insurance to a
    financial institution that was prohibited from receiving those
    commissions. In denying the Commissioner’s proposed allocation, we
    described First Security Bank in clear and concise terms.

                   We understand the Supreme Court’s opinion to
            forbid allocation of income to a taxpayer when restrictions
            imposed by law prohibit the taxpayer from receiving such
            income.

    Id. at 2583.

    II.     The 1994 Blocked Income Regulation

          Faced with a string of losses spanning L.E. Shunk Latex in 1952
    to the Sixth Circuit’s opinion in Procter & Gamble in 1992, the
    Department of the Treasury promulgated regulations purporting to
    authorize the allocation, and thus taxation, of blocked income. 5 The final
    version of the blocked income portion of that regulation, which the
    Commissioner would have us apply in this case, provides:

                   (2) Effect of foreign legal restrictions—(i) In general.
            The district director will take into account the effect of a
            foreign legal restriction to the extent that such restriction

            5 Section 7805(a) authorizes the Secretary of the Treasury to “prescribe all

    needful rules and regulations for the enforcement of this title, including all rules and
    regulations as may be necessary by reason of any alteration of law in relation to
    internal revenue.”




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          affects the results of transactions at arm’s length. Thus, a
          foreign legal restriction will be taken into account only to
          the extent that it is shown that the restriction affected an
          uncontrolled taxpayer under comparable circumstances for
          a comparable period of time. In the absence of evidence
          indicating the effect of the foreign legal restriction on
          uncontrolled taxpayers, the restriction will be taken into
          account only to the extent provided in paragraphs (h)(2)(iii)
          and (iv) of this section (Deferred income method of
          accounting).

                       (ii) Applicable legal restrictions. Foreign legal
                restrictions (whether temporary or permanent) will
                be taken into account for purposes of this paragraph
                (h)(2) only if, and so long as, the conditions set forth
                in paragraphs (h)(2)(ii)(A) through (D) of this
                section are met.

                                (A) The restrictions are publicly
                          promulgated, generally applicable to all
                          similarly situated persons (both controlled
                          and uncontrolled), and not imposed as part of
                          a commercial transaction between the
                          taxpayer and the foreign sovereign;

                                 (B) The taxpayer (or other member of
                          the controlled group with respect to which the
                          restrictions apply) has exhausted all remedies
                          prescribed by foreign law or practice for
                          obtaining a waiver of such restrictions (other
                          than remedies that would have a negligible
                          prospect of success if pursued);

                                 (C)    The       restrictions   expressly
                          prevented the payment or receipt, in any
                          form, of part or all of the arm’s length amount
                          that would otherwise be required under
                          section 482 (for example, a restriction that
                          applies only to the deductibility of an expense
                          for tax purposes is not a restriction on
                          payment or receipt for this purpose); and




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                                   (D) The related parties subject to the
                            restriction did not engage in any arrangement
                            with controlled or uncontrolled parties that
                            had the effect of circumventing the
                            restriction, and have not otherwise violated
                            the restriction in any material respect.

    Treas. Reg. § 1.482-1(h)(2)(i) and (ii).

           Some of the conditions set forth in paragraph (h)(2)(ii)(A) through
    (D) were present in the cases discussed above. The Spanish decree at
    issue in Procter & Gamble applied differently depending on the extent
    of control and thus did not apply similarly to both controlled and
    uncontrolled taxpayers. Also, Procter & Gamble did not exhaust all
    remedies in seeking a waiver. Likewise, the bank in Salyersville
    National Bank could have taken steps to qualify as an insurance agent
    and thereby lift the restriction blocking its receipt of income.

            A.      The Test for Validity

            The path to analyze the validity of a regulation is well trod. We
    begin with the statute and ask whether there is a gap to fill. “If the
    intent of Congress is clear, that is the end of the matter; for the court,
    as well as the agency, must give effect to the unambiguously expressed
    intent of Congress.” Chevron, U.S.A., Inc. v. Nat. Res. Def. Council, Inc.
    (Chevron), 467 U.S. 837, 842–43 (1984). 6 But if Congress has left a gap
    to fill, then we look to see whether the regulation is a permissible
    construction of the statute. Id. at 843. As a court, we give deference to
    the agency; “the court does not simply impose its own construction on
    the statute.” Id.




             6 Some have questioned the continuing viability of Chevron. See Nicholas R.

    Bednar & Kristin E. Hickman, Chevron’s Inevitability, 85 Geo. Wash. L. Rev. 1392,
    1408 (2017) (“Since 2000, several Supreme Court opinions have seemed to weaken
    Chevron in both substance and scope.”); see also Perez v. Mortg. Bankers Ass’n, 575
    U.S. 92, 109–11 (2015) (Scalia, J., concurring) (explaining that Chevron “developed an
    elaborate law of deference to [agency] interpretations” “[h]eedless of the original design
    of the [Administrative Procedure Act]” and suggesting that it may cause persistent
    problems if not “uprooted”). We need not confront Chevron’s viability; it was well
    settled long before Chevron was decided that a regulation that exceeds the power of its
    governing statute is invalid. See, e.g., Manhattan Gen. Equip. Co. v. Commissioner,
    297 U.S. 129, 134 (1936) (“A regulation which . . . operates to create a rule out of
    harmony with the statute, is a mere nullity.”).




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           But what if the agency promulgates a regulation that is contrary
    to existing caselaw? The Supreme Court answered this question in
    National Cable & Telecommunications Ass’n v. Brand X Internet
    Services, 545 U.S. 967 (2005). Relying on the framework set forth in
    Chevron, the Court held that a “prior judicial construction of a statute
    trumps an agency construction otherwise entitled to Chevron deference
    only if the prior court decision holds that its construction follows from
    the unambiguous terms of the statute and thus leaves no room for
    agency discretion.” Brand X, 545 U.S. at 982. 7 Under Brand X and
    predicated on Chevron, we look to prior cases interpreting a statute to
    determine whether those cases held that the statute was unambiguous. 8

          A problem arises, however, when trying to apply this standard to
    pre-Chevron cases. The problem was clearly described by Justice Scalia:

                   In cases decided pre-Brand X, the Court had no
            inkling that it must utter the magic words “ambiguous” or
            “unambiguous” in order to (poof!) expand or abridge
            executive power, and (poof!) enable or disable
            administrative contradiction of the Supreme Court.
            Indeed, the Court was unaware of even the utility (much
            less the necessity) of making the ambiguous/nonambiguous
            determination in cases decided pre-Chevron, before that
            opinion made the so-called “Step 1” determination of
            ambiguity vel non a customary (though hardly mandatory)
            part of judicial-review analysis. For many of those earlier
            cases, therefore, it will be incredibly difficult to determine
            whether the decision purported to be giving meaning to an
            ambiguous, or rather an unambiguous, statute.

    United States v. Home Concrete & Supply, LLC, 566 U.S. 478, 493–94
    (2012) (Scalia, J., concurring) (footnote omitted).

          Home Concrete presented just such a problem. Section 6501(a)
    generally provides the Commissioner with a three-year period within
            7 Justice Stevens, in concurrence, contrasted a prior judicial construction by a

    court of appeals and one by the Supreme Court, noting that the latter “would
    presumably remove any pre-existing ambiguity.” Brand X, 545 U.S. at 1003 (Stevens,
    J., concurring).
             8 As with Chevron, some have questioned the continuing viability of Brand X.

    See, e.g., Baldwin v. United States, 140 S. Ct. 690, 691, (2020) (Thomas, J., dissenting
    from denial of certiorari) (“Brand X appears to be inconsistent with the Constitution,
    the Administrative Procedure Act (APA), and traditional tools of statutory
    interpretation.”). As with Chevron, we need not confront the viability of Brand X.




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    which to assess tax. The Code extends that period to six years, however,
    if the taxpayer omits gross income over a certain threshold. I.R.C.
    § 6501(e). In 2010, the Department of the Treasury promulgated a
    regulation that defined an omission as including a situation in which a
    taxpayer reported an overstated basis resulting in an understatement
    of income. Treas. Reg. § 301.6501(e)-1. In deciding the validity of this
    regulation, the Supreme Court looked to a pre-Chevron case to see
    whether that case had left a gap for the agency to fill.

           The case on which Home Concrete relied expressly held that the
    statute it was interpreting was ambiguous. In Colony, Inc. v.
    Commissioner, 357 U.S. 28, 30 (1958), the taxpayer overstated its basis
    in assets it sold, thereby understating its gross profit. Although it had
    reported its gross receipts, the Commissioner sought to apply a special,
    longer limitations period that applies when a taxpayer omits gross
    income. Id. at 29–31. The taxpayer argued that, by virtue of having
    reported its gross receipts, it did not “omit” income, even if income
    (having been reduced by the overstated basis) was understated. Id.
    at 33. Before embarking on a review of legislative history, the Supreme
    Court in Colony expressly stated: “[I]t cannot be said that the language
    is unambiguous.” Id. The Supreme Court ultimately held that when an
    item is disclosed on the face of a return, as in the case of an overstated
    basis, it is not omitted. Id. at 36

            Notwithstanding the express statement in Colony that the
    operative text of the statute it was interpreting was ambiguous, the
    Supreme Court in Home Concrete held that “Colony determines the
    outcome in this case.” Home Concrete, 566 U.S. at 483. The Court
    considered the Department of the Treasury’s new regulation redefining
    an omission to include an overstatement of basis. Id. at 486. But the
    Court held that “Colony has already interpreted the statute, and there
    is no longer any different construction that is consistent with Colony and
    available for adoption by the agency.” 9 Id. at 487.

            B.      Applying Brand X and Home Concrete

           The Supreme Court, in deciding First Security Bank, foreclosed
    the allocation, and thus the taxation, of blocked income. Without using

            9 The opinion of the Court also cites Home Concrete, writing: “According to

    Home Concrete, the opinion in Colony had held that Congress ‘had directly spoken to
    the precise question at issue’ and therefore ‘left no gap for the agency to fill.’” See op.
    Ct. p. 249. But that passage and others cited in the opinion of the Court are found in
    Part IV-C of Home Concrete, which was not joined by a majority of the Court.




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    the word “unambiguous,” the Court made clear that blocked income is
    not, and cannot be, allocated to someone who did not and cannot receive
    it. It said so directly: “[I]ncome received by Security Life could not be
    attributable to the Banks.” Commissioner v. First Security Bank of Utah,
    N.A., 405 U.S. at 407 (emphasis added). And it reiterated that holding
    in a subsequent case: “[T]he Commissioner could not properly allocate
    income to one of a controlled group of corporations under 26 U. S. C.
    § 482 where that corporation could not have received that income as a
    matter of law.” Basye, 410 U.S. at 453 n.13.

            Every court to have considered First Security Bank in the context
    of blocked income has understood it as describing a limit on the
    Commissioner’s power to allocate income. The Sixth Circuit understood
    it: “[T]he Commissioner is authorized to allocate income under section
    482 only where a controlling interest has complete power to shift income
    among its subsidiaries and has exercised that power.” Procter & Gamble
    Co. v. Commissioner, 961 F.2d at 1259. The Fifth Circuit understood it:
    “§ 482 did not authorize the Commissioner to allocate income to a party
    prohibited by law from receiving it.” Texaco, Inc. v. Commissioner, 98
    F.3d at 828. And until today, we understood it: “We understand the
    Supreme Court’s opinion to forbid allocation of income to a taxpayer
    when restrictions imposed by law prohibit the taxpayer from receiving
    such income.” Tower Loan, 71 T.C.M. (CCH) at 2583. The opinion of the
    Court runs counter to these repeated unambiguous statements
    interpreting sections 61 and 482 as interpreted and applied by the
    Supreme Court in First Security Bank.

           The opinion of the Court and the concurring opinions all observe
    that a new sentence was added to section 482 in 1986. See op. Ct.
    pp. 244–49; Kerrigan concurring op. pp. 277–78; Copeland op.
    concurring in the result p. 281. During the year at issue, that sentence
    provided: “In the case of any transfer (or license) of intangible property
    (within the meaning of section 936(h)(3)(B)), the income with respect to
    such transfer or license shall be commensurate with the income
    attributable to the intangible.” Although the opinion of the Court notes
    the passage of this amendment, it does not explain how this sentence
    addresses blocked income.

          Nothing in this sentence addresses blocked income. It addresses
    the transfer or license of intangible property, which may be wholly
    unrelated to blocked income. Likewise, blocked income may be wholly
    unrelated to the transfer or license of intangible property. Thus, for
    example, the 1986 amendment does not address blocked income from




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    price controls as occurred in Texaco, or the regulation of an industry as
    occurred in First Security Bank.

           When amending a statute, Congress is presumptively aware of
    existing judicial interpretations of that statute. Lamar, Archer & Cofrin,
    LLP v. Appling, 138 S. Ct. 1752, 1762 (2018). And when it uses
    materially the same wording, Congress indicates an intent to
    incorporate existing judicial interpretations. Bragdon v. Abbott, 524
    U.S. 624, 645 (1998). In First Security Bank, and as further explained in
    Basye, the Supreme Court held that blocked income cannot be allocated
    to someone who has not received it and is legally barred from receiving
    it. As noted in Judge Pugh’s dissenting opinion, this goes to the very
    definition of income under section 61. Nothing about the sentence added
    to section 482 indicates that Congress intended to change the
    longstanding precedent that blocked income cannot be allocated and
    taxed.

          C.     Plain Meaning

           If the Supreme Court had not already answered the question
    before us, a court would need to turn to the plain meaning of “income”
    to determine whether a taxpayer could be taxed on income that it did
    not receive and that it was prohibited from receiving. Because I would
    find First Security Bank controlling, I need not answer that question.
    But because the opinion of the Court does not find First Security Bank
    controlling, it must wrestle with interpreting the operative statute.

           After purporting to identify the precise question at issue and
    reciting the first sentence of section 482, the opinion of the Court
    concludes in cursory fashion: “We do not see [in the first sentence of
    section 482] an unambiguous expression of Congress’s intent on how to
    account for legal restrictions that prevent the receipt of income.” See op.
    Ct. p. 251. Chevron instructs that “[i]f a court, employing traditional
    tools of statutory construction, ascertains that Congress had an
    intention on the precise question at issue, that intention is the law and
    must be given effect.” Chevron, 467 U.S. at 843 n.9. We cannot deem a
    statute ambiguous until we exhaust these tools. See, e.g., Castañeda v.
    Souza, 810 F.3d 15, 30 (1st Cir. 2015). Rather than open the toolbox, the
    opinion of the Court summarily concludes that the statute is ambiguous
    and defers to the Department of the Treasury. This is not sufficient. See
    Pereira v. Sessions, 138 S. Ct. 2105, 2120–21 (2018) (Kennedy, J.,
    concurring) (suggesting that such cursory analysis constitutes an




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    abdication of the judiciary’s proper role in interpreting federal statutes
    and noting that this type of reflexive deference is “troubling”).

           The appeal to legislative history offered by Judge Copeland in
    concurring in the result is likewise unavailing. Judge Copeland argues
    that a “Committee report also supports an inference to what a plain
    reading of the new statutory language indicates—namely, that the new
    commensurate-with-income standard cannot be implemented
    consistently with a strict adherence to the First Security Bank holding.”
    See Copeland op. concurring in the result pp. 284–85. The legislative
    history cannot bear the weight of this inference. When a plain reading
    of the statute is sufficient, we need not look to legislative history. Encino
    Motorcars, LLC v. Navarro, 138 S. Ct. 1134, 1143 (2018) (“If the text is
    clear, it needs no repetition in the legislative history . . . .”). And we do
    not look to legislative history to find ambiguity where none exists. Food
    Mktg. Inst. v. Argus Leader Media, 139 S. Ct. 2356, 2364 (2019) (“Even
    [members of the Supreme Court] who sometimes consult legislative
    history will never allow it to be used to ‘muddy’ the meaning of ‘clear
    statutory language.’” (quoting Milner v. Dept. of Navy, 562 U.S. 562, 572
    (2011))). Even if ambiguity existed, looking to legislative history is
    fraught. Piper v. Chris-Craft Indus., 430 U.S. 1, 26 (1977) (“Reliance on
    legislative history in divining the intent of Congress is, as has often been
    observed, a step to be taken cautiously.”). But insofar as blocked income
    is concerned, and as discussed in Judge Toro’s dissent, the legislative
    history is silent. See Toro dissenting op. p. 338.

    III.   Conclusion

           3M had a blocked income problem in that its Brazilian subsidiary
    was compelled by foreign law to pay below-market royalty rates. The
    Commissioner sought to apply section 482 to allocate blocked income to
    3M. In First Security Bank, the Supreme Court held that section 482
    cannot be used to allocate blocked income to someone who did not receive
    it and could not receive it. Congress has not amended section 482 in any
    way that would materially alter the Supreme Court’s holding in First
    Security Bank. To the extent the Department of the Treasury
    promulgated regulations that are inconsistent with limits on section
    482, as described by the Supreme Court in First Security Bank, I would
    hold those regulations to be invalid.

          URDA, JONES, TORO, and GREAVES, JJ., agree with this
    dissent.




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           PUGH, J., dissenting: The opinion of the Court upholds Treasury
    Regulation § 1.482-1(h)(2) (1994), addressing the effect of foreign legal
    restrictions (“blocked income”), that itself is blocked by Supreme Court
    and Tax Court precedent. For this simple reason I respectfully dissent.

          In Commissioner v. First Security Bank of Utah, N.A., 405 U.S.
    394, 407 (1972), the Supreme Court construed “income” under section
    482 when it held that “the premium income received by Security Life
    could not be attributable to the Banks.” 1 That is how we viewed First
    Security Bank in Procter & Gamble Co. v. Commissioner, 95 T.C. 323,
    336 (1990) (holding that First Security Bank was controlling and
    therefore “section 482 simply does not apply” to reallocate income that
    a Spanish subsidiary could not pay under Spanish law), aff’d, 961 F.2d
    1255 (6th Cir. 1992).

           The 1986 amendment to section 482 did not modify the meaning
    of “income” in that section, so it could not open the door to the Treasury
    Department to issue a regulation that contravenes First Security Bank
    and Procter & Gamble. “It would be difficult, perhaps impossible, to give
    the same [statutory] language here a different interpretation without
    effectively overruling [a prior case interpreting identical operative
    language], a course of action that basic principles of stare decisis wisely
    counsel us not to take.” United States v. Home Concrete & Supply, LLC,
    566 U.S. 478, 483 (2012) (citing John R. Sand & Gravel Co. v. United
    States, 552 U.S. 130, 139 (2008)). “[S]tare decisis in respect to statutory
    interpretation has ‘special force,’ for ‘Congress remains free to alter
    what we have done.’” John R. Sand & Gravel Co., 552 U.S. at 139
    (quoting Patterson v. McLean Credit Union, 491 U.S. 164, 172–73
    (1989)).

           FOLEY, BUCH, URDA, and TORO, JJ., agree with this dissent.




            1 Rather than relying upon the “complete power” regulation, the Supreme

    Court noted that the regulation “recognize[d]” and was “consistent with” the concept
    that “in order to be taxed for income, a taxpayer must have complete dominion over
    it.” Commissioner v. First Security Bank, 405 U.S. at 403–04.




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           TORO, J., dissenting: This case requires the Court to consider
    whether the U.S. Department of the Treasury and the Internal Revenue
    Service 1 complied with procedural requirements of the Administrative
    Procedure Act (APA), 5 U.S.C. §§ 551–559, 701–706, in promulgating
    Treasury Regulation § 1.482-1(h)(2) (2006). The answer to this question
    is relevant because “deference [under Chevron, U.S.A., Inc. v. Natural
    Resources Defense Council, Inc., 467 U.S. 837 (1984),] is not warranted
    where the regulation is ‘procedurally defective’—that is, where the
    agency errs by failing to follow the correct procedures in issuing the
    regulation.” Encino Motorcars, LLC v. Navarro, 579 U.S. 211, 220
    (2016) (first quoting United States v. Mead Corp., 533 U.S. 218, 227
    (2001); and then citing Long Island Care at Home, Ltd. v. Coke, 551 U.S.
    158, 174–76 (2007)).

           Three subsidiary questions inform this analysis. First, is
    Treasury subject to the same APA procedural rules as other agencies?
    Second, do those rules require Treasury to explain its reasoning and
    respond to significant comments when adopting regulations? And,
    third, did Treasury comply with these requirements in promulgating
    Treasury Regulation § 1.482-1(h)(2)?

          The answers to these questions are plain and require a decision
    for 3M.

           First, the Supreme Court made clear in Mayo Foundation for
    Medical Education & Research v. United States, 562 U.S. 44, 55 (2011),
    that it was “not inclined to carve out an approach to administrative
    review good for tax law only.” Rather, the Court emphasized that it had
    “expressly ‘[r]ecogniz[ed] the importance of maintaining a uniform
    approach to judicial review of administrative action.’ ” Id. (quoting
    Dickinson v. Zurko, 527 U.S. 150, 154 (1999)); see also 5 U.S.C.
    § 701(b)(1). Thus, Treasury is subject to the same APA procedural rules
    as other agencies. See, e.g., Oakbrook Land Holdings, LLC v.
    Commissioner, 28 F.4th 700 (6th Cir. 2022) (analyzing the procedural
    validity of a Treasury regulation under the APA), aff’g 154 T.C. 180
    (2020); Hewitt v. Commissioner, 21 F.4th 1336 (11th Cir. 2021) (same),
    rev’g and remanding T.C. Memo. 2020-89; see also Altera Corp. & Subs.
    v. Commissioner, 145 T.C. 91, 119 (2015) (citing Mayo Foundation, 562
    U.S. at 55), rev’d on other grounds, 926 F.3d 1061 (9th Cir. 2019).



           1 For convenience, I refer to the Treasury Department and the IRS as

    “Treasury.”




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           Second, Supreme Court precedent, uniform court of appeals
    authorities, and hornbook administrative law have long recognized that
    an agency must both explain its reasoning and respond to significant
    comments submitted in response to its proposed rulemaking. See, e.g.,
    Encino Motorcars, LLC, 579 U.S. at 221 (“One of the basic procedural
    requirements of administrative rulemaking is that an agency must give
    adequate reasons for its decisions.”); Motor Vehicle Mfrs. Ass’n of U.S. v.
    State Farm Mut. Auto. Ins. Co. (State Farm), 463 U.S. 29, 48 (1983) (“We
    have frequently reiterated that an agency must cogently explain why it
    has exercised its discretion in a given manner . . . .”); see also, e.g., Perez
    v. Mortg. Bankers Ass’n, 575 U.S. 92, 96 (2015) (“An agency must
    consider and respond to significant comments received during the period
    for public comment.” (first citing Citizens to Pres. Overton Park, Inc. v.
    Volpe, 401 U.S. 402, 416 (1971); and then citing Thompson v. Clark, 741
    F.2d 401, 408 (D.C. Cir. 1984))); Kristin E. Hickman & Richard J.
    Pierce, Jr., Administrative Law Treatise § 5.4 (6th ed. 2019) (“To have
    any reasonable prospect of obtaining judicial affirmance of a major rule,
    an agency must set forth the basis and purpose of the rule in a detailed
    statement . . . in which the agency . . . explains its method of reasoning
    from factual predicates to the expected effects of the rule, relates the
    factual predicates and expected effects of the rule to each of the statutory
    goals or purposes the agency is required to further or consider, responds
    to all major criticisms contained in the comments on its proposed rule,
    and explains why it has rejected at least some of the most plausible
    alternatives to the rule it has adopted.”); James T. O’Reilly,
    Administrative Rulemaking § 8:5 (2022) (“The APA creates a duty upon
    the agency to give reasoned responses to all significant comments in a
    rulemaking proceeding.”).

           Third, the record here leaves no doubt that Treasury failed to
    comply with these requirements. In promulgating Treasury Regulation
    § 1.482-1(h)(2) (and the entire regulation package of which it was a
    part), Treasury repeatedly expressed the view that it did not have to
    follow the APA’s notice and comment procedures. See Intercompany
    Transfer Pricing and Cost Sharing Regulations Under Section 482, 57
    Fed. Reg. 3571, 3578 (proposed Jan. 30, 1992) (“It also has been
    determined that section 553(b) of the Administrative Procedure Act
    (5 U.S.C. chapter 5) and the Regulatory Flexibility Act (5 U.S.C. chapter
    6) do not apply to these regulations, and, therefore, an initial Regulatory
    Flexibility Analysis is not required.”); T.D. 8470, 58 Fed. Reg. 5263,
    5271, 1993-1 C.B. 90, 98 (Jan. 21, 1993) (same); T.D. 8552, 59 Fed. Reg.
    34,971, 34,988, 1994-2 C.B. 93, 112 (July 8, 1994) (same). Consistent
    with this view, Treasury provided no explanation of why the existing




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    rule on foreign legal restrictions (or, more colloquially, blocked income)
    needed to be changed, failed to even mention that its new position was
    contrary to judicial opinions on point, failed to explain how its new rule
    was consistent with the text of the statute or related to the factors set
    out in the statute, and neither acknowledged nor responded to
    significant comments challenging Treasury’s authority to promulgate
    the regulation and pointing out flaws in its proposed approach. These
    failings resulted in an arbitrary and capricious action that cannot be
    sustained. In view of this conclusion, Treasury Regulation § 1.482-1(h)(2)
    can receive no deference. Encino Motorcars, LLC, 579 U.S. at 221.
    Absent a regulation supporting the Commissioner’s determination, our
    decision in Procter & Gamble Co. v. Commissioner, 95 T.C. 323 (1990),
    aff’d, 961 F.2d 1255 (6th Cir. 1992), requires that we hold for 3M.
    Because the opinion of the Court 2 reaches a contrary conclusion, I
    respectfully dissent.

    I.     The Opinion of the Court Analyzes the APA’s Procedural
           Requirements Incorrectly.

          The opinion of the Court, which spans 274 pages, spends little
    time on the APA’s procedural requirements. Its analysis of 3M’s APA
    procedural challenge to Treasury Regulation § 1.482-1(h)(2) takes a
    mere eight pages. And in each step of that analysis, the opinion of the
    Court draws the wrong conclusions.

           A.      Treasury Failed to Provide Adequate Reasons for Its Action.

           The opinion of the Court first considers 3M’s argument that
    Treasury did not provide a satisfactory explanation for its action. The
    opinion rejects the argument, concluding that “the regulation is not
    invalid for want of explanation.” See op. Ct. p. 267. That conclusion
    runs counter to more than four decades of administrative law.

           As the Supreme Court has explained,

                  Section 4 of the APA, 5 U.S.C. § 553, prescribes a
           three-step procedure for so-called “notice-and-comment
           rulemaking.”[3] First, the agency must issue a “[g]eneral

           2 Following the Court’s tradition, I refer to the opinion by Judge Morrison,

    which received 7 votes (out of 17) from active judges, as the opinion of the Court.
           3 Contrary to the position Treasury claimed in the rulemaking process, the

    Commissioner (correctly) does not dispute that the rulemaking here was subject to




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           notice of proposed rule making,” ordinarily by publication
           in the Federal Register. § 553(b). Second, if “notice [is]
           required,” the agency must “give interested persons an
           opportunity to participate in the rule making through
           submission of written data, views, or arguments.” § 553(c).
           An agency must consider and respond to significant
           comments received during the period for public comment.
           See Citizens to Preserve Overton Park, Inc. v. Volpe, 401
           U.S. 402, 416 (1971); Thompson v. Clark, 741 F.2d 401, 408
           (CADC 1984). Third, when the agency promulgates the
           final rule, it must include in the rule’s text “a concise
           general statement of [its] basis and purpose.” § 553(c).

    Mortg. Bankers Ass’n, 575 U.S. at 96; see also id. at 109 (Scalia, J.,
    concurring in the judgment) (“Before an agency makes a rule, it
    normally must notify the public of the proposal, invite them to comment
    on its shortcomings, consider and respond to their arguments, and
    explain its final decision in a statement of the rule’s basis and purpose.
    5 U.S.C. § 553(b)–(c); ante, at 96.”). Moreover, the APA grants authority
    to a reviewing court to “hold unlawful and set aside agency action,
    findings, and conclusions found to be . . . arbitrary, capricious, an abuse
    of discretion, or otherwise not in accordance with law.” 5 U.S.C.
    § 706(2)(A).

           In exercising this authority, courts have interpreted the APA to
    require agencies to engage in reasoned decisionmaking. Michigan v.
    EPA, 576 U.S. 743, 750 (2015) (“Federal administrative agencies are
    required to engage in ‘reasoned decisionmaking.’ ” (quoting Allentown
    Mack Sales & Serv., Inc. v. NLRB, 522 U.S. 359, 374 (1998))). “One of
    the basic procedural requirements of administrative rulemaking is that
    an agency must give adequate reasons for its decisions.” Encino
    Motorcars, LLC, 579 U.S. at 221. To comply with the APA, “[an] agency
    must examine the relevant data and articulate a satisfactory
    explanation for its action including a ‘rational connection between the
    facts found and the choice made.’ ” State Farm, 463 U.S. at 43 (quoting
    Burlington Truck Lines, Inc. v. United States, 371 U.S. 156, 168 (1962)).
    And when the rules reflect a change in the agency’s position, the agency
    should provide a reasoned explanation for the change.             Encino

    notice and comment under section 553(b) and (c) of the APA. See Green Valley Invs.,
    LLC v. Commissioner, No. 17379-19, 159 T.C., slip op. at 7–8 (Nov. 9, 2022); see also,
    e.g., Iowa League of Cities v. EPA, 711 F.3d 844, 873–75 (8th Cir. 2013) (distinguishing
    between legislative rulemaking, which is subject to notice and comment, and
    interpretative rulemaking, which is not).




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    Motorcars, LLC, 579 U.S. at 221. The explanation need not always be
    more detailed than that which would suffice in the absence of a change,
    but it must “at least ‘display awareness that it is changing position’ and
    ‘show that there are good reasons for the new policy.’” Id. (quoting FCC
    v. Fox Television Stations, Inc., 556 U.S. 502, 515 (2009)).

           Although the scope of judicial review under the APA is “narrow,”
    “courts retain a role, and an important one, in ensuring that agencies
    have engaged in reasoned decisionmaking.” Judulang v. Holder, 565
    U.S. 42, 53 (2011). That role includes “examining the reasons for agency
    decisions—or, as the case may be, the absence of such reasons.” Id.
    (citing Fox Television Stations, Inc., 556 U.S. at 515 (noting “the
    requirement that an agency provide reasoned explanation for its
    action”)). 4

                   1.      The Record Is Utterly Silent on Treasury’s Reasons
                           for Adopting Treasury Regulation § 1.482-1(h)(2).

           When it adopted Treasury Regulation § 1.482-1(h)(2), Treasury
    offered no explanation for its choices with respect to the rule. Not a
    single sentence. Treasury did not explain why a revision to the existing
    rule was needed. Although it described how its new rule worked
    (essentially repeating the text of the regulation in the preamble),
    Treasury did not explain how the rule related to any particular statutory
    text or how it took into account and advanced the factors reflected in the
    statute. 5 It did not “display awareness that it [was] changing [its]
           4 The APA’s requirements on this point “are intended to assist judicial review

    as well as to provide fair treatment for persons affected by a rule.” Home Box Office,
    Inc. v. FCC, 567 F.2d 9, 35 (D.C. Cir. 1977).
           5 At the time Treasury Regulation § 1.482-1(h)(2) was proposed and finalized,

    section 482 provided as follows:
           In any case of two or more organizations, trades, or businesses
           (whether or not incorporated, whether or not organized in the United
           States, and whether or not affiliated) owned or controlled directly or
           indirectly by the same interests, the Secretary may distribute,
           apportion, or allocate gross income, deductions, credits, or allowances
           between or among such organizations, trades, or businesses, if he
           determines that such distribution, apportionment, or allocation is
           necessary in order to prevent evasion of taxes or clearly to reflect the
           income of any of such organizations, trades, or businesses. In the case
           of any transfer (or license) of intangible property (within the meaning
           of section 936(h)(3)(B)), the income with respect to such transfer or
           license shall be commensurate with the income attributable to the
           intangible.




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    position” or attempt to show the “good reasons” behind its new policy.
    Encino Motorcars, LLC, 579 U.S. at 221. Under the relevant precedents,
    these simple observations should suffice to find in 3M’s favor.

            The opinion of the Court, however, contends that at least one or
    two of Treasury’s reasons for adopting the rule can be inferred from the
    rule’s text and “principles of section 482.” See op. Ct. p. 266. Specifically,
    the opinion points to the first two sentences of Treasury Regulation
    § 1.482-1(h)(2)(i), which read as follows:

            The district director will take into account the effect of a
            foreign legal restriction to the extent that such restriction
            affects the results of transactions at arm’s length. Thus, a
            foreign legal restriction will be taken into account only to
            the extent that it is shown that the restriction affected an
            uncontrolled taxpayer under comparable circumstances for
            a comparable period of time.

    From these sentences, the opinion of the Court constructs a “reasonable
    explanation” for Treasury’s action that is nowhere to be found in the
    record itself. These sentences, the opinion argues, demonstrate that
    “Treasury . . . satisfactorily explained that one of the reasons it
    promulgated [the regulation] was to advance the goal of arm’s-length
    comparisons,” see op. Ct. p. 266, and “the goal of tax parity,” id. at 267.

           But the two sentences on which the opinion of the Court relies do
    no such thing. They simply tell us what the district director will do
    under the new rule. Describing a rule is not the same as explaining its
    rationale, cf. Gerber v. Norton, 294 F.3d 173, 183 (D.C. Cir. 2002), and
    Treasury said nothing at all about its reasons for adopting Treasury
    Regulation § 1.482-1(h)(2). Nor did it provide “a ‘rational connection
    between the facts found and the choice made.’ ” State Farm, 463 U.S.
    at 43 (quoting Burlington Truck Lines, 371 U.S. at 168). In the face of
    Treasury’s utter silence, the opinion of the Court is constrained to
    speculate and construct a rationale on the agency’s behalf.




    As relevant here, therefore, one might surmise that the relevant statutory factors
    included the presence of or absence of common control and an attempt to evade taxes
    or a failure to clearly reflect income. In the case of an intangible transfer, the factors
    would also have included whether income from the transfer was commensurate with
    income attributable to the intangible.




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                    2.     This Court Is Not Permitted to Make Up for
                           Treasury’s Omission.

            Judicial speculation of this kind is impermissible under
    longstanding principles of administrative law. See, e.g., State Farm, 463
    U.S. at 43 (“The reviewing court should not attempt itself to make up
    for [the agency’s] deficiencies; we may not supply a reasoned basis for
    the agency’s action that the agency itself has not given.” (citing SEC v.
    Chenery Corp., 332 U.S. 194, 196 (1947))). The Supreme Court has
    repeatedly emphasized that “[i]t is not the role of the courts to speculate
    on reasons that might have supported an agency’s decision.” Encino
    Motorcars, LLC, 579 U.S. at 224; see also State Farm, 463 U.S. at 50
    (“[T]he courts may not accept . . . post hoc rationalizations for agency
    action. It is well-established that an agency’s action must be upheld, if
    at all, on the basis articulated by the agency itself.” (Citation omitted.)).
    The opinion of the Court offers no explanation for ignoring these
    principles. See Michigan, 576 U.S. at 758 (criticizing the dissent for
    adopting a “line of reasoning [that] contradicts the foundational
    principle of administrative law that a court may uphold agency action
    only on the grounds that the agency invoked when it took the action”
    (citing SEC v. Chenery Corp. (Chenery I), 318 U.S. 80, 87 (1943))).

           Indeed, the opinion of the Court’s efforts here constitute the type
    of “laborious examination of the record” apparently designed to
    “formulate in the first instance the significant issues faced by the agency
    and articulate the rationale of their resolution” that courts have found
    to be inappropriate. Home Box Office, 567 F.2d at 36 (quoting Auto.
    Parts & Accessories Ass’n v. Boyd, 407 F.2d 330, 338 (D.C. Cir. 1968)).
    They represent an implicit recognition that, with respect to Treasury
    Regulation § 1.482-1(h)(2), the record here does not in fact “enable us to
    see what major issues of policy were ventilated [during the rulemaking
    process] and why the agency reacted to them as it did.” Id.; see also
    Carlson v. Postal Regul. Comm’n, 938 F.3d 337, 344 (D.C. Cir. 2019)
    (citing Del. Dep’t of Nat. Res. & Env’t Control v. EPA, 785 F.3d 1, 17
    (D.C. Cir. 2015)). And Treasury’s “action must be measured by what [it]
    did, not by what it might have done.” Michigan, 576 U.S. at 759 (quoting
    Chenery I, 318 U.S. at 93–94).           Courts may overlook inartful
    explanations when the agency’s path may be reasonably discerned, but
    they may not clear a path for the agency where none exists.




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                     3.      Even if Accepted, the Reasons the Opinion of the
                             Court Supplies for Treasury’s Action Are
                             Insufficient.

           Moreover, even if one were to (1) accept the opinion of the Court’s
    position that at least some of Treasury’s reasons for adopting the rule
    are self-evident, and (2) attribute the opinion’s explanation to Treasury,
    that explanation still would not satisfy the APA’s procedural
    requirements.

            When an agency changes an existing policy, the APA requires
    that it “must at least ‘display awareness that it is changing position’ and
    ‘show that there are good reasons for the new policy.’ ” Encino
    Motorcars, LLC, 579 U.S. at 221 (quoting Fox Television Stations, Inc.,
    556 U.S. at 515). As the opinion of the Court recognizes, Treasury
    Regulation § 1.482-1(h)(2) represented a departure from Treasury’s
    previous approach to blocked income cases, which had been reflected in
    Treasury Regulation § 1.482-1(d)(6) (1968) (1968 Regulation). 6 The
    1968 Regulation was a taxpayer-favorable rule that allowed taxpayers
    to use a deferred income method of accounting if the Commissioner
    made a section 482 adjustment with respect to an item blocked by a
    foreign legal restriction. Taxpayers generally could wait until after their
    returns had been selected for audit to elect the deferred income method.
    By contrast, Treasury Regulation § 1.482-1(h)(2) provides that the
    Commissioner will respect a foreign legal restriction only if the
    restriction meets specified criteria and “it is shown that the restriction
    affected an uncontrolled taxpayer under comparable circumstances for
    a comparable period of time.” Id. subdivs. (i) and (ii). A taxpayer may
    still elect the deferred income method of accounting, but only if the
    foreign legal restriction satisfies the specified criteria and the taxpayer
    makes the election on a timely U.S. tax return or amended return filed
    before the IRS first contacts the taxpayer regarding an examination of
    that year. Id. subdivs. (iii) and (iv).

          These changes were significant, 7 and Treasury owed the public
    and the courts an explanation for them. Neither Treasury’s silence nor

            6 In 1993, the 1968 Regulation was redesignated Treasury Regulation § 1.482-

    1A(d)(6) and made applicable only for tax years beginning on or before April 21, 1993.
    See T.D. 8470, 58 Fed. Reg. 5263, 5271, 1993-1 C.B. at 99 (Jan. 21, 1993).
           7 The Commissioner argues that Treasury Regulation § 1.482-1(h)(2) “simply

    add[ed] clarity to Treasury’s longstanding position,” pointing to Treasury’s litigation
    of blocked income cases and citing Macon County Samaritan Memorial Hospital v.




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    the opinion of the Court’s proffered explanation “display[s] awareness”
    of the changes or “show[s] that there are good reasons” for the new
    approach. 8 Encino Motorcars, LLC, 579 U.S. at 221. And nothing in the
    regulatory history explains whether or why the prior approach had
    proved unsatisfactory. See, e.g., Fox Television Stations, Inc., 556 U.S.
    at 535 (Kennedy, J., concurring in part and concurring in the
    judgment); 9 Greater Bos. Television Corp. v. FCC, 444 F.2d 841, 852
    (D.C. Cir. 1970) (“[A]n agency changing its course must supply a
    reasoned analysis indicating that prior policies and standards are being
    deliberately changed, not casually ignored, and if an agency glosses over
    or swerves from prior precedents without discussion it may cross the


    Shalala, 7 F.3d 762, 765–66 (8th Cir. 1993). But the fact pattern present in Macon
    County is not comparable to the one present here. In that case, the controlling statute
    had recently been amended to provide, for the first time, a definition of the very term
    that the regulation interpreted. Id. at 764, 766. Accordingly, the reasons for amending
    the regulation were to some extent self-evident: There had been a statutory reset. As
    described in Part II below, the addition of the second sentence to section 482 is not
    analogous because it did not manifestly bear on the blocked income issue.
    Additionally, the U.S. Court of Appeals for the Eighth Circuit found that (1) the
    regulatory change was not really a change because the agency had previously issued
    informal guidance adopting the same position and (2) in any event, the agency had in
    fact “provide[d] a reasoned analysis” in “repeated, detailed explanations of the initial
    regulation and its subsequent amendments.” Id. at 766. Neither circumstance is
    present here. Cf. Gatewood v. Outlaw, 560 F.3d 843, 847–48 (8th Cir. 2009) (upholding
    final rule implementing agency policy on procedural grounds where (1) the agency had
    “consistently sought to implement the same substantive policy” through various prior
    interim rules, Program Statements, and positions in litigation regarding the validity
    of those actions, and (2) the Supreme Court had discerned the reason for the policy and
    concluded that the rule was substantively reasonable).
             8 Treasury had at least three chances to explain its reasoning: (1) in the

    rulemaking redesignating the 1968 Regulations, see T.D. 8470, 58 Fed. Reg. 5263,
    5271, 1993-1 C.B. at 96 (Jan. 21, 1993), (2) in the Notice of Proposed Rulemaking
    proposing the new approach, see Intercompany Transfer Pricing Regulations Under
    Section 482, 58 Fed. Reg. 5310, 5310–12, 1993-1 C.B. 825, 825–28 (proposed Jan. 21,
    1993), and (3) when it finalized the rules after receiving comments that questioned the
    approach, see T.D. 8552, 59 Fed. Reg. 34,971, 34,981, 1994-2 C.B. at 104 (July 8, 1994).
    It availed itself of none of these opportunities.
            9 As Justice Kennedy observed in Fox Television Stations, he wrote separately

    “to underscore certain background principles for the conclusion that an agency’s
    decision to change course may be arbitrary and capricious if the agency sets a new
    course that reverses an earlier determination but does not provide a reasoned
    explanation for doing so” and to agree with the “dissenting opinion of Justice Breyer
    [who wrote for four Justices] that the agency must explain why ‘it now reject[s] the
    considerations that led it to adopt that initial policy.’ ” Fox Television Stations, Inc.,
    556 U.S. at 535 (Kennedy, J., concurring in part and concurring in the judgment)
    (quoting id. at 550 (Breyer, J., dissenting)).




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    line from the tolerably terse to the intolerably mute.” (Footnote
    omitted.)).

                   4.      A Carefully Reasoned Explanation for Treasury’s
                           Actions Was Particularly Important in Light of the
                           Context of the Regulation and Adverse Judicial
                           Precedent.

            Providing reasons for Treasury’s proposed approach was
    particularly important here, where several prior judicial decisions,
    including a Supreme Court decision, had rejected the approach Treasury
    adopted. According to the opinion of the Court, “[Treasury] was
    . . . aware that the proposed regulation was inconsistent with the
    caselaw.” See op. Ct. p. 268. Indeed, citing one of the commenters, the
    opinion seems to imply that the regulation was a direct response to
    Treasury’s losses in the courts. 10 See id. Of course (as already
    discussed) the record itself says nothing about Treasury’s awareness.
    But even if what the opinion of the Court assumes is true, then Treasury
    should have explained why it disagreed with the considered views
    expressed in the caselaw. Regardless of whether these cases precluded
    Treasury’s actions as a matter of law, see Buch dissenting op. pp. 287–
    305, the opinion of the Court does not and cannot dispute that at a
    minimum the cases raised points that cast doubt on the wisdom of
    Treasury’s proposed course. See, e.g., Commissioner v. First Sec. Bank
    of Utah, N.A. (First Security), 405 U.S. 394, 405 (1972) (“We think that
    fairness requires the tax to fall on the party that actually receives the
    premiums rather than on the party that cannot.”); Procter & Gamble Co.
    v. Commissioner, 961 F.2d at 1259 (“The purpose of section 482 is to
    prevent artificial shifting of income between related taxpayers. Because
    Spanish law prohibited royalty payments, P&G could not exercise the
    control that section 482 contemplates, and allocation under section 482
    is inappropriate.”); see also United States v. Basye, 410 U.S. 441, 453 n.13
    (1973) (characterizing First Security as “involv[ing] a deflection of

            10 The regulatory timeline suggests that the opinion of the Court is likely

    correct in this regard. As described further in Part II below, Treasury began
    overhauling its transfer pricing regulations soon after Congress amended section 482
    in 1986. It issued lengthy discussions of its proposed amendments in 1988, see I.R.S.
    Notice 88-123, 1988-2 C.B. 458, and in 1992, see Intercompany Transfer Pricing and
    Cost Sharing Regulations Under Section 482, 57 Fed. Reg. 3571. Neither set of
    proposals included Treasury Regulation § 1.482-1(h)(2) or said anything else about
    blocked income, however. The regulation was added to the broader package in 1993,
    see T.D. 8470, 58 Fed. Reg. 5263, 5263–5271, 1993-1 C.B. at 90–123 (Jan. 21, 1993),
    approximately nine months after the Commissioner lost his appeal on the blocked
    income issue in Procter & Gamble Co. v. Commissioner, 961 F.2d 1255.




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    income imposed by law, not an assignment arrived at by the consensual
    agreement of two parties acting at arm’s length”). Thus, even assuming
    Treasury had authority to act as it did, but see Buch dissenting op.
    pp. 287‒305, it needed to explain its thinking before adopting a contrary
    rule.

            To illustrate, the opinion of the Court argues that Treasury
    adopted Treasury Regulation § 1.482-1(h)(2) to advance the goals of
    arm’s-length comparisons and tax parity. If we assume for the sake of
    argument that this is so, in the context of blocked income, these two
    goals are in tension with principles that had been highlighted by the
    Supreme Court, a court of appeals, and this Court. For example, the
    courts had asked whether it is fair to interpret section 482 so as to
    impose tax on an amount that a taxpayer is legally restricted from
    receiving, see, e.g., First Security, 405 U.S. at 405, and whether, given
    the focus of section 482 on controlled taxpayers, it is reasonable for the
    Commissioner to reallocate income where the controlled taxpayers
    themselves could not, see, e.g., Procter & Gamble Co. v. Commissioner,
    961 F.2d at 1259. The cases answered no on both counts. And saying
    that a rule advances the arm’s-length principle or tax parity does
    nothing to explain how those goals should be weighed against the
    statutory factors identified by the courts and the fairness concerns they
    embody. In light of these considerations, which the opinion of the Court
    argues Treasury was well aware of, and which multiple commenters
    brought to its attention, see Part I.B.2 below, Treasury’s failure to “give
    . . . reasons for its decisions,” see Encino Motorcars, LLC, 579 U.S.
    at 221, cannot be overlooked.

                 5.       Much More Robust Explanations by Other Agencies
                          Have Been Found Wanting.

          Records far more favorable to agencies than the one present here
    have failed to pass muster with the Supreme Court. See, e.g., Encino
    Motorcars, LLC, 579 U.S. 211; State Farm, 463 U.S. 29.

          Encino Motorcars, LLC, 579 U.S. 211, is particularly instructive.
    A brief recitation of its facts is helpful for understanding the Court’s
    holding, and I therefore summarize the Supreme Court’s description
    here.

         In 1966, Congress passed a law exempting certain employees of
    automobile dealerships from the requirements of the Fair Labor
    Standard Act of 1938, 29 U.S.C. § 201–219. Encino Motorcars, LLC, 579




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    U.S. at 215. The exemption applied to “any salesman, partsman, or
    mechanic primarily engaged in selling or servicing automobiles.” Id.
    (quoting Fair Labor Standards Amendments of 1966, Pub. L. No. 89-601,
    § 209, 80 Stat. 830, 836).

           In 1970, the Department of Labor (Department) issued a
    regulation that interpreted the exemption as excluding “service
    advisors,” dealership employees who market and sell automobile repairs
    to customers. Id. at 214–16. The U.S. Court of Appeals for the Fifth
    Circuit rejected the Department’s interpretation, and its holding in this
    regard was followed by several district courts. See id. at 216 (first citing
    Brennan v. Deel Motors, Inc., 475 F.2d 1095, 1096 (5th Cir. 1973); then
    citing Yenney v. Cass Cnty. Motors, 81 CCH LC ¶ 33,506 (D. Neb. 1977);
    then citing Brennan v. N. Bros. Ford, Inc., 76 CCH LC ¶ 33,247 (E.D.
    Mich. 1975), aff’d sub nom. Dunlop v. N. Bros. Ford, Inc., 529 F.2d 524
    (6th Cir. 1976) (unpublished table decision); and then citing Brennan v.
    Imp. Volkswagen, Inc., 81 CCH LC ¶ 33,522 (D. Kan. 1975)). 11 In
    parallel, Congress amended the statute. Id.

           In 1978, the Department issued an opinion letter adopting the
    view of the courts that service advisors were exempt. Id. at 217. It
    acknowledged that the new policy was a reversal of the Department’s
    prior position. And in its Field Operations Handbook, the Department
    stated that it would revise its 1970 regulation accordingly. Id. It finally
    issued a notice of proposed rulemaking in 2008. See id. (citing 73 Fed.
    Reg. 43,654 (July 28, 2008)).

           Three years later, however, the Department again reversed itself
    and abandoned the proposed rule. Id. at 218 (citing 76 Fed. Reg. 18,832,
    18,833 (Apr. 5, 2011)). Instead, it issued a final rule that followed the
    original regulation, i.e., concluding that service advisors were not
    exempt. Id. (citing 76 Fed. Reg. at 18,859). After reciting the history
    and summarizing the comments it received on the issue, the
    Department explained its decision by saying that “the statute does not
    include such positions and the Department recognizes that there are
    circumstances under which the requirements for the exemption would
    not be met.” 76 Fed. Reg. at 18,838. It further stated that it “believes
    that this interpretation is reasonable” and “sets forth the appropriate
    approach,” and that the Department “disagrees with [a court of appeals]
    that the regulation impermissibly narrows the statute.” Id.

           11 Years later, the U.S. Court of Appeals for the Fourth Circuit reached the

    same conclusion. Walton v. Greenbrier Ford, 370 F.3d 446, 452–53 (4th Cir. 2004).




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           This explanation was not enough for the Supreme Court. In
    particular, the Court focused on the change in a longstanding agency
    position and the reliance interests that position had created. The Court
    articulated the legal standards as follows:

          In explaining its changed position, an agency must also be
          cognizant that longstanding policies may have
          “engendered serious reliance interests that must be taken
          into account.” [Fox Television Stations, 556 U.S. at 515];
          see also Smiley v. Citibank (South Dakota), N.A., 517 U.S.
          735, 742 (1996). “In such cases it is not that further
          justification is demanded by the mere fact of policy change;
          but that a reasoned explanation is needed for disregarding
          facts and circumstances that underlay or were engendered
          by the prior policy.” Fox Television Stations, [556 U.S.] at
          515–516. It follows that an “[u]nexplained inconsistency”
          in agency policy is “a reason for holding an interpretation
          to be an arbitrary and capricious change from agency
          practice.” [Nat’l Cable & Telecomms. Ass’n v.] Brand X
          [Internet Servs., 545 U.S. 967,] 981 [(2005)].

    Encino Motorcars, LLC, 579 U.S. at 221–22. Applying these principles
    to the facts before it, the Court stated:

          [T]he unavoidable conclusion is that the 2011 regulation
          was issued without the reasoned explanation that was
          required in light of the Department’s change in position
          and the significant reliance interests involved.         In
          promulgating the 2011 regulation, the Department offered
          barely any explanation. A summary discussion may suffice
          in other circumstances, but here—in particular because of
          decades of industry reliance on the Department’s prior
          policy—the explanation fell short of the agency’s duty to
          explain why it deemed it necessary to overrule its previous
          position.

    Id. at 222.

           The parallels to this case are easy to see. Here, too, we have a
    change in agency position that is contrary to judicial decisions. Here,
    too, we have longstanding industry reliance on those decisions and the
    more moderate approach of the 1968 Regulation. And here we have
    significantly less discussion (none in fact) of the reasons for the change




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    than was present in Encino Motorcars. The opinion of the Court’s
    conclusion is inconsistent with the holding of Encino Motorcars, where
    the Supreme Court characterized the agency’s explanation as “[saying]
    almost nothing,” id. at 223, and emphasized that “[i]t is not the role of
    the courts to speculate on reasons that might have supported an
    agency’s decision,” id. at 224.

          B.     Treasury Also Acted Arbitrarily and Capriciously by
                 Failing to Address Significant Comments.

           The shortcomings identified above more than suffice to set aside
    the challenged regulation. But that is not all. Treasury cannot complain
    that it was never told of the problems with its proposed approach. That
    is where the comments that Treasury failed to address come in.

                  1. Administrative Law Requires an Agency to Respond
                  to Significant Comments.

           As already discussed above, when promulgating regulations
    subject to notice and comment, “the agency must ‘give interested persons
    an opportunity to participate in the rule making through submission of
    written data, views, or arguments.’ § 553(c). An agency must consider
    and respond to significant comments received during the period for
    public comment.” Mortg. Bankers Ass’n, 575 U.S. at 96.

          The reasons for the APA procedural requirements are easy to
    understand, as courts have explained:

          [They] are intended to assist judicial review as well as to
          provide fair treatment for persons affected by a rule. To
          this end there must be an exchange of views, information,
          and criticism between interested persons and the agency.
          Consequently, the notice required by the APA, or
          information subsequently supplied to the public, must
          disclose in detail the thinking that has animated the form
          of a proposed rule and the data upon which that rule is
          based. Moreover, a dialogue is a two-way street: the
          opportunity to comment is meaningless unless the agency
          responds to significant points raised by the public. A
          response is also mandated by Overton Park, which requires
          a reviewing court to assure itself that all relevant factors
          have been considered by the agency.




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    Home Box Office, 567 F.2d at 35–36 (footnote omitted) (citations
    omitted); see also Azar v. Allina Health Servs., 139 S. Ct. 1804, 1816
    (2019) (The purpose of notice and comment rulemaking is to “give[]
    affected parties fair warning of potential changes in the law and an
    opportunity to be heard on those changes” while “afford[ing] the agency
    a chance to avoid errors and make a more informed decision.”); DHS v.
    Regents of the Univ. of Cal., 140 S. Ct. 1891, 1929 n.13 (2020) (Thomas,
    J., concurring in the judgment in part and dissenting in part) (“[T]he
    notice and comment process at least attempts to provide a ‘surrogate
    political process’ that takes some of the sting out of the inherently
    undemocratic and unaccountable rulemaking process.” (quoting Michael
    Asimow, Interim-Final Rules: Making Haste Slowly, 51 Admin. L. Rev.
    703, 708 (1999))); Iowa League of Cities, 711 F.3d at 873 (“Notice and
    comment procedures secure the values of government transparency and
    public participation . . . .”); id. at 871 (“Notice and comment procedures
    . . . were undoubtedly designed to protect the concrete interests of . . .
    regulated entities by ensuring that they are treated with fairness and
    transparency after due consideration and industry participation.”).

           For these reasons, an agency fails to provide adequate reasons for
    its decisions, see Encino Motorcars, LLC, 579 U.S. at 221, if it fails to
    respond to “significant points” and consider “all relevant factors” raised
    by public comments, see also, e.g., Home Box Office, 567 F.2d at 35–36
    (establishing this principle); Carlson, 938 F.3d at 343–44 (applying the
    principle). Our Court and other courts therefore require that an agency
    respond to any “significant comments” received by the agency. See, e.g.,
    Menorah Med. Ctr. v. Heckler, 768 F.2d 292, 295, 296–97 (8th Cir. 1985);
    Lloyd Noland Hosp. & Clinic v. Heckler, 762 F.2d 1561, 1567 (11th Cir.
    1985); Altera Corp. & Subs., 145 T.C. at 112. “[U]nless the [agency]
    answers objections that on their face seem legitimate, its decision can
    hardly be classified as reasoned.” PPL Wallingford Energy LLC v.
    FERC, 419 F.3d 1194, 1198 (D.C. Cir. 2005) (quoting Can. Ass’n of
    Petroleum Producers v. FERC, 254 F.3d 289, 299 (D.C. Cir. 2001)); see
    also PSEG Energy Res. & Trade LLC v. FERC, 665 F.3d 203, 209 (D.C.
    Cir. 2011) (same). Again, this is hornbook law, see, e.g., Hickman &
    Pierce, supra, § 5.4, and courts of appeals have routinely affirmed the
    requirement for more than four decades. 12


            12 See, e.g., Home Box Office, 567 F.2d 9 (decided by the D.C. Circuit in 1977);

    PPG Indus., Inc. v. Costle, 630 F.2d 462, 466 (6th Cir. 1980); St. James Hosp. v. Heckler,
    760 F.2d 1460, 1470 (7th Cir. 1985); Menorah Med. Ctr., 768 F.2d at 295, 296–97
    (decided by the Eighth Circuit in 1985); Brewer v. Madigan, 945 F.2d 449, 457 n.7 (1st




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            Significant comments generally are “those ‘comments which, if
    true, . . . would require a change in [the] proposed rule.’ ” La. Fed. Land
    Bank Ass’n, FLCA v. Farm Credit Admin., 336 F.3d 1075, 1080 (D.C.
    Cir. 2003) (quoting Am. Mining Cong. v. EPA, 907 F.2d 1179, 1188 (D.C.
    Cir. 1990)). Or, put another way, a significant comment “cast[s] doubt
    on the reasonableness of the rule the agency adopts.” See Balt. Gas &
    Elec. Co. v. United States, 817 F.2d 108, 116 (D.C. Cir. 1987). It is well
    settled that “an agency must respond to comments ‘that can be thought
    to challenge a fundamental premise’ underlying the proposed agency
    decision.” Carlson, 938 F.3d at 344 (quoting MCI WorldCom, Inc. v.
    FCC, 209 F.3d 760, 765 (D.C. Cir. 2000)). Such comments may include
    “challenges to the lawfulness of the proposed rule” or “[c]hallenges to the
    internal integrity or reasonableness of the regulatory structure.” See
    Balt. Gas & Elec. Co., 817 F.2d at 116.

                   2.     The Comments Here Were Significant and Required
                          a Response.

          3M argues that Treasury did not respond to significant comments
    during the rulemaking process. The opinion of the Court rejects that
    argument, concluding that (1) Treasury was not required to respond to
    some of the comments 3M cites because Treasury was already aware of
    the points raised by those comments, see op. Ct. pp. 268–69, and (2) the
    Court need not decide whether Treasury was required to respond to the
    remaining comments because those comments are irrelevant in the
    context in this case, see op. Ct. pp. 269‒70. Once again the opinion’s
    conclusions find no support in the APA or the caselaw.

           The comments at issue in this case, which the opinion of the Court
    describes, see op. Ct. pp. 199–200, included, among other things,
    concerns about Treasury’s authority to issue Treasury Regulation
    § 1.482-1(h)(2). Specifically, four commenters pointed out that the
    proposed rule contradicted the Supreme Court’s decision in First
    Security and the decisions of this Court and the U.S. Court of Appeals
    for the Sixth Circuit in Procter & Gamble and called for changes to the
    rule. The comments questioned whether, under that precedent,
    Treasury had the authority to promulgate Treasury Regulation § 1.482-
    1(h)(2) in the form that was ultimately adopted.

          These are quintessential “significant comments.” See, e.g., La.
    Fed. Land Bank Ass’n, 336 F.3d at 1080; Balt. Gas & Elec. Co., 817 F.2d

    Cir. 1991); Hussion v. Madigan, 950 F.2d 1546, 1554 (11th Cir. 1992); Huawei Techs.
    USA, Inc. v. FCC, 2 F.4th 421, 449 (5th Cir. 2021).




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    at 116. Treasury was required to respond to these comments because
    they “challenge[d] a fundamental premise” of the proposed regulation,
    Carlson, 938 F.3d at 344, and “cast doubt on the reasonableness of the
    rule” that Treasury adopted, Balt. Gas & Elec. Co., 817 F.2d at 116. And
    certainly, if true, the comments “would require a change in [the]
    proposed rule.” La. Fed. Land Bank Ass’n., 336 F.3d at 1080 (quoting
    Am. Mining Cong., 907 F.2d at 1188).

            Comments telling Treasury (in so many words) that “based on
    Supreme Court and other judicial authorities, you are attempting to
    regulate outside of your permissible sphere” squarely “ ‘challenge a
    fundamental premise’ underlying the proposed agency decision.”
    Carlson, 938 F.3d at 344 (quoting MCI WorldCom, 209 F.3d at 765).
    They undercut Treasury’s assumption that section 482 permitted it to
    act as it proposed to do. Confronted with that challenge, Treasury
    needed to respond. Silence was not a viable option. Perhaps Treasury
    thought it had good reasons to act (for example, because it believed an
    amendment to section 482 had changed the legal landscape). But if it
    did, it needed to state those reasons. It could not hold them in reserve
    until its actions were challenged in court. See Grand Canyon Air Tour
    Coal. v. FAA, 154 F.3d 455, 468 (D.C. Cir. 1998) (“An agency is required
    to provide a meaningful opportunity for comments, which means that
    the agency’s mind must be open to considering them.” (citing McLouth
    Steel Prods. Corp. v. Thomas, 838 F.2d 1317, 1323 (D.C. Cir. 1988))); see
    also id. (“An agency must also demonstrate the rationality of its
    decision-making process by responding to those comments that are
    relevant and significant.”).

           There is no dispute here that Treasury did not respond; in fact,
    Treasury did not even acknowledge the comments. Cf. PSEG Energy
    Res. & Trade LLC, 665 F.3d at 210 (“To characterize objections [which
    Treasury did not even do here] . . . is not to answer them.”). Treasury’s
    silence in this regard provides no basis on which to conclude that the
    agency engaged in reasoned decisionmaking. Judulang, 565 U.S. at 53;
    see also PPL Wallingford, 419 F.3d at 1198 (“An agency’s ‘failure to
    respond meaningfully’ to objections raised by a party renders its decision
    arbitrary and capricious.” (quoting Can. Ass’n, 254 F.3d at 299)); PSEG
    Energy Res. & Trade LLC, 665 F.3d at 208 (same); cf. City of Brookings
    Mun. Tel. Co. v. FCC, 822 F.2d 1153, 1168 (D.C. Cir. 1987) (“Lacking




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    any indication of . . . a reasoned determination . . . we are forced to
    conclude that the FCC acted irrationally . . . .”). 13

                    3.      The Opinion of the Court’s Reliance on Thompson Is
                            Misplaced.

           In reaching its contrary conclusion that Treasury’s procedures
    were adequate, the opinion of the Court cites Thompson, 741 F.2d at
    409, for the proposition that “when a comment ‘brought to the attention
    of the agency nothing which it had not already considered,’ the agency
    need not respond.” The opinion reasons that, because Treasury was
    already aware that Treasury Regulation § 1.482-1(h)(2) was
    inconsistent with prior caselaw, it was not required to respond to
    comments that raised the point. But this conclusion is wrong, for at
    least three reasons.

           First, when promulgating the rule, Treasury never indicated its
    awareness of the contrary caselaw. Of course, one might assume that
    Treasury knew about the cases in light of their profile within the tax
    community. But (as discussed in Part I.A.2 above) we are not permitted
    to speculate. Rather, we evaluate agency decisionmaking based on what
    the agency actually says at the time of its decision and not based on
    assumptions or post hoc rationalizations. See Chenery I, 318 U.S. at 87

            13 Chief Judge Kerrigan’s concurring opinion contends that an agency’s
    decision to “go[] forward with the proposed [challenged] regulation in the face of
    opposing comments is indeed acknowledgement of them.” See concurring op. p. 279. I
    am aware of no authority supporting the view. And as Part I demonstrates, plenty of
    authority contradicts it.
             After all, “[t]he fundamental purpose of the response requirement is . . . to
    show that the agency has indeed considered all significant points articulated by the
    public.” Nat. Res. Def. Council, Inc. v. EPA, 859 F.2d 156, 188 (D.C. Cir. 1988); see
    also, e.g., Mortg. Bankers Ass’n, 575 U.S. at 109 (Scalia, J., concurring in the judgment)
    (“Before an agency makes a rule, it normally must notify the public of the proposal,
    invite them to comment on its shortcomings, [and] consider and respond to their
    arguments . . . .” (Emphasis added.)). And if “the agency’s mind must be open to
    considering” the comments it receives, Grand Canyon Air Tour Coal., 154 F.3d at 468
    (citing McLouth Steel Prods. Corp., 838 F.2d at 1323), the “agency must also
    demonstrate the rationality of its decision-making process by responding to those
    comments that are relevant and significant,” id. Forging ahead without any
    explanation can hardly be viewed as rational decisionmaking.
             This makes sense. The opposite rule would permit agencies to say nothing at
    all in response to comments and, when challenged, respond that moving forward with
    the proposed rule was an implicit acknowledgement and rejection of the points the
    comments had raised. The APA requires words (that is, an agency response to public
    arguments) and, unlike elsewhere in life, actions cannot speak louder.




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    (“The grounds upon which an administrative order must be judged are
    those upon which the record discloses that its action was based.”); see
    also State Farm, 463 U.S. at 50 (courts may not accept post hoc
    rationalizations). And the parties agree that Treasury did not discuss
    or even cite the adverse cases during the rulemaking process.

           Second, even if we assume that Treasury was aware of the cases
    at the time of its rulemaking, “ ‘knowing’ is not . . . the same as actually
    considering the problems raised by [commenters].” Gerber, 294 F.3d
    at 183. The APA requires the latter. See 5 U.S.C. § 553(c) (providing
    that an agency must “consider[ ] . . . the relevant matter presented” in
    the notice and comment process). Indeed, the whole point of requiring
    an agency to respond to significant comments is to ensure that the
    agency complies with this aspect of the APA. See, e.g., Nat. Res. Def.
    Council, Inc., 859 F.2d at 188. While Treasury may have considered
    internally the implications of the contrary cases during the rulemaking
    process, it did nothing to show commenters and our Court that it
    engaged in such an analysis. It therefore cannot demonstrate that it
    satisfied the requirements of the APA. And in the absence of any such
    demonstration (e.g., a discussion of the caselaw or Treasury’s reasons
    for adopting Treasury Regulation § 1.482-1(h)(2) despite that caselaw),
    Treasury did not meet its APA obligations.

           Third, Thompson—the case on which the opinion of the Court
    relies—and similar cases in fact refute the opinion of the Court’s
    conclusion. In Thompson, 741 F.2d at 409, the D.C. Circuit found that
    the agency had already explained its action and that its previous
    explanations adequately addressed the comments it received. Other
    cases reach similar conclusions where an agency has previously selected
    and explained a course of action and continues to receive comments
    objecting to its decision. See, e.g., Nat. Res. Def. Council, Inc., 859 F.2d
    at 189 (“EPA, in effect, responded in advance; as a result, there was no
    error in failing to respond to legal objections that were thereafter raised
    during the comment period.”); cf. Gatewood, 560 F.3d at 848 (“When the
    agency has articulated and acted on a consistent rationale throughout
    the course of a lengthy informal rulemaking process, the final rule is not
    arbitrary and capricious because the rationale was not fully reiterated
    in the final agency action.”). Similarly, courts have not required
    agencies to respond to comments that are fundamentally at odds with
    policy determinations that have already been made by the executive
    branch. See Sherley v. Sebelius, 689 F.3d 776, 784–85 (D.C. Cir. 2012)
    (concluding that, in implementing an executive order expanding federal
    support for embryonic stem cell research, the National Institute of




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    Health was not required to respond to comments categorically rejecting
    any such research). 14 This case does not present any of these
    circumstances.

           To begin with, the comments at issue did not concern
    discretionary, policy matters; rather, they addressed Treasury’s
    authority for promulgating the rule. See Balt. Gas & Elec. Co., 817 F.2d
    at 116 (noting that significant comments that require a response may
    well include “challenges to the lawfulness of the proposed rule”).

           Moreover, unlike the agency in Thompson, during the course of
    the rulemaking process, Treasury did not discuss Treasury Regulation
    § 1.482-1(h)(2) at all other than by summarizing its provisions. As
    already noted, Treasury did not explain its reasons for adopting the rule,
    why the existing rules needed changing, why blocked income rules
    resulted in income not being clearly reflected, and so on. Nor did
    Treasury discuss or even cite the contrary authorities flagged by the
    commenters. Accordingly, cases like Thompson, 741 F.2d at 409, where
    the agency has previously explained its decision, give Treasury no
    quarter; rather they highlight the procedural failings in the rulemaking
    process before us. See also Gatewood, 560 F.3d at 848; Balt. Gas & Elec.
    Co., 817 F.2d at 116.

          For these reasons, the opinion of the Court errs when it cites
    Thompson in support of its position. True—an agency need not respond
    to comments it has already considered and addressed, as that case says.
    But to rely on this rule an agency must show its work, 15 just as the
    agency (and not the courts) must show that it has met all the APA’s
    requirements. See Encino Motorcars, LLC, 579 U.S. at 224 (“It is not
             14 In that kind of case, the agency is not required to respond because “[t]he

    failure to respond to comments is significant only insofar as it demonstrates that the
    agency’s decision was not based on a consideration of the relevant factors.” Sherley,
    689 F.3d at 784 (quoting Covad Commc’ns Co. v. FCC, 450 F.3d 528, 550 (D.C. Cir.
    2006)).
             15 As the D.C. Circuit put it in Rodway v. USDA, 514 F.2d 809, 817 (D.C. Cir.

    1975):
             The basis and purpose statement [required by the APA] is not intended
             to be an abstract explanation addressed to imaginary complaints.
             Rather, its purpose is, at least in part, to respond in a reasoned manner
             to the comments received, to explain how the agency resolved any
             significant problems raised by the comments, and to show how that
             resolution led the agency to the ultimate rule.
    The court continued: “This purpose is patent on the face of the statute [i.e.,
    section 553(c) of the APA].” Id. n.13.




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    the role of the courts to speculate on reasons that might have supported
    an agency’s decision.”); see also Physicians for Soc. Resp. v. Wheeler, 956
    F.3d 634, 648 (D.C. Cir. 2020) (rejecting an agency’s claims that its
    reasoning was apparent from its actions and “a backdrop of well-known
    public disagreement”). The agency made the required showing in
    Thompson, 741 F.2d at 409. But Treasury has failed to do so here. 16

           Natural Resources Defense Council, Inc., 859 F.2d 156, provides
    another helpful example that refutes the opinion of the Court’s
    conclusion. In that case, as here, existing caselaw raised questions
    about the validity of a rule that the Environmental Protection Agency
    (EPA) had proposed. Commenters flagged these questions at a public
    hearing, then challenged final rules on the grounds that EPA had failed
    to respond to comments. The D.C. Circuit described the EPA’s response
    to this challenge as follows:

                  EPA replies that there was no need to respond to
           Industry’s objections. The Notice of Proposed Rulemaking
           dealt fully, EPA contends, with the issues raised by the
           veto regulations, including the . . . legal objections. See 43
           Fed. Reg. 37,078, 37,087 (1978). The Federal Register
           notice discussed the Ford Motor Co. [v. EPA, 567 F.2d 661
           (6th Cir. 1977),] and State of Washington [v. EPA, 573 F.2d
           583 (9th Cir. 1978),] decisions, noting EPA’s view that the
           veto regulations, although perhaps in tension with dicta in

           16   When presented with facts closer to those now before us, courts have
    consistently required more from the agency. See, e.g., Hewitt v. Commissioner, 21
    F.4th at 1351 (holding that a comment on a proposed regulation “was significant and
    required a response by Treasury to satisfy the APA’s procedural requirements”);
    Carlson, 938 F.3d at 347 (holding that the Postal Regulatory Commission “fell short of
    the APA’s requirement for reasoned decisionmaking” when it failed to address
    significant public comments); Sierra Club v. EPA, 863 F.3d 834, 838 (D.C. Cir. 2017)
    (noting that “if we conclude that the substantive comments raised meritorious issues
    unanswered by EPA, then we must remand for further proceedings” and remanding
    because “EPA failed to respond adequately to comments disputing [its] explanations”);
    Menorah Med. Ctr., 768 F.2d at 295, 295–96 (stating that an agency’s failure to respond
    to criticisms that “cast serious doubt on the premise grounding the [agency’s]
    explanation” was arbitrary and capricious). Note that the Sixth Circuit’s approach in
    Oakbrook Land Holdings, LLC v. Commissioner, 28 F.4th 700, was based on a finding
    that the comments at issue did not address “the problem that Treasury sought to
    solve—providing a method for I.R.C. § 170(h)(5)(A)’s perpetuity requirement to be met
    upon judicial extinguishment.” Id. at 715. That kind of distinction is unavailable here,
    where the comments were directed at Treasury’s authority to issue the very regulation
    at issue and, therefore, were clearly addressed at “the problem Treasury sought to
    solve.” Id.




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           those two cases, were consistent with the cases’ holdings.
           See [43 Fed. Reg.] at 37,087–88. The agency’s view, as set
           forth in the [Notice of Proposed Rulemaking], was that the
           veto regulations themselves constitute “guidelines” under
           the [APA] and therefore address the concern that federal
           supervision be pursuant to formally promulgated
           standards.

    Nat. Res. Def. Council, Inc., 859 F.2d at 188. Not surprisingly, the D.C.
    Circuit agreed that the EPA’s Notice of Proposed Rulemaking responded
    adequately to the objections raised at the hearing:

                  In the circumstances before us, EPA, in effect,
           responded in advance; as a result, there was no error in
           failing to respond to legal objections that were thereafter
           raised during the comment period. The agency had, for all
           practical purposes, already noted and addressed the
           objections. EPA’s legal position (which we have sustained)
           was clear to the public at all times, and the court is thus
           not faced on review with uncertainty as to whether the
           agency overlooked substantive objections. Accordingly,
           EPA did not run afoul of section 553(c) of the APA.

    Id. at 189. 17

           Compare Treasury’s actions here to those of EPA. One looks in
    vain in the record before us for a “discuss[ion]” of the relevant cases or
    for an explanation by Treasury that its “regulation[ ], although perhaps
    in tension with dicta [in the relevant cases was] consistent with [or even
    distinguishable from] the cases’ holdings.” Id. at 188. All we have is
    silence and post hoc rationalizations, with the resulting “uncertainty as
    to whether the agency overlooked substantive objections.” Id. at 189.
    Those are not the marks of nonarbitrary agency action. 18


            17 The D.C. Circuit decided Natural Resources Defense Council, Inc. in 1988,

    before the Supreme Court issued its 2015 decision in Mortgage Bankers Ass’n, 575
    U.S. 92. There the Supreme Court stated that “[a]n agency must consider and respond
    to significant comments received during the period for public comment.” Id. at 96
    (emphasis added). I need not resolve here whether, after Mortgage Bankers Ass’n, an
    agency may rely on a response made “in advance.” Here, Treasury offered no response
    at all—in advance or otherwise.
            18 For another example of an adequate explanation (even if “minimally” so) by

    an agency in the face of adverse judicial precedent, see Peck v. Thomas, 697 F.3d 767,
    773 (9th Cir. 2012).




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           To summarize, Thompson, the only case the opinion of the Court
    cites in support of its “significant comments” holdings, in fact
    contradicts the opinion’s conclusion. And the opinion’s repeated
    assertion that “Treasury was aware” of the points made by comments,
    see op. Ct. p. 269, has no legal significance. Accordingly, the opinion of
    the Court errs in holding that Treasury was not required to respond to
    the comments 3M identifies. The comments were significant, and
    Treasury was required to respond. 19

                   4.      The Elimination of the “Complete Power” Regulation
                           Does    Not    Excuse     Treasury’s    Procedural
                           Shortcomings.

          Chief Judge Kerrigan’s concurring opinion appears to suggest
    that Treasury’s failure to comply with the APA’s procedural
    requirements may be overlooked in part because of the elimination of
    the “complete power” regulation. The concurring opinion faults the
    commenters for “fail[ing] to address the elimination of the complete
    power regulation . . . in the context of the blocked income regulation.”
    See concurring op. p. 278. 20 But this gets the requirements of the APA
    backwards.     As discussed in Part I.A above, it was Treasury’s
    responsibility (not the commenters’) to explain adequately why it
    departed from its existing position and how the elimination of the
    “complete power” regulation was tied to its decision to adopt Treasury
    Regulation § 1.482-1(h)(2). No one disputes that Treasury did not do so.

           Treasury’s failure is all the more puzzling because the
    elimination of the complete power regulation weakened Treasury’s
    position in connection with Treasury Regulation § 1.482-1(h)(2), rather
    than strengthening it as the concurring opinion appears to suggest. A


            19 Chief Judge Kerrigan’s concurring opinion suggests that the approach I have

    followed here would “place a greater burden on both the agency and the court system.”
    See concurring op. p. 280. Any such “burden” flows from the decisions Congress made
    when enacting the APA and the interpretations given to that statute by the Supreme
    Court and the courts of appeals. As a trial court, we are not authorized to relieve
    Treasury from this burden, whether we deem it wise or not.
            20 The concurring opinion uses the phrase “the elimination of the complete

    power” regulation as shorthand for Treasury’s decision in 1993 to redesignate former
    Treasury Regulation § 1.482-1(b)(1) as Treasury Regulation § 1.482-1A(b)(1) and make
    that regulation applicable only for tax years beginning on or before April 21, 1993. See
    T.D. 8470, 58 Fed. Reg. 5263, 5271, 1993-1 C.B. at 99 (Jan. 21, 1993); see also op. Ct.
    p. 68 n.38. For convenience, I will follow the concurring opinion’s convention,
    recognizing that the regulation remains in effect for certain tax years.




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    close reading of the text of the “complete power” regulation and First
    Security confirms this.

          The “complete power” regulation provided:

          The interests controlling a group of controlled taxpayers
          are assumed to have complete power to cause each
          controlled taxpayer so to conduct its affairs that its
          transactions and accounting records truly reflect the
          taxable income from the property and business of each of
          the controlled taxpayers. If, however, this has not been
          done, and the taxable incomes are thereby understated, the
          district director shall intervene, and, by making such
          distributions, apportionments, or allocations as he may
          deem necessary of gross income, deductions, credits, or
          allowances, or of any item or element affecting taxable
          income, between or among the controlled taxpayers
          constituting the group, shall determine the true taxable
          income of each controlled taxpayer.

    Treas. Reg. § 1.482-1A(b)(1) (2019) (emphasis added) (applicable for tax
    years beginning on or before April 21, 1993). In other words, under this
    regulation, in applying section 482, the Commissioner would assume—
    that is, take as a given without having to prove it—that a group of
    controlled taxpayers had full power to cause every member of the group
    to reflect the correct income for tax purposes. Put yet another way, the
    regulation permitted the Commissioner to assume that if the controlled
    group wanted to get to the “right” tax answer, it could have done so. In
    light of this assumption, if the Commissioner were to find that “this was
    not done,” he could assume (again, take as a given without regard to the
    facts) that this was the result of some action by the group and within
    the group’s control.

            This assumption was beneficial to the Commissioner. Instead of
    having to undertake a factual analysis to demonstrate that the group
    had the power to control the tax affairs of a relevant member and that
    it in fact had used that power for untoward purposes, the Commissioner
    could simply “assume” that this was so and proceed with an adjustment.
    In a way, the Commissioner could assume “guilt by association.”

           In its decision in First Security, the Supreme Court acknowledged
    the existence of the “complete power” regulation. See First Security, 394
    U.S. at 404. But the Supreme Court placed a limit on how far assumed




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    “guilt by association” could be taken in light of the text of the statute
    and existing interpretations of the term “income” as used in the Code.
    In the Court’s view, an actual ability “to shift income among . . .
    subsidiaries” must exist for section 482 to apply. Id. The Commissioner
    was not allowed simply to “assume” this was so when applicable legal
    rules defeated the assumption. Id. at 404–05. That is what the Court
    meant when it said that “income implies dominion or control of the
    taxpayer.” Id. at 404. And that is what the Court meant when it said
    the “regulation is consistent with the control concept heretofore
    approved by this Court, although in a different context.” Id. And that
    is why the Court concludes “[t]he ‘complete power’ referred to in the
    regulations hardly includes the power to force a subsidiary to violate the
    law.” Id. at 405. In effect, the Supreme Court was saying it is fine for
    the Commissioner to “assume” (and not to have to prove) that a common
    group generally controls the income of its members, but that assumption
    breaks down, and will not be respected by a court, when it results in the
    fiction that the group has “the power to force a subsidiary to violate the
    law.” Id.

           It is a mistake to read the “complete power” regulation as
    somehow having limited the Commissioner’s authority. To the contrary,
    the regulation made it easier for the Commissioner to win cases under
    section 482. And the Supreme Court in First Security did not read the
    “complete power” regulation as having imposed a limitation on the
    Commissioner that the Commissioner could not disavow (resulting in
    the Commissioner’s losing the case). Rather, First Security read the
    “complete power” regulation as having given the Commissioner wide
    latitude. Yet, even in the context of that wide latitude, the statute (and
    particularly the definition of the word “income” as previously
    interpreted by the Court) imposed limits. The “assumption” that
    common groups could do what they wished with respect to their
    members’ income did not hold when legal rules placed limits on that
    power. In those circumstances, there was no “income” to allocate, and
    the Commissioner could not make it otherwise by regulation, no matter
    how favorable the “assumptions” asserted in his favor.

           With this background in mind, it is not clear to me why the
    prospective elimination of the “complete power” regulation obviates the
    need for Treasury to respond to the significant comments raised by the
    commenters. Although the landscape had changed somewhat, the new
    terrain was less favorable to Treasury, further weighing in favor of fully
    addressing significant comments in compliance with the APA. The




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    change simply does not insulate Treasury from APA requirements as
    the Chief Judge’s concurrence suggests. 21

                    5.      The Opinion of the Court Fails to Analyze Whether
                            Treasury Was Required to Respond to the Remaining
                            Comments.

           Although the errors described in the preceding sections are
    sufficient to find for 3M, perplexingly, the opinion of the Court does not
    even analyze the remaining comments on which 3M relies. Rather, the
    opinion assumes that no response was required because the comments
    (regarding the exhaustion of remedies rule, the no-circumvention
    requirement, and electing the deferred income method) relate to
    provisions of the regulation that do not control the outcome of this case.
    For example, the opinion of the Court states that “any failure by
    [Treasury] to appropriately respond to comments regarding the
    exhaustion-of-remedies requirement is irrelevant” because “[i]n this

            21 The concurring opinion also observes that “[t]he parties’ own stipulations

    make it clear that Treasury reviewed the comments.” See concurring op. p. 278. The
    concurring opinion “take[s] it a step further and argue[s] that [blanket statement in]
    the preamble [that the comments were considered] is sufficient to respond to the four
    comments regarding the proposed blocked income regulation.” See concurring op.
    pp. 278‒79.
            To the extent the concurring opinion intends to suggest that 3M stipulated its
    case away, that is not so. The stipulation of the parties to which the concurring opinion
    refers states:
            As stated in T.D. 8552, “written comments responding to the notice of
            proposed rulemaking were received, and a public hearing was held on
            August 16, 1993,” and “after consideration of all the comments,” the
            proposed regulations under the 1993 Notice of Proposed Rulemaking,
            as revised by T.D. 8552, were adopted, and the temporary regulations
            under T.D. 8470 were removed.
    That stipulation merely describes what the preamble states. It cannot fairly be read
    as an admission by 3M that Treasury complied with the APA, a point that 3M
    vigorously disputes. Nor does the Commissioner maintain that 3M should lose because
    of the stipulation.
            More importantly, courts have repeatedly rejected agency claims that a
    blanket statement that “all comments were considered” discharges an agency’s
    obligations under the APA. See, e.g., PPG Indus., 630 F.2d at 466 (“[Courts] are not
    required to ‘take the agency’s word that it considered all relevant matters.’” (quoting
    Asarco, Inc. v. EPA, 616 F.2d 1153, 1160 (9th Cir. 1980))); see also Hewitt, 21 F.4th at
    1351 (“[T]he fact that Treasury stated that it had considered ‘all comments,’ without
    more discussion, does not change our analysis, as it does not ‘enable [us] to see
    [NYLC’s] objections and why [Treasury] reacted to them as it did.’’ (quoting Lloyd
    Noland, 762 F.2d at 1566)). The concurring opinion cites no authority to the contrary,
    and I am aware of none.




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    case . . . other requirements of [Treasury Regulation §] 1.482-1(h)(2)
    (2006) are not met: i.e., the effect-on-uncontrolled-taxpayers
    requirement, the public-promulgation requirement, and the general-
    applicability requirement.” See op. Ct. p. 270. The reasoning seems to
    be that, if 3M cannot satisfy at least one necessary element of the
    regulation, then procedural defects with respect to any other element (or
    indeed all other elements) of the regulation do not matter.

           But this analysis puts the cart before the horse. If Treasury
    Regulation § 1.482-1(h)(2) is procedurally invalid, then 3M does not need
    to satisfy any of its requirements. The opinion of the Court seems to
    forget that a defect with respect to one aspect of a regulation can
    invalidate the entire rule. See 33 Charles Alan Wright & Arthur R.
    Miller, Federal Practice and Procedure § 8381 (2d ed. 2022) (“Sometimes
    a court will determine that a portion of a complex agency action
    (generally a rule) is legally defective but that the remainder of the action
    is not. This situation raises the question of severance—i.e., whether the
    court should vacate and remand the entire action or, instead, merely
    vacate and remand the defective portion, leaving the rest in place.”).
    And there is no showing in the opinion of the Court that the regulatory
    requirements here would or could be severed. All of this is to say that
    other comments on which 3M relies raised meaningful issues, and the
    opinion of the Court has not engaged with them.

    II.   The Commissioner’s          Additional     Arguments       Are    Similarly
          Unavailing.

          The Commissioner argues that Treasury satisfied its burden
    because “the agency’s explanation need only be ‘clear enough that its
    “path may reasonably be discerned.” ’ Encino Motorcars[, LLC, 579 U.S.
    at 221] (citing Bowman Transp., Inc. v. Ark.-Best Freight Sys., Inc., 419
    U.S. 281, 286 (1974)).” 22 Resp’t’s Am. Answering Br. 23. Regarding
    Treasury’s path here, the Commissioner says:

          22 As I have said before:


          In Bowman Transportation, the case that gave rise to the “path may
          reasonably be discerned” formulation, the Supreme Court observed
          that the Interstate Commerce Commission had in fact provided an
          explanation of how it had viewed the relevant evidence and proceeded
          to discuss that explanation. Bowman Transp., Inc. v. Ark.-Best Freight
          Sys., Inc., 419 U.S. 281, 290 (1974) (“The question before the
          Commission was whether service on the routes at issue would be
          enhanced by permitting new entry, and as to this the performance by




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           Section 1.482-1(h)(2) was part of a major effort by Treasury
           to overhaul the section 482 transfer pricing regulations
           following the 1986 amendment to section 482. Throughout
           the rulemaking process, Treasury issued extensive
           statements explaining the manner in which the revised
           rules (including section 1.482-1(h)(2)) operate and how
           they align with the statutory goals of section 482, as
           articulated by Congress.

    Id. The Commissioner cites various administrative pronouncements
    that were issued as part of the overhaul and elaborates on his reasoning
    as follows:

           Section 1.482-1(h)(2) appears in revised section 1.482-1,
           along with bedrock transfer pricing principles such as tax
           parity, comparability, true taxable income, and the arm’s
           length standard. Treasury explained how the revisions to
           section 1.482-1 implement Congress’ objective to ensure a
           division of income between related parties that reflects the
           value of their respective economic contributions. . . . These
           extensive discussions not only explain the reasoning
           behind section 1.482-1(h)(2), but they are also incorporated
           in the plain text of the rule . . . .

    Id. at 24. Thus, the Commissioner relies on the text of the regulation,
    the regulation’s inclusion in a larger regulatory package, the reasons
    provided for the package more generally, and the 1986 amendment to
    section 482 to argue that the purpose of Treasury Regulation § 1.482-
    1(h)(2) was both obvious and adequately explained.

          It is true that during the rulemaking process Treasury explained
    the regulatory package more generally and responded to some
    comments regarding other parts of the package. But a careful review of
    the regulatory history shows that it undercuts, rather than supports,
    the Commissioner’s position.


           prospective entrants on new routes was of limited relevance. The
           Commission noted with respect to transit times that different highway
           conditions might make experience there a poor indication of the times
           applicants could provide on the routes they sought to enter.”). The
           record here fails to provide even “that minimal level of analysis,”
           Encino Motorcars, LLC v. Navarro, 579 U.S. [at 221], required by
           Bowman Transportation.
    Oakbrook Land Holdings, LLC, 154 T.C. at 225 n.18 (Toro, J., concurring in the result).




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           Treasury Regulation § 1.482-1(h)(2) was first proposed in 1993,
    more than six years after Congress added the second sentence to
    section 482. See Prop. Treas. Reg. § 1.482-1T(f)(2), 58 Fed. Reg. 5310,
    5312 (Jan. 21, 1993). At the time, Treasury had already put forward
    two detailed explanations of the 1986 amendment and Treasury’s plans
    to overhaul the transfer pricing regulations: (1) Notice 88-123, 1988-2
    C.B. 458 (generally known as the “white paper”), and (2) the 1992
    proposed regulations, see Intercompany Transfer Pricing and Cost
    Sharing Regulations Under Section 482, 57 Fed. Reg. 3571 (proposed
    Jan. 30, 1992). Both were lengthy documents in which Treasury
    explained how it intended to implement the statutory change and
    otherwise amend the transfer pricing regulations. Neither publication
    mentioned blocked income or any of the caselaw addressing the issue.

            When Treasury finally proposed the blocked income regulation in
    1993, the regulatory preamble again said nothing about Treasury’s
    reasons for issuing the proposal. See Intercompany Transfer Pricing
    Regulations Under Section 482, 58 Fed. Reg. at 5310, 5310–12 (proposed
    Jan. 21, 1993). Instead, the preamble referred to a package of temporary
    regulations issued under section 482 on the same day, stating that “[t]he
    preamble to the temporary regulations contains a full explanation of the
    reasons underlying the issuance of the proposed regulations.” Id. at
    5310. But when one turns to the preamble to the temporary regulations,
    one again finds no mention of blocked income or related caselaw, see T.D.
    8470, 58 Fed. Reg. 5263, 5263–5271, 1993-1 C.B. at 90–123 (Jan. 21,
    1993), except that Temporary Treasury Regulation § 1.482-1T(f)(2),
    titled “Effect of foreign legal restrictions,” was “[Reserved],” id. at 5281,
    1993-1 C.B. at 111.

           The Commissioner is undeterred by this omission, pointing to
    Treasury’s reasons for adopting the broader package as well as the text
    of the proposed regulation as sufficient evidence of Treasury’s rationale.
    But it cannot be that incorporating a rule into a broader package
    eliminates the need to explain the reasons for the rule. 23 And
    particularly given the context here, where multiple courts had rejected
    Treasury’s proposed approach, general comments about transfer pricing
    and the arm’s-length principle were insufficient to explain why Treasury
    should (or could) include the blocked income rule in the broader package.
    Thus, the materials Treasury cites do not allow us to “reasonably . . .

            23 Such an approach would invite agencies to consolidate their rulemakings to

    avoid the requirements of the APA with respect to the individual components of a
    package.




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    discern[ ]” its rationale for going ahead with the rule despite the contrary
    authorities. See Bowman Transp., Inc., 419 U.S. at 286.

          The Commissioner attempts to rely on Encino Motorcars, quoting
    the Supreme Court’s statement that only a “minimal level of analysis”
    is required to satisfy arbitrary and capricious review. See Encino
    Motorcars, LLC, 579 U.S. at 221. But the Commissioner conveniently
    ignores that, in this case, Treasury provided no analysis for why it
    adopted Treasury Regulation § 1.482-1(h)(2). Additionally, in Encino
    Motorcars the Court recognized that the level of explanation required
    depends on context. Id. at 222 (“A summary discussion may suffice in
    other circumstances, but here—in particular because of decades of
    industry reliance on the Department’s prior policy—the explanation fell
    short of the agency’s duty to explain why it deemed it necessary to
    overrule its previous position.”). As already discussed, the circumstances
    here are closely analogous to those in Encino Motorcars, which required
    a more detailed explanation. And in that case, the Supreme Court found
    the agency’s brief (but existing) explanation insufficient. See Part I.A.5
    above. Here, I reach the same conclusion regarding Treasury’s
    nonexistent explanation.

           Nor, as the Commissioner appears to contend, does the 1986
    amendment to section 482 suffice to explain Treasury’s choices on
    blocked income. The amendment added one sentence that said: “In the
    case of any transfer (or license) of intangible property (within the
    meaning of section 936(h)(3)(B)), the income with respect to such
    transfer or license shall be commensurate with the income attributable
    to the intangible.” Tax Reform Act of 1986, Pub. L. No. 99-514,
    § 1231(e)(1), 100 Stat. 2085, 2563. To state the obvious, nothing in this
    sentence expressly mentions blocked income. For example, the sentence
    does not specify whether legal restrictions should be taken into account
    in deciding whether income is “commensurate.” Moreover, the sentence
    seems perfectly consistent with what may be viewed as a central lesson
    of the blocked income cases: that income for purposes of section 482 does
    not include amounts that a taxpayer is legally prohibited from receiving.
    See Buch dissenting op. pp. 287‒305. 24 And the sentence addresses

            24 As is evident from the text, the term “income” is front and center in the

    second sentence of section 482. In promulgating Treasury Regulation § 1.482-1(h)(2),
    Treasury offered no explanation why the usual canons of construction should not
    inform the interpretation of that term in the second sentence. As the Supreme Court
    has said, “[w]hen ‘all (or nearly all) of the’ relevant judicial decisions have given a term
    or concept a consistent judicial gloss, we presume Congress intended the term or




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    income from transfers of intangibles only, whereas blocked income can
    be present in many types of transactions. 25          (Indeed, Treasury
    Regulation § 1.482-1(h)(2) itself on its face applies to all transactions
    and is not limited to those involving transfers of intangibles, as one
    might expect it to be if it truly were an implementation of the 1986
    amendment.) In short, if one wants to rely on the second sentence of
    section 482 to support the rule reflected in Treasury Regulation § 1.482-
    1(h)(2), one must show why that is so. Connecting the dots between the
    second sentence of section 482 and Treasury Regulation § 1.482-1(h)(2)
    requires explanation; it is neither obvious nor reasonably discernable.

          For those who consider legislative history relevant, Warger v.
    Shauers, 574 U.S. 40, 48 (2014), the statute’s silence on these issues
    should come as no surprise, for at least three reasons.

           First, the legislative history suggests that Congress was focused
    on a problem other than blocked income—namely, the transfer of high-
    profit potential intangibles offshore for compensation that did not reflect
    their true value. See H.R. Rep. No. 99-841 (Vol. II), at II-637 (1986)
    (Conf. Rep.) (hereinafter Conference Report), as reprinted in 1986-3 C.B.
    (Vol. 4) 1, 637 (“Uncertainty exists regarding what transfers are
    appropriate to treat as ‘arm’s-length’ comparables and regarding the
    significance of profitability, including major changes in profitability of
    the intangible after the transfer.”); H.R. Rep. No. 99-426, at 424 (1985)
    (hereinafter House Report), as reprinted in 1986-3 C.B. (Vol. 2) 1, 424
    (“The problems are particularly acute in the case of transfers of high-
    profit potential intangibles. Taxpayers may transfer such intangibles to

    concept to have that meaning when it incorporated it into a later-enacted statute.”
    Bruesewitz v. Wyeth LLC, 562 U.S. 223, 243 (2011) (quoting Merck & Co. v. Reynolds,
    559 U.S. 633, 659 (2010) (Scalia, J., concurring in part and concurring in the
    judgment)). In such a case, “[t]he consistent gloss represents the public understanding
    of the term.” Id.; see also, e.g., Hylton v. U.S. Attorney General, 992 F.3d 1154, 1158
    (11th Cir. 2021) (declining to afford Chevron deference to a position of the Board of
    Immigration Appeals because the application of canons of construction resolved any
    ambiguity and relying in part on the prior-construction canon, which “establishes that
    ‘[i]f a statute uses words or phrases that have already received authoritative
    construction by the jurisdiction’s court of last resort, . . . they are to be understood
    according to that construction’” (quoting Antonin Scalia & Bryan A. Garner, Reading
    Law: The Interpretation of Legal Texts § 54, at 322 (2012))); id. (“When Congress use[s]
    the materially same language in [a more recent enactment], it presumptively [is]
    aware of the longstanding judicial interpretation of the phrase and intend[s] for it to
    retain its established meaning.” (quoting Lamar, Archer & Cofrin, LLP v. Appling, 138
    S. Ct. 1752, 1762 (2018))).
            25 For a more detailed discussion of the second sentence, see Altera Corp. &

    Subs., 145 T.C. at 96–98.




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    foreign related corporations . . . at an early stage, for a relatively low
    royalty, and take the position that it was not possible at the time of the
    transfers to predict the subsequent success of the product.”). In other
    words, Congress was focused on the undervaluation of high-profit-
    potential intangibles by related parties. Consistent with this focus,
    neither the discussion in the Conference Report nor that in the House
    Report mentioned blocked income, even though both included detailed
    explanations of the purpose and effect of adding the second sentence to
    section 482. See, e.g., Conference Report, at II-637–38; House Report, at
    420–27.

           Second, the second sentence of section 482 makes perfect sense as
    a response to the intangible valuation issue and little sense as a
    response to blocked income concerns. As already discussed, the second
    sentence says nothing about cases in which a taxpayer is legally
    prohibited from receiving income. 26 Rather, it focuses specifically on
    transfers of intangibles and provides that an intangible should be priced
    according to the income it generates. Moreover, First Security, the most
    famous blocked income case at the time, did not even involve a transfer
    of intangibles, so its outcome was unaffected by the second sentence
    regardless of how one reads it. It is unclear why Congress would have
    enacted a partial fix rather than a complete one if it wished to reverse
    the blocked income cases.

           Finally, when a committee of Congress prepares a detailed
    explanation of a legislative proposal, one might expect it to mention that
    the proposal reverses a decision of the Supreme Court if that in fact is
    one of the proposal’s objectives. As noted above, neither the Conference
    Report nor the House Report mentions First Security or any other
    blocked income case. See Conference Report, at II-637–38; House
    Report, at 420–27. The House Report does, however, address a separate
    line of cases that the proposal was intended to reverse, cases that were
    relevant to—as one might expect—the undervaluation of high-profit-
    potential intangibles. See House Report, at 424 (citing U.S. Steel Corp.
    v. Commissioner, 617 F.2d 942 (2d Cir. 1980)). All of which leaves the



            26 The legislative history’s general endorsement of allocating income based on

    a taxpayer’s economic activity, see, e.g., Conference Report, at II-637–38, does not
    establish that Congress intended for legal restrictions that bind the taxpayer to be
    ignored. Treasury can apply economic principles while respecting legal rules that are
    binding on the taxpayer, and nothing in the legislative history suggests that it should
    do otherwise.




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    reader of the legislative history with a feeling of “expressio unius est
    exclusio alterius.”

           To summarize, nothing in the second sentence or its history
    directs Treasury to act with respect to blocked income as it did. 27
    Accordingly, Treasury cannot rely on the second sentence or the
    legislative history accompanying its enactment to argue that Treasury’s
    path in adopting Treasury Regulation § 1.482-1(h)(2) “may reasonably
    be discerned.” See Encino Motorcars, LLC, 579 U.S. at 221 (quoting
    Bowman Transp., Inc., 419 U.S. at 286). 28

           Judge Copeland’s opinion concurring in the result contends that
    “the new commensurate-with-income standard cannot be implemented
    consistently with a strict adherence to the First Security Bank holding.”
    See Copeland concurring in the result op. p. 284. The concurring opinion
    appears to rely on legislative history in support of this conclusion. But,
    regardless of the merits (or demerits) of relying on legislative history
    either generally or in this case, see Buch dissenting op. p. 305, as I have
    explained above, the legislative history is simply silent on the issue of
    blocked income.

           The passage quoted by Judge Copeland proves this point. It begins
    by stating that, “[i]n requiring that payments be commensurate with the
    income stream [from the intangible], the bill does not intend to mandate
    the use of the ‘contract manufacturer’ or ‘cost-plus’ methods of allocating
    income or any other particular method.” House Report, at 426. Thus, the
    passage’s focus is on the choice of method, an issue entirely separate from
    blocked income. The second sentence of the passage confirms this focus,
    stating that “[a]s under present law, all the facts and circumstances are to
    be considered in determining what pricing methods are appropriate in cases
    involving intangible property.” Id. (emphasis added). The sentence then
    provides examples of factors, such as the degree of risk borne by parties,



           27 Indeed, given the text and history of the second sentence, it makes sense

    that Treasury did not immediately think to include the blocked income rule in its
    update to the regulations.
             28 The Commissioner also argues that “the data-based factors under State

    Farm do not apply” if “an agency rule does not require fact-finding or empirical
    analysis.” Resp’t’s Am. Answering Br. 18. But the Supreme Court relied in part on
    the State Farm standard in Encino Motorcars, LLC, 579 U.S. at 221, a case which, like
    this one, involved statutory interpretation in the face of contrary caselaw. See id. at
    216–18. And in any event, my conclusions here do not depend on any “data-based
    factors.”




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    that typically are considered in selecting a transfer pricing method. Again,
    selecting a method has nothing to do with blocked income.

           Moreover, even if one were to read the legislative history Judge
    Copeland cites as having something to say about blocked income, a rule
    that categorically excludes certain foreign restrictions from consideration,
    as Treasury Regulation § 1.482-1(h)(2) does, can hardly be reconciled with
    the passage’s statement that “all facts and circumstances are to be
    considered.” And even more importantly for my purposes, none of the
    “weighing” of relevant factors that Judge Copeland undertakes, see
    Copeland concurring in the result op. p. 285, appears anywhere in the
    administrative rulemaking record that Treasury developed. We may not
    affirm the Commissioner’s decision here for reasons Treasury did not offer
    or based on a “weighing” of factors Treasury did not undertake. 29

    III.   Treasury’s Historical Position on the Nature of Its Regulations
           Provides a Better Explanation for Its Actions Here Than the
           Justifications Offered by Either the Opinion of the Court or the
           Commissioner.

          As Justice Holmes wrote in another tax case, “a page of history is
    worth a volume of logic.” N.Y. Tr. Co. v. Eisner, 256 U.S. 345, 349 (1921).
    That observation is particularly apt here. History appears to offer a
    better explanation for Treasury’s actions with respect to Treasury
    Regulation § 1.482-1(h)(2) than either the opinion of the Court or the
    Commissioner.     As noted above, when adopting the challenged
    regulation (and the entire package of which that regulation was a part),
    Treasury “determined” that “that section 553(b) of the Administrative
    Procedure Act (5 U.S.C. chapter 5) . . . do[es] not apply to these
    regulations.”

           “When an agency engaged in a particular rulemaking exercise
    believes the APA does not require it to provide notice and receive
    comments at all, it is not difficult to see why that agency might think

             29 To the extent Judge Copeland argues that the Commissioner should prevail

    based on the second sentence of section 482, regardless of Treasury Regulation § 1.482-
    1(h)(2), I further note that neither the Commissioner nor Judge Copeland’s opinion (or
    the opinion of the Court for that matter) actually undertakes to show what “the profit
    or income stream generated by or associated with intangible property is.” See
    Copeland concurring in the result op. p. 285 (quoting House Report, at 426). We simply
    do not know how much more income 3M Brazil made as a result of using the relevant
    intangibles than it would have made without them. This seems to me a critical
    omission for anyone who wishes to rely on the commensurate-with-income principle to
    decide this case.




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    that a rather brief explanation, offered as it were out of its own
    generosity, should be good enough.” Oakbrook Land Holdings, LLC, 154
    T.C. at 222 (Toro, J., concurring in the result). Here Treasury
    “determined” that notice and comment were not required by the APA.
    Thus, although it in fact provided both notice and an opportunity to
    comment, it appears not to have thought itself bound to satisfy the
    standards set out in Home Box Office and its progeny and affirmed in
    State Farm, Encino Motorcars, and other recent Supreme Court
    decisions. Viewed in that light, I can at least understand Treasury’s
    actions, even if, in carrying out my reviewing responsibility under the
    APA, I cannot approve of them.

             Treasury’s position appears to have been based on its historical
    view that the regulations were interpretative and therefore not subject
    to notice and comment under the APA. See Kristin E. Hickman,
    Coloring Outside the Lines: Examining Treasury’s (Lack of) Compliance
    with Administrative Procedure Act Rulemaking Requirements, 82 Notre
    Dame L. Rev. 1727, 1729 (2007) (“Treasury acknowledges that APA
    section 553 governs its various regulatory efforts. Treasury also
    contends, however, that most Treasury regulations are interpretive in
    character and thus exempt from the public notice and comment
    requirements by the APA’s own terms.” (Footnote omitted.)). Indeed,
    provisions of the Internal Revenue Manual (IRM) dating back to at least
    1994 reflect the IRS’s by-then-longstanding view that nearly all
    Treasury regulations were interpretative (rather than legislative) rules
    that did not require notice and comment. One such provision stated:
    “Most regulations set forth interpretations to resolve ambiguities or fill
    gaps in the tax statutes. . . . In rare instances, regulations contain
    guidance that is technically legislative, rather than interpretative.”
    IRM (30)(15)20 § 212 (Aug. 1, 1994). And the IRM continued on to state:
    “[The APA’s] requirements do not apply if the rules are interpretative
    . . . . If you think that there are unusual circumstances so that your
    regulations would not be interpretative, consult with your Assistant or
    Associate Chief Counsel to determine whether the [APA] applies to your
    regulations project.” Id. § 531.1. But as we have recently made clear,
    and as the Commissioner does not dispute, a regulation like the one here
    is legislative, not interpretative. See Green Valley, No. 17379-19, 159
    T.C., slip op. at 8–15.

          Put simply, Treasury erroneously assumed the regulations were
    interpretative. That assumption colored its view of its responsibilities
    under the APA, which in turn contributed to its failure to meet the APA
    procedural requirements. While all of this may be understandable (and




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    regrettable) and one cannot fault the drafters of these particular
    regulations for following what they thought were long-established
    Treasury positions, it does not justify this Court’s jumping into the
    breach to rescue Treasury from its own mistake. 30

    IV.    Additional Considerations

             A. Compliance with the APA’s Procedural Requirements
             Serves Important Values.

          It bears emphasizing that requiring agencies to comply with the
    APA’s procedural requirements is not a pointless exercise. Although
    some might argue what Treasury was trying to do when adopting
    Treasury Regulation § 1.482-1(h)(2)—essentially overturn judicial
    precedent it did not like—was “obvious” to the tax world and that
    Treasury’s failure to explain its reasoning and address comments on the
    record is harmless, the argument would be misplaced.

           As the Supreme Court recently explained, “[p]rocedural
    requirements can often seem [an idle and useless formality].” Regents
    of the Univ. of Cal., 140 S. Ct. at 1909 (citations omitted). But they
    “serve[ ] important values of administrative law.” Id.

         Requiring Treasury to explain its reasoning and respond to
    comments here

           promotes “agency accountability,” Bowen v. American
           Hospital Assn., 476 U.S. 610, 643 (1986), by ensuring that
           parties and the public can respond fully and in a timely
           manner to an agency’s exercise of authority. Considering
           only contemporaneous explanations for agency action also
           instills confidence that the reasons given are not simply
           “convenient litigating position[s].”        Christopher v.
           SmithKline Beecham Corp., 567 U.S. 142, 155 (2012)
           (internal quotation marks omitted). Permitting agencies to
           invoke belated justifications, on the other hand, can upset
           “the orderly functioning of the process of review,”

            30 Chief Judge Kerrigan’s concurring opinion expresses concern that my

    “dissent would create a slippery slope whereby courts would be constantly faced with
    determining whether comments are significant and if the agency responded
    appropriately to them.” See concurring op. p. 280. But the APA already requires
    precisely this type of review, and decades of administrative law jurisprudence from the
    Supreme Court and the courts of appeals demonstrate that we must not shy away from
    our duty. See Part I above.




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           [Chenery I], 318 U.S. [at] 94 . . . , forcing both litigants and
           courts to chase a moving target.

    Id. The facts of this case demonstrate the wisdom of the Supreme
    Court’s observations, and “[e]ach of the[ ] values [identified by the
    Supreme Court is] markedly undermined,” id., when the opinion of the
    Court gives Treasury a pass on explaining its reasoning and responding
    to comments here. 31

           That an agency’s attempt to overturn judicial precedent might be
    viewed as “obvious” makes it more important (not less) for the agency to
    explain its reasoning contemporaneously. The rule of law would be
    undermined if courts were to permit agencies to attempt to overrule
    judicial decisions without so much as an acknowledgment that they are
    doing so. I am not aware of any other agency that has made as bold a
    claim as that made here. Nor of any other court’s countenancing such a
    claim. Treasury’s silence in these circumstances was arbitrary and
    capricious under the APA.

           B.      Review of Tax Regulations May Raise Special Concerns.

          Before concluding, I wish to return briefly to the first subsidiary
    question I asked at the beginning of this dissent: Is Treasury subject to
    the same procedural APA rules as other agencies? In Mayo Foundation
    the Supreme Court said “yes.” The analysis above is based on that
    premise.

           In reaching its conclusion in Mayo Foundation, however, the
    Court noted that “Mayo has not advanced any justification” supporting
    a different outcome, and the Court’s conclusion there appears to have
    been premised on the “the absence of such justification.” Mayo
    Foundation, 562 U.S. at 55.



             31 The outcome here would be no different under Justice Kavanaugh’s partial

    dissent in Regents of the University of California, 140 S. Ct. at 1934. In Justice
    Kavanaugh’s view, under the relevant Supreme Court precedents, “the post hoc
    justification doctrine merely requires that courts assess agency action based on the
    official explanations of the agency decisionmakers, and not based on after-the-fact
    explanations advanced by agency lawyers during litigation (or by judges).” Id. Even
    under that view, however, the Commissioner could not prevail as we do not have before
    us any additional “official explanations of the agency decisionmakers.” Id. Rather, all
    we have are an utterly silent record and “explanations advanced by agency lawyers
    during litigation” or arguments offered “by judges.” Id. (emphasis omitted).




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          As a lower court, we are bound to follow the Supreme Court’s
    Mayo Foundation decision. But it is appropriate to note that applying
    the APA’s procedural requirements to Treasury regulations creates
    some wrinkles that may not be present when courts review rulemaking
    by other agencies.

           For example, in general, courts can review promptly rulemaking
    proceedings that other agencies undertake. See Wright & Miller, supra,
    § 8303 (describing “special statutory review proceedings [that] funnel
    judicial review of agency action directly to courts of appeals” (often the
    D.C. Circuit) subject to strict time limits, such as 60 or 90 days). By
    contrast, Treasury regulations might not be subject to judicial review for
    decades. The Anti-Injunction Act generally precludes an aggrieved
    taxpayer’s immediate challenge of a newly adopted regulation. 32 I.R.C.
    § 7421(a); CIC Servs., LLC v. IRS, 141 S. Ct. 1582, 1593 (2021) (“[T]he
    Anti-Injunction Act bars pre-enforcement review, prohibiting a taxpayer
    from bringing . . . a ‘preemptive[ ]’ suit to foreclose tax liability. . . . And
    it does so always—whatever the taxpayer’s subjective reason for
    contesting the tax at issue. If the dispute is about a tax rule—as it is in
    the run-of-the-mine suits the Government raises—the sole recourse is to
    pay the tax and seek a refund.”); Nat’l Fed’n of Indep. Bus. v. Sebelius
    (NFIB), 567 U.S. 519, 543 (2012) (“Because of the Anti-Injunction Act,
    taxes can ordinarily be challenged only after they are paid, by suing for
    a refund.”). As then-Judge Kavanaugh has explained:

           Among other things, the [Anti-Injunction] Act generally
           bars pre-enforcement challenges to certain tax statutes
           and regulations. The Act requires plaintiffs to instead
           raise such challenges in refund suits after the tax has been
           paid, or in deficiency proceedings. The Act thus creates a
           narrow exception to the general administrative law
           principle that pre-enforcement review of agency
           regulations is available in federal court. See Abbott
           Laboratories v. Gardner, 387 U.S. 136, 152–53 (1967). The
           Act thereby “protects the Government’s ability to collect a
           consistent stream of revenue.”



            32 The Anti-Injunction Act forbids any “suit for the purpose of restraining the

    assessment or collection of any tax.” I.R.C. § 7421(a). The Declaratory Judgment Act’s
    tax exception, 28 U.S.C. § 2201(a), which “is at least as broad as the Anti-Injunction
    Act,” Bob Jones Univ. v. Simon, 416 U.S. 725, 733 n.7 (1974), reinforces that
    prohibition.




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    Fla. Bankers Ass’n v. U.S. Dep’t of the Treas., 799 F.3d 1065, 1066–67
    (D.C. Cir. 2015) (Kavanaugh, J.) (quoting NFIB, 567 U.S. at 543). Thus,
    an aggrieved taxpayer must wait until the Commissioner applies the
    regulation at issue to that taxpayer and either determines a deficiency
    with respect to the taxpayer or denies a request for a refund (or fails to
    act on such a request) by the taxpayer. Only then would the taxpayer
    have the opportunity to seek judicial review to address any procedural
    shortcomings in the adoption of the relevant regulation. And, as this
    case demonstrates, by then many years may have passed since the
    challenged regulation was first adopted.

           In addition, when another agency fails to comply with the APA’s
    procedural requirements, the reviewing court usually can order a
    remand permitting the agency promptly to address any procedural
    shortfall. By contrast, our authority in a case like this one is limited to
    redetermining the deficiency. We can set aside the regulation in
    reaching our decision, but ordering a remand for further rulemaking is
    not open to us. Any further rulemaking would be left to Treasury’s
    discretion.

          Thus, judicial review of Treasury regulations differs in some key
    respects from judicial review of other regulations. And, when combined,
    these differences create some challenges.

          For example, we must review in 2023 a regulation Treasury
    promulgated in 1993. And in undertaking our review, we must apply
    the APA using the Mayo Foundation lens, which the Supreme Court
    provided in 2011, as well as other APA-related decisions (such as Encino
    Motorcars) issued long after 1993. It is possible that, if Treasury had
    been aware of these subsequent pronouncements, it might have
    recognized that the regulation at issue was legislative (not
    interpretative) and prepared a different record that addressed the
    procedural deficiencies identified above. 33 But we must review the
    record that Treasury actually developed back in 1993, not one that it
    might have developed with the benefit of decisions issued in 2011 and

            33 Treasury of course knows how to provide meaningful responses to comments.

    See, e.g., T.D. 9846, 2019-9 I.R.B. 583, 84 Fed. Reg. 1838 (Feb. 5, 2019) (Treasury
    Decision concerning regulations under section 965 spanned 78 pages of the Federal
    Register, including a preamble of more than 36 pages, of which more than 30 pages
    responded to comments); T.D. 9790, 2016-45 I.R.B. 540, 81 Fed. Reg. 72,858 (Oct. 21,
    2016) (Treasury Decision concerning regulations under section 385 spanned 127 pages
    of the Federal Register, including a preamble of more than 90 pages, of which more
    than 80 pages responded to comments).




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    beyond. The unfortunate predicament Treasury faces flows (1) from its
    own assumptions about the nature of the regulations at issue and
    (2) from Congress’s decision to make Treasury subject to the APA and
    at the same time, under the Anti-Injunction Act, defer most APA
    challenges to Treasury regulations until an issue arises in the context of
    an actual dispute between a taxpayer and the Commissioner. This may
    seem unfair and may subject to an APA challenge regulations long on
    the books, but if the current state of the law is unsatisfactory from
    Treasury’s perspective, relief must come from Congress (or perhaps the
    Supreme Court), not us. Constrained as I am to evaluate Treasury’s
    regulations using the same standards as those used for other agency
    rulemaking, I must conclude that Treasury’s action here did not meet
    those standards.

    V.    Conclusion

           For the reasons noted above, Treasury “fail[ed] to follow the
    correct procedures in issuing” Treasury Regulation § 1.482-1(h)(2).
    Encino Motorcars, LLC, 579 U.S. at 220. Therefore, that regulation
    cannot receive Chevron deference. Id. at 221. In the absence of a valid
    regulation, Procter & Gamble Co., 95 T.C. 323, requires us to hold for
    3M. Because the opinion of the Court concludes otherwise, I respectfully
    dissent.

          BUCH, URDA, JONES, GREAVES, and WEILER, JJ., agree
    with this dissent.




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                           UNITED STATES TAX COURT

3M COMPANY AND SUBSIDIARIES,                          )
                                                      )
             Petitioner,                              )
                                                      )
             v.                                       ) Docket No. 5816-13
                                                      )
COMMISSIONER OF INTERNAL REVENUE,                     ) Judge Morrison
                                                      )
             Respondent.                              )

                                       DECISION

      Pursuant to the opinion of the Court filed February 9, 2023, it is

      ORDERED AND DECIDED: That there is a deficiency in income tax due
from petitioner for the taxable year 2006 in the amount of $3,587,304.




                           (Signed) Richard T. Morrison
                                        Judge.
                                       Judge



Entered:




             *     *        *      *     *     *     *     *     *



       The parties stipulate that the foregoing decision is in accordance with the
opinion of the Court and respondent's computation, and that the Court may enter
this decision, without prejudice to the right of either party to contest the
correctness of the decision entered herein.


                            Entered and Served 09/28/23
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    Docket No. 5816-13                        -2-

          It is further stipulated that interest will be credited or paid as provided by
    law on any overpayment in tax due to petitioner.

          It is further stipulated that interest will be assessed as provided by law on the
   deficiency due from petitioner.

                                                    WILLIAM M. PAUL
                                                    Acting Chief Counsel
                                                    Internal Revenue Service
                                                               Digitally signed by
                                                    Justin L.  Justin L. Campolieta

                                                    Campolieta Date: 2023.09.21

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                                             JUSTIN L. CAMPOLIETA
   Faegre Baker Daniels LLP                  Special Trial Attorney (SL)
   Counsel for Petitioner                    Tax Court Bar No. CJ1671
   Tax Court Bar No. PWO295


   Date:    September 21, 2023              Date:      September 21, 2023




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                    Constitutional, Statutory, and
                   Regulatory Provisions Involved

U.S. Const. amend. XVI

     The Congress shall have power to lay and collect taxes on incomes,
from whatever source derived, without apportionment among the several
States, and without regard to any census or enumeration.

5 U.S.C. § 553. Rule making

      (a) This section applies, according to the provisions thereof, ex-
cept to the extent that there is involved—
           (1)   a military or foreign affairs function of the United States;
     or
          (2) a matter relating to agency management or personnel or
     to public property, loans, grants, benefits, or contracts.
      (b) General notice of proposed rule making shall be published in
the Federal Register, unless persons subject thereto are named and ei-
ther personally served or otherwise have actual notice thereof in accord-
ance with law. The notice shall include—
         (1) a statement of the time, place, and nature of public rule
     making proceedings;
          (2) reference to the legal authority under which the rule is
     proposed;
          (3) either the terms or substance of the proposed rule or a
     description of the subjects and issues involved; and
          (4) the Internet address of a summary of not more than 100
     words in length of the proposed rule, in plain language, that shall
     be posted on the Internet website under section 206(d) of the E-
     Government Act of 2002 (44 U.S.C. 3501 note) (commonly known as
     regulations.gov).
Except when notice or hearing is required by statute, this subsection does
not apply—




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           (A) to interpretative rules, general statements of policy, or
     rules of agency organization, procedure, or practice; or
           (B) when the agency for good cause finds (and incorporates
     the finding and a brief statement of reasons therefor in the rules
     issued) that notice and public procedure thereon are impracticable,
     unnecessary, or contrary to the public interest.
      (c) After notice required by this section, the agency shall give in-
terested persons an opportunity to participate in the rule making
through submission of written data, views, or arguments with or without
opportunity for oral presentation. After consideration of the relevant
matter presented, the agency shall incorporate in the rules adopted a
concise general statement of their basis and purpose. When rules are
required by statute to be made on the record after opportunity for an
agency hearing, sections 556 and 557 of this title apply instead of this
subsection.
     (d) The required publication or service of a substantive rule shall
be made not less than 30 days before its effective date, except—
           (1) a substantive rule which grants or recognizes an exemp-
     tion or relieves a restriction;
           (2)   interpretative rules and statements of policy; or
          (3) as otherwise provided by the agency for good cause
     found and published with the rule.
      (e) Each agency shall give an interested person the right to peti-
tion for the issuance, amendment, or repeal of a rule.

5 U.S.C. § 706. Scope of review

       To the extent necessary to decision and when presented, the review-
ing court shall decide all relevant questions of law, interpret constitu-
tional and statutory provisions, and determine the meaning or applica-
bility of the terms of an agency action. The reviewing court shall—
           (1) compel agency action unlawfully withheld or unreason-
     ably delayed; and




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           (2) hold unlawful and set aside agency action, findings, and
      conclusions found to be—
                (A) arbitrary, capricious, an abuse of discretion, or
           otherwise not in accordance with law;
                (B) contrary to constitutional right, power, privilege,
           or immunity;
                 (C) in excess of statutory jurisdiction, authority, or
           limitations, or short of statutory right;
                 (D)       without observance of procedure required by law;
                  (E) unsupported by substantial evidence in a case sub-
           ject to sections 556 and 557 of this title or otherwise reviewed
           on the record of an agency hearing provided by statute; or
                 (F) unwarranted by the facts to the extent that the
           facts are subject to trial de novo by the reviewing court.
In making the foregoing determinations, the court shall review the whole
record or those parts of it cited by a party, and due account shall be taken
of the rule of prejudicial error.

26 U.S.C. § 61. Gross income defined

(a)   General definition
      Except as otherwise provided in this subtitle, gross income means
all income from whatever source derived, including (but not limited to)
the following items:
            (1) Compensation for services, including fees, commissions,
      fringe benefits, and similar items;
           (2)   Gross income derived from business;
           (3)   Gains derived from dealings in property;
           (4)   Interest;
           (5)   Rents;
           (6)   Royalties;
           (7)   Dividends;




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           (8)   Annuities;
           (9)   Income from life insurance and endowment contracts;
           (10) Pensions;
           (11) Income from discharge of indebtedness;
           (12) Distributive share of partnership gross income;
           (13) Income in respect of a decedent; and
           (14) Income from an interest in an estate or trust.
(b)   Cross references
      For items specifically included in gross income, see part II (sec. 71
and following). For items specifically excluded from gross income, see
part III (sec. 101 and following).

26 U.S.C. § 482. Allocation of income and deductions among tax-
     payers

      In any case of two or more organizations, trades, or businesses
(whether or not incorporated, whether or not organized in the United
States, and whether or not affiliated) owned or controlled directly or in-
directly by the same interests, the Secretary may distribute, apportion,
or allocate gross income, deductions, credits, or allowances between or
among such organizations, trades, or businesses, if he determines that
such distribution, apportionment, or allocation is necessary in order to
prevent evasion of taxes or clearly to reflect the income of any of such
organizations, trades, or businesses. In the case of any transfer (or li-
cense) of intangible property (within the meaning of section 367(d)(4)),
the income with respect to such transfer or license shall be commensu-
rate with the income attributable to the intangible. For purposes of this
section, the Secretary shall require the valuation of transfers of intangi-
ble property (including intangible property transferred with other prop-
erty or services) on an aggregate basis or the valuation of such a transfer
on the basis of the realistic alternatives to such a transfer, if the Secre-
tary determines that such basis is the most reliable means of valuation
of such transfers.




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26 C.F.R. § 1.482-1 (2006). Allocation of income and deductions
     among taxpayers (excerpts)

      (a) In general—(1) Purpose and scope. The purpose of section
482 is to ensure that taxpayers clearly reflect income attributable to con-
trolled transactions, and to prevent the avoidance of taxes with respect
to such transactions. Section 482 places a controlled taxpayer on a tax
parity with an uncontrolled taxpayer by determining the true taxable in-
come of the controlled taxpayer. This § 1.482-1 sets forth general princi-
ples and guidelines to be followed under section 482. Section 1.482-2 pro-
vides rules for the determination of the true taxable income of controlled
taxpayers in specific situations, including controlled transactions involv-
ing loans or advances, services, and property. Sections 1.482-3 through
1.482-6 elaborate on the rules that apply to controlled transactions in-
volving property. Section 1.482-7T sets forth the cost sharing provisions
applicable to taxable years beginning on or after October 6, 1994, and
before January 1, 1996. Section 1.482-7 sets forth the cost sharing pro-
visions applicable to taxable years beginning on or after January 1, 1996.
Finally, § 1.482-8 provides examples illustrating the application of the
best method rule.
      (2) Authority to make allocations. The district director may make
allocations between or among the members of a controlled group if a con-
trolled taxpayer has not reported its true taxable income. In such case,
the district director may allocate income, deductions, credits, allowances,
basis, or any other item or element affecting taxable income (referred to
as allocations). The appropriate allocation may take the form of an in-
crease or decrease in any relevant amount.
      (3) Taxpayer’s use of section 482. If necessary to reflect an arm’s
length result, a controlled taxpayer may report on a timely filed U.S. in-
come tax return (including extensions) the results of its controlled trans-
actions based upon prices different from those actually charged. Except
as provided in this paragraph, section 482 grants no other right to a con-
trolled taxpayer to apply the provisions of section 482 at will or to compel
the district director to apply such provisions. Therefore, no untimely or
amended returns will be permitted to decrease taxable income based on
allocations or other adjustments with respect to controlled transactions.
See § 1.6662-6T(a)(2) or successor regulations.



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      (b) Arm’s length standard—(1) In general. In determining the
true taxable income of a controlled taxpayer, the standard to be applied
in every case is that of a taxpayer dealing at arm’s length with an uncon-
trolled taxpayer. A controlled transaction meets the arm’s length stand-
ard if the results of the transaction are consistent with the results that
would have been realized if uncontrolled taxpayers had engaged in the
same transaction under the same circumstances (arm’s length result).
However, because identical transactions can rarely be located, whether a
transaction produces an arm’s length result generally will be determined
by reference to the results of comparable transactions under comparable
circumstances. See § 1.482-1(d)(2) (Standard of comparability). Evalua-
tion of whether a controlled transaction produces an arm’s length result
is made pursuant to a method selected under the best method rule de-
scribed in § 1.482-1(c).
      (2) Arm’s length methods—(i) Methods. Sections 1.482-2 through
1.482-6 provide specific methods to be used to evaluate whether transac-
tions between or among members of the controlled group satisfy the arm’s
length standard, and if they do not, to determine the arm’s length result.
Section 1.482-7 provides the specific method to be used to evaluate
whether a qualified cost sharing arrangement produces results con-
sistent with an arm’s length result.
      (ii) Selection of category of method applicable to transaction. The
methods listed in § 1.482-2 apply to different types of transactions, such
as transfers of property, services, loans or advances, and rentals. Accord-
ingly, the method or methods most appropriate to the calculation of arm’s
length results for controlled transactions must be selected, and different
methods may be applied to interrelated transactions if such transactions
are most reliably evaluated on a separate basis. For example, if services
are provided in connection with the transfer of property, it may be appro-
priate to separately apply the methods applicable to services and prop-
erty in order to determine an arm’s length result. But see § 1.482-1(f)(2)(i)
(Aggregation of transactions). In addition, other applicable provisions of
the Code may affect the characterization of a transaction, and therefore
affect the methods applicable under section 482. See for example section
467.
                                     ***




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     (h)   Special rules—(1) Small taxpayer safe harbor. [Reserved]
      (2) Effect of foreign legal restrictions—(i) In general. The district
director will take into account the effect of a foreign legal restriction to
the extent that such restriction affects the results of transactions at arm’s
length. Thus, a foreign legal restriction will be taken into account only
to the extent that it is shown that the restriction affected an uncontrolled
taxpayer under comparable circumstances for a comparable period of
time. In the absence of evidence indicating the effect of the foreign legal
restriction on uncontrolled taxpayers, the restriction will be taken into
account only to the extent provided in paragraphs (h)(2) (iii) and (iv) of
this section (Deferred income method of accounting).
      (ii) Applicable legal restrictions.      Foreign legal restrictions
(whether temporary or permanent) will be taken into account for pur-
poses of this paragraph (h)(2) only if, and so long as, the conditions set
forth in paragraphs (h)(2)(ii) (A) through (D) of this section are met.
      (A) The restrictions are publicly promulgated, generally applica-
ble to all similarly situated persons (both controlled and uncontrolled),
and not imposed as part of a commercial transaction between the tax-
payer and the foreign sovereign;
      (B) The taxpayer (or other member of the controlled group with
respect to which the restrictions apply) has exhausted all remedies pre-
scribed by foreign law or practice for obtaining a waiver of such re-
strictions (other than remedies that would have a negligible prospect of
success if pursued);
      (C) The restrictions expressly prevented the payment or receipt,
in any form, of part or all of the arm’s length amount that would other-
wise be required under section 482 (for example, a restriction that applies
only to the deductibility of an expense for tax purposes is not a restriction
on payment or receipt for this purpose); and
      (D) The related parties subject to the restriction did not engage in
any arrangement with controlled or uncontrolled parties that had the ef-
fect of circumventing the restriction, and have not otherwise violated the
restriction in any material respect.
     (iii) Requirement for electing the deferred income method of ac-
counting. If a foreign legal restriction prevents the payment or receipt of




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part or all of the arm’s length amount that is due with respect to a con-
trolled transaction, the restricted amount may be treated as deferrable if
the following requirements are met—
      (A) The controlled taxpayer establishes to the satisfaction of the
district director that the payment or receipt of the arm’s length amount
was prevented because of a foreign legal restriction and circumstances
described in paragraph (h)(2)(ii) of this section; and
      (B) The controlled taxpayer whose U.S. tax liability may be af-
fected by the foreign legal restriction elects the deferred income method
of accounting, as described in paragraph (h)(2)(iv) of this section, on a
written statement attached to a timely U.S. income tax return (or an
amended return) filed before the IRS first contacts any member of the
controlled group concerning an examination of the return for the taxable
year to which the foreign legal restriction applies. A written statement
furnished by a taxpayer subject to the Coordinated Examination Pro-
gram will be considered an amended return for purposes of this para-
graph (h)(2)(iii)(B) if it satisfies the requirements of a qualified amended
return for purposes of § 1.6664-2(c)(3) as set forth in those regulations or
as the Commissioner may prescribe by applicable revenue procedures.
The election statement must identify the affected transactions, the par-
ties to the transactions, and the applicable foreign legal restrictions.
      (iv) Deferred income method of accounting. If the requirements of
paragraph (h)(2)(ii) of this section are satisfied, any portion of the arm’s
length amount, the payment or receipt of which is prevented because of
applicable foreign legal restrictions, will be treated as deferrable until
payment or receipt of the relevant item ceases to be prevented by the
foreign legal restriction. For purposes of the deferred income method of
accounting under this paragraph (h)(2)(iv), deductions (including the cost
or other basis of inventory and other assets sold or exchanged) and cred-
its properly chargeable against any amount so deferred, are subject to
deferral under the provisions of § 1.461-1(a)(4). In addition, income is
deferrable under this deferred income method of accounting only to the
extent that it exceeds the related deductions already claimed in open tax-
able years to which the foreign legal restriction applied.
     (v) Examples. The following examples, in which Sub is a Country
FC subsidiary of U.S. corporation, Parent, illustrate this paragraph (h)(2).




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      Example 1. Parent licenses an intangible to Sub. FC law generally
prohibits payments by any person within FC to recipients outside the
country. The FC law meets the requirements of paragraph (h)(2)(ii) of
this section. There is no evidence of unrelated parties entering into
transactions under comparable circumstances for a comparable period of
time, and the foreign legal restrictions will not be taken into account in
determining the arm’s length amount. The arm’s length royalty rate for
the use of the intangible property in the absence of the foreign restriction
is 10% of Sub’s sales in country FC. However, because the requirements
of paragraph (h)(2)(ii) of this section are satisfied, Parent can elect the
deferred income method of accounting by attaching to its timely filed U.S.
income tax return a written statement that satisfies the requirements of
paragraph (h)(2)(iii)(B) of this section.
     Example 2. (i) The facts are the same as in Example 1, except that
Sub, although it makes no royalty payment to Parent, arranges with an
unrelated intermediary to make payments equal to an arm’s length
amount on its behalf to Parent.
      (ii) The district director makes an allocation of royalty income to
Parent, based on the arm’s length royalty rate of 10%. Further, the dis-
trict director determines that because the arrangement with the third
party had the effect of circumventing the FC law, the requirements of
paragraph (h)(2)(ii)(D) of this section are not satisfied. Thus, Parent
could not validly elect the deferred income method of accounting, and the
allocation of royalty income cannot be treated as deferrable. In appropri-
ate circumstances, the district director may permit the amount of the dis-
tribution to be treated as payment by Sub of the royalty allocated to Par-
ent, under the provisions of § 1.482-1(g) (Collateral adjustments).
      Example 3. The facts are the same as in Example 1, except that the
laws of FC do not prevent distributions from corporations to their share-
holders. Sub distributes an amount equal to 8% of its sales in country
FC. Because the laws of FC did not expressly prevent all forms of pay-
ment from Sub to Parent, Parent cannot validly elect the deferred income
method of accounting with respect to any of the arm’s length royalty
amount. In appropriate circumstances, the district director may permit
the 8% that was distributed to be treated as payment by Sub of the roy-
alty allocated to Parent, under the provisions of § 1.482-1(g) (Collateral
adjustments).



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      Example 4. The facts are the same as in Example 1, except that
Country FC law permits the payment of a royalty, but limits the amount
to 5% of sales, and Sub pays the 5% royalty to Parent. Parent demon-
strates the existence of a comparable uncontrolled transaction for pur-
poses of the comparable uncontrolled transaction method in which an un-
controlled party accepted a royalty rate of 5%. Given the evidence of the
comparable uncontrolled transaction, the 5% royalty rate is determined
to be the arm’s length royalty rate.
       (3) Coordination with section 936—(i) Cost sharing under section
936. If a possessions corporation makes an election under section
936(h)(5)(C)(i)(I), the corporation must make a section 936 cost sharing
payment that is at least equal to the payment that would be required
under section 482 if the electing corporation were a foreign corporation.
In determining the payment that would be required under section 482 for
this purpose, the provisions of §§ 1.482-1 and 1.482-4 will be applied, and
to the extent relevant to the valuation of intangibles, §§ 1.482-5 and
1.482-6 will be applied. The provisions of section 936(h)(5)(C)(i)(II) (Ef-
fect of Election—electing corporation treated as owner of intangible prop-
erty) do not apply until the payment that would be required under section
482 has been determined.
      (ii) Use of terms. A cost sharing payment, for the purposes of sec-
tion 936(h)(5)(C)(i)(I), is calculated using the provisions of section 936
and the regulations thereunder and the provisions of this paragraph
(h)(3). The provisions relating to cost sharing under section 482 do not
apply to payments made pursuant to an election under section
936(h)(5)(C)(i)(I). Similarly, a profit split payment, for the purposes of
section 936(h)(5)(C)(ii)(I), is calculated using the provisions of section 936
and the regulations thereunder, not section 482 and the regulations
thereunder.
     (i)  Definitions. The definitions set forth in paragraphs (i)(1)
through (10) of this section apply to §§ 1.482-1 through 1.482-8.
      (1) Organization includes an organization of any kind, whether a
sole proprietorship, a partnership, a trust, an estate, an association, or a
corporation (as each is defined or understood in the Internal Revenue
Code or the regulations thereunder), irrespective of the place of organi-
zation, operation, or conduct of the trade or business, and regardless of




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whether it is a domestic or foreign organization, whether it is an exempt
organization, or whether it is a member of an affiliated group that files a
consolidated U.S. income tax return, or a member of an affiliated group
that does not file a consolidated U.S. income tax return.
      (2) Trade or business includes a trade or business activity of any
kind, regardless of whether or where organized, whether owned individ-
ually or otherwise, and regardless of the place of operation. Employment
for compensation will constitute a separate trade or business from the
employing trade or business.
    (3) Taxpayer means any person, organization, trade or business,
whether or not subject to any internal revenue tax.
      (4) Controlled includes any kind of control, direct or indirect,
whether legally enforceable or not, and however exercisable or exercised,
including control resulting from the actions of two or more taxpayers act-
ing in concert or with a common goal or purpose. It is the reality of the
control that is decisive, not its form or the mode of its exercise. A pre-
sumption of control arises if income or deductions have been arbitrarily
shifted.
      (5) Controlled taxpayer means any one of two or more taxpayers
owned or controlled directly or indirectly by the same interests, and in-
cludes the taxpayer that owns or controls the other taxpayers. Uncon-
trolled taxpayer means any one of two or more taxpayers not owned or
controlled directly or indirectly by the same interests.
      (6) Group, controlled group, and group of controlled taxpayers
mean the taxpayers owned or controlled directly or indirectly by the same
interests.
      (7) Transaction means any sale, assignment, lease, license, loan,
advance, contribution, or any other transfer of any interest in or a right
to use any property (whether tangible or intangible, real or personal) or
money, however such transaction is effected, and whether or not the
terms of such transaction are formally documented. A transaction also
includes the performance of any services for the benefit of, or on behalf
of, another taxpayer.
      (8) Controlled transaction or controlled transfer means any trans-
action or transfer between two or more members of the same group of




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controlled taxpayers. The term uncontrolled transaction means any
transaction between two or more taxpayers that are not members of the
same group of controlled taxpayers.
      (9) True taxable income means, in the case of a controlled tax-
payer, the taxable income that would have resulted had it dealt with the
other member or members of the group at arm’s length. It does not mean
the taxable income resulting to the controlled taxpayer by reason of the
particular contract, transaction, or arrangement the controlled taxpayer
chose to make (even though such contract, transaction, or arrangement
is legally binding upon the parties thereto).
      (10) Uncontrolled comparable means the uncontrolled transaction
or uncontrolled taxpayer that is compared with a controlled transaction
or taxpayer under any applicable pricing methodology. Thus, for exam-
ple, under the comparable profits method, an uncontrolled comparable is
any uncontrolled taxpayer from which data is used to establish a compa-
rable operating profit.
      (j)    Effective dates—(1) The regulations in this are generally ef-
fective for taxable years beginning after October 6, 1994.
      (2) Taxpayers may elect to apply retroactively all of the provi-
sions of these regulations for any open taxable year. Such election will
be effective for the year of the election and all subsequent taxable years.
      (3) Although these regulations are generally effective for taxable
years as stated, the final sentence of section 482 (requiring that the in-
come with respect to transfers or licenses of intangible property be com-
mensurate with the income attributable to the intangible) is generally
effective for taxable years beginning after December 31, 1986. For the
period prior to the effective date of these regulations, the final sentence
of section 482 must be applied using any reasonable method not incon-
sistent with the statute. The IRS considers a method that applies these
regulations or their general principles to be a reasonable method.
     (4) These regulations will not apply with respect to transfers
made or licenses granted to foreign persons before November 17, 1985, or
before August 17, 1986, for transfers or licenses to others. Nevertheless,
they will apply with respect to transfers or licenses before such dates if,
with respect to property transferred pursuant to an earlier and




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continuing transfer agreement, such property was not in existence or
owned by the taxpayer on such date.
      (5) The last sentences of paragraphs (b)(2)(i) and (c)(1) of this sec-
tion and of paragraph (c)(2)(iv) of § 1.482-5 apply for taxable years begin-
ning on or after August 26, 2003.

26 C.F.R. § 1.482-1 (1968). Allocation of income and deductions
     among taxpayers (excerpts)

                                     ***
       (b) Scope and purpose. (1) The purpose of section 482 is to place
a controlled taxpayer on a tax parity with an uncontrolled taxpayer, by
determining, according to the standard of an uncontrolled taxpayer, the
true taxable income from the property and business of a controlled tax-
payer. The interests controlling a group of controlled taxpayers are as-
sumed to have complete power to cause each controlled taxpayer so to
conduct its affairs that its transactions and accounting records truly re-
flect the taxable income from the property and business of each of the
controlled taxpayers. If, however, this has not been done, and the taxable
incomes are thereby understated, the district director shall intervene,
and, by making such distributions, apportionments, or allocations as he
may deem necessary of gross income, deductions, credits, or allowances,
or of any item or element affecting taxable income, between or among the
controlled taxpayers constituting the group, shall determine the true tax-
able income of each controlled taxpayer. The standard to be applied in
every case is that of an uncontrolled taxpayer dealing at arm’s length
with another uncontrolled taxpayer.
      (2) Section 482 and this section apply to the case of any controlled
taxpayer, whether such taxpayer makes a separate or a consolidated re-
turn. If a controlled taxpayer makes a separate return, the determina-
tion is of its true separate taxable income. If a controlled taxpayer is a
party to a consolidated return, the true consolidated taxable income of
the affiliated group and the true separate taxable income of the controlled
taxpayer are determined consistently with the principles of a consoli-
dated return.




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      (3) Section 482 grants no right to a controlled taxpayer to apply
its provisions at will, nor does it grant any right to compel the district
director to apply such provisions. It is not intended (except in the case of
the computation of consolidated taxable income under a consolidated re-
turn) to effect in any case such a distribution, apportionment, or alloca-
tion of gross income, deductions, credits, or allowances, or any item of
gross income, deductions, credits, or allowances, as would produce a re-
sult equivalent to a computation of consolidated taxable income under
subchapter A, chapter 6 of the Code.
                                     ***
       (d) Method of allocation. (1) The method of allocating, apportion-
ing, or distributing income, deductions, credits, and allowances to be used
by the district director in any case, including the form of the adjustments
and the character and source of amounts allocated, shall be determined
with reference to the substance of the particular transactions or arrange-
ments which result in the avoidance of taxes or the failure to clearly re-
flect income. The appropriate adjustments may take the form of an in-
crease or decrease in gross income, increase or decrease in deductions
(including depreciation), increase or decrease in basis of assets (including
inventory), or any other adjustment which may be appropriate under the
circumstances. See § 1.482-2 for specific rules relating to methods of al-
location in the case of several types of business transactions.
      (2) Whenever the district director makes adjustments to the in-
come of one member of a group of controlled taxpayers (such adjustments
being referred to in this paragraph as “primary” adjustments) he shall
also make appropriate correlative adjustments to the income of any other
member of the group involved in the allocation. The correlative adjust-
ment shall actually be made if the U.S. income tax liability of the other
member would be affected for any pending taxable year. Thus, if the dis-
trict director makes an allocation of income, he shall not only increase
the income of one member of the group, but shall decrease the income of
the other member if such adjustment would have an effect on the U.S.
income tax liability of the other member for any pending taxable year.
For the purposes of this subparagraph, a “pending taxable year” is any
taxable year with respect to which the U.S. income tax return of the other
member has been filed by the time the allocation is made, and with re-
spect to which a credit or refund is not barred by the operation of any law



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or rule of law. If a correlative adjustment is not actually made because
it would have no effect on the U.S. income tax liability of the other mem-
ber involved in the allocation for any pending taxable year, such adjust-
ment shall nevertheless be deemed to have been made for the purpose of
determining the U.S. income tax liability of such member for a later tax-
able year, or for the purposes of determining the U.S. income tax liability
of any person for any taxable year. The district director shall furnish to
the taxpayer with respect to which the primary adjustment is made a
written statement of the amount and nature of the correlative adjust-
ment which is deemed to have been made. For purposes of this subpara-
graph, a primary adjustment shall not be considered to have been made
(and therefore a correlative adjustment is not required to be made) until
the first occurring of the following events with respect to the primary
adjustment:
      (i)   The date of assessment of the tax following execution by the
taxpayer of a Form 870 (Waiver of Restrictions on Assessment and Col-
lection of Deficiency in Tax and Acceptance of Overassessment) with re-
spect to such adjustment,
     (ii) Acceptance of a Form 870-AD (Offer of Waiver of Restriction
on Assessment and Collection Deficiency in Tax and Acceptance of Over-
assessment),
     (iii) Payment of the deficiency,
     (iv)   Stipulation in the Tax Court of the United States, or
      (v) Final determination of tax liability by offer-in-compromise,
closing agreement, or court action.
The principles of this subparagraph may be illustrated by the following
examples in each of which it is assumed that X and Y are members of the
same group of controlled entities and that they regularly compute their
incomes on the basis of a calendar year:
      Example 1. Assume that in 1968 the district director proposes to
adjust X’s income for 1966 to reflect an arm’s length rental charge for Y’s
use of X’s tangible property in 1966; that X consents to an assessment
reflecting such adjustment by executing a Waiver, Form 870; and that an
assessment of the tax with respect to such adjustment is made in 1968.
The primary adjustment is therefore considered to have been made in




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1968. Assume further that both X and Y are United States corporations
and that Y had net operating losses in 1963, 1964, 1965, 1966, and 1967.
Although a correlative adjustment would not have an effect on Y’s U.S.
income tax liability for any pending taxable year, an adjustment increas-
ing Y’s net operating loss for 1966 shall be deemed to have been made for
the purposes of determining Y’s U.S. income tax liability for 1968 or a
later taxable year to which the increased operating loss may be carried.
The district director shall notify X in writing of the amount and nature
of the adjustment which is deemed to have been made to Y.
      Example 2. Assume that X and Y are United States corporations;
that X is in the business of rendering engineering services; that in 1968
the district director proposes to adjust X’s income for 1966 to reflect an
arm’s length fee for the rendition of engineering services by X in 1966
relating to the construction of Y’s factory; that X consents to an assess-
ment reflecting such adjustment by executing a Waiver, Form 870; and
that an assessment of the tax with respect to such adjustment is made in
1968. Assume further that fees for such services would properly consti-
tute a capital expenditure by Y, and that Y does not place the factory in
service until 1969. Although a correlative adjustment (increase in basis)
would not have an effect on Y’s U.S. income tax liability for a pending
taxable year, an adjustment increasing the basis of Y’s assets for 1966
shall be deemed to have been made in 1968 for the purpose of computing
allowable depreciation or gain or loss on disposition for 1969 and any fu-
ture taxable year. The district director shall notify X in writing of the
amount and nature of the adjustment which is deemed to have been made
to Y.
      Example 3. Assume that X is a U.S. taxpayer and Y is a foreign
taxpayer not engaged in a trade or business in the United States; that in
1968 the district director proposes to adjust X’s income for 1966 to reflect
an arm’s length interest charge on a loan made to Y; that X consents to
an assessment reflecting such allocation by executing a Waiver, Form
870; and that an assessment of the tax with respect to such adjustment
is made in 1968. Although a correlative adjustment would not have an
effect on Y’s U.S. income tax liability, an adjustment in Y’s income for
1966 shall be deemed to have been made in 1968 for the purposes of de-
termining the amount of Y’s earnings and profits for 1966 and subse-
quent years, and of any other effect it may have on any person’s U.S.



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income tax liability for any taxable year. The district director shall notify
X in writing of the amount and nature of the allocation which is deemed
to have been made to Y.
      (3) In making distributions, apportionments, or allocations be-
tween two members of a group of controlled entities with respect to par-
ticular transactions, the district director shall consider the effect upon
such members of an arrangement between them for reimbursement
within a reasonable period before or after the taxable year if the taxpayer
can establish that such an arrangement in fact existed during the taxable
year under consideration. The district director shall also consider the
effect of any other nonarm’s length transaction between them in the tax-
able year which, if taken into account, would result in a setoff against
any allocation which would otherwise be made, provided the taxpayer is
able to establish with reasonable specificity that the transaction was not
at arm’s length and the amount of the appropriate arm’s length charge.
For purposes of the preceding sentence, the term arm’s length refers to
the amount which was charged or would have been charged in independ-
ent transactions with unrelated parties under the same or similar cir-
cumstances considering all the relevant facts and without regard to the
rules found in § 1.482-2 by which certain charges are deemed to be equal
to arm’s length. For example, assume that one member of a group per-
forms services which benefit a second member, which would in itself re-
quire an allocation to reflect an arm’s length charge for the performance
of such services. Assume further that the first member can establish that
during the same taxable year the second member engages in other
nonarm’s length transactions which benefit the first member, such as by
selling products to the first member at a discount, or purchasing products
from the first member at a premium, or paying royalties to the first mem-
ber in an excessive amount. In such case, the value of the benefits re-
ceived by the first member as a result of the other activities will be set-
off against the allocation which would otherwise be made. If the effect of
the set-off is to change the characterization or source of the income or
deductions, or otherwise distort taxable income, in such a manner as to
affect the United States tax liability of any member, allocations will be
made to reflect the correct amount of each category of income or deduc-
tions. In order to establish that a set-off to the adjustments proposed by
the district director is appropriate, the taxpayer must notify the district




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director of the basis of any claimed set-off at any time before the expira-
tion of the period ending 30 days after the date of a letter by which the
district director transmits an examination report notifying the taxpayer
of proposed adjustments or before July 16, 1968, whichever is later. The
principles of this subparagraph may be illustrated by the following ex-
amples, in each of which it is assumed that P and S are calendar year
corporations and are both members of the same group of controlled enti-
ties:
      Example 1. P performs services in 1966 for the benefit of S in con-
nection with S’s manufacture and sale of a product. S does not pay P for
such services in 1966, but in consideration for such services, agrees in
1966 to pay P a percentage of the amount of sales of the product in 1966
through 1970. In 1966 it appeared this agreement would provide ade-
quate consideration for the services. No allocation will be made with re-
spect to the services performed by P.
       Example 2. P renders services to S in connection with the construc-
tion of S’s factory. An arm’s length charge for such services, determined
under paragraph (b) of § 1.482-2, would be $100,000. During the same
taxable year P makes available to S a machine to be used in such con-
struction. P bills S $125,000 for the services, but does not bill for the use
of the machine. No allocation will be made with respect to the excessive
charge for services or the undercharge for the machine if P can establish
that the excessive charge for services was equal to an arm’s length charge
for the use of the machine, and if the taxable income and income tax lia-
bilities of P and S are not distorted.
      Example 3. Assume the same facts as in Example 2, except that, if
P had reported $25,000 as rental income and $25,000 less service income,
it would have been subject to the tax on personal holding companies. Al-
locations will be made to reflect the correct amounts of rental income and
service income.
      (4) If the members of a group of controlled taxpayers engage in
transactions with one another, the district director may distribute, ap-
portion, or allocate income, deductions, credits, or allowances to reflect
the true taxable income of the individual members under the standards
set forth in this section and in § 1.482-2 notwithstanding the fact that the
ultimate income anticipated from a series of transactions may not be




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realized or is realized during a later period. For example, if one member
of a controlled group sells a product at less than an arm’s length price to
a second member of the group in one taxable year and the second member
resells the product to an unrelated party in the next taxable year, the
district director may make an appropriate allocation to reflect an arm’s
length price for the sale of the product in the first taxable year, notwith-
standing that the second member of the group had not realized any gross
income from the resale of the product in the first year. Similarly, if one
member of a group lends money to a second member of the group in a
taxable year, the district director may make an appropriate allocation to
reflect an arm’s length charge for interest during such taxable year even
if the second member does not realize income during such year. The pro-
visions of this subparagraph apply even if the gross income contemplated
from a series of transactions is never, in fact, realized by the other mem-
bers.
      (5) Section 482 may, when necessary to prevent the avoidance of
taxes or to clearly reflect income, be applied in circumstances described
in sections of the Code (such as section 351) providing for nonrecognition
of gain or loss. See, for example, “National Securities Corporation v.
Commissioner of Internal Revenue”, 137 F. 2d 600 (3d Cir. 1943), cert.
denied 320 U.S. 794 (1943).
      (6) If payment or reimbursement for the sale, exchange, or use of
property, the rendition of services, or the advance of other consideration
among members of a group of controlled entities was prevented, or would
have been prevented, at the time of the transaction because of currency
or other restrictions imposed under the laws of any foreign country, any
distributions, apportionments, or allocations which may be made under
section 482 with respect to such transactions may be treated as deferra-
ble income or deductions, providing the taxpayer has, for the year to
which the distributions, apportionments, or allocations relate, elected to
use a method of accounting in which the reporting of deferrable income
is deferred until the income ceases to be deferrable income. Under such
method of accounting, referred to in this section as the deferred income
method of accounting, any payments or reimbursements which were pre-
vented or would have been prevented, and any deductions attributable
directly or indirectly to such payments or reimbursements, shall be de-
ferred until they cease to be deferrable under such method of accounting.



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If such method of accounting has not been elected with respect to the
taxable year to which the allocations under section 482 relate, the tax-
payer may elect such method with respect to such allocations (but not
with respect to other deferrable income) at any time before the first oc-
curring of the following events with respect to the allocations:
     (i)  Execution by the taxpayer of Form 870 (Waiver of Restrictions
on Assessment and Collection of Deficiency in Tax and Acceptance of
Overassessment);
      (ii) Expiration of the period ending 30 days after the date of a let-
ter by which the district director transmits an examination report noti-
fying the taxpayer of proposed adjustments reflecting such allocations or
before July 16, 1968, whichever is later; or
     (iii) Execution of a closing agreement or offer-in-compromise.
The principles of this subparagraph may be illustrated by the following
example in which it is assumed that X, a domestic corporation, and Y, a
foreign corporation, are members of the same group of controlled entities:
      Example. X, which is in the business of rendering a certain type of
service to unrelated parties, renders such services for the benefit of Y in
1965. The direct and indirect costs allocable to such services are $60,000,
and an arm’s length charge for such services is $100,000. Assume that
the district director proposes to increase X’s income by $100,000, but that
the country in which Y is located would have blocked payment in 1965
for such services. If, prior to the first occurring of the events described in
subdivisions (i), (ii), or (iii) of this subparagraph, X elects to use the de-
ferred income method of accounting with respect to such allocation, the
$100,000 allocation and the $60,000 of costs are deferrable until such
amounts cease to be deferrable under X’s method of accounting.




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                     CERTIFICATE OF SERVICE

     I hereby certify that, on February 7, 2024, the Separate Addendum

was electronically filed and served on all counsel of record via the Court’s

CM/ECF system.



                                              /s/ Jonathan C. Bond
                                                Jonathan C. Bond




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